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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 03/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

    #                                   Name of Entity                                   EIN #               Case #
    1     Woodbridge Group of Companies, LLC                                        xx-xxx3603        17-12560 (KJC)
    2     215 North 12th Street, LLC                                                xx-xxx3105        17-12561 (KJC)
    3     Addison Park Investments, LLC                                             xx-xxx5888        17-12563 (KJC)
    4     Anchorpoint Investments, LLC                                              xx-xxx5530        17-12566 (KJC)
    5     Arborvitae Investments, LLC                                               xx-xxx3426        17-12572 (KJC)
    6     Archivolt Investments, LLC                                                xx-xxx8542        17-12574 (KJC)
    7     Arlington Ridge Investments, LLC                                          xx-xxx8879        17-12576 (KJC)
    8     Arrowpoint Investments, LLC                                               xx-xxx7069        17-12578 (KJC)
    9     Baleroy Investments, LLC                                                  xx-xxx9851        17-12580 (KJC)
   10     Basswood Holding, LLC                                                     xx-xxx2784        17-12600 (KJC)
   11     Bay Village Investments, LLC                                              xx-xxx3221        17-12604 (KJC)
   12     Bear Brook Investments, LLC                                               xx-xxx3387        17-12610 (KJC)
   13     Beech Creek Investments, LLC                                              xx-xxx0963        17-12616 (KJC)
   14     Bishop White Investments, LLC                                             xx-xxx8784        17-12623 (KJC)
   15     Black Bass Investments, LLC                                               xx-xxx0884        17-12641 (KJC)
   16     Black Locust Investments, LLC                                             xx-xxx3159        17-12648 (KJC)
   17     Bluff Point Investments, LLC                                              xx-xxx6406        17-12722 (KJC)
   18     Bowman Investments, LLC                                                   xx-xxx9670        17-12753 (KJC)
   19     Bramley Investments, LLC                                                  xx-xxx9020        17-12769 (KJC)
   20     Brise Soleil Investments, LLC                                             xx-xxx9998        17-12762 (KJC)
   21     Broadsands Investments, LLC                                               xx-xxx2687        17-12777 (KJC)
   22     Brynderwen Investments, LLC                                               xx-xxx6305        17-12793 (KJC)
   23     Cablestay Investments, LLC                                                xx-xxx3442        17-12798 (KJC)
   24     Cannington Investments, LLC                                               xx-xxx4303        17-12803 (KJC)
   25     Carbondale Doocy, LLC                                                     xx-xxx3616        17-12805 (KJC)
   26     Carbondale Glen Lot A-5, LLC                                              xx-xxx0728        17-12807 (KJC)
   27     Carbondale Glen Lot D-22, LLC                                             xx-xxx1907        17-12809 (KJC)
   28     Carbondale Glen Lot E-24, LLC                                             xx-xxx4987        17-12811 (KJC)
   29     Carbondale Glen Lot GV-13, LLC                                            xx-xxx6075        17-12813 (KJC)
   30     Carbondale Glen Lot SD-14, LLC                                            xx-xxx5515        17-12817 (KJC)
   31     Carbondale Glen Lot SD-23, LLC                                            xx-xxx4775        17-12815 (KJC)
   32     Carbondale Glen Mesa Lot 19, LLC                                          xx-xxx6376        17-12819 (KJC)
   33     Carbondale Glen River Mesa, LLC                                           xx-xxx6926        17-12820 (KJC)
   34     Carbondale Glen Sundance Ponds, LLC                                       xx-xxx0113        17-12822 (KJC)
   35     Carbondale Glen Sweetgrass Vista, LLC                                     xx-xxx7510        17-12564 (KJC)
   36     Carbondale Spruce 101, LLC                                                xx-xxx6126        17-12568 (KJC)
   37     Carbondale Sundance Lot 15, LLC                                           xx-xxx1131        17-12569 (KJC)
   38     Carbondale Sundance Lot 16, LLC                                           xx-xxx0786        17-12570 (KJC)
   39     Castle Pines Investments, LLC                                             xx-xxx4123        17-12581 (KJC)
   40     Centershot Investments, LLC                                               xx-xxx9391        17-12586 (KJC)
   41     Chaplin Investments, LLC                                                  xx-xxx3215        17-12592 (KJC)
   42     Chestnut Investments, LLC                                                 xx-xxx9809        17-12603 (KJC)
   43     Chestnut Ridge Investments, LLC                                           xx-xxx3815        17-12614 (KJC)
   44     Clover Basin Investments, LLC                                             xx-xxx8470        17-12621 (KJC)
   45     Coffee Creek Investments, LLC                                             xx-xxx9365        17-12627 (KJC)
   46     Craven Investments, LLC                                                   xx-xxx0994        17-12636 (KJC)
   47     Crossbeam Investments, LLC                                                xx-xxx2940        17-12650 (KJC)
   48     Crowfield Investments, LLC                                                xx-xxx4030        17-12660 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 03/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

    #                                  Name of Entity                                    EIN #               Case #
   49     Crystal Valley Holdings, LLC                                              xx-xxx4942        17-12666 (KJC)
   50     Crystal Woods Investments, LLC                                            xx-xxx2816        17-12676 (KJC)
   51     Cuco Settlement, LLC                                                      xx-xxx1418        17-12679 (KJC)
   52     Daleville Investments, LLC                                                xx-xxx2915        17-12687 (KJC)
   53     Derbyshire Investments, LLC                                               xx-xxx3735        17-12696 (KJC)
   54     Diamond Cove Investments, LLC                                             xx-xxx9809        17-12705 (KJC)
   55     Dixville Notch Investments, LLC                                           xx-xxx0257        17-12716 (KJC)
   56     Dogwood Valley Investments, LLC                                           xx-xxx5898        17-12727 (KJC)
   57     Dollis Brook Investments, LLC                                             xx-xxx4042        17-12735 (KJC)
   58     Donnington Investments, LLC                                               xx-xxx2744        17-12744 (KJC)
   59     Doubleleaf Investments, LLC                                               xx-xxx7075        17-12755 (KJC)
   60     Drawspan Investments, LLC                                                 xx-xxx5457        17-12767 (KJC)
   61     Eldredge Investments, LLC                                                 xx-xxx1579        17-12775 (KJC)
   62     Elstar Investments, LLC                                                   xx-xxx3731        17-12782 (KJC)
   63     Emerald Lake Investments, LLC                                             xx-xxx2276        17-12788 (KJC)
   64     Fieldpoint Investments, LLC                                               xx-xxx2405        17-12794 (KJC)
   65     Franconia Notch Investments, LLC                                          xx-xxx7325        17-12797 (KJC)
   66     Gateshead Investments, LLC                                                xx-xxx1537        17-12597 (KJC)
   67     Glenn Rich Investments, LLC                                               xx-xxx7350        17-12602 (KJC)
   68     Goose Rocks Investments, LLC                                              xx-xxx5453        17-12611 (KJC)
   69     Goosebrook Investments, LLC                                               xx-xxx3737        17-12617 (KJC)
   70     Graeme Park Investments, LLC                                              xx-xxx8869        17-12622 (KJC)
   71     Grand Midway Investments, LLC                                             xx-xxx1671        17-12628 (KJC)
   72     Gravenstein Investments, LLC                                              xx-xxx2195        17-12632 (KJC)
   73     Green Gables Investments, LLC                                             xx-xxx1347        17-12637 (KJC)
   74     Grenadier Investments, LLC                                                xx-xxx1772        17-12643 (KJC)
   75     Grumblethorpe Investments, LLC                                            xx-xxx9318        17-12649 (KJC)
   76     H11 Silk City Holding Company, LLC                                        xx-xxx5002        17-12833 (KJC)
   77     H12 White Birch Holding Company, LLC                                      xx-xxx9593        17-12699 (KJC)
   78     H13 Bay Village Holding Company, LLC                                      xx-xxx8917        17-12591 (KJC)
   79     H14 Dixville Notch Holding Company, LLC                                   xx-xxx5633        17-12712 (KJC)
   80     H15 Bear Brook Holding Company, LLC                                       xx-xxx0030        17-12607 (KJC)
   81     H16 Monadnock Holding Company, LLC                                        xx-xxx3391        17-12678 (KJC)
   82     H17 Pemigewasset Holding Company, LLC                                     xx-xxx9026        17-12799 (KJC)
   83     H19 Emerald Lake Holding Company, LLC                                     xx-xxx1570        17-12785 (KJC)
   84     H2 Arlington Ridge Holding Company, LLC                                   xx-xxx9930        17-12575 (KJC)
   85     H20 Bluff Point Holding Company, LLC                                      xx-xxx7342        17-12715 (KJC)
   86     H21 Summerfree Holding Company, LLC                                       xx-xxx4453        17-12631 (KJC)
   87     H22 Papirovka Holding Company, LLC                                        xx-xxx8821        17-12770 (KJC)
   88     H23 Pinova Holding Company, LLC                                           xx-xxx0307        17-12810 (KJC)
   89     H24 Stayman Holding Company, LLC                                          xx-xxx0527        17-12590 (KJC)
   90     H25 Elstar Holding Company, LLC                                           xx-xxx3243        17-12779 (KJC)
   91     H26 Gravenstein Holding Company, LLC                                      xx-xxx4323        17-12630 (KJC)
   92     H27 Grenadier Holding Company, LLC                                        xx-xxx2590        17-12642 (KJC)
   93     H28 Black Locust Holding Company, LLC                                     xx-xxx6941        17-12647 (KJC)
   94     H29 Zestar Holding Company, LLC                                           xx-xxx4093        17-12789 (KJC)
   95     H30 Silver Maple Holding Company, LLC                                     xx-xxx9953        17-12835 (KJC)
   96     H31 Addison Park Holding Company, LLC                                     xx-xxx0775        17-12562 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 03/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
   97     H32 Arborvitae Holding Company, LLC                                       xx-xxx7525        17-12567 (KJC)
   98     H35 Hornbeam Holding Company, LLC                                         xx-xxx5290        17-12691 (KJC)
   99     H36 Sturmer Pippin Holding Company, LLC                                   xx-xxx1256        17-12625 (KJC)
  100     H37 Idared Holding Company, LLC                                           xx-xxx3378        17-12697 (KJC)
  101     H38 Mutsu Holding Company, LLC                                            xx-xxx5889        17-12711 (KJC)
  102     H39 Haralson Holding Company, LLC                                         xx-xxx0886        17-12661 (KJC)
  103     H4 Pawtuckaway Holding Company, LLC                                       xx-xxx9299        17-12778 (KJC)
  104     H40 Bramley Holding Company, LLC                                          xx-xxx7162        17-12766 (KJC)
  105     H41 Grumblethorpe Holding Company, LLC                                    xx-xxx0106        17-12646 (KJC)
  106     H43 Lenni Heights Holding Company, LLC                                    xx-xxx7951        17-12717 (KJC)
  107     H44 Green Gables Holding Company, LLC                                     xx-xxx2248        17-12634 (KJC)
  108     H46 Beech Creek Holding Company, LLC                                      xx-xxx0050        17-12612 (KJC)
  109     H47 Summit Cut Holding Company, LLC                                       xx-xxx6912        17-12638 (KJC)
  110     H49 Bowman Holding Company, LLC                                           xx-xxx1694        17-12725 (KJC)
  111     H5 Chestnut Ridge Holding Company, LLC                                    xx-xxx5244        17-12608 (KJC)
  112     H51 Old Carbon Holding Company, LLC                                       xx-xxx1911        17-12738 (KJC)
  113     H52 Willow Grove Holding Company, LLC                                     xx-xxx2112        17-12729 (KJC)
  114     H53 Black Bass Holding Company, LLC                                       xx-xxx3505        17-12639 (KJC)
  115     H54 Seven Stars Holding Company, LLC                                      xx-xxx8432        17-12831 (KJC)
  116     H55 Old Maitland Holding Company, LLC                                     xx-xxx3887        17-12747 (KJC)
  117     H56 Craven Holding Company, LLC                                           xx-xxx1344        17-12633 (KJC)
  118     H58 Baleroy Holding Company, LLC                                          xx-xxx1881        17-12579 (KJC)
  119     H59 Rising Sun Holding Company, LLC                                       xx-xxx5554        17-12827 (KJC)
  120     H6 Lilac Meadow Holding Company, LLC                                      xx-xxx4921        17-12724 (KJC)
  121     H60 Moravian Holding Company, LLC                                         xx-xxx3179        17-12686 (KJC)
  122     H61 Grand Midway Holding Company, LLC                                     xx-xxx4835        17-12626 (KJC)
  123     H65 Thornbury Farm Holding Company, LLC                                   xx-xxx7454        17-12644 (KJC)
  124     H66 Heilbron Manor Holding Company, LLC                                   xx-xxx7245        17-12677 (KJC)
  125     H68 Graeme Park Holding Company, LLC                                      xx-xxx2736        17-12620 (KJC)
  126     H7 Dogwood Valley Holding Company, LLC                                    xx-xxx7002        17-12721 (KJC)
  127     H70 Bishop White Holding Company, LLC                                     xx-xxx6161        17-12619 (KJC)
  128     H74 Imperial Aly Holding Company, LLC                                     xx-xxx7948        17-12704 (KJC)
  129     H76 Diamond Cove Holding Company, LLC                                     xx-xxx0315        17-12700 (KJC)
  130     H8 Melody Lane Holding Company, LLC                                       xx-xxx4011        17-12756 (KJC)
  131     H9 Strawberry Fields Holding Company, LLC                                 xx-xxx4464        17-12609 (KJC)
  132     Hackmatack Investments, LLC                                               xx-xxx8293        17-12653 (KJC)
  133     Haffenburg Investments, LLC                                               xx-xxx1472        17-12659 (KJC)
  134     Haralson Investments, LLC                                                 xx-xxx8946        17-12663 (KJC)
  135     Harringworth Investments, LLC                                             xx-xxx5770        17-12669 (KJC)
  136     Hazelpoint Investments, LLC                                               xx-xxx3824        17-12674 (KJC)
  137     Heilbron Manor Investments, LLC                                           xx-xxx7818        17-12681 (KJC)
  138     Hollyline Holdings, LLC                                                   xx-xxx4412        17-12684 (KJC)
  139     Hollyline Owners, LLC                                                     xx-xxx2556        17-12688 (KJC)
  140     Hornbeam Investments, LLC                                                 xx-xxx9532        17-12694 (KJC)
  141     Idared Investments, LLC                                                   xx-xxx7643        17-12701 (KJC)
  142     Imperial Aly Investments, LLC                                             xx-xxx7940        17-12708 (KJC)
  143     Ironsides Investments, LLC                                                xx-xxx2351        17-12714 (KJC)
  144     Lenni Heights Investments, LLC                                            xx-xxx6691        17-12720 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 03/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
  145     Lilac Meadow Investments, LLC                                             xx-xxx4000        17-12728 (KJC)
  146     Lincolnshire Investments, LLC                                             xx-xxx0533        17-12733 (KJC)
  147     Lonetree Investments, LLC                                                 xx-xxx5194        17-12740 (KJC)
  148     Longbourn Investments, LLC                                                xx-xxx2888        17-12746 (KJC)
  149     M10 Gateshead Holding Company, LLC                                        xx-xxx8924        17-12593 (KJC)
  150     M11 Anchorpoint Holding Company, LLC                                      xx-xxx1946        17-12565 (KJC)
  151     M13 Cablestay Holding Company, LLC                                        xx-xxx9809        17-12795 (KJC)
  152     M14 Crossbeam Holding Company, LLC                                        xx-xxx3109        17-12645 (KJC)
  153     M15 Doubleleaf Holding Company, LLC                                       xx-xxx9523        17-12749 (KJC)
  154     M17 Lincolnshire Holding Company, LLC                                     xx-xxx9895        17-12730 (KJC)
  155     M19 Arrowpoint Holding Company, LLC                                       xx-xxx4378        17-12577 (KJC)
  156     M22 Drawspan Holding Company, LLC                                         xx-xxx0325        17-12764 (KJC)
  157     M24 Fieldpoint Holding Company, LLC                                       xx-xxx6210        17-12791 (KJC)
  158     M25 Centershot Holding Company, LLC                                       xx-xxx2128        17-12583 (KJC)
  159     M26 Archivolt Holding Company, LLC                                        xx-xxx6436        17-12573 (KJC)
  160     M27 Brise Soleil Holding Company, LLC                                     xx-xxx2821        17-12760 (KJC)
  161     M28 Broadsands Holding Company, LLC                                       xx-xxx9424        17-12773 (KJC)
  162     M29 Brynderwen Holding Company, LLC                                       xx-xxx0685        17-12781 (KJC)
  163     M31 Cannington Holding Company, LLC                                       xx-xxx0667        17-12801 (KJC)
  164     M32 Dollis Brook Holding Company, LLC                                     xx-xxx2873        17-12731 (KJC)
  165     M33 Harringworth Holding Company, LLC                                     xx-xxx7830        17-12667 (KJC)
  166     M34 Quarterpost Holding Company, LLC                                      xx-xxx2780        17-12814 (KJC)
  167     M36 Springline Holding Company, LLC                                       xx-xxx0908        17-12584 (KJC)
  168     M37 Topchord Holding Company, LLC                                         xx-xxx2131        17-12662 (KJC)
  169     M38 Pemberley Holding Company, LLC                                        xx-xxx1154        17-12787 (KJC)
  170     M39 Derbyshire Holding Company, LLC                                       xx-xxx6509        17-12692 (KJC)
  171     M40 Longbourn Holding Company, LLC                                        xx-xxx3893        17-12742 (KJC)
  172     M41 Silverthorne Holding Company, LLC                                     xx-xxx6930        17-12838 (KJC)
  173     M43 White Dome Holding Company, LLC                                       xx-xxx1327        17-12706 (KJC)
  174     M44 Wildernest Holding Company, LLC                                       xx-xxx7546        17-12718 (KJC)
  175     M45 Clover Basin Holding Company, LLC                                     xx-xxx6677        17-12618 (KJC)
  176     M46 Owl Ridge Holding Company, LLC                                        xx-xxx0546        17-12759 (KJC)
  177     M48 Vallecito Holding Company, LLC                                        xx-xxx0739        17-12670 (KJC)
  178     M49 Squaretop Holding Company, LLC                                        xx-xxx4325        17-12588 (KJC)
  179     M5 Stepstone Holding Company, LLC                                         xx-xxx1473        17-12601 (KJC)
  180     M50 Wetterhorn Holding Company, LLC                                       xx-xxx9936        17-12689 (KJC)
  181     M51 Coffee Creek Holding Company, LLC                                     xx-xxx2745        17-12624 (KJC)
  182     M53 Castle Pines Holding Company, LLC                                     xx-xxx3398        17-12571 (KJC)
  183     M54 Lonetree Holding Company, LLC                                         xx-xxx2356        17-12737 (KJC)
  184     M56 Haffenburg Holding Company, LLC                                       xx-xxx3780        17-12656 (KJC)
  185     M57 Ridgecrest Holding Company, LLC                                       xx-xxx2759        17-12818 (KJC)
  186     M60 Thunder Basin Holding Company, LLC                                    xx-xxx4560        17-12654 (KJC)
  187     M61 Mineola Holding Company, LLC                                          xx-xxx8989        17-12668 (KJC)
  188     M62 Sagebrook Holding Company, LLC                                        xx-xxx5717        17-12829 (KJC)
  189     M63 Crowfield Holding Company, LLC                                        xx-xxx7092        17-12655 (KJC)
  190     M67 Mountain Spring Holding Company, LLC                                  xx-xxx5385        17-12695 (KJC)
  191     M68 Goosebrook Holding Company, LLC                                       xx-xxx9434        17-12615 (KJC)
  192     M70 Pinney Holding Company, LLC                                           xx-xxx1495        17-12806 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 03/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
  193     M71 Eldredge Holding Company, LLC                                         xx-xxx6338        17-12771 (KJC)
  194     M72 Daleville Holding Company, LLC                                        xx-xxx8670        17-12683 (KJC)
  195     M73 Mason Run Holding Company, LLC                                        xx-xxx5691        17-12748 (KJC)
  196     M74 Varga Holding Company, LLC                                            xx-xxx2322        17-12680 (KJC)
  197     M75 Riley Creek Holding Company, LLC                                      xx-xxx7226        17-12825 (KJC)
  198     M76 Chaplin Holding Company, LLC                                          xx-xxx9267        17-12587 (KJC)
  199     M79 Chestnut Holding Company, LLC                                         xx-xxx0125        17-12595 (KJC)
  200     M80 Hazelpoint Holding Company, LLC                                       xx-xxx2703        17-12672 (KJC)
  201     M83 Mt. Holly Holding Company, LLC                                        xx-xxx7897        17-12703 (KJC)
  202     M85 Glenn Rich Holding Company, LLC                                       xx-xxx7844        17-12599 (KJC)
  203     M86 Steele Hill Holding Company, LLC                                      xx-xxx8312        17-12596 (KJC)
  204     M87 Hackmatack Hills Holding Company, LLC                                 xx-xxx9583        17-12652 (KJC)
  205     M88 Franconia Notch Holding Company, LLC                                  xx-xxx8184        17-12796 (KJC)
  206     M9 Donnington Holding Company, LLC                                        xx-xxx7114        17-12741 (KJC)
  207     M90 Merrimack Valley Holding Company, LLC                                 xx-xxx0547        17-12658 (KJC)
  208     M91 Newville Holding Company, LLC                                         xx-xxx6748        17-12726 (KJC)
  209     M92 Crystal Woods Holding Company, LLC                                    xx-xxx5806        17-12671 (KJC)
  210     M93 Goose Rocks Holding Company, LLC                                      xx-xxx5189        17-12605 (KJC)
  211     M94 Winding Road Holding Company, LLC                                     xx-xxx8229        17-12736 (KJC)
  212     M95 Pepperwood Holding Company, LLC                                       xx-xxx3660        17-12802 (KJC)
  213     M97 Red Wood Holding Company, LLC                                         xx-xxx2190        17-12823 (KJC)
  214     M99 Ironsides Holding Company, LLC                                        xx-xxx8261        17-12710 (KJC)
  215     Mason Run Investments, LLC                                                xx-xxx0644        17-12751 (KJC)
  216     Melody Lane Investments, LLC                                              xx-xxx0252        17-12757 (KJC)
  217     Merrimack Valley Investments, LLC                                         xx-xxx7307        17-12665 (KJC)
  218     Mineola Investments, LLC                                                  xx-xxx9029        17-12673 (KJC)
  219     Monadnock Investments, LLC                                                xx-xxx3513        17-12682 (KJC)
  220     Moravian Investments, LLC                                                 xx-xxx6854        17-12690 (KJC)
  221     Mountain Spring Investments, LLC                                          xx-xxx3294        17-12698 (KJC)
  222     Mt. Holly Investments, LLC                                                xx-xxx7337        17-12707 (KJC)
  223     Mutsu Investments, LLC                                                    xx-xxx8020        17-12719 (KJC)
  224     Newville Investments, LLC                                                 xx-xxx7973        17-12734 (KJC)
  225     Old Carbon Investments, LLC                                               xx-xxx6858        17-12743 (KJC)
  226     Old Maitland Investments, LLC                                             xx-xxx9114        17-12752 (KJC)
  227     Owl Ridge Investments, LLC                                                xx-xxx8792        17-12763 (KJC)
  228     Papirovka Investments, LLC                                                xx-xxx5472        17-12774 (KJC)
  229     Pawtuckaway Investments, LLC                                              xx-xxx3152        17-12783 (KJC)
  230     Pemberley Investments, LLC                                                xx-xxx9040        17-12790 (KJC)
  231     Pemigewasset Investments, LLC                                             xx-xxx6827        17-12800 (KJC)
  232     Pepperwood Investments, LLC                                               xx-xxx7950        17-12804 (KJC)
  233     Pinney Investments, LLC                                                   xx-xxx0132        17-12808 (KJC)
  234     Pinova Investments, LLC                                                   xx-xxx3468        17-12812 (KJC)
  235     Quarterpost Investments, LLC                                              xx-xxx4802        17-12816 (KJC)
  236     Red Woods Investments, LLC                                                xx-xxx6065        17-12824 (KJC)
  237     Ridgecrest Investments, LLC                                               xx-xxx9696        17-12821 (KJC)
  238     Riley Creek Investments, LLC                                              xx-xxx0214        17-12826 (KJC)
  239     Rising Sun Investments, LLC                                               xx-xxx6846        17-12828 (KJC)
  240     Sagebrook Investments, LLC                                                xx-xxx1464        17-12830 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 03/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
  241     Seven Stars Investments, LLC                                              xx-xxx6994        17-12832 (KJC)
  242     Silk City Investments, LLC                                                xx-xxx1465        17-12834 (KJC)
  243     Silver Maple Investments, LLC                                             xx-xxx9699        17-12836 (KJC)
  244     Silverleaf Funding, LLC                                                   xx-xxx9877        17-12837 (KJC)
  245     Silverthorne Investments, LLC                                             xx-xxx8840        17-12582 (KJC)
  246     Springline Investments, LLC                                               xx-xxx7321        17-12585 (KJC)
  247     Squaretop Investments, LLC                                                xx-xxx4466        17-12589 (KJC)
  248     Stayman Investments, LLC                                                  xx-xxx9090        17-12594 (KJC)
  249     Steele Hill Investments, LLC                                              xx-xxx7340        17-12598 (KJC)
  250     Stepstone Investments, LLC                                                xx-xxx7231        17-12606 (KJC)
  251     Strawberry Fields Investments, LLC                                        xx-xxx0355        17-12613 (KJC)
  252     Sturmer Pippin Investments, LLC                                           xx-xxx6686        17-12629 (KJC)
  253     Summerfree Investments, LLC                                               xx-xxx1496        17-12635 (KJC)
  254     Summit Cut Investments, LLC                                               xx-xxx0876        17-12640 (KJC)
  255     Thornbury Farm Investments, LLC                                           xx-xxx3083        17-12651 (KJC)
  256     Thunder Basin Investments, LLC                                            xx-xxx7057        17-12657 (KJC)
  257     Topchord Investments, LLC                                                 xx-xxx4007        17-12664 (KJC)
  258     Vallecito Investments, LLC                                                xx-xxx8552        17-12675 (KJC)
  259     Varga Investments, LLC                                                    xx-xxx7136        17-12685 (KJC)
  260     Wetterhorn Investments, LLC                                               xx-xxx0171        17-12693 (KJC)
  261     White Birch Investments, LLC                                              xx-xxx1555        17-12702 (KJC)
  262     White Dome Investments, LLC                                               xx-xxx2729        17-12709 (KJC)
  263     Whiteacre Funding, LLC                                                    xx-xxx2998        17-12713 (KJC)
  264     Wildernest Investments, LLC                                               xx-xxx1375        17-12723 (KJC)
  265     Willow Grove Investments, LLC                                             xx-xxx6588        17-12732 (KJC)
  266     Winding Road Investments, LLC                                             xx-xxx8169        17-12739 (KJC)
  267     WMF Management, LLC                                                       xx-xxx9238        17-12745 (KJC)
  268     Woodbridge Capital Investments, LLC                                       xx-xxx6081        17-12750 (KJC)
  269     Woodbridge Commercial Bridge Loan Fund 1, LLC                             xx-xxx8318        17-12754 (KJC)
  270     Woodbridge Commercial Bridge Loan Fund 2, LLC                             xx-xxx3649        17-12758 (KJC)
  271     Woodbridge Investments, LLC                                               xx-xxx8557        17-12761 (KJC)
  272     Woodbridge Mezzanine Fund 1, LLC                                          xx-xxx2753        17-12765 (KJC)
  273     Woodbridge Mortgage Investment Fund 1, LLC                                xx-xxx0172        17-12768 (KJC)
  274     Woodbridge Mortgage Investment Fund 2, LLC                                xx-xxx7030        17-12772 (KJC)
  275     Woodbridge Mortgage Investment Fund 3, LLC                                xx-xxx9618        17-12776 (KJC)
  276     Woodbridge Mortgage Investment Fund 3A, LLC                               xx-xxx8525        17-12780 (KJC)
  277     Woodbridge Mortgage Investment Fund 4, LLC                                xx-xxx1203        17-12784 (KJC)
  278     Woodbridge Structured Funding, LLC                                        xx-xxx3593        17-12786 (KJC)
  279     Zestar Investments, LLC                                                   xx-xxx3233        17-12792 (KJC)
          SECOND ROUND FILERS: FILED 02/09/2018
  280     Carbondale Glen Lot L-2, LLC                                              xx-xxx1369        18-10284 (KJC)
  281     Carbondale Peaks Lot L-1, LLC                                             xx-xxx6563        18-10286 (KJC)
  282     H18 Massabesic Holding Company, LLC                                       xx-xxx0852        18-10287 (KJC)
  283     H33 Hawthorn Holding Company, LLC                                         xx-xxx4765        18-10288 (KJC)
  284     H50 Sachs Bridge Holding Company, LLC                                     xx-xxx3049        18-10289 (KJC)
  285     H64 Pennhurst Holding Company, LLC                                        xx-xxx1251        18-10290 (KJC)
  286     Hawthorn Investments, LLC                                                 xx-xxx3463        18-10291 (KJC)
  287     Lilac Valley Investments, LLC                                             xx-xxx7274        18-10292 (KJC)


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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                           Case No. 17-12560 (KJC)
(Jointly Administered)                                                                           Reporting Period: 03/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                      EIN #               Case #
  288     Massabesic Investments, LLC                                                 xx-xxx6893        18-10293 (KJC)
  289     M58 Springvale Holding Company, LLC                                         xx-xxx6656        18-10294 (KJC)
  290     M96 Lilac Valley Holding Company, LLC                                       xx-xxx0412        18-10295 (KJC)
  291     Pennhurst Investments, LLC                                                  xx-xxx7313        18-10296 (KJC)
  292     Sachs Bridge Investments, LLC                                               xx-xxx8687        18-10297 (KJC)
  293     Springvale Investments, LLC                                                 xx-xxx6181        18-10298 (KJC)
          THIRD ROUND FILERS: FILED 03/09/2018
  294     Bellflower Funding, LLC                                                     xx-xxx0156        18-10507 (KJC)
  295     Wall 123, LLC                                                               xx-xxx2520        18-10508 (KJC)
          FOURTH ROUND FILERS: FILED 03/23/2018
  296     695 Buggy Circle, LLC                                                       xx-xxx4827        18-10670 (KJC)
  297     Buggy Circle Holdings, LLC                                                  xx-xxx0850        18-10672 (KJC)
  298     Deerfield Park Investments, LLC                                             xx-xxx2296        18-10673 (KJC)
  299     Kirkstead Investments, LLC                                                  xx-xxx3696        18-10675 (KJC)
  300     M16 Kirkstead Holding Company, LLC                                          xx-xxx8119        18-10676 (KJC)
  301     H10 Deerfield Park Holding Company, LLC                                     xx-xxx8117        18-10674 (KJC)
  302     Blazingstar Funding, LLC                                                    xx-xxx3953        18-10671 (KJC)
          FIFTH ROUND FILERS: FILED 03/27/2018
  303     Frog Rock Investments, LLC                                                  xx-xxx0623        18-10733 (KJC)
  304     M77 Frog Rock Holding Company, LLC                                          xx-xxx1849        18-10734 (KJC)
  305     Mount Washington Investments, LLC                                           xx-xxx2061        18-10736 (KJC)
  306     M89 Mount Washington Holding Company, LLC                                   xx-xxx8012        18-10735 (KJC)

        * The list shown constitutes all of the entities whose bankruptcy petitions were filed between December 2017 and March
          2018, all of the entities whose bankruptcy cases are administered under the jointly administered group of entities
          reporting under Woodbridge Group of Companies, LLC., case no. 17-12560.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
Reporting Period: March 1-31, 2018
                                                               Woodbridge Group of           Pennhurst         215 North 12th        Anchorpoint
                                                      Debtor: Companies, LLC et al.*      Investments LLC       Street, LLC        Investments LLC
                                                     Case No.:     17-12560                   18-10296           17-12561              17-12566
CASH: BEGINNING OF PERIOD                                      $        50,795,953       $         110,100   $           28,089   $           3,897

RECEIPTS
Sale of assets / Loan Payoff                                              1,588,538                     -                    -                   -
Rent and Interest Receipts                                                   79,436               119,420                4,619              12,152
Other Receipts                                                                    -                     -                    -                   -
DIP loans                                                                         -                     -                    -                   -
Property Tax Refund                                                          47,850                     -                    -                   -
Utility Refund                                                                  478                     -                    -                   -
Insurance Refund                                                             36,980                     -                    -                   -
Structured Settlements                                                       57,815                     -                    -                   -
TOTAL RECEIPTS                                                            1,811,098               119,420                4,619              12,152

DISBURSEMENTS
COS, Rentals                                                                 44,525                34,041                  825               1,215
Bank Service Charge                                                           8,005                    13                    -                   -
Security Deposit Refunds                                                          -                     -                    -                   -
Dues and Subscriptions                                                        1,166                     -                    -                   -
Information Technology                                                       21,380                     -                    -                   -
Employee Benefits                                                            22,302                     -                    -                   -
Insurance                                                                     4,319                     -                    -                   -
Equipment Lease                                                                 391                     -                    -                   -
Transfers among affiliate entities                                         (206,856)               80,799               18,099              10,899
License and Filing Fees                                                       9,213                     -                    -                   -
Office Expense                                                                9,666                     -                    -                   -
Office Supplies                                                               2,979                     -                    -                   -
Outside Services                                                            322,824                     -                    -                   -
Moving                                                                            -                     -                    -                   -
Parking                                                                       9,373                     -                    -                   -
Payroll Net Wages                                                           356,571                     -                    -                   -
Payroll Taxes                                                               165,322                     -                    -                   -
Payroll Net Wages Mercer Vine                                                     -                     -                    -                   -
Payroll Taxes Mercer Vine                                                         -                     -                    -                   -
Payroll, Net Wages Colorado Affiliate                                             -                     -                    -                   -
Payroll Taxes Colorado Affiliate                                                  -                     -                    -                   -
Payroll-Service Fees                                                            630                     -                    -                   -
Payroll levees paid                                                             776                     -                    -                   -
Independent Contractors                                                           -                     -                    -                   -
Postage and Delivery                                                          8,054                     -                    -                   -
Rent                                                                         95,578                     -                    -                   -
Repairs and Maintenance                                                       2,435                     -                    -                   -
Security                                                                        829                     -                    -                   -
Storage                                                                           -                     -                    -                   -
Telephone and Internet Expense                                               13,757                     -                    -                   -
Utilities                                                                     4,306                     -                    -                   -
Deposits / Retainers                                                         18,383                     -                    -                   -
Legal - Bankruptcy                                                        1,898,488                     -                    -                   -
Consulting - Bankruptcy                                                     746,355                     -                    -                   -
Legal Fees - Ordinary Course                                                138,732                     -                    -                   -
Consulting - Ordinary Course                                                143,168
U.S. Trustee Fees                                                                 -                     -                    -                   -
Interest, short term notes                                                  937,185                     -                    -                   -
Interest, DIP loan                                                                -                     -                    -                   -
Property Taxes                                                              109,164                     -                    -                   -
Board Fees                                                                        -                     -                    -                   -
Travel Allowance                                                             38,383                     -                    -                   -
Taxes, other                                                                  2,698                     -                    -                   -
Structured Settlements                                                            -                     -                    -                   -
Capitalized Construction Costs                                            6,022,240                     -                    -                   -
TOTAL DISBURSEMENTS                                               $      10,952,341      $        114,853    $          18,924    $         12,114

Net cash flow                                                             (9,141,243)               4,567              (14,306)                 38

CASH: END OF MONTH                                                $      41,654,711      $        114,667    $          13,783    $          3,935
*Cash receipts and disbursements for the United Bank and East
West Bank DIP accounts are shown combined. Activtiy in the
Comerica bank accounts consisted only of bank charges and fees.




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WOODBRIDGE GROUP OF COMPANIES, LLC et
(Jointly Administered)
Cash Receipts and Disbursements*
Reporting Period: March 1-31, 2018
                                                                     Donnington           Fieldpoint           Gateshead     Carbondale Spruce     Topchord
                                                      Debtor:      Investments LLC     Investments LLC      Investments LLC      101 LLC        Investments LLC
                                                     Case No.:         17-12744            17-12794             17-12597         17-12568           17-12664
CASH: BEGINNING OF PERIOD                                         $          17,713   $           7,726    $          20,604 $           6,819 $             452

RECEIPTS
Sale of assets / Loan Payoff                                                     -                   -                    -                 -                   -
Rent and Interest Receipts                                                  12,440               8,278               23,578                 0               1,050
Other Receipts                                                                   -                   -                    -                                     -
DIP loans                                                                        -                   -                    -                 -                   -
Property Tax Refund                                                              -                   -                    -                 -                   -
Utility Refund                                                                   -                   -                    -                 -                   -
Insurance Refund                                                                 -                   -                    -                 -                   -
Structured Settlements                                                           -                   -                    -                 -                   -
TOTAL RECEIPTS                                                              12,440               8,278               23,578                 0               1,050

DISBURSEMENTS
COS, Rentals                                                                 1,244                 817                2,604                 -                105
Bank Service Charge                                                              -                   -                    -                 -                  4
Security Deposit Refunds                                                         -                   -                    -                 -                  -
Dues and Subscriptions                                                           -                   -                    -                 -                  -
Information Technology                                                           -                   -                    -                 -                  -
Employee Benefits                                                                -                   -                    -                 -                  -
Insurance                                                                        -                   -                    -                 -                  -
Equipment Lease                                                                  -                   -                    -                 -                  -
Transfers among affiliate entities                                          11,195              10,879               23,993                 -                897
License and Filing Fees                                                          -                   -                    -                 -                  -
Office Expense                                                                   -                   -                    -                 -                  -
Office Supplies                                                                  -                   -                    -                 -                  -
Outside Services                                                                 -                   -                    -                 -                  -
Moving                                                                           -                   -                    -                 -                  -
Parking                                                                          -                   -                    -                 -                  -
Payroll Net Wages                                                                -                   -                    -                 -                  -
Payroll Taxes                                                                    -                   -                    -                 -                  -
Payroll Net Wages Mercer Vine                                                    -                   -                    -                 -                  -
Payroll Taxes Mercer Vine                                                        -                   -                    -                 -                  -
Payroll, Net Wages Colorado Affiliate                                            -                   -                    -                 -                  -
Payroll Taxes Colorado Affiliate                                                 -                   -                    -                 -                  -
Payroll-Service Fees                                                             -                   -                    -                 -                  -
Payroll levees paid                                                              -                   -                    -                 -                  -
Independent Contractors                                                          -                   -                    -                 -                  -
Postage and Delivery                                                             -                   -                    -                 -                  -
Rent                                                                             -                   -                    -                 -                  -
Repairs and Maintenance                                                          -                   -                    -                 -                  -
Security                                                                         -                   -                    -                 -                  -
Storage                                                                          -                   -                    -                 -                  -
Telephone and Internet Expense                                                   -                   -                    -                 -                  -
Utilities                                                                        -                   -                    -                 -                  -
Deposits / Retainers                                                             -                   -                    -                 -                  -
Legal - Bankruptcy                                                               -                   -                    -                 -                  -
Consulting - Bankruptcy                                                          -                   -                    -                 -                  -
Legal Fees - Ordinary Course                                                     -                   -                    -                 -                  -
Consulting - Ordinary Course
U.S. Trustee Fees                                                                -                   -                    -                 -                   -
Interest, short term notes                                                       -                   -                    -                 -                   -
Interest, DIP loan                                                               -                   -                    -                 -                   -
Property Taxes                                                                   -                   -                    -                 -                   -
Board Fees                                                                       -                   -                    -                 -                   -
Travel Allowance                                                                 -                   -                    -                 -                   -
Taxes, other                                                                     -                   -                    -                 -                   -
Structured Settlements                                                           -                   -                    -                 -                   -
Capitalized Construction Costs                                                   -                   -                    -                 -                   -
TOTAL DISBURSEMENTS                                               $         12,439    $         11,696     $         26,597    $            -   $           1,006

Net cash flow                                                                    1               (3,418)             (3,019)                0                 44

CASH: END OF MONTH                                                $         17,713    $          4,308     $         17,585    $        6,819   $            496
*Cash receipts and disbursements for the United Bank and East
West Bank DIP accounts are shown combined. Activtiy in the
Comerica bank accounts consisted only of bank charges and fees.




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WOODBRIDGE GROUP OF COMPANIES, LLC et
(Jointly Administered)
Cash Receipts and Disbursements*
Reporting Period: March 1-31, 2018
                                                                      Hawthorne        All other
                                                      Debtor:      Investments LLC     Debtors          Total
                                                     Case No.:         18-10291
CASH: BEGINNING OF PERIOD                                         $         (18,727) $           -   $ 50,972,625

RECEIPTS
Sale of assets / Loan Payoff                                                      -              -      1,588,538
Rent and Interest Receipts                                                    6,377              -        267,351
Other Receipts                                                                    -              -              -
DIP loans                                                                         -              -              -
Property Tax Refund                                                               -              -         47,850
Utility Refund                                                                    -              -            478
Insurance Refund                                                                  -              -         36,980
Structured Settlements                                                            -              -         57,815
TOTAL RECEIPTS                                                                6,377              -      1,999,013

DISBURSEMENTS
COS, Rentals                                                                      -              -         85,377
Bank Service Charge                                                               4              -          8,026
Security Deposit Refunds                                                          -              -              -
Dues and Subscriptions                                                            -              -          1,166
Information Technology                                                            -              -         21,380
Employee Benefits                                                                 -              -         22,302
Insurance                                                                         -              -          4,319
Equipment Lease                                                                   -              -            391
Transfers among affiliate entities                                                -              -        (50,095)
License and Filing Fees                                                           -              -          9,213
Office Expense                                                                    -              -          9,666
Office Supplies                                                                   -              -          2,979
Outside Services                                                                  -              -        322,824
Moving                                                                            -              -              -
Parking                                                                           -              -          9,373
Payroll Net Wages                                                                 -              -        356,571
Payroll Taxes                                                                     -              -        165,322
Payroll Net Wages Mercer Vine                                                     -              -              -
Payroll Taxes Mercer Vine                                                         -              -              -
Payroll, Net Wages Colorado Affiliate                                             -              -              -
Payroll Taxes Colorado Affiliate                                                  -              -              -
Payroll-Service Fees                                                              -              -            630
Payroll levees paid                                                               -              -            776
Independent Contractors                                                           -              -              -
Postage and Delivery                                                              -              -          8,054
Rent                                                                              -              -         95,578
Repairs and Maintenance                                                           -              -          2,435
Security                                                                          -              -            829
Storage                                                                           -              -              -
Telephone and Internet Expense                                                    -              -         13,757
Utilities                                                                         -              -          4,306
Deposits / Retainers                                                              -              -         18,383
Legal - Bankruptcy                                                                -              -      1,898,488
Consulting - Bankruptcy                                                           -              -        746,355
Legal Fees - Ordinary Course                                                      -              -        138,732
Consulting - Ordinary Course                                                                              143,168
U.S. Trustee Fees                                                                 -              -              -
Interest, short term notes                                                        -              -        937,185
Interest, DIP loan                                                                -              -              -
Property Taxes                                                                    -              -        109,164
Board Fees                                                                        -              -              -
Travel Allowance                                                                  -              -         38,383
Taxes, other                                                                      -              -          2,698
Structured Settlements                                                            -              -              -
Capitalized Construction Costs                                                    -              -      6,022,240
TOTAL DISBURSEMENTS                                               $               4   $          -   $ 11,149,975

Net cash flow                                                                 6,373              -     (9,150,962)

CASH: END OF MONTH                                                $         (12,354) $           -   $ 41,821,663
*Cash receipts and disbursements for the United Bank and East
West Bank DIP accounts are shown combined. Activtiy in the
Comerica bank accounts consisted only of bank charges and fees.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                             Cumulative: December 4, 2017
                                         - March 31, 2018
                                                        Debtor:   Woodbridge Group of          Pennhurst         215 North 12th         Anchorpoint
                                                                 Companies, LLC et al.*     Investments LLC        Street, LLC        Investments LLC
                                                      Case No.:       17-12560                 18-10296             17-12561             17-12566
CASH: BEGINNING OF PERIOD                                       $           13,452,999     $          39,248   $            13,850   $           3,915

RECEIPTS
Sale of assets                                                              16,868,463                    -                    -                    -
Rent and Interest Receipts                                                     489,596              467,416               35,953               36,456
Other Receipts                                                                  94,364                    -                    1                    0
DIP loans                                                                   54,000,000                    -                    -                    -
Property Tax Refund                                                             75,160                    -                    -                    -
Utility Refund                                                                   4,272                    -                    -                    -
Insurance Refund                                                                60,887                    -                    -                    -
Structured Settlements                                                          82,025                    -                    -                    -
TOTAL RECEIPTS                                                              71,674,767              467,416               35,955               36,457

DISBURSEMENTS
COS, Rentals                                                                    68,845              218,907                2,751                3,645
Bank Service Charge                                                             19,878                   21                    -                   38
Security Deposit Refunded                                                            -                    -                    -                    -
Dues and Subscriptions                                                          47,972                    -                    -                    -
Information Technology                                                         183,737                    -                    -                    -
Employee Benefits                                                              145,352                    -                    -                    -
Insurance                                                                      356,434                    -                    -                    -
Equipment Lease                                                                    783                    -                    -                    -
Transfers among affiliate entities                                            (447,506)             173,069               33,270               32,753
License and Filing Fees                                                         10,313                    -                    -                    -
Office Expense                                                                  28,371                    -                    -                    -
Office Supplies                                                                  6,968                    -                    -                    -
Outside Services                                                               354,830                    -                    -                    -
Moving                                                                          17,621                    -                    -                    -
Parking                                                                         31,148                    -                    -                    -
Payroll Net Wages                                                            2,276,771                    -                    -                    -
Payroll Taxes                                                                  985,179                    -                    -                    -
Payroll Net Wages Mercer Vine                                                   60,341                    -                    -                    -
Payroll Taxes Mercer Vine                                                       17,578                    -                    -                    -
Payroll, Net Wages Colorado Affiliate                                            8,380                    -                    -                    -
Payroll Taxes Colorado Affiliate                                                 4,326                    -                    -                    -
Payroll-Service Fees                                                             3,640                    -                    -                    -
Payroll levees paid                                                              2,385                    -                    -                    -
Independent Contractors                                                          6,000                    -                    -                    -
Postage and Delivery                                                            19,884                    -                    -                    -
Rent Expense                                                                   341,212                    -                    -                    -
Repairs and Maintenance                                                         19,641                    -                    -                    -
Security                                                                         2,183                    -                    -                    -
Storage                                                                          6,170                    -                    -                    -
Telephone and Internet Expense                                                  29,246                    -                    -                    -
Utilities                                                                       15,504                    -                    -                    -
Deposits / Retainers                                                            18,383
Legal - Bankruptcy                                                           1,898,488                     -                     -                   -
Consulting - Bankruptcy                                                        746,355                     -                     -                   -
Legal Fees - Ordinary Course                                                   640,123                     -                     -                   -
Consulting - Ordinary Course                                                   143,168
U.S. Trustee Fees                                                              175,825                    -                    -                    -
Interest, short term notes                                                     937,185                    -                    -                    -
Interest, DIP loan                                                           1,764,417                    -                    -                    -
Property Taxes                                                                 792,306                    -                    -                    -
Board Fees                                                                     296,577                    -                    -                    -
Travel Allowance                                                                38,383                    -                    -                    -
Taxes, other                                                                    10,320                    -                    -                    -
Structured Settlements                                                           1,893                    -                    -                    -
Capitalized Construction Costs                                              31,386,448                    -                    -                    -
TOTAL DISBURSEMENTS                                               $         43,473,054     $        391,997    $          36,022     $         36,436

Net cash flow                                                               28,201,712               75,419                   (67)                 20

CASH: END OF MONTH                                                $         41,654,711     $        114,667    $          13,783     $          3,935
*Cash receipts and disbursements for the United Bank and East
West Bank DIP accounts are shown combined. Activtiy in the
Comerica bank accounts consisted only of bank charges and fees.




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WOODBRIDGE GROUP OF COMPANIES, LLC et
(Jointly Administered)
Cash Receipts and Disbursements*
                             Cumulative: December 4, 2017
                                         - March 31, 2018
                                                        Debtor:    Donnington           Fieldpoint          Gateshead       Carbondale Spruce     Topchord
                                                                 Investments LLC     Investments LLC     Investments LLC        101 LLC        Investments LLC
                                                      Case No.:     17-12744            17-12794            17-12597            17-12568          17-12664
CASH: BEGINNING OF PERIOD                                       $          17,710   $           4,308   $          17,581   $          13,447 $             571

RECEIPTS
Sale of assets                                                                 -                   -                   -                   -                  -
Rent and Interest Receipts                                                37,319              26,323              69,329              18,074              3,000
Other Receipts                                                                 1                   0                 745                   1                  -
DIP loans                                                                      -                   -                   -                   -                  -
Property Tax Refund                                                            -                   -                   -                   -                  -
Utility Refund                                                                 -                   -                   -                   -                  -
Insurance Refund                                                               -                   -                   -                   -                  -
Structured Settlements                                                         -                   -                   -                   -                  -
TOTAL RECEIPTS                                                            37,320              26,323              70,074              18,075              3,000

DISBURSEMENTS
COS, Rentals                                                               3,732               2,833              13,397               5,733              1,229
Bank Service Charge                                                            -                   -                   -                  40                  8
Security Deposit Refunded                                                      -                   -                   -               6,071                  -
Dues and Subscriptions                                                         -                   -                   -                   -                  -
Information Technology                                                         -                   -                   -                   -                  -
Employee Benefits                                                              -                   -                   -                   -                  -
Insurance                                                                      -                   -                   -                   -                  -
Equipment Lease                                                                -                   -                   -                   -                  -
Transfers among affiliate entities                                        33,585              23,489              56,674              12,859              1,838
License and Filing Fees                                                        -                   -                   -                   -                  -
Office Expense                                                                 -                   -                   -                   -                  -
Office Supplies                                                                -                   -                   -                   -                  -
Outside Services                                                               -                   -                   -                   -                  -
Moving                                                                         -                   -                   -                   -                  -
Parking                                                                        -                   -                   -                   -                  -
Payroll Net Wages                                                              -                   -                   -                   -                  -
Payroll Taxes                                                                  -                   -                   -                   -                  -
Payroll Net Wages Mercer Vine                                                  -                   -                   -                   -                  -
Payroll Taxes Mercer Vine                                                      -                   -                   -                   -                  -
Payroll, Net Wages Colorado Affiliate                                          -                   -                   -                   -                  -
Payroll Taxes Colorado Affiliate                                               -                   -                   -                   -                  -
Payroll-Service Fees                                                           -                   -                   -                   -                  -
Payroll levees paid                                                            -                   -                   -                   -                  -
Independent Contractors                                                        -                   -                   -                   -                  -
Postage and Delivery                                                           -                   -                   -                   -                  -
Rent Expense                                                                   -                   -                   -                   -                  -
Repairs and Maintenance                                                        -                   -                   -                   -                  -
Security                                                                       -                   -                   -                   -                  -
Storage                                                                        -                   -                   -                   -                  -
Telephone and Internet Expense                                                 -                   -                   -                   -                  -
Utilities                                                                      -                   -                   -                   -                  -
Deposits / Retainers
Legal - Bankruptcy                                                              -                   -                   -                  -                  -
Consulting - Bankruptcy                                                         -                   -                   -                  -                  -
Legal Fees - Ordinary Course                                                    -                   -                   -                  -                  -
Consulting - Ordinary Course
U.S. Trustee Fees                                                              -                   -                   -                   -                  -
Interest, short term notes                                                     -                   -                   -                   -                  -
Interest, DIP loan                                                             -                   -                   -                   -                  -
Property Taxes                                                                 -                   -                   -                   -                  -
Board Fees                                                                     -                   -                   -                   -                  -
Travel Allowance                                                               -                   -                   -                   -                  -
Taxes, other                                                                   -                   -                   -                   -                  -
Structured Settlements                                                         -                   -                   -                   -                  -
Capitalized Construction Costs                                                 -                   -                   -                   -                  -
TOTAL DISBURSEMENTS                                               $       37,317    $         26,323    $         70,071    $         24,702    $         3,075

Net cash flow                                                                  3                   0                   3              (6,628)               (75)

CASH: END OF MONTH                                                $       17,713    $          4,308    $         17,585    $          6,819    $          496
*Cash receipts and disbursements for the United Bank and East
West Bank DIP accounts are shown combined. Activtiy in the
Comerica bank accounts consisted only of bank charges and fees.




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WOODBRIDGE GROUP OF COMPANIES, LLC et
(Jointly Administered)
Cash Receipts and Disbursements*
                             Cumulative: December 4, 2017
                                         - March 31, 2018
                                                        Debtor:      Hawthorne           All other
                                                                  Investments LLC        Debtors             Total
                                                      Case No.:
CASH: BEGINNING OF PERIOD                                         $             -    $               -   $   13,563,629

RECEIPTS
Sale of assets                                                                  -                    -       16,868,463
Rent and Interest Receipts                                                 17,528                    -        1,200,995
Other Receipts                                                                  -                    -           95,113
DIP loans                                                                       -                    -       54,000,000
Property Tax Refund                                                             -                    -           75,160
Utility Refund                                                                  -                    -            4,272
Insurance Refund                                                                -                    -           60,887
Structured Settlements                                                          -                    -           82,025
TOTAL RECEIPTS                                                             17,528                    -       72,386,914

DISBURSEMENTS
COS, Rentals                                                                    -                    -          321,073
Bank Service Charge                                                             8                    -           19,993
Security Deposit Refunded                                                       -                    -            6,071
Dues and Subscriptions                                                          -                    -           47,972
Information Technology                                                          -                    -          183,737
Employee Benefits                                                               -                    -          145,352
Insurance                                                                       -                    -          356,434
Equipment Lease                                                                 -                    -              783
Transfers among affiliate entities                                         29,874                    -          (50,095)
License and Filing Fees                                                         -                    -           10,313
Office Expense                                                                  -                    -           28,371
Office Supplies                                                                 -                    -            6,968
Outside Services                                                                -                    -          354,830
Moving                                                                          -                    -           17,621
Parking                                                                         -                    -           31,148
Payroll Net Wages                                                               -                    -        2,276,771
Payroll Taxes                                                                   -                    -          985,179
Payroll Net Wages Mercer Vine                                                   -                    -           60,341
Payroll Taxes Mercer Vine                                                       -                    -           17,578
Payroll, Net Wages Colorado Affiliate                                           -                    -            8,380
Payroll Taxes Colorado Affiliate                                                -                    -            4,326
Payroll-Service Fees                                                            -                    -            3,640
Payroll levees paid                                                             -                    -            2,385
Independent Contractors                                                         -                    -            6,000
Postage and Delivery                                                            -                    -           19,884
Rent Expense                                                                    -                    -          341,212
Repairs and Maintenance                                                         -                    -           19,641
Security                                                                        -                    -            2,183
Storage                                                                         -                    -            6,170
Telephone and Internet Expense                                                  -                    -           29,246
Utilities                                                                       -                    -           15,504
Deposits / Retainers                                                                                             18,383
Legal - Bankruptcy                                                              -                    -        1,898,488
Consulting - Bankruptcy                                                         -                    -          746,355
Legal Fees - Ordinary Course                                                    -                    -          640,123
Consulting - Ordinary Course                                                                                    143,168
U.S. Trustee Fees                                                               -                    -          175,825
Interest, short term notes                                                      -                    -          937,185
Interest, DIP loan                                                              -                    -        1,764,417
Property Taxes                                                                  -                    -          792,306
Board Fees                                                                      -                    -          296,577
Travel Allowance                                                                -                    -           38,383
Taxes, other                                                                    -                    -           10,320
Structured Settlements                                                          -                    -            1,893
Capitalized Construction Costs                                                  -                    -       31,386,448
TOTAL DISBURSEMENTS                                               $        29,882    $               -   $   44,128,880

Net cash flow                                                             (12,354)                   -       28,258,035

CASH: END OF MONTH                                                $       (12,354) $                 -   $   41,821,663
*Cash receipts and disbursements for the United Bank and East
West Bank DIP accounts are shown combined. Activtiy in the
Comerica bank accounts consisted only of bank charges and fees.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                  Reporting Period: 03/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                            Debtors       From Escrow                Total
 No.                          Debtor Name                Case No.       Disbursements      on Behalf            Disbursements
  1      1.Woodbridge Group of Companies, LLC         17-12560 (KJC)          4,547,438                 -                 4,547,438
  2      215 North 12th Street, LLC                   17-12561 (KJC)             18,924                 -                    18,924
  3      Addison Park Investments, LLC                17-12563 (KJC)            204,099                 -                   204,099
  4      Anchorpoint Investments, LLC                 17-12566 (KJC)             12,114                 -                    12,114
  5      Arborvitae Investments, LLC                  17-12572 (KJC)              1,683                 -                     1,683
  6      Archivolt Investments, LLC                   17-12574 (KJC)                  -                 -                         -
  7      Arlington Ridge Investments, LLC             17-12576 (KJC)            103,688                 -                   103,688
  8      Arrowpoint Investments, LLC                  17-12578 (KJC)              1,683                 -                     1,683
  9      Baleroy Investments, LLC                     17-12580 (KJC)              4,115                 -                     4,115
 10      Basswood Holding, LLC                        17-12600 (KJC)                  -                 -                         -
 11      Bay Village Investments, LLC                 17-12604 (KJC)            165,807                 -                   165,807
 12      Bear Brook Investments, LLC                  17-12610 (KJC)              1,683                 -                     1,683
 13      Beech Creek Investments, LLC                 17-12616 (KJC)              3,118                 -                     3,118
 14      Bishop White Investments, LLC                17-12623 (KJC)            215,263                 -                   215,263
 15      Black Bass Investments, LLC                  17-12641 (KJC)              1,783                 -                     1,783
 16      Black Locust Investments, LLC                17-12648 (KJC)              1,683                 -                     1,683
 17      Bluff Point Investments, LLC                 17-12722 (KJC)             19,490                 -                    19,490
 18      Bowman Investments, LLC                      17-12753 (KJC)              1,713                 -                     1,713
 19      Bramley Investments, LLC                     17-12769 (KJC)              2,916                 -                     2,916
 20      Brise Soleil Investments, LLC                17-12762 (KJC)              4,708                 -                     4,708
 21      Broadsands Investments, LLC                  17-12777 (KJC)              5,629                 -                     5,629
 22      Brynderwen Investments, LLC                  17-12793 (KJC)                  -                 -                         -
 23      Cablestay Investments, LLC                   17-12798 (KJC)              8,635                 -                     8,635
 24      Cannington Investments, LLC                  17-12803 (KJC)              4,542                 -                     4,542
 25      Carbondale Doocy, LLC                        17-12805 (KJC)                  -                 -                         -
 26      Carbondale Glen Lot A-5, LLC                 17-12807 (KJC)              1,683                 -                     1,683
 27      Carbondale Glen Lot D-22, LLC                17-12809 (KJC)             11,464                 -                    11,464
 28      Carbondale Glen Lot E-24, LLC                17-12811 (KJC)              1,683                 -                     1,683
 29      Carbondale Glen Lot GV-13, LLC               17-12813 (KJC)              1,683                 -                     1,683
 30      Carbondale Glen Lot SD-14, LLC               17-12817 (KJC)              1,713                 -                     1,713
 31      Carbondale Glen Lot SD-23, LLC               17-12815 (KJC)              1,713                 -                     1,713
 32      Carbondale Glen Mesa Lot 19, LLC             17-12819 (KJC)              1,713                 -                     1,713
 33      Carbondale Glen River Mesa, LLC              17-12820 (KJC)             30,910                 -                    30,910
 34      Carbondale Glen Sundance Ponds, LLC          17-12822 (KJC)             13,704                 -                    13,704
 35      Carbondale Glen Sweetgrass Vista, LLC        17-12564 (KJC)              4,358                 -                     4,358
 36      Carbondale Spruce 101, LLC                   17-12568 (KJC)                  -                 -                         -
 37      Carbondale Sundance Lot 15, LLC              17-12569 (KJC)              1,683                 -                     1,683
 38      Carbondale Sundance Lot 16, LLC              17-12570 (KJC)              2,953                 -                     2,953
 39      Castle Pines Investments, LLC                17-12581 (KJC)              1,683                 -                     1,683
 40      Centershot Investments, LLC                  17-12586 (KJC)                 90                 -                        90
 41      Chaplin Investments, LLC                     17-12592 (KJC)              1,781                 -                     1,781
 42      Chestnut Investments, LLC                    17-12603 (KJC)             95,468                 -                    95,468
 43      Chestnut Ridge Investments, LLC              17-12614 (KJC)             72,829                 -                    72,829
 44      Clover Basin Investments, LLC                17-12621 (KJC)              6,191                 -                     6,191
 45      Coffee Creek Investments, LLC                17-12627 (KJC)              1,783                 -                     1,783
 46      Craven Investments, LLC                      17-12636 (KJC)             32,351                 -                    32,351
 47      Crossbeam Investments, LLC                   17-12650 (KJC)                  -                 -                         -
 48      Crowfield Investments, LLC                   17-12660 (KJC)                 92                 -                        92
 49      Crystal Valley Holdings, LLC                 17-12666 (KJC)                  -                 -                         -
 50      Crystal Woods Investments, LLC               17-12676 (KJC)              1,683                 -                     1,683
 51      Cuco Settlement, LLC                         17-12679 (KJC)                  -                 -                         -
 52      Daleville Investments, LLC                   17-12687 (KJC)              1,781                 -                     1,781
 53      Derbyshire Investments, LLC                  17-12696 (KJC)              6,593                 -                     6,593
 54      Diamond Cove Investments, LLC                17-12705 (KJC)             13,000                 -                    13,000
 55      Dixville Notch Investments, LLC              17-12716 (KJC)              1,683                 -                     1,683
 56      Dogwood Valley Investments, LLC              17-12727 (KJC)              1,683                 -                     1,683
 57      Dollis Brook Investments, LLC                17-12735 (KJC)             20,780                 -                    20,780
 58      Donnington Investments, LLC                  17-12744 (KJC)             12,439                 -                    12,439
 59      Doubleleaf Investments, LLC                  17-12755 (KJC)                  -                 -                         -
 60      Drawspan Investments, LLC                    17-12767 (KJC)                550                 -                       550



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                  Reporting Period: 03/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                            Debtors       From Escrow                Total
 No.                       Debtor Name                   Case No.       Disbursements      on Behalf            Disbursements
  61     Eldredge Investments, LLC                    17-12775 (KJC)             53,021                 -                    53,021
  62     Elstar Investments, LLC                      17-12782 (KJC)             28,079                 -                    28,079
  63     Emerald Lake Investments, LLC                17-12788 (KJC)                  -                 -                         -
  64     Fieldpoint Investments, LLC                  17-12794 (KJC)             11,696                 -                    11,696
  65     Franconia Notch Investments, LLC             17-12797 (KJC)              1,683                 -                     1,683
  66     Gateshead Investments, LLC                   17-12597 (KJC)             26,597                 -                    26,597
  67     Glenn Rich Investments, LLC                  17-12602 (KJC)                583                 -                       583
  68     Goose Rocks Investments, LLC                 17-12611 (KJC)            422,139                 -                   422,139
  69     Goosebrook Investments, LLC                  17-12617 (KJC)              2,434                 -                     2,434
  70     Graeme Park Investments, LLC                 17-12622 (KJC)             98,943                 -                    98,943
  71     Grand Midway Investments, LLC                17-12628 (KJC)            209,860                 -                   209,860
  72     Gravenstein Investments, LLC                 17-12632 (KJC)            344,130                 -                   344,130
  73     Green Gables Investments, LLC                17-12637 (KJC)             32,041                 -                    32,041
  74     Grenadier Investments, LLC                   17-12643 (KJC)              1,713                 -                     1,713
  75     Grumblethorpe Investments, LLC               17-12649 (KJC)              1,683                 -                     1,683
 76      H11 Silk City Holding Company, LLC           17-12833 (KJC)                  -                 -                         -
 77      H12 White Birch Holding Company, LLC         17-12699 (KJC)                  -                 -                         -
 78      H13 Bay Village Holding Company, LLC         17-12591 (KJC)                  -                 -                         -
  79     H14 Dixville Notch Holding Company, LLC      17-12712 (KJC)                  -                 -                         -
  80     H15 Bear Brook Holding Company, LLC          17-12607 (KJC)                  -                 -                         -
  81     H16 Monadnock Holding Company, LLC           17-12678 (KJC)                  -                 -                         -
  82     H17 Pemigewasset Holding Company, LLC        17-12799 (KJC)                  -                 -                         -
  83     H19 Emerald Lake Holding Company, LLC        17-12785 (KJC)                  -                 -                         -
  84     H2 Arlington Ridge Holding Company, LLC      17-12575 (KJC)                  -                 -                         -
  85     H20 Bluff Point Holding Company, LLC         17-12715 (KJC)                  -                 -                         -
  86     H21 Summerfree Holding Company, LLC          17-12631 (KJC)                  -                 -                         -
 87      H22 Papirovka Holding Company, LLC           17-12770 (KJC)                  -                 -                         -
 88      H23 Pinova Holding Company, LLC              17-12810 (KJC)                  -                 -                         -
 89      H24 Stayman Holding Company, LLC             17-12590 (KJC)                  -                 -                         -
 90      H25 Elstar Holding Company, LLC              17-12779 (KJC)                  -                 -                         -
 91      H26 Gravenstein Holding Company, LLC         17-12630 (KJC)                  -                 -                         -
 92      H27 Grenadier Holding Company, LLC           17-12642 (KJC)                  -                 -                         -
 93      H28 Black Locust Holding Company, LLC        17-12647 (KJC)                  -                 -                         -
 94      H29 Zestar Holding Company, LLC              17-12789 (KJC)                  -                 -                         -
 95      H30 Silver Maple Holding Company, LLC        17-12835 (KJC)                  -                 -                         -
  96     H31 Addison Park Holding Company, LLC        17-12562 (KJC)                  -                 -                         -
  97     H32 Arborvitae Holding Company, LLC          17-12567 (KJC)                  -                 -                         -
  98     H35 Hornbeam Holding Company, LLC            17-12691 (KJC)                  -                 -                         -
  99     H36 Sturmer Pippin Holding Company, LLC      17-12625 (KJC)                  -                 -                         -
 100     H37 Idared Holding Company, LLC              17-12697 (KJC)                  -                 -                         -
 101     H38 Mutsu Holding Company, LLC               17-12711 (KJC)                  -                 -                         -
 102     H39 Haralson Holding Company, LLC            17-12661 (KJC)                  -                 -                         -
 103     H4 Pawtuckaway Holding Company, LLC          17-12778 (KJC)                  -                 -                         -
 104     H40 Bramley Holding Company, LLC             17-12766 (KJC)                  -                 -                         -
 105     H41 Grumblethorpe Holding Company, LLC       17-12646 (KJC)                  -                 -                         -
 106     H43 Lenni Heights Holding Company, LLC       17-12717 (KJC)                  -                 -                         -
 107     H44 Green Gables Holding Company, LLC        17-12634 (KJC)                  -                 -                         -
 108     H46 Beech Creek Holding Company, LLC         17-12612 (KJC)                  -                 -                         -
 109     H47 Summit Cut Holding Company, LLC          17-12638 (KJC)                  -                 -                         -
 110     H49 Bowman Holding Company, LLC              17-12725 (KJC)                  -                 -                         -
 111     H5 Chestnut Ridge Holding Company, LLC       17-12608 (KJC)                  -                 -                         -
 112     H51 Old Carbon Holding Company, LLC          17-12738 (KJC)                  -                 -                         -
 113     H52 Willow Grove Holding Company, LLC        17-12729 (KJC)                  -                 -                         -
 114     H53 Black Bass Holding Company, LLC          17-12639 (KJC)                  -                 -                         -
 115     H54 Seven Stars Holding Company, LLC         17-12831 (KJC)                  -                 -                         -
 116     H55 Old Maitland Holding Company, LLC        17-12747 (KJC)                  -                 -                         -
 117     H56 Craven Holding Company, LLC              17-12633 (KJC)                  -                 -                         -
 118     H58 Baleroy Holding Company, LLC             17-12579 (KJC)                  -                 -                         -
 119     H59 Rising Sun Holding Company, LLC          17-12827 (KJC)                  -                 -                         -
 120     H6 Lilac Meadow Holding Company, LLC         17-12724 (KJC)                  -                 -                         -



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                  Reporting Period: 03/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                            Debtors       From Escrow                Total
 No.                       Debtor Name                   Case No.       Disbursements      on Behalf            Disbursements
 121     H60 Moravian Holding Company, LLC            17-12686 (KJC)                  -                 -                         -
 122     H61 Grand Midway Holding Company, LLC        17-12626 (KJC)                  -                 -                         -
 123     H65 Thornbury Farm Holding Company, LLC      17-12644 (KJC)                  -                 -                         -
 124     H66 Heilbron Manor Holding Company, LLC      17-12677 (KJC)                  -                 -                         -
 125     H68 Graeme Park Holding Company, LLC         17-12620 (KJC)                  -                 -                         -
 126     H7 Dogwood Valley Holding Company, LLC       17-12721 (KJC)                  -                 -                         -
 127     H70 Bishop White Holding Company, LLC        17-12619 (KJC)                  -                 -                         -
 128     H74 Imperial Aly Holding Company, LLC        17-12704 (KJC)                  -                 -                         -
 129     H76 Diamond Cove Holding Company, LLC        17-12700 (KJC)                  -                 -                         -
 130     H8 Melody Lane Holding Company, LLC          17-12756 (KJC)                  -                 -                         -
 131     H9 Strawberry Fields Holding Company, LLC    17-12609 (KJC)                  -                 -                         -
 132     Hackmatack Investments, LLC                  17-12653 (KJC)              2,979                 -                     2,979
 133     Haffenburg Investments, LLC                  17-12659 (KJC)                100                 -                       100
 134     Haralson Investments, LLC                    17-12663 (KJC)              1,683                 -                     1,683
 135     Harringworth Investments, LLC                17-12669 (KJC)                100                 -                       100
 136     Hazelpoint Investments, LLC                  17-12674 (KJC)                 98                 -                        98
 137     Heilbron Manor Investments, LLC              17-12681 (KJC)             25,391                 -                    25,391
 138     Hollyline Holdings, LLC                      17-12684 (KJC)                  -                 -                         -
 139     Hollyline Owners, LLC                        17-12688 (KJC)              3,249                 -                     3,249
 140     Hornbeam Investments, LLC                    17-12694 (KJC)            237,453                 -                   237,453
 141     Idared Investments, LLC                      17-12701 (KJC)                583                 -                       583
 142     Imperial Aly Investments, LLC                17-12708 (KJC)             19,476                 -                    19,476
 143     Ironsides Investments, LLC                   17-12714 (KJC)             11,404                 -                    11,404
 144     Lenni Heights Investments, LLC               17-12720 (KJC)              1,683                 -                     1,683
 145     Lilac Meadow Investments, LLC                17-12728 (KJC)            109,950                 -                   109,950
 146     Lincolnshire Investments, LLC                17-12733 (KJC)                 46                 -                        46
 147     Lonetree Investments, LLC                    17-12740 (KJC)                100                 -                       100
 148     Longbourn Investments, LLC                   17-12746 (KJC)             53,864                 -                    53,864
 149     M10 Gateshead Holding Company, LLC           17-12593 (KJC)                  -                 -                         -
 150     M11 Anchorpoint Holding Company, LLC         17-12565 (KJC)                  -                 -                         -
 151     M13 Cablestay Holding Company, LLC           17-12795 (KJC)                  -                 -                         -
 152     M14 Crossbeam Holding Company, LLC           17-12645 (KJC)                  -                 -                         -
 153     M15 Doubleleaf Holding Company, LLC          17-12749 (KJC)                  -                 -                         -
 154     M17 Lincolnshire Holding Company, LLC        17-12730 (KJC)                  -                 -                         -
 155     M19 Arrowpoint Holding Company, LLC          17-12577 (KJC)                  -                 -                         -
 156     M22 Drawspan Holding Company, LLC            17-12764 (KJC)                  -                 -                         -
 157     M24 Fieldpoint Holding Company, LLC          17-12791 (KJC)                  -                 -                         -
 158     M25 Centershot Holding Company, LLC          17-12583 (KJC)                  -                 -                         -
 159     M26 Archivolt Holding Company, LLC           17-12573 (KJC)                  -                 -                         -
 160     M27 Brise Soleil Holding Company, LLC        17-12760 (KJC)                  -                 -                         -
 161     M28 Broadsands Holding Company, LLC          17-12773 (KJC)                  -                 -                         -
 162     M29 Brynderwen Holding Company, LLC          17-12781 (KJC)                  -                 -                         -
 163     M31 Cannington Holding Company, LLC          17-12801 (KJC)                  -                 -                         -
 164     M32 Dollis Brook Holding Company, LLC        17-12731 (KJC)                  -                 -                         -
 165     M33 Harringworth Holding Company, LLC        17-12667 (KJC)                  -                 -                         -
 166     M34 Quarterpost Holding Company, LLC         17-12814 (KJC)                  -                 -                         -
 167     M36 Springline Holding Company, LLC          17-12584 (KJC)                  -                 -                         -
 168     M37 Topchord Holding Company, LLC            17-12662 (KJC)                  -                 -                         -
 169     M38 Pemberley Holding Company, LLC           17-12787 (KJC)                  -                 -                         -
 170     M39 Derbyshire Holding Company, LLC          17-12692 (KJC)                  -                 -                         -
 171     M40 Longbourn Holding Company, LLC           17-12742 (KJC)                  -                 -                         -
 172     M41 Silverthorne Holding Company, LLC        17-12838 (KJC)                  -                 -                         -
 173     M43 White Dome Holding Company, LLC          17-12706 (KJC)                  -                 -                         -
 174     M44 Wildernest Holding Company, LLC          17-12718 (KJC)                  -                 -                         -
 175     M45 Clover Basin Holding Company, LLC        17-12618 (KJC)                  -                 -                         -
 176     M46 Owl Ridge Holding Company, LLC           17-12759 (KJC)                  -                 -                         -
 177     M48 Vallecito Holding Company, LLC           17-12670 (KJC)                  -                 -                         -
 178     M49 Squaretop Holding Company, LLC           17-12588 (KJC)                  -                 -                         -
 179     M5 Stepstone Holding Company, LLC            17-12601 (KJC)                  -                 -                         -
 180     M50 Wetterhorn Holding Company, LLC          17-12689 (KJC)                  -                 -                         -



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                  Reporting Period: 03/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                            Debtors       From Escrow                Total
 No.                       Debtor Name                   Case No.       Disbursements      on Behalf            Disbursements
 181     M51 Coffee Creek Holding Company, LLC        17-12624 (KJC)                  -                 -                         -
 182     M53 Castle Pines Holding Company, LLC        17-12571 (KJC)                  -                 -                         -
 183     M54 Lonetree Holding Company, LLC            17-12737 (KJC)                  -                 -                         -
 184     M56 Haffenburg Holding Company, LLC          17-12656 (KJC)                  -                 -                         -
 185     M57 Ridgecrest Holding Company, LLC          17-12818 (KJC)                  -                 -                         -
 186     M60 Thunder Basin Holding Company, LLC       17-12654 (KJC)                  -                 -                         -
 187     M61 Mineola Holding Company, LLC             17-12668 (KJC)                  -                 -                         -
 188     M62 Sagebrook Holding Company, LLC           17-12829 (KJC)                  -                 -                         -
 189     M63 Crowfield Holding Company, LLC           17-12655 (KJC)                  -                 -                         -
 190     M67 Mountain Spring Holding Company, LLC     17-12695 (KJC)                  -                 -                         -
 191     M68 Goosebrook Holding Company, LLC          17-12615 (KJC)                  -                 -                         -
 192     M70 Pinney Holding Company, LLC              17-12806 (KJC)                  -                 -                         -
 193     M71 Eldredge Holding Company, LLC            17-12771 (KJC)                  -                 -                         -
 194     M72 Daleville Holding Company, LLC           17-12683 (KJC)                  -                 -                         -
 195     M73 Mason Run Holding Company, LLC           17-12748 (KJC)                  -                 -                         -
 196     M74 Varga Holding Company, LLC               17-12680 (KJC)                  -                 -                         -
 197     M75 Riley Creek Holding Company, LLC         17-12825 (KJC)                  -                 -                         -
 198     M76 Chaplin Holding Company, LLC             17-12587 (KJC)                  -                 -                         -
 199     M79 Chestnut Holding Company, LLC            17-12595 (KJC)                  -                 -                         -
 200     M80 Hazelpoint Holding Company, LLC          17-12672 (KJC)                  -                 -                         -
 201     M83 Mt. Holly Holding Company, LLC           17-12703 (KJC)                  -                 -                         -
 202     M85 Glenn Rich Holding Company, LLC          17-12599 (KJC)                  -                 -                         -
 203     M86 Steele Hill Holding Company, LLC         17-12596 (KJC)                  -                 -                         -
 204     M87 Hackmatack Hills Holding Company, LLC    17-12652 (KJC)                  -                 -                         -
 205     M88 Franconia Notch Holding Company, LLC     17-12796 (KJC)                  -                 -                         -
 206     M9 Donnington Holding Company, LLC           17-12741 (KJC)                  -                 -                         -
 207     M90 Merrimack Valley Holding Company, LLC    17-12658 (KJC)                  -                 -                         -
 208     M91 Newville Holding Company, LLC            17-12726 (KJC)                  -                 -                         -
 209     M92 Crystal Woods Holding Company, LLC       17-12671 (KJC)                  -                 -                         -
 210     M93 Goose Rocks Holding Company, LLC         17-12605 (KJC)                  -                 -                         -
 211     M94 Winding Road Holding Company, LLC        17-12736 (KJC)                  -                 -                         -
 212     M95 Pepperwood Holding Company, LLC          17-12802 (KJC)                  -                 -                         -
 213     M97 Red Wood Holding Company, LLC            17-12823 (KJC)                  -                 -                         -
 214     M99 Ironsides Holding Company, LLC           17-12710 (KJC)                  -                 -                         -
 215     Mason Run Investments, LLC                   17-12751 (KJC)             15,449                 -                    15,449
 216     Melody Lane Investments, LLC                 17-12757 (KJC)              1,683                 -                     1,683
 217     Merrimack Valley Investments, LLC            17-12665 (KJC)                583                 -                       583
 218     Mineola Investments, LLC                     17-12673 (KJC)              1,683                 -                     1,683
 219     Monadnock Investments, LLC                   17-12682 (KJC)              1,683                 -                     1,683
 220     Moravian Investments, LLC                    17-12690 (KJC)              2,986                 -                     2,986
 221     Mountain Spring Investments, LLC             17-12698 (KJC)             18,923                 -                    18,923
 222     Mt. Holly Investments, LLC                   17-12707 (KJC)                583                 -                       583
 223     Mutsu Investments, LLC                       17-12719 (KJC)              1,713                 -                     1,713
 224     Newville Investments, LLC                    17-12734 (KJC)              1,683                 -                     1,683
 225     Old Carbon Investments, LLC                  17-12743 (KJC)              1,683                 -                     1,683
 226     Old Maitland Investments, LLC                17-12752 (KJC)             29,831                 -                    29,831
 227     Owl Ridge Investments, LLC                   17-12763 (KJC)              1,713                 -                     1,713
 228     Papirovka Investments, LLC                   17-12774 (KJC)              1,683                 -                     1,683
 229     Pawtuckaway Investments, LLC                 17-12783 (KJC)            248,934                 -                   248,934
 230     Pemberley Investments, LLC                   17-12790 (KJC)                513                 -                       513
 231     Pemigewasset Investments, LLC                17-12800 (KJC)              1,683                 -                     1,683
 232     Pepperwood Investments, LLC                  17-12804 (KJC)              3,070                 -                     3,070
 233     Pinney Investments, LLC                      17-12808 (KJC)                914                 -                       914
 234     Pinova Investments, LLC                      17-12812 (KJC)              1,683                 -                     1,683
 235     Quarterpost Investments, LLC                 17-12816 (KJC)              4,109                 -                     4,109
 236     Red Woods Investments, LLC                   17-12824 (KJC)             81,445                 -                    81,445
 237     Ridgecrest Investments, LLC                  17-12821 (KJC)              1,683                 -                     1,683
 238     Riley Creek Investments, LLC                 17-12826 (KJC)            336,370                 -                   336,370
 239     Rising Sun Investments, LLC                  17-12828 (KJC)             71,000                 -                    71,000
 240     Sagebrook Investments, LLC                   17-12830 (KJC)             10,942                 -                    10,942



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                        Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                        Reporting Period: 03/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                Debtors         From Escrow                Total
 No.                        Debtor Name                       Case No.      Disbursements        on Behalf            Disbursements
 241      Seven Stars Investments, LLC                    17-12832 (KJC)              1,620                   -                     1,620
 242      Silk City Investments, LLC                      17-12834 (KJC)            280,006                   -                   280,006
 243      Silver Maple Investments, LLC                   17-12836 (KJC)            220,164                   -                   220,164
 244      Silverleaf Funding, LLC                         17-12837 (KJC)              2,855                   -                     2,855
 245      Silverthorne Investments, LLC                   17-12582 (KJC)                  -                   -                         -
 246      Springline Investments, LLC                     17-12585 (KJC)                  -                   -                         -
 247      Squaretop Investments, LLC                      17-12589 (KJC)            582,063                   -                   582,063
 248      Stayman Investments, LLC                        17-12594 (KJC)              1,683                   -                     1,683
 249      Steele Hill Investments, LLC                    17-12598 (KJC)                583                   -                       583
 250      Stepstone Investments, LLC                      17-12606 (KJC)              1,683                   -                     1,683
 251      Strawberry Fields Investments, LLC              17-12613 (KJC)              1,683                   -                     1,683
 252      Sturmer Pippin Investments, LLC                 17-12629 (KJC)             44,681                   -                    44,681
 253      Summerfree Investments, LLC                     17-12635 (KJC)            168,773                   -                   168,773
 254      Summit Cut Investments, LLC                     17-12640 (KJC)            163,052                   -                   163,052
 255      Thornbury Farm Investments, LLC                 17-12651 (KJC)             75,061                   -                    75,061
 256      Thunder Basin Investments, LLC                  17-12657 (KJC)              1,683                   -                     1,683
 257      Topchord Investments, LLC                       17-12664 (KJC)              1,006                   -                     1,006
 258      Vallecito Investments, LLC                      17-12675 (KJC)              1,683                   -                     1,683
 259      Varga Investments, LLC                          17-12685 (KJC)            154,482                   -                   154,482
 260      Wetterhorn Investments, LLC                     17-12693 (KJC)              1,683                   -                     1,683
 261      White Birch Investments, LLC                    17-12702 (KJC)            457,209                   -                   457,209
 262      White Dome Investments, LLC                     17-12709 (KJC)              1,683                   -                     1,683
 263      Whiteacre Funding LLC                           17-12713 (KJC)             29,138                   -                    29,138
 264      Wildernest Investments, LLC                     17-12723 (KJC)              2,569                   -                     2,569
 265      Willow Grove Investments, LLC                   17-12732 (KJC)              7,570                   -                     7,570
 266      Winding Road Investments, LLC                   17-12739 (KJC)            327,231                   -                   327,231
 267      WMF Management, LLC                             17-12745 (KJC)                  -                   -                         -
 268      Woodbridge Capital Investments, LLC             17-12750 (KJC)                  -                   -                         -
 269      Woodbridge Commercial Bridge Loan Fund 1, LLC   17-12754 (KJC)                  -                   -                         -
 270      Woodbridge Commercial Bridge Loan Fund 2, LLC   17-12758 (KJC)                  -                   -                         -
 271      Woodbridge Investments, LLC                     17-12761 (KJC)                  -                   -                         -
 272      Woodbridge Mezzanine Fund 1, LLC                17-12765 (KJC)                  -                   -                         -
 273      Woodbridge Mortgage Investment Fund 1, LLC      17-12768 (KJC)                838                   -                       838
 274      Woodbridge Mortgage Investment Fund 2, LLC      17-12772 (KJC)                  -                   -                         -
 275      Woodbridge Mortgage Investment Fund 3, LLC      17-12776 (KJC)                  -                   -                         -
 276      Woodbridge Mortgage Investment Fund 3A, LLC     17-12780 (KJC)                  -                   -                         -
 277      Woodbridge Mortgage Investment Fund 4, LLC      17-12784 (KJC)                  -                   -                         -
 278      Woodbridge Structured Funding, LLC              17-12786 (KJC)                  -                   -                         -
 279      Zestar Investments, LLC                         17-12792 (KJC)            242,695                   -                   242,695
         SECOND ROUND FILERS: FILED 02/09/2018
 280      Carbondale Glen Lot L-2, LLC                    18-10284 (KJC)              3,185                   -                     3,185
 281      Carbondale Peaks Lot L-1, LLC                   18-10286 (KJC)              3,375                   -                     3,375
 282      H18 Massabesic Holding Company, LLC             18-10287 (KJC)                  -                   -                         -
 283      H33 Hawthorn Holding Company, LLC               18-10288 (KJC)                  -                   -                         -
 284      H50 Sachs Bridge Holding Company, LLC           18-10289 (KJC)                  -                   -                         -
 285      H64 Pennhurst Holding Company, LLC              18-10290 (KJC)                  -                   -                         -
 286      Hawthorn Investments, LLC                       18-10291 (KJC)                  4                   -                         4
 287      Lilac Valley Investments, LLC                   18-10292 (KJC)              1,880                   -                     1,880
 288      Massabesic Investments, LLC                     18-10293 (KJC)                  -                   -                         -
 289      M58 Springvale Holding Company, LLC             18-10294 (KJC)                  -                   -                         -
 290      M96 Lilac Valley Holding Company, LLC           18-10295 (KJC)              4,718                   -                     4,718
 291      Pennhurst Investments, LLC                      18-10296 (KJC)            114,853                   -                   114,853
 292      Sachs Bridge Investments, LLC                   18-10297 (KJC)             11,401                   -                    11,401
 293      Springvale Investments, LLC                     18-10298 (KJC)             11,755                   -                    11,755
         THIRD ROUND FILERS: FILED 03/09/2018
294      Bellflower Funding, LLC                          18-10507(KJC)                     -                 -                           -
295      Wall 123, LLC                                    18-10508(KJC)                     -                 -                           -
         FOURTH ROUND FILERS: FILED 03/23/2018
296      695 Buggy Circle, LLC                            18-10670(KJC)                     -                 -                           -
297      Blazingstar Funding, LLC                         18-10671(KJC)                     -                 -                           -



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                  Reporting Period: 03/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                      Debtors             From Escrow                Total
 No.                        Debtor Name                          Case No.         Disbursements            on Behalf            Disbursements
298      Buggy Circle Holdings, LLC                          18-10672(KJC)                        -                     -                            -
299      Deerfield Park Investments, LLC                     18-10673(KJC)                        -                     -                            -
300      H10 Deerfield Park Holding Company, LLC             18-10674(KJC)                        -                     -                            -
301      Kirkstead Investments, LLC                          18-10675(KJC)                        -                     -                            -
302      M16 Kirkstead Holding Company, LLC                  18-10676(KJC)                        -                     -                            -
         FIFTH ROUND FILERS: FILED 03/27/2018
303      Frog Rock Investments, LLC                          18-10733(KJC)                      -                       -                          -
304      M77 Frog Rock Holding Company, LLC                  18-10734(KJC)                      -                       -                          -
305      M89 Mount Washington Holding Company, LLC           18-10735(KJC)                     11                       -                         11
306      Mount Washington Investments, LLC                   18-10736(KJC)                      -                       -                          -
                                                     TOTAL                    $        11,149,975     $                 -   $             11,149,975

         * Woodbridge Group of Companies, LLC makes all disbursements for or on behalf of all of the consolidated group of Debtor entities out of
         Woodbridge Group, LLC DIP bank accounts, with the exception of amounts paid by 3rd party property managers from accounts under their
         control and amounts paid from Escrow by Title companies engaged to close real property sales.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                            Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                Reporting Period: 03/31/2018


                                                         SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                This schedule is to include all retained professional payments from case inception to current month.

                                        Period              Amount                                                  Check                       Amount Paid                 Year-To-Date
             Payee                     Covered             Approved                   Payor                   Number      Date               Fees       Expenses         Fees        Expenses
Province, Inc.                         December 2017-       194,617.30           Woodbridge Group              1501       3/2/2018         186,047.50     8,569.80     186,047.50      8,569.80
                                          January 2018
Navigant Consulting                      January 2018          9,101.00          Woodbridge Group               1530          3/5/2018     7,085.00       2,016.00        7,085.00      2,016.00
Gibson Dunn & Crutcher                 December 2017       1,321,389.12          Woodbridge Group               Wire         3/16/2018 1,274,082.60      47,306.52    1,274,082.60     47,306.52
Young Conaway Stargatt &               December 2017         343,744.87          Woodbridge Group               Wire         3/16/2018   331,402.80      12,342.07      331,402.80     12,342.07
Taylor *
Sierra Constellation Partners,   December 2017 through      744,657.03           Woodbridge Group               Wire         3/22/2018     711,551.93    33,105.10     711,551.93      33,105.10
LLC**                                   February 2018
Berger Singerman LLP                      January 2018       48,711.94           Woodbridge Group               1794         3/28/2018      47,539.60     1,172.34      47,539.60       1,172.34
FTI Consulting                          December 2017       271,989.00           Woodbridge Group               1796         3/28/2018     271,676.00       313.00     271,676.00         313.00
Pachulski Stang Ziehl et al             December 2017       434,592.21           Woodbridge Group               1795         3/28/2018     422,223.60    12,368.61     422,223.60      12,368.61




                                                                                                                                Totals: 3,251,609.03    117,193.44
                                                                                                                     Retainers Applied    723,959.82
                                                                                                                         Amount Paid 2,527,649.21       117,193.44

*Payment to Young Conaway on March 16 was $93,744.87, after applying $250,000 of retainer to approved fees and expenses of $343,744.87.
** Payment to Sierra Constellation Partners on March 22 was $270,697.21, after applying $473,959.82 of retainer to approved fees and expenses of $744,657.03




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                             Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                             Reporting Period: 03/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                           Statement
 #                            Entity              ID                             Property Address                              Bal Sheet   Operations
 1    1. Woodbridge Group of Companies, LLC   17-12560                                                                             X            X
 2    215 North 12th Street, LLC              17-12561   215 North 12th Street Carbondale CO                                       X            X
 3    Addison Park Investments, LLC           17-12563   642 N. St. Cloud Bel Air 90077 CA                                         X            X
 4    Anchorpoint Investments, LLC            17-12566   201 Main Street, Units 102, 202, 203, 204 and 303 Carbondale, CO          X            X

  5   Arborvitae Investments, LLC             17-12572   43 Indian Paintbrush Aspen Glen Carbondale CO                            X            X
  6   Archivolt Investments, LLC              17-12574   47 Mustang Circle Snowmass Village CO                                    X            X
  7   Arlington Ridge Investments, LLC        17-12576   1357 Laurel Way Beverly Hills 90210 CA                                   X            X
  8   Arrowpoint Investments, LLC             17-12578   125 River Park Aspen Glen Carbondale CO                                  X            X
  9   Baleroy Investments, LLC                17-12580   108 W Diamond A Ranch Rd Aspen Glen Carbondale CO                        X            X
 10   Basswood Holding, LLC                   17-12600   None Known
 11   Bay Village Investments, LLC            17-12604   1432 Tanager Los Angeles 90069 CA                                        X            X
 12   Bear Brook Investments, LLC             17-12610   TBD Spire Ridge Way - Lot H-10, Aspen Glen Filing No. 6 Aspen Glen       X            X
                                                         Carbondale CO
 13   Beech Creek Investments, LLC            17-12616   59 Rivers Bend Aspen Glen Carbondale CO                                  X            X
 14   Bishop White Investments, LLC           17-12623   805 Nimes Place Bel Air 90077 CA                                         X            X
 15   Black Bass Investments, LLC             17-12641   TBD Sweetgrass - Lot D-20, Aspen Glen Filing No. 1 Aspen Glen            X            X
                                                         Carbondale CO
 16   Black Locust Investments, LLC           17-12648   TBD Brookie, Aspen Glen Carbondale CO                                    X            X
 17   Bluff Point Investments, LLC            17-12722   9212 Nightingale Drive Los Angeles 90069 CA                              X            X
 18   Bowman Investments, LLC                 17-12753   TBD Golden Bear - Lot 15, The Fairways at Aspen Glen Aspen Glen          X            X
                                                         Carbondale CO
 19   Bramley Investments, LLC                17-12769   719-761 Perry Ridge Carbondale CO                                        X            X
 20   Brise Soleil Investments, LLC           17-12762   Various                                                                  X            X
 21   Broadsands Investments, LLC             17-12777   TBD Sundance Trail - Lots SD-7, SD-13 and SD-24, Aspen Glen Filing       X            X
                                                         4 Aspen Glen Carbondale CO
 22   Brynderwen Investments, LLC             17-12793   None owned                                                                            X
 23   Cablestay Investments, LLC              17-12798   24025 Hidden Ridge Road Hidden Hills 91302 CA                            X            X
 24   Cannington Investments, LLC             17-12803   1118 Tower Road Beverly Hills 90210 CA                                   X            X
 25   Carbondale Doocy, LLC                   17-12805   None Known
 26   Carbondale Glen Lot A-5, LLC            17-12807   360 Rivers Bend Aspen Glen Carbondale CO                                 X            X
 27   Carbondale Glen Lot D-22, LLC           17-12809   63 Sopris Vista/Sweetgrass OR 63 Sweetgrass Dr Aspen Glen                X            X
                                                         Carbondale CO
 28   Carbondale Glen Lot E-24, LLC           17-12811   225 Diamond A Ranch Road Aspen Glen Carbondale CO                        X            X
 29   Carbondale Glen Lot GV-13, LLC          17-12813   TBD Mariposa - Lot GV-13, Aspen Glen Filing 2 Aspen Glen                 X            X
                                                         Carbondale CO
 30   Carbondale Glen Lot SD-14, LLC          17-12817   TBD Sundance Trail - Lot SD-14, Aspen Glen Filing 4 Aspen Glen           X            X
                                                         Carbondale CO
 31   Carbondale Glen Lot SD-23, LLC          17-12815   TBD Sundance Trail - Lot SD-23, Aspen Glen Filing 4 Aspen Glen           X            X
                                                         Carbondale CO
 32   Carbondale Glen Mesa Lot 19, LLC        17-12819   TBD Golden Stone Drive Aspen Glen Carbondale CO                          X            X
 33   Carbondale Glen River Mesa, LLC         17-12820   824, 918 Brookie Aspen Glen Carbondale CO                                X            X
 34   Carbondale Glen Sundance Ponds, LLC     17-12822   TBD Bald Eagle Way/Sundance Trial Aspen Glen Carbondale CO               X            X

 35   Carbondale Glen Sweetgrass Vista, LLC   17-12564   Various                                                                  X            X
 36   Carbondale Spruce 101, LLC              17-12568   201 Main Street, Unit 101 Carbondale, CO                                 X            X
 37   Carbondale Sundance Lot 15, LLC         17-12569   TBD Sundance Trail - Lot SD-15, Aspen Glen Filing 4 Aspen Glen           X            X
                                                         Carbondale CO
 38   Carbondale Sundance Lot 16, LLC         17-12570   TBD Sundance Trail - Lot SD-16, Aspen Glen Filing 4 Aspen Glen           X            X
                                                         Carbondale CO
 39   Castle Pines Investments, LLC           17-12581   34 Mariposa Aspen Glen Carbondale CO                                     X            X
 40   Centershot Investments, LLC             17-12586   8692 Franklin Los Angeles 90069 CA                                       X            X
 41   Chaplin Investments, LLC                17-12592   TBD Golden Stone Drive - Lot 13, Roaring Fork Mesa at Aspen Glen         X            X
                                                         Aspen Glen Carbondale CO
 42   Chestnut Investments, LLC               17-12603   10733 Stradella Crt. Beverly Hills 90212 CA                              X            X
 43   Chestnut Ridge Investments, LLC         17-12614   10750 Chalon Road Los Angeles 90210 CA                                   X            X
 44   Clover Basin Investments, LLC           17-12621   TBD Two Creeks Drive OR 1061 Two Creeks Snowmass Village CO              X            X

 45   Coffee Creek Investments, LLC           17-12627   82 Fox Prowl Aspen Glen Carbondale CO                                    X            X
 46   Craven Investments, LLC                 17-12636   25085 Ashley Ridge Road Hidden Hills 91302 CA                            X            X
 47   Crossbeam Investments, LLC              17-12650   purchase pending                                                         X            X
 48   Crowfield Investments, LLC              17-12660   1241 Loma Vista Beverly Hills 90210 CA                                   X            X
 49   Crystal Valley Holdings, LLC            17-12666
 50   Crystal Woods Investments, LLC          17-12676   16 Puma Aspen Glen Carbondale CO                                         X            X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                             Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                             Reporting Period: 03/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                           Statement
  #                           Entity                 ID                            Property Address                            Bal Sheet   Operations
 51    Cuco Settlement, LLC                      17-12679
 52    Daleville Investments, LLC                17-12687   39 Buffalo Lane Aspen Glen Carbondale CO                              X            X
 53    Derbyshire Investments, LLC               17-12696   26 Saddlehorn Ct Aspen Glen Carbondale CO                             X            X
 54    Diamond Cove Investments, LLC             17-12705   1 Electra Court Los Angeles 90046 CA                                  X            X
 55    Dixville Notch Investments, LLC           17-12716   177 W. Diamond A Ranch Road Aspen Glen Carbondale CO                  X            X

 56    Dogwood Valley Investments, LLC           17-12727   Lot WP3, Garfield CO                                                  X            X
 57    Dollis Brook Investments, LLC             17-12735   38 E Diamond A Ranch Rd Carbondale CO                                 X            X
 58    Donnington Investments, LLC               17-12744   Various                                                               X            X
 59    Doubleleaf Investments, LLC               17-12755   4030 Madelia Ave Sherman Oaks 91403 CA                                X            X
 60    Drawspan Investments, LLC                 17-12767   3843 Hayvenhurst Ave Encino 91436 CA                                  X            X
 61    Eldredge Investments, LLC                 17-12775   714 N. Oakhurst Beverly Hills 90210 CA                                X            X
 62    Elstar Investments, LLC                   17-12782   1520 Carla Ridge Beverly Hills 90210 CA                               X            X
 63    Emerald Lake Investments, LLC             17-12788   4030 Longridge Ave Sherman Oaks CA                                    X            X
 64    Fieldpoint Investments, LLC               17-12794   809 Grand Avenue Glenwood Springs CO                                  X            X
 65    Franconia Notch Investments, LLC          17-12797   TBD Wader Lane, Lot 54, Roaring Fork Mesa Aspen Glen Carbondale       X            X
                                                            CO
 66    Gateshead Investments, LLC                17-12597   981 and 995 Cowen Drive Carbondale CO                                 X            X
 67    Glenn Rich Investments, LLC               17-12602   4123 Crystal Bridge Drive Carbondale CO                               X            X
 68    Goose Rocks Investments, LLC              17-12611   9127 Thrasher Los Angeles 90069 CA                                    X            X
 69    Goosebrook Investments, LLC               17-12617   2600 Hutton Beverly Hills 90210 CA                                    X            X
 70    Graeme Park Investments, LLC              17-12622   1011 N. Hillcrest Road Beverly Hills 90210 CA                         X            X
 71    Grand Midway Investments, LLC             17-12628   800 Stradella Rd Bel Air 90077 CA                                     X            X
 72    Gravenstein Investments, LLC              17-12632   24055 Hidden Ridge Road Hidden Hills 91302 CA                         X            X
 73    Green Gables Investments, LLC             17-12637   41 King Street New York 10014 NY                                      X            X
 74    Grenadier Investments, LLC                17-12643   TBD Sundance Trail, Lot SD-12, Aspen Glen Aspen Glen Carbondale       X            X
                                                            CO
 75    Grumblethorpe Investments, LLC            17-12649   61 Wader Aspen Glen Carbondale CO                                     X            X
 76    H11 Silk City Holding Company, LLC        17-12833
 77    H12 White Birch Holding Company, LLC      17-12699
 78    H13 Bay Village Holding Company, LLC      17-12591
 79    H14 Dixville Notch Holding Company, LLC   17-12712
 80    H15 Bear Brook Holding Company, LLC       17-12607
 81    H16 Monadnock Holding Company, LLC        17-12678
 82    H17 Pemigewasset Holding Company, LLC     17-12799
 83    H19 Emerald Lake Holding Company, LLC     17-12785
 84    H2 Arlington Ridge Holding Company, LLC   17-12575
 85    H20 Bluff Point Holding Company, LLC      17-12715
 86    H21 Summerfree Holding Company, LLC       17-12631
 87    H22 Papirovka Holding Company, LLC        17-12770
 88    H23 Pinova Holding Company, LLC           17-12810
 89    H24 Stayman Holding Company, LLC          17-12590
 90    H25 Elstar Holding Company, LLC           17-12779
 91    H26 Gravenstein Holding Company, LLC      17-12630
 92    H27 Grenadier Holding Company, LLC        17-12642
 93    H28 Black Locust Holding Company, LLC     17-12647
 94    H29 Zestar Holding Company, LLC           17-12789
 95    H30 Silver Maple Holding Company, LLC     17-12835
 96    H31 Addison Park Holding Company, LLC     17-12562
 97    H32 Arborvitae Holding Company, LLC       17-12567
 98    H35 Hornbeam Holding Company, LLC         17-12691
 99    H36 Sturmer Pippin Holding Company, LLC   17-12625
 100   H37 Idared Holding Company, LLC           17-12697
 101   H38 Mutsu Holding Company, LLC            17-12711
 102   H39 Haralson Holding Company, LLC         17-12661
 103   H4 Pawtuckaway Holding Company, LLC       17-12778
 104   H40 Bramley Holding Company, LLC          17-12766
 105   H41 Grumblethorpe Holding Company, LLC    17-12646
 106   H43 Lenni Heights Holding Company, LLC    17-12717
 107   H44 Green Gables Holding Company, LLC     17-12634
 108   H46 Beech Creek Holding Company, LLC      17-12612
 109   H47 Summit Cut Holding Company, LLC       17-12638
 110   H49 Bowman Holding Company, LLC           17-12725



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                  Reporting Period: 03/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                            Statement
  #                           Entity                   ID                             Property Address                          Bal Sheet   Operations
 111   H5 Chestnut Ridge Holding Company, LLC      17-12608
 112   H51 Old Carbon Holding Company, LLC         17-12738
 113   H52 Willow Grove Holding Company, LLC       17-12729
 114   H53 Black Bass Holding Company, LLC         17-12639
 115   H54 Seven Stars Holding Company, LLC        17-12831
 116   H55 Old Maitland Holding Company, LLC       17-12747
 117   H56 Craven Holding Company, LLC             17-12633
 118   H58 Baleroy Holding Company, LLC            17-12579
 119   H59 Rising Sun Holding Company, LLC         17-12827
 120   H6 Lilac Meadow Holding Company, LLC        17-12724
 121   H60 Moravian Holding Company, LLC           17-12686
 122   H61 Grand Midway Holding Company, LLC       17-12626
 123   H65 Thornbury Farm Holding Company, LLC     17-12644
 124   H66 Heilbron Manor Holding Company, LLC     17-12677
 125   H68 Graeme Park Holding Company, LLC        17-12620
 126   H7 Dogwood Valley Holding Company, LLC      17-12721
 127   H70 Bishop White Holding Company, LLC       17-12619
 128   H74 Imperial Aly Holding Company, LLC       17-12704
 129   H76 Diamond Cove Holding Company, LLC       17-12700
 130   H8 Melody Lane Holding Company, LLC         17-12756
 131   H9 Strawberry Fields Holding Company, LLC   17-12609
 132   Hackmatack Investments, LLC                 17-12653   72 Golden Bear Dr Aspen Glen Carbondale CO                           X            X
 133   Haffenburg Investments, LLC                 17-12659   Granito Lot 19, Los Angeles CA                                       X            X
 134   Haralson Investments, LLC                   17-12663   245 Midland Loop - Lot L20, Aspen Glen Filing No. 3 Aspen Glen       X            X
                                                              Carbondale CO
 135   Harringworth Investments, LLC               17-12669   4414 Coronet Dr, Encino, CA 91316                                    X            X
 136   Hazelpoint Investments, LLC                 17-12674   Transferrable Development Rights ("TDR") Aspen/Snowmass              X            X

 137   Heilbron Manor Investments, LLC             17-12681   2492 Mandeville Cyn Brentwood 90049 CA                               X            X
 138   Hollyline Holdings, LLC                     17-12684                                                                        X            X
 139   Hollyline Owners, LLC                       17-12688   3802 Hollyline Ave. Sherman Oaks 91423 CA                            X            X
 140   Hornbeam Investments, LLC                   17-12694   1484 Carla Ridge Beverly Hills 90210 CA                              X            X
 141   Idared Investments, LLC                     17-12701   665 North Bridge Drive Carbondale CO                                 X            X
 142   Imperial Aly Investments, LLC               17-12708   633 N Foothill Rd Beverly Hills 90210 CA                             X            X
 143   Ironsides Investments, LLC                  17-12714   Various                                                              X            X
 144   Lenni Heights Investments, LLC              17-12720   302 Wildflower Aspen Glen Carbondale CO                              X            X
 145   Lilac Meadow Investments, LLC               17-12728   9230 Robin Drive Los Angeles 91423 CA                                X            X
 146   Lincolnshire Investments, LLC               17-12733   1312 Beverly Grove Pl Beverly Hills 90210 CA                         X            X
 147   Lonetree Investments, LLC                   17-12740   TBD Wader, Lot 53, Roaring Fork Mesa Aspen Glen Carbondale CO        X            X

 148   Longbourn Investments, LLC                  17-12746   9040 Alto Cedro Drive Beverly Hills 90210 CA                         X            X
 149   M10 Gateshead Holding Company, LLC          17-12593
 150   M11 Anchorpoint Holding Company, LLC        17-12565
 151   M13 Cablestay Holding Company, LLC          17-12795
 152   M14 Crossbeam Holding Company, LLC          17-12645
 153   M15 Doubleleaf Holding Company, LLC         17-12749
 154   M17 Lincolnshire Holding Company, LLC       17-12730
 155   M19 Arrowpoint Holding Company, LLC         17-12577
 156   M22 Drawspan Holding Company, LLC           17-12764
 157   M24 Fieldpoint Holding Company, LLC         17-12791
 158   M25 Centershot Holding Company, LLC         17-12583
 159   M26 Archivolt Holding Company, LLC          17-12573
 160   M27 Brise Soleil Holding Company, LLC       17-12760
 161   M28 Broadsands Holding Company, LLC         17-12773
 162   M29 Brynderwen Holding Company, LLC         17-12781
 163   M31 Cannington Holding Company, LLC         17-12801
 164   M32 Dollis Brook Holding Company, LLC       17-12731
 165   M33 Harringworth Holding Company, LLC       17-12667
 166   M34 Quarterpost Holding Company, LLC        17-12814
 167   M36 Springline Holding Company, LLC         17-12584
 168   M37 Topchord Holding Company, LLC           17-12662
 169   M38 Pemberley Holding Company, LLC          17-12787
 170   M39 Derbyshire Holding Company, LLC         17-12692



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                   Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                   Reporting Period: 03/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                            Statement
  #                            Entity                  ID                             Property Address                          Bal Sheet   Operations
 171   M40 Longbourn Holding Company, LLC          17-12742
 172   M41 Silverthorne Holding Company, LLC       17-12838
 173   M43 White Dome Holding Company, LLC         17-12706
 174   M44 Wildernest Holding Company, LLC         17-12718
 175   M45 Clover Basin Holding Company, LLC       17-12618
 176   M46 Owl Ridge Holding Company, LLC          17-12759
 177   M48 Vallecito Holding Company, LLC          17-12670
 178   M49 Squaretop Holding Company, LLC          17-12588
 179   M5 Stepstone Holding Company, LLC           17-12601
 180   M50 Wetterhorn Holding Company, LLC         17-12689
 181   M51 Coffee Creek Holding Company, LLC       17-12624
 182   M53 Castle Pines Holding Company, LLC       17-12571
 183   M54 Lonetree Holding Company, LLC           17-12737
 184   M56 Haffenburg Holding Company, LLC         17-12656
 185   M57 Ridgecrest Holding Company, LLC         17-12818
 186   M60 Thunder Basin Holding Company, LLC      17-12654
 187   M61 Mineola Holding Company, LLC            17-12668
 188   M62 Sagebrook Holding Company, LLC          17-12829
 189   M63 Crowfield Holding Company, LLC          17-12655
 190   M67 Mountain Spring Holding Company, LLC    17-12695
 191   M68 Goosebrook Holding Company, LLC         17-12615
 192   M70 Pinney Holding Company, LLC             17-12806
 193   M71 Eldredge Holding Company, LLC           17-12771
 194   M72 Daleville Holding Company, LLC          17-12683
 195   M73 Mason Run Holding Company, LLC          17-12748
 196   M74 Varga Holding Company, LLC              17-12680
 197   M75 Riley Creek Holding Company, LLC        17-12825
 198   M76 Chaplin Holding Company, LLC            17-12587
 199   M79 Chestnut Holding Company, LLC           17-12595
 200   M80 Hazelpoint Holding Company, LLC         17-12672
 201   M83 Mt. Holly Holding Company, LLC          17-12703
 202   M85 Glenn Rich Holding Company, LLC         17-12599
 203   M86 Steele Hill Holding Company, LLC        17-12596
 204   M87 Hackmatack Hills Holding Company, LLC   17-12652

 205   M88 Franconia Notch Holding Company, LLC    17-12796
 206   M9 Donnington Holding Company, LLC          17-12741
 207   M90 Merrimack Valley Holding Company, LLC   17-12658

 208   M91 Newville Holding Company, LLC           17-12726
 209   M92 Crystal Woods Holding Company, LLC      17-12671
 210   M93 Goose Rocks Holding Company, LLC        17-12605
 211   M94 Winding Road Holding Company, LLC       17-12736
 212   M95 Pepperwood Holding Company, LLC         17-12802
 213   M97 Red Wood Holding Company, LLC           17-12823
 214   M99 Ironsides Holding Company, LLC          17-12710
 215   Mason Run Investments, LLC                  17-12751   1962 Stradella Road Los Angeles 90077 CA                              X           X
 216   Melody Lane Investments, LLC                17-12757   19 Sage Court Aspen Glen Carbondale CO                                X           X
 217   Merrimack Valley Investments, LLC           17-12665   1165 Heritage Drive Carbondale CO                                     X           X
 218   Mineola Investments, LLC                    17-12673   67 Puma Aspen Glen Carbondale CO                                      X           X
 219   Monadnock Investments, LLC                  17-12682   336 Golden Stone Aspen Glen Carbondale CO                             X           X
 220   Moravian Investments, LLC                   17-12690   36 Primrose Aspen Glen Carbondale CO                                  X           X
 221   Mountain Spring Investments, LLC            17-12698   TBD Epply Drive OR Block: 11 Lot: R-79 Epply Dr Aspen CO              X           X

 222   Mt. Holly Investments, LLC                  17-12707   153 Sopris Mesa Drive Carbondale CO                                   X           X
 223   Mutsu Investments, LLC                      17-12719   TBD Golden Bear - Lot 5, The Fairways at Aspen Glen Aspen Glen        X           X
                                                              Carbondale CO
 224   Newville Investments, LLC                   17-12734   67 Alpen Glo Lane Aspen Glen Carbondale CO                            X           X
 225   Old Carbon Investments, LLC                 17-12743   43 Puma Aspen Glen Carbondale CO                                      X           X
 226   Old Maitland Investments, LLC               17-12752   150 White Horse Springs Lane Aspen CO                                 X           X
 227   Owl Ridge Investments, LLC                  17-12763   261 Golden Bear Aspen Glen Carbondale CO                              X           X
 228   Papirovka Investments, LLC                  17-12774   478 W. Diamond A Ranch Road Aspen Glen Carbondale CO                  X           X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                       Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                       Reporting Period: 03/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                   Statement
  #                           Entity                       ID                              Property Address                            Bal Sheet   Operations
 229   Pawtuckaway Investments, LLC                    17-12783   1471 Forest Knoll Beverly Hills 90212 CA                                 X            X
 230   Pemberley Investments, LLC                      17-12790   2362 Apollo Dr Los Angeles 90046 CA                                      X            X
 231   Pemigewasset Investments, LLC                   17-12800   324 Golden Stone Aspen Glen Carbondale CO                                X            X
 232   Pepperwood Investments, LLC                     17-12804   158 A Seeburg Circle Aspen Glen Carbondale CO                            X            X
 233   Pinney Investments, LLC                         17-12808   15655 Woodvale Drive Encino 91436 CA                                     X            X
 234   Pinova Investments, LLC                         17-12812   0241 Rivers Bend Road Aspen Glen Carbondale CO                           X            X
 235   Quarterpost Investments, LLC                    17-12816   180 Saddleback Lane Snowmass Village CO                                  X            X
 236   Red Woods Investments, LLC                      17-12824   None/TBD                                                                 X            X
 237   Ridgecrest Investments, LLC                     17-12821   0057 W Diamond A Ranch Road Aspen Glen Carbondale CO                     X            X

 238   Riley Creek Investments, LLC                    17-12826   711 Walden Beverly Hills 90210 CA                                       X            X
 239   Rising Sun Investments, LLC                     17-12828   Fountain & Fairfax West Hollywood 90046 CA                              X            X
 240   Sagebrook Investments, LLC                      17-12830   1258 Lago Vista Beverly Hills 90210 CA                                  X            X
 241   Seven Stars Investments, LLC                    17-12832   368/342 River Bend Way, Glenwood Springs Glenwood Springs CO            X            X

 242   Silk City Investments, LLC                      17-12834   25210 Jim Bridger Road Hidden Hills 91302 CA                            X            X
 243   Silver Maple Investments, LLC                   17-12836   810 Sarbonne Bel Air 90077 CA                                           X            X
 244   Silverleaf Funding, LLC                         17-12837   Various                                                                 X            X
 245   Silverthorne Investments, LLC                   17-12582   345 Branding Lane Snowmass Village CO                                   X            X
 246   Springline Investments, LLC                     17-12585   TBD Spur Ridge - Lot 26, Horse Ranch Snowmass Village CO                X            X

 247   Squaretop Investments, LLC                      17-12589   1966 Carla Ridge Beverly Hills 90210 CA                                 X            X
 248   Stayman Investments, LLC                        17-12594   TBD Horseshoe - Lot H14, Aspen Glen Filing No. 7 Aspen Glen             X            X
                                                                  Carbondale CO
 249   Steele Hill Investments, LLC                    17-12598   171 Sopris Mesa Drive Carbondale CO                                     X            X
 250   Stepstone Investments, LLC                      17-12606   505 East Diamond A Ranch Road Aspen Glen Carbondale CO                  X            X

 251   Strawberry Fields Investments, LLC              17-12613   TBD Sundance Trail Aspen Glen Carbondale CO                             X            X
 252   Sturmer Pippin Investments, LLC                 17-12629   Owlwood Estate Bel Air 90077 CA                                         X            X
 253   Summerfree Investments, LLC                     17-12635   270 Spruce Ridge Lane Snowmass Village CO                               X            X
 254   Summit Cut Investments, LLC                     17-12640   375 and 385 Trousdale Place Beverly Hills 90210 CA                      X            X
 255   Thornbury Farm Investments, LLC                 17-12651   7870, 7900 Granito Los Angeles 90046 CA                                 X            X
 256   Thunder Basin Investments, LLC                  17-12657   167 Midland Loop - Lot L-19, Aspen Glen Filing 3 Aspen Glen             X            X
                                                                  Carbondale CO
 257   Topchord Investments, LLC                       17-12664   Various                                                                 X            X
 258   Vallecito Investments, LLC                      17-12675   TBD Golden Stone - Lot 32, Roaring Fork Mesa at Aspen Glen Filing       X            X
                                                                  2 Aspen Glen Carbondale CO
 259   Varga Investments, LLC                          17-12685   638 Siena Way Bel Air 90077 CA                                          X            X
 260   Wetterhorn Investments, LLC                     17-12693   TBD Vacant Land - Lot H-35, Aspen Glen Filing 6 Aspen Glen              X            X
                                                                  Carbondale CO
 261   White Birch Investments, LLC                    17-12702   25211 Jim Bridger Road Hidden Hills 91302 CA                            X            X
 262   White Dome Investments, LLC                     17-12709   0032 Fenwick Court Aspen Glen Carbondale CO                             X            X
 263   Whiteacre Funding LLC                           17-12713   Various                                                                 X            X
 264   Wildernest Investments, LLC                     17-12723   0180 Seeburg Circle Aspen Glen Carbondale CO                            X            X
 265   Willow Grove Investments, LLC                   17-12732   8124 W 3rd Street Los Angeles, CA                                       X            X
 266   Winding Road Investments, LLC                   17-12739   10721 Stradella Crt. Bel Air 90077 CA                                   X            X

 267   WMF Management, LLC                             17-12745
 268   Woodbridge Capital Investments, LLC             17-12750
 269   Woodbridge Commercial Bridge Loan Fund 1, LLC   17-12754   Various                                                                 X            X

 270   Woodbridge Commercial Bridge Loan Fund 2, LLC   17-12758   Various                                                                 X            X

 271   Woodbridge Investments, LLC                     17-12761
 272   Woodbridge Mezzanine Fund 1, LLC                17-12765
 273   Woodbridge Mortgage Investment Fund 1, LLC      17-12768   Various                                                                 X            X
 274   Woodbridge Mortgage Investment Fund 2, LLC      17-12772   Various                                                                 X            X
 275   Woodbridge Mortgage Investment Fund 3, LLC      17-12776   Various                                                                 X            X
 276   Woodbridge Mortgage Investment Fund 3A, LLC     17-12780   Various                                                                 X            X

 277   Woodbridge Mortgage Investment Fund 4, LLC      17-12784   Various                                                                 X            X

 278   Woodbridge Structured Fund, LLC                 17-12786
 279   Zestar Investments, LLC                         17-12792   540 Pine Crest Drive Snowmass Village CO                                X            X



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                  Reporting Period: 03/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                                Statement
  #                              Entity                             ID                               Property Address                             Bal Sheet     Operations
         SECOND ROUND FILERS: FILED 02/09/2018
 280     Carbondale Glen Lot L-2, LLC                           18-10284    39 Midland Loop Aspen Glen Carbondale, CO                                  X              X
 281     Carbondale Peaks Lot L-1, LLC                          18-10286    90 Primrose Rd Aspen Glen Carbondale, CO                                   X              X
 282     H18 Massabesic Holding Company, LLC                    18-10287
 283     H33 Hawthorn Holding Company, LLC                      18-10288
 284     H50 Sachs Bridge Holding Company, LLC                  18-10289
 285     H64 Pennhurst Holding Company, LLC                     18-10290
 286     Hawthorn Investments, LLC                              18-10291    14112 Roscoe Blvd. Panorama City, CA                                       X              X
 287     Lilac Valley Investments, LLC                          18-10292    14115 Moorpark #212 Sherman Oaks, CA                                       X              X
 288     Massabesic Investments, LLC                            18-10293    238 Sundance Trail Aspen Glen Carbondale, CO                               X              X
 289     M58 Springvale Holding Company, LLC                    18-10294
 290     M96 Lilac Valley Holding Company, LLC                  18-10295
 291     Pennhurst Investments, LLC                             18-10296    11541 Blucher Avenue Granada Hills, CA                                     X              X
 292     Sachs Bridge Investments, LLC                          18-10297    Multiple lots                                                              X              X
 293     Springvale Investments, LLC                            18-10298    Multiple lots                                                              X              X
         THIRD ROUND FILERS: FILED 03/09/2018
 294     Bellflower Funding, LLC                                18-10507    Various                                                                    X              X
 295     Wall 123, LLC                                          18-10508
         FOURTH ROUND FILERS: FILED 03/23/2018
 296     695 Buggy Circle, LLC                                  18-10670                                                                               X              X
 297     Buggy Circle Holdings, LLC                             18-10672                                                                               X              X
 298     Deerfield Park Investments, LLC                        18-10673                                                                               X              X
 299     Kirkstead Investments, LLC                             18-10675                                                                               X              X
 300     M16 Kirkstead Holding Company, LLC                     18-10676
 301     H10 Deerfield Park Holding Company, LLC                18-10674
 302     Blazingstar Funding, LLC                               18-10671                                                                               X              X
         FIFTH ROUND FILERS: FILED 03/27/2018
 303     Frog Rock Investments, LLC                             18-10733                                                                               X              X
 304     M77 Frog Rock Holding Company, LLC                     18-10734
 305     Mount Washington Investments, LLC                      18-10736                                                                               X              X
 306     M89 Mount Washington Holding Company, LLC              18-10735


       * The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations. The Statement
         of Operations is prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is realized and expenses when they are incurred,
         regardless of when cash is actually received or paid.
         The Cumulative Statement of Operation includes a statement of operations for any property company debtor entity that had income or expenses since the
         inception of the case. The current month Statement of Operations includes only those debtors with income or expenses in February 2018. Any debtor with a
         statement of operations in the cumulative report is indicated above.
      ** Research being performed by the Debtor is ongoing, to identify all real properties and loans owned by or under the control of any of the affiliated Debtor
         entities. However even if there is no identified asset, by March 31st every one of the affiliated debtors has had a minimal amount of financial activity which
         would result in a financial statement for the debtor. This minimal activity would include payment of U.S. Trustee Fees, LLC minimum tax, and fees for corporate
         agent services. To avoid having hundreds of financial statements for entitles representing only a few hundred dollars of financial activity, the financial statements
         for all holding companies are being reported together in a group called "Holding Companies".




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 Woodbridge Group of Companies, LLC, et al
 (Jointly Administered)
 Statement of Operations
 for the period March 1-31, 2018

                                                           1. Woodbridge       Bellflower Funding      Brise Soleil     Carbondale Glen        Holding        Inactive Property
                                                 Debtor:     Group LLC                 LLC          Investments LLC     Sweetgrass LLC        Companies          Companies
                                               Case No.:     17-12560              18-10507            17-12762            17-12564            Various            Various
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                        659,000                       -                   -                    -                -                   -
      40010 · Rent Revenue                                           1,975                 2,750                    -                    -                -                   -
      40020 · Interest Revenue                                     12,624                       -                   -                    -                -                   -
      40022 · Structured Settlement Income                         58,165                       -                   -                    -                -                   -
    Total Income                                                  731,764                  2,750                    -                    -                -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                         268                     -                   -                 105                 -                   -
      Total 50000 · Cost of Goods Sold                                  268                     -                   -                 105                 -                   -
    Total COGS                                                          268                     -                   -                 105                 -                   -
   Gross Profit                                                   731,495                  2,750                    -                 (105)               -                   -
    Expense
      60020 · Media Consulting                                     43,969                       -                   -                    -                -                   -
      60400 · Bank Service Charge                                    7,947                      -                   -                    -                -                   -
      60500 · Dues and Subscriptions                                    565                     -                   -                    -                -                   -
      60600 · Equipment Lease                                           391                     -                   -                    -                -                   -
      61700 · Information Technology                               60,340                       -                   -                    -                -                   -
      61800 · License and Filing Fees                                      -                    -                   -                    -                -                   -
      61870 · Moving                                                    475                     -                   -                    -                -                   -
      62500 · Employee Benefits                                    10,072                       -                   -                    -                -                   -
      63300 · Insurance                                              4,319                      -                   -                    -                -                   -
      63400 · Interest                                                     -                    -                   -                    -                -                   -
      63401 · Int Expense - BK DIP financing                      441,750                       -                   -                    -                -                   -
      64800 · Office Expense                                       10,659                       -                   -                    -                -                   -
      64900 · Office Supplies                                           789                     -                   -                    -                -                   -
      65000 · Outside Services                                          831                     -                   -                    -                -                   -
      65100 · Parking                                                9,373                      -                   -                    -                -                   -
      66000 · Payroll-Salaries and Wages                          556,151                       -                   -                    -                -                   -
      66005 · Payroll-Service Fees                                      630                     -                   -                    -                -                   -
      66015 · Payroll-Employer Taxes                                 9,073                      -                   -                    -                -                   -
      66030 · Postage and Delivery                                   1,056                      -                   -                    -                -                   -
      66800 · Rent Expense                                        103,502                       -                   -                    -                -                   -
      66900 · Repairs and Maintenance                                   330                     -                   -                    -                -                   -
      67000 · Security                                                     -                    -                   -                    -                -                   -
      67050 · Storage                                                1,800                      -                   -                    -                -                   -
      67100 · Telephone and Internet Expense                         9,381                      -                   -                    -                -                   -
      67200 · Travel                                               18,361                       -                   -                    -                -                   -
      67210 · Travel / Relocation allowance                        30,240                       -                   -                    -                -                   -
      67400 · Utilities                                              1,645                      -                   -                    -                -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                           192,515                       -                   -                    -                -                   -
        68200 · Legal Fees - Ord Course                            40,325                       -                   -                    -                -                   -
        68300 · Accntng Fees - Ord Course                          15,059                       -                   -                    -                -                   -
      Total 68000 · Professional Fee Ord Course                   247,900                       -                   -                    -                -                   -
      71000 · U.S. Trustee Fees                                    86,079                     325                 325                 325           44,525                3,250
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                              9,485,563                       -                   -                    -                -                   -
        72030 · Consulting - Bankruptcy                         2,253,099                       -                   -                    -                -                   -
      Total 72000 · Professional Fees - Bankruptcy             11,738,662                       -                   -                    -                -                   -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                   -                    -                 -                      -                -                   -
        83000 · Tax Expense - Other                                        -                    -             1,342                      -                -                   -
      Total 83000 · Tax Expense                                            -                    -             1,342                      -                -                   -
    Total Expense                                              13,396,287                     325             1,667                   325           44,525                3,250
 Net Ordinary Income                                           (12,664,792)                2,425             (1,667)                  (430)        (44,525)              (3,250)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                       -                    -                   -                    -                -                   -
   Total Other Expense                                                     -                    -                   -                    -                -                   -
 Net Other Income                                                          -                    -                   -                    -                -                   -
Net Income                                                     (12,664,792)                2,425             (1,667)                  (430)        (44,525)              (3,250)




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 Woodbridge Group of Companies, LLC, et al
 (Jointly Administered)
 Statement of Operations
 for the period March 1-31, 2018

                                                             Ironsides         P-001 215 North       P-002 Addison         P-003 Anchorpoint    P-004 Arborvitae      P-005 Archivolt
                                                 Debtor: Investments LLC         12th St LLC         Park Invest LLC           Invest LLC          Invest LLC           Invest LLC
                                               Case No.:    17-12714              17-12561              17-12563               17-12566            17-12572              17-12574
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                      -                     -                    -                    -                      -
      40010 · Rent Revenue                                                -              4,618                         -             12,152                      -                      -
      40020 · Interest Revenue                                            -                    1                       -                    0                    -                      -
      40022 · Structured Settlement Income                                -                    -                       -                    -                    -                      -
    Total Income                                                          -              4,619                         -             12,152                      -                      -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -              1,432                         -              1,215                      -                      -
      Total 50000 · Cost of Goods Sold                                    -              1,432                         -              1,215                      -                      -
    Total COGS                                                            -              1,432                         -              1,215                      -                      -
   Gross Profit                                                           -              3,187                         -             10,937                      -                      -
    Expense
      60020 · Media Consulting                                            -                      -                     -                    -                    -                      -
      60400 · Bank Service Charge                                         -                      -                     -                    -                    -                      -
      60500 · Dues and Subscriptions                                      -                      -                     -                    -                    -                      -
      60600 · Equipment Lease                                             -                      -                     -                    -                    -                      -
      61700 · Information Technology                                      -                      -                     -                    -                    -                      -
      61800 · License and Filing Fees                                     -                      -                     -                    -                    -                   49
      61870 · Moving                                                      -                      -                     -                    -                    -                      -
      62500 · Employee Benefits                                           -                      -                     -                    -                    -                      -
      63300 · Insurance                                                   -                      -                     -                    -                    -                      -
      63400 · Interest                                                    -                      -                     -                    -                    -                      -
      63401 · Int Expense - BK DIP financing                              -                      -                     -                    -                    -                      -
      64800 · Office Expense                                              -                      -                     -                    -                    -                      -
      64900 · Office Supplies                                             -                      -                     -                    -                    -                      -
      65000 · Outside Services                                            -                      -                     -                    -                    -                      -
      65100 · Parking                                                     -                      -                     -                    -                    -                      -
      66000 · Payroll-Salaries and Wages                                  -                      -                     -                    -                    -                      -
      66005 · Payroll-Service Fees                                        -                      -                     -                    -                    -                      -
      66015 · Payroll-Employer Taxes                                      -                      -                     -                    -                    -                      -
      66030 · Postage and Delivery                                        -                      -                     -                    -                    -                      -
      66800 · Rent Expense                                                -                      -                     -                    -                    -                      -
      66900 · Repairs and Maintenance                                     -                  589                       -                    -                    -                      -
      67000 · Security                                                    -                      -                     -                    -                    -                      -
      67050 · Storage                                                     -                      -                     -                    -                    -                      -
      67100 · Telephone and Internet Expense                              -                      -                     -                    -                    -                      -
      67200 · Travel                                                      -                      -                     -                    -                    -                      -
      67210 · Travel / Relocation allowance                               -                      -                     -                    -                    -                      -
      67400 · Utilities                                                   -                      -             1,165                        -                    -                      -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                      -                     -                    -                    -                      -
        68200 · Legal Fees - Ord Course                                   -                      -                     -                    -                    -                      -
        68300 · Accntng Fees - Ord Course                                 -                      -                     -                    -                    -                      -
      Total 68000 · Professional Fee Ord Course                           -                      -                     -                    -                    -                      -
      71000 · U.S. Trustee Fees                                        325                   650              20,840                      650                 325                   325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                        -                      -                     -                    -                    -                      -
        72030 · Consulting - Bankruptcy                                   -                      -                     -                    -                    -                      -
      Total 72000 · Professional Fees - Bankruptcy                        -                      -                     -                    -                    -                      -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                  -                      -                     -                    -                    -                      -
        83000 · Tax Expense - Other                                       -                      -                     -                    -                    -                      -
      Total 83000 · Tax Expense                                           -                      -                     -                    -                    -                      -
    Total Expense                                                      325               1,239                22,005                      650                 325                   374
 Net Ordinary Income                                                   (325)             1,948                (22,005)               10,287                   (325)                 (374)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                      -                      -                     -                    -                    -                      -
   Total Other Expense                                                    -                      -                     -                    -                    -                      -
 Net Other Income                                                         -                      -                     -                    -                    -                      -
Net Income                                                             (325)             1,948                (22,005)               10,287                   (325)                 (374)




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                                                           P-006 Arlington     P-007 Arrowpoint      P-008 Baleroy        P-009 Bay Village    P-010 Bear Brook P-011 Beech Creek
                                                 Debtor:   Ridge Inves LLC        Invest LLC          Invest LLC             Invest LLC           Invest LLC        Invest LLC
                                               Case No.:      17-12576            17-12578             17-12580               17-12604            17-12610           17-12616
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                     -                    -                    -                     -                  -
      40010 · Rent Revenue                                                -                     -                    -                    -                     -                  -
      40020 · Interest Revenue                                            -                     -                    -                    -                     -                  -
      40022 · Structured Settlement Income                                -                     -                    -                    -                     -                  -
    Total Income                                                          -                     -                    -                    -                     -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                     -                    -                    -                     -                  -
      Total 50000 · Cost of Goods Sold                                    -                     -                    -                    -                     -                  -
    Total COGS                                                            -                     -                    -                    -                     -                  -
   Gross Profit                                                           -                     -                    -                    -                     -                  -
    Expense
      60020 · Media Consulting                                            -                     -                    -                    -                     -                  -
      60400 · Bank Service Charge                                         -                     -                    -                    -                     -                  -
      60500 · Dues and Subscriptions                                      -                     -                    -                    -                     -                  -
      60600 · Equipment Lease                                             -                     -                    -                    -                     -                  -
      61700 · Information Technology                                      -                     -                    -                    -                     -                  -
      61800 · License and Filing Fees                                     -                     -                    -                    -                     -                  -
      61870 · Moving                                                      -                     -                    -                    -                     -                  -
      62500 · Employee Benefits                                           -                     -                    -                    -                     -                  -
      63300 · Insurance                                                   -                     -                    -                    -                     -                  -
      63400 · Interest                                                    -                     -                    -                    -                     -                  -
      63401 · Int Expense - BK DIP financing                              -                     -                    -                    -                     -                  -
      64800 · Office Expense                                              -                     -                    -                    -                     -                  -
      64900 · Office Supplies                                             -                     -                    -                    -                     -                  -
      65000 · Outside Services                                            -                     -                    -                    -                     -                  -
      65100 · Parking                                                     -                     -                    -                    -                     -                  -
      66000 · Payroll-Salaries and Wages                                  -                     -                    -                    -                     -                  -
      66005 · Payroll-Service Fees                                        -                     -                    -                    -                     -                  -
      66015 · Payroll-Employer Taxes                                      -                     -                    -                    -                     -                  -
      66030 · Postage and Delivery                                        -                     -                    -                    -                     -                  -
      66800 · Rent Expense                                                -                     -                    -                    -                     -                  -
      66900 · Repairs and Maintenance                                     -                     -                    -                    -                     -                  -
      67000 · Security                                                    -                     -                    -                    -                     -                  -
      67050 · Storage                                                     -                     -                    -                    -                     -                  -
      67100 · Telephone and Internet Expense                              -                     -                    -                    -                     -                  -
      67200 · Travel                                                      -                     -                    -                    -                     -                  -
      67210 · Travel / Relocation allowance                               -                     -                    -                    -                     -                  -
      67400 · Utilities                                                   -                     -                    -                    -                     -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                     -                    -                    -                     -                  -
        68200 · Legal Fees - Ord Course                                   -                     -                    -                    -                     -                  -
        68300 · Accntng Fees - Ord Course                                 -                     -                    -                    -                     -                  -
      Total 68000 · Professional Fee Ord Course                           -                     -                    -                    -                     -                  -
      71000 · U.S. Trustee Fees                                      4,875                   325                  325                4,875                   325                325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                        -                     -                    -                    -                     -                  -
        72030 · Consulting - Bankruptcy                                   -                     -                    -                    -                     -                  -
      Total 72000 · Professional Fees - Bankruptcy                        -                     -                    -                    -                     -                  -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                  -                     -                    -                    -                     -                  -
        83000 · Tax Expense - Other                                       -                     -                    -                    -                     -                  -
      Total 83000 · Tax Expense                                           -                     -                    -                    -                     -                  -
    Total Expense                                                    4,875                   325                  325                4,875                   325                325
 Net Ordinary Income                                                 (4,875)                 (325)                (325)              (4,875)                 (325)              (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                      -                     -                    -                    -                     -                  -
   Total Other Expense                                                    -                     -                    -                    -                     -                  -
 Net Other Income                                                         -                     -                    -                    -                     -                  -
Net Income                                                           (4,875)                 (325)                (325)              (4,875)                 (325)              (325)




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                                                          P-012 Bishop       P-013 Black Bass         P-014 Black         P-015 Bluff Point     P-016 Bowman         P-017 Bramley
                                                 Debtor: White Invest LLC       Invest LLC         Locust Invest LLC         Invest LLC           Invest LLC           Invest LLC
                                               Case No.:     17-12623           17-12641               17-12648              17-12722             17-12753             17-12769
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                               -                    -                      -                     -                    -                    -
      40010 · Rent Revenue                                               -                    -                      -                     -                    -                    -
      40020 · Interest Revenue                                           -                    -                      -                     -                    -                    -
      40022 · Structured Settlement Income                               -                    -                      -                     -                    -                    -
    Total Income                                                         -                    -                      -                     -                    -                    -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                          -                    -                      -                     -                    -                    -
      Total 50000 · Cost of Goods Sold                                   -                    -                      -                     -                    -                    -
    Total COGS                                                           -                    -                      -                     -                    -                    -
   Gross Profit                                                          -                    -                      -                     -                    -                    -
    Expense
      60020 · Media Consulting                                           -                    -                      -                     -                    -                    -
      60400 · Bank Service Charge                                        -                    -                      -                     -                    -                    -
      60500 · Dues and Subscriptions                                     -                    -                      -                     -                    -                    -
      60600 · Equipment Lease                                            -                    -                      -                     -                    -                    -
      61700 · Information Technology                                     -                    -                      -                     -                    -                    -
      61800 · License and Filing Fees                                    -                    -                      -                     -                    -                    -
      61870 · Moving                                                     -                    -                      -                     -                    -                    -
      62500 · Employee Benefits                                          -                    -                      -                     -                    -                    -
      63300 · Insurance                                                  -                    -                      -                     -                    -                    -
      63400 · Interest                                                   -                    -                      -                     -                    -                    -
      63401 · Int Expense - BK DIP financing                             -                    -                      -                     -                    -                    -
      64800 · Office Expense                                             -                    -                      -                     -                    -                    -
      64900 · Office Supplies                                            -                    -                      -                     -                    -                    -
      65000 · Outside Services                                           -                    -                      -                     -                    -                    -
      65100 · Parking                                                    -                    -                      -                     -                    -                    -
      66000 · Payroll-Salaries and Wages                                 -                    -                      -                     -                    -                    -
      66005 · Payroll-Service Fees                                       -                    -                      -                     -                    -                    -
      66015 · Payroll-Employer Taxes                                     -                    -                      -                     -                    -                    -
      66030 · Postage and Delivery                                       -                    -                      -                     -                    -                    -
      66800 · Rent Expense                                               -                    -                      -                     -                    -                    -
      66900 · Repairs and Maintenance                                    -                    -                      -                     -                    -                    -
      67000 · Security                                                   -                    -                      -                     -                    -                    -
      67050 · Storage                                                    -                    -                      -                     -                    -                    -
      67100 · Telephone and Internet Expense                             -                    -                      -                     -                    -                    -
      67200 · Travel                                                     -                    -                      -                     -                    -                    -
      67210 · Travel / Relocation allowance                              -                    -                      -                     -                    -                    -
      67400 · Utilities                                                  -                    -                      -                     -                    -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                  -                    -                      -                     -                    -                    -
        68200 · Legal Fees - Ord Course                                  -                    -                      -                     -                    -                    -
        68300 · Accntng Fees - Ord Course                                -                    -                      -                     -                    -                    -
      Total 68000 · Professional Fee Ord Course                          -                    -                      -                     -                    -                    -
      71000 · U.S. Trustee Fees                                     1,950                  325                    325                   975                  325                  325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                       -                    -                      -                     -                    -                    -
        72030 · Consulting - Bankruptcy                                  -                    -                      -                     -                    -                    -
      Total 72000 · Professional Fees - Bankruptcy                       -                    -                      -                     -                    -                    -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                 -                    -                      -                     -                    -                    -
        83000 · Tax Expense - Other                                      -                    -                      -                     -                    -                    -
      Total 83000 · Tax Expense                                          -                    -                      -                     -                    -                    -
    Total Expense                                                   1,950                  325                    325                   975                  325                  325
 Net Ordinary Income                                               (1,950)                 (325)                  (325)                 (975)                (325)                (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                     -                    -                      -                     -                    -                    -
   Total Other Expense                                                   -                    -                      -                     -                    -                    -
 Net Other Income                                                        -                    -                      -                     -                    -                    -
Net Income                                                         (1,950)                 (325)                  (325)                 (975)                (325)                (325)




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                                                           P-019 Broadsands P-020 Brynderwen         P-021 Cablestay     P-022 Cannington      P-023 Carbondale      P-024 Carbondale
                                                 Debtor:       Invest LLC      Invest LLC               Invest LLC          Invest LLC           Glen Lot A-5          Glen Lot D-22
                                               Case No.:       17-12777           17-12793              17-12798            17-12803              17-12807              17-12809
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                   -                  -                   -                     -                     -                     -
      40010 · Rent Revenue                                                   -                  -                   -                     -                     -                     -
      40020 · Interest Revenue                                               -                  -                   -                     -                     -                     -
      40022 · Structured Settlement Income                                   -                  -                   -                     -                     -                     -
    Total Income                                                             -                  -                   -                     -                     -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                              -                  -                   -                     -                     -                     -
      Total 50000 · Cost of Goods Sold                                       -                  -                   -                     -                     -                     -
    Total COGS                                                               -                  -                   -                     -                     -                     -
   Gross Profit                                                              -                  -                   -                     -                     -                     -
    Expense
      60020 · Media Consulting                                               -                  -                   -                     -                     -                     -
      60400 · Bank Service Charge                                            -                  -                   -                     -                     -                     -
      60500 · Dues and Subscriptions                                         -                  -                   -                     -                     -                     -
      60600 · Equipment Lease                                                -                  -                   -                     -                     -                     -
      61700 · Information Technology                                         -                  -                   -                     -                     -                     -
      61800 · License and Filing Fees                                        -                49                    -                     -                     -                     -
      61870 · Moving                                                         -                  -                   -                     -                     -                     -
      62500 · Employee Benefits                                              -                  -                   -                     -                     -                     -
      63300 · Insurance                                                      -                  -                   -                     -                     -                     -
      63400 · Interest                                                       -                  -                   -                     -                     -                     -
      63401 · Int Expense - BK DIP financing                                 -                  -                   -                     -                     -                     -
      64800 · Office Expense                                                 -                  -                   -                     -                     -                     -
      64900 · Office Supplies                                                -                  -                   -                     -                     -                     -
      65000 · Outside Services                                               -                  -                   -                     -                     -                     -
      65100 · Parking                                                        -                  -                   -                     -                     -                     -
      66000 · Payroll-Salaries and Wages                                     -                  -                   -                     -                     -                     -
      66005 · Payroll-Service Fees                                           -                  -                   -                     -                     -                     -
      66015 · Payroll-Employer Taxes                                         -                  -                   -                     -                     -                     -
      66030 · Postage and Delivery                                           -                  -                   -                     -                     -                     -
      66800 · Rent Expense                                                   -                  -                   -                     -                     -                     -
      66900 · Repairs and Maintenance                                        -                  -                   -                     -                     -                     -
      67000 · Security                                                       -                  -                   -                     -                     -                     -
      67050 · Storage                                                        -                  -                   -                     -                     -                     -
      67100 · Telephone and Internet Expense                                 -                  -                   -                     -                     -                     -
      67200 · Travel                                                         -                  -                   -                     -                     -                     -
      67210 · Travel / Relocation allowance                                  -                  -                   -                     -                     -                     -
      67400 · Utilities                                                      -                  -                   -                     -                     -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                      -                  -                   -                     -                     -                     -
        68200 · Legal Fees - Ord Course                                      -                  -                   -                     -                     -                     -
        68300 · Accntng Fees - Ord Course                                    -                  -                   -                     -                     -                     -
      Total 68000 · Professional Fee Ord Course                              -                  -                   -                     -                     -                     -
      71000 · U.S. Trustee Fees                                           325                325               4,875                   650                   325                   325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                           -                  -                   -                     -                     -                     -
        72030 · Consulting - Bankruptcy                                      -                  -                   -                     -                     -                     -
      Total 72000 · Professional Fees - Bankruptcy                           -                  -                   -                     -                     -                     -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                     -                  -                   -                     -                     -                     -
        83000 · Tax Expense - Other                                          -                  -                   -                     -                     -                     -
      Total 83000 · Tax Expense                                              -                  -                   -                     -                     -                     -
    Total Expense                                                         325                374               4,875                   650                   325                   325
 Net Ordinary Income                                                      (325)              (374)             (4,875)                 (650)                 (325)                 (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                         -                  -                   -                     -                     -                     -
   Total Other Expense                                                       -                  -                   -                     -                     -                     -
 Net Other Income                                                            -                  -                   -                     -                     -                     -
Net Income                                                                (325)              (374)             (4,875)                 (650)                 (325)                 (325)




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                                                           P-025 Carbondale      P-026 Carbondale      P-028 Carbondale      P-029 Carbondale      P-030 Carbondale      P-031 Carbondale
                                                 Debtor:     Glen Lot E-24        Glen Lot GV-13        Glen Lot SD-14        Glen Lot SD-23        Glen Mes Lot19        Glen River Mes
                                               Case No.:      17-12811              17-12813              17-12817              17-12815              17-12819              17-12820
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                     -                     -                     -                     -                     -
      40010 · Rent Revenue                                                  -                     -                     -                     -                     -                     -
      40020 · Interest Revenue                                              -                     -                     -                     -                     -                     -
      40022 · Structured Settlement Income                                  -                     -                     -                     -                     -                     -
    Total Income                                                            -                     -                     -                     -                     -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                     -                     -                     -                     -                     -
      Total 50000 · Cost of Goods Sold                                      -                     -                     -                     -                     -                     -
    Total COGS                                                              -                     -                     -                     -                     -                     -
   Gross Profit                                                             -                     -                     -                     -                     -                     -
    Expense
      60020 · Media Consulting                                              -                     -                     -                     -                     -                     -
      60400 · Bank Service Charge                                           -                     -                     -                     -                     -                     -
      60500 · Dues and Subscriptions                                        -                     -                     -                     -                     -                     -
      60600 · Equipment Lease                                               -                     -                     -                     -                     -                     -
      61700 · Information Technology                                        -                     -                     -                     -                     -                     -
      61800 · License and Filing Fees                                       -                     -                     -                     -                     -                     -
      61870 · Moving                                                        -                     -                     -                     -                     -                     -
      62500 · Employee Benefits                                             -                     -                     -                     -                     -                     -
      63300 · Insurance                                                     -                     -                     -                     -                     -                     -
      63400 · Interest                                                      -                     -                     -                     -                     -                     -
      63401 · Int Expense - BK DIP financing                                -                     -                     -                     -                     -                     -
      64800 · Office Expense                                                -                     -                     -                     -                     -                     -
      64900 · Office Supplies                                               -                     -                     -                     -                     -                     -
      65000 · Outside Services                                              -                     -                     -                     -                     -                     -
      65100 · Parking                                                       -                     -                     -                     -                     -                     -
      66000 · Payroll-Salaries and Wages                                    -                     -                     -                     -                     -                     -
      66005 · Payroll-Service Fees                                          -                     -                     -                     -                     -                     -
      66015 · Payroll-Employer Taxes                                        -                     -                     -                     -                     -                     -
      66030 · Postage and Delivery                                          -                     -                     -                     -                     -                     -
      66800 · Rent Expense                                                  -                     -                     -                     -                     -                     -
      66900 · Repairs and Maintenance                                       -                     -                     -                     -                     -                     -
      67000 · Security                                                      -                     -                     -                     -                     -                     -
      67050 · Storage                                                       -                     -                     -                     -                     -                     -
      67100 · Telephone and Internet Expense                                -                     -                     -                     -                     -                     -
      67200 · Travel                                                        -                     -                     -                     -                     -                     -
      67210 · Travel / Relocation allowance                                 -                     -                     -                     -                     -                     -
      67400 · Utilities                                                     -                     -                     -                     -                     -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                     -                     -                     -                     -                     -
        68200 · Legal Fees - Ord Course                                     -                     -                     -                     -                     -                     -
        68300 · Accntng Fees - Ord Course                                   -                     -                     -                     -                     -                     -
      Total 68000 · Professional Fee Ord Course                             -                     -                     -                     -                     -                     -
      71000 · U.S. Trustee Fees                                          325                   325                   325                   325                   325                   650
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                          -                     -                     -                     -                     -                     -
        72030 · Consulting - Bankruptcy                                     -                     -                     -                     -                     -                     -
      Total 72000 · Professional Fees - Bankruptcy                          -                     -                     -                     -                     -                     -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                    -                     -                     -                     -                     -                     -
        83000 · Tax Expense - Other                                         -                     -                     -                     -                     -                     -
      Total 83000 · Tax Expense                                             -                     -                     -                     -                     -                     -
    Total Expense                                                        325                   325                   325                   325                   325                   650
 Net Ordinary Income                                                     (325)                 (325)                 (325)                 (325)                 (325)                 (650)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                        -                     -                     -                     -                     -                     -
   Total Other Expense                                                      -                     -                     -                     -                     -                     -
 Net Other Income                                                           -                     -                     -                     -                     -                     -
Net Income                                                               (325)                 (325)                 (325)                 (325)                 (325)                 (650)




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                                                           P-032 Carbondale      P-036 Carbondale       P-037 Carbondale       P-038 Carbondale       P-039 Carbondale P-040 Castle Pines
                                                 Debtor:    Gl Sunda Ponds         Peaks Lot L-1           Spruce 101           Sundanc Lot 15         Sundanc Lot 16      Invest LLC
                                               Case No.:      17-12822               18-10286               17-12568               17-12569               17-12570          17-12581
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                      -                      -                      -                     -                  -
      40010 · Rent Revenue                                                  -                      -                      -                      -                   750                  -
      40020 · Interest Revenue                                              -                      -                      0                      -                     -                  -
      40022 · Structured Settlement Income                                  -                      -                      -                      -                     -                  -
    Total Income                                                            -                      -                      0                      -                   750                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                      -                    63                       -                     -                  -
      Total 50000 · Cost of Goods Sold                                      -                      -                    63                       -                     -                  -
    Total COGS                                                              -                      -                    63                       -                     -                  -
   Gross Profit                                                             -                      -                    (63)                     -                   750                  -
    Expense
      60020 · Media Consulting                                              -                      -                      -                      -                     -                  -
      60400 · Bank Service Charge                                           -                      -                      -                      -                     -                  -
      60500 · Dues and Subscriptions                                        -                      -                      -                      -                     -                  -
      60600 · Equipment Lease                                               -                      -                      -                      -                     -                  -
      61700 · Information Technology                                        -                      -                      -                      -                     -                  -
      61800 · License and Filing Fees                                       -                      -                      -                      -                     -                  -
      61870 · Moving                                                        -                      -                      -                      -                     -                  -
      62500 · Employee Benefits                                             -                      -                      -                      -                     -                  -
      63300 · Insurance                                                     -                      -                      -                      -                     -                  -
      63400 · Interest                                                      -                      -                      -                      -                     -                  -
      63401 · Int Expense - BK DIP financing                                -                      -                      -                      -                     -                  -
      64800 · Office Expense                                                -                      -                      -                      -                     -                  -
      64900 · Office Supplies                                               -                      -                      -                      -                     -                  -
      65000 · Outside Services                                              -                      -                      -                      -                     -                  -
      65100 · Parking                                                       -                      -                      -                      -                     -                  -
      66000 · Payroll-Salaries and Wages                                    -                      -                      -                      -                     -                  -
      66005 · Payroll-Service Fees                                          -                      -                      -                      -                     -                  -
      66015 · Payroll-Employer Taxes                                        -                      -                      -                      -                     -                  -
      66030 · Postage and Delivery                                          -                      -                      -                      -                     -                  -
      66800 · Rent Expense                                                  -                      -                      -                      -                     -                  -
      66900 · Repairs and Maintenance                                       -                      -                      -                      -                     -                  -
      67000 · Security                                                      -                      -                      -                      -                     -                  -
      67050 · Storage                                                       -                      -                      -                      -                     -                  -
      67100 · Telephone and Internet Expense                                -                      -                      -                      -                     -                  -
      67200 · Travel                                                        -                      -                      -                      -                     -                  -
      67210 · Travel / Relocation allowance                                 -                      -                      -                      -                     -                  -
      67400 · Utilities                                                     -                      -                      -                      -                     -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                      -                      -                      -                     -                  -
        68200 · Legal Fees - Ord Course                                     -                      -                      -                      -                     -                  -
        68300 · Accntng Fees - Ord Course                                   -                      -                      -                      -                     -                  -
      Total 68000 · Professional Fee Ord Course                             -                      -                      -                      -                     -                  -
      71000 · U.S. Trustee Fees                                          650                    325                    650                    325                    325               325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                          -                      -                      -                      -                     -                  -
        72030 · Consulting - Bankruptcy                                     -                      -                      -                      -                     -                  -
      Total 72000 · Professional Fees - Bankruptcy                          -                      -                      -                      -                     -                  -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                    -                      -                      -                      -                     -                  -
        83000 · Tax Expense - Other                                         -                      -                      -                      -                     -                  -
      Total 83000 · Tax Expense                                             -                      -                      -                      -                     -                  -
    Total Expense                                                        650                    325                    650                    325                    325               325
 Net Ordinary Income                                                     (650)                  (325)                  (713)                  (325)                  425               (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                        -                      -                      -                      -                     -                  -
   Total Other Expense                                                      -                      -                      -                      -                     -                  -
 Net Other Income                                                           -                      -                      -                      -                     -                  -
Net Income                                                               (650)                  (325)                  (713)                  (325)                  425               (325)




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                                                           P-041 Centershot      P-042 Chaplin        P-043 Chestnut        P-044 Chestnut P-045 Clover Basin   P-046 Coffee
                                                 Debtor:      Invest LLC          Invest LLC            Invest LLC         Ridge Invest LLC    Invest LLC     Creek Invest LLC
                                               Case No.:      17-12586             17-12592             17-12603              17-12614          17-12621          17-12627
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                    -                     -                  -                  -                  -
      40010 · Rent Revenue                                                  -                    -                     -                  -                  -                  -
      40020 · Interest Revenue                                              -                    -                     -                  -                  -                  -
      40022 · Structured Settlement Income                                  -                    -                     -                  -                  -                  -
    Total Income                                                            -                    -                     -                  -                  -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                    -                     -                  -            (2,000)                  -
      Total 50000 · Cost of Goods Sold                                      -                    -                     -                  -            (2,000)                  -
    Total COGS                                                              -                    -                     -                  -            (2,000)                  -
   Gross Profit                                                             -                    -                     -                  -            2,000                    -
    Expense
      60020 · Media Consulting                                              -                    -                     -                  -                  -                  -
      60400 · Bank Service Charge                                           -                    -                     -                  -                  -                  -
      60500 · Dues and Subscriptions                                        -                    -                     -                  -                  -                  -
      60600 · Equipment Lease                                               -                    -                     -                  -                  -                  -
      61700 · Information Technology                                        -                    -                     -                  -                  -                  -
      61800 · License and Filing Fees                                       -                    -                     -                  -                  -                  -
      61870 · Moving                                                        -                    -                     -                  -                  -                  -
      62500 · Employee Benefits                                             -                    -                     -                  -                  -                  -
      63300 · Insurance                                                     -                    -                     -                  -                  -                  -
      63400 · Interest                                                      -                    -                     -                  -                  -                  -
      63401 · Int Expense - BK DIP financing                                -                    -                     -                  -                  -                  -
      64800 · Office Expense                                                -                    -                     -                  -                  -                  -
      64900 · Office Supplies                                               -                    -                     -                  -                  -                  -
      65000 · Outside Services                                              -                    -                     -                  -                  -                  -
      65100 · Parking                                                       -                    -                     -                  -                  -                  -
      66000 · Payroll-Salaries and Wages                                    -                    -                     -                  -                  -                  -
      66005 · Payroll-Service Fees                                          -                    -                     -                  -                  -                  -
      66015 · Payroll-Employer Taxes                                        -                    -                     -                  -                  -                  -
      66030 · Postage and Delivery                                          -                    -                     -                  -                  -                  -
      66800 · Rent Expense                                                  -                    -                     -                  -                  -                  -
      66900 · Repairs and Maintenance                                       -                    -                     -                  -                  -                  -
      67000 · Security                                                      -                    -                     -                  -                  -                  -
      67050 · Storage                                                       -                    -                     -                  -                  -                  -
      67100 · Telephone and Internet Expense                                -                    -                     -                  -                  -                  -
      67200 · Travel                                                        -                    -                     -                  -                  -                  -
      67210 · Travel / Relocation allowance                                 -                    -                     -                  -                  -                  -
      67400 · Utilities                                                     -                    -                     -                  -                  -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                    -                     -                  -                  -                  -
        68200 · Legal Fees - Ord Course                                     -                    -             95,000                     -            3,810                    -
        68300 · Accntng Fees - Ord Course                                   -                    -                  -                     -                -                    -
      Total 68000 · Professional Fee Ord Course                             -                    -             95,000                     -            3,810                    -
      71000 · U.S. Trustee Fees                                          325                  325                  975               1,950                 650               325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                          -                    -                     -                  -                  -                  -
        72030 · Consulting - Bankruptcy                                     -                    -                     -                  -                  -                  -
      Total 72000 · Professional Fees - Bankruptcy                          -                    -                     -                  -                  -                  -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                    -                    -                     -                  -                  -                  -
        83000 · Tax Expense - Other                                         -                    -                     -                  -                  -                  -
      Total 83000 · Tax Expense                                             -                    -                     -                  -                  -                  -
    Total Expense                                                        325                  325              95,975                1,950             4,460                 325
 Net Ordinary Income                                                     (325)                (325)           (95,975)               (1,950)           (2,460)               (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                        -                    -                     -                  -                  -                  -
   Total Other Expense                                                      -                    -                     -                  -                  -                  -
 Net Other Income                                                           -                    -                     -                  -                  -                  -
Net Income                                                               (325)                (325)           (95,975)               (1,950)           (2,460)               (325)




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                                                           P-047 Craven       P-049 Crowfield        P-050 Crystal         P-051 Daleville       P-052 Derbyshire      P-053 Diamond
                                                 Debtor:    Invest LLC          Invest LLC          Woods Invest LLC         Invest LLC             Invest LLC         Cove Invest LLC
                                               Case No.:    17-12636             17-12660               17-12676             17-12687               17-12696              17-12705
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                     -                     -                      -                    -                   -
      40010 · Rent Revenue                                                -                     -                     -                      -                    -                   -
      40020 · Interest Revenue                                            -                     -                     -                      -                    -                   -
      40022 · Structured Settlement Income                                -                     -                     -                      -                    -                   -
    Total Income                                                          -                     -                     -                      -                    -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                     -                     -                      -                    -                   -
      Total 50000 · Cost of Goods Sold                                    -                     -                     -                      -                    -                   -
    Total COGS                                                            -                     -                     -                      -                    -                   -
   Gross Profit                                                           -                     -                     -                      -                    -                   -
    Expense
      60020 · Media Consulting                                            -                     -                     -                      -                    -                   -
      60400 · Bank Service Charge                                         -                     -                     -                      -                    -                   -
      60500 · Dues and Subscriptions                                      -                     -                     -                      -                    -                   -
      60600 · Equipment Lease                                             -                     -                     -                      -                    -                   -
      61700 · Information Technology                                      -                     -                     -                      -                    -                   -
      61800 · License and Filing Fees                                     -                     -                     -                      -                    -                   -
      61870 · Moving                                                      -                     -                     -                      -                    -                   -
      62500 · Employee Benefits                                           -                     -                     -                      -                    -                   -
      63300 · Insurance                                                   -                     -                     -                      -                    -                   -
      63400 · Interest                                             24,068                       -                     -                      -                    -                   -
      63401 · Int Expense - BK DIP financing                              -                     -                     -                      -                    -                   -
      64800 · Office Expense                                              -                     -                     -                      -                    -                   -
      64900 · Office Supplies                                             -                     -                     -                      -                    -                   -
      65000 · Outside Services                                            -                     -                     -                      -                    -                   -
      65100 · Parking                                                     -                     -                     -                      -                    -                   -
      66000 · Payroll-Salaries and Wages                                  -                     -                     -                      -                    -                   -
      66005 · Payroll-Service Fees                                        -                     -                     -                      -                    -                   -
      66015 · Payroll-Employer Taxes                                      -                     -                     -                      -                    -                   -
      66030 · Postage and Delivery                                        -                     -                     -                      -                    -                   -
      66800 · Rent Expense                                                -                     -                     -                      -                    -                   -
      66900 · Repairs and Maintenance                                     -                     -                     -                      -                    -                   -
      67000 · Security                                                    -                     -                     -                      -                    -                   -
      67050 · Storage                                                     -                     -                     -                      -                    -                   -
      67100 · Telephone and Internet Expense                              -                     -                     -                      -                    -                   -
      67200 · Travel                                                      -                     -                     -                      -                    -                   -
      67210 · Travel / Relocation allowance                               -                     -                     -                      -                    -                   -
      67400 · Utilities                                                   -                     -                     -                      -                    -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                     -                     -                      -                    -                   -
        68200 · Legal Fees - Ord Course                                   -                     -                     -                      -                    -                   -
        68300 · Accntng Fees - Ord Course                                 -                     -                     -                      -                    -                   -
      Total 68000 · Professional Fee Ord Course                           -                     -                     -                      -                    -                   -
      71000 · U.S. Trustee Fees                                        650              4,875                      325                  325                    325               4,875
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                        -                     -                     -                      -                    -                   -
        72030 · Consulting - Bankruptcy                                   -                     -                     -                      -                    -                   -
      Total 72000 · Professional Fees - Bankruptcy                        -                     -                     -                      -                    -                   -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                  -                     -                     -                      -                    -                   -
        83000 · Tax Expense - Other                                       -                     -                     -                      -                    -                   -
      Total 83000 · Tax Expense                                           -                     -                     -                      -                    -                   -
    Total Expense                                                  24,718               4,875                      325                  325                    325               4,875
 Net Ordinary Income                                              (24,718)              (4,875)                    (325)                (325)                  (325)             (4,875)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                      -                     -                     -                      -                    -                   -
   Total Other Expense                                                    -                     -                     -                      -                    -                   -
 Net Other Income                                                         -                     -                     -                      -                    -                   -
Net Income                                                        (24,718)              (4,875)                    (325)                (325)                  (325)             (4,875)




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                                                          P-054 Dixville         P-055 Dogwood P-056 Dollis Brook P-057 Donnington      P-059 Doubleleaf      P-060 Drawspan
                                                 Debtor: Notch Invest LLC       Valley Invest LLC  Invest LLC        Invest LLC            Invest LLC            Invest LLC
                                               Case No.:     17-12716              17-12727           17-12735           17-12744          17-12755              17-12767
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                     -                  -               -                    -                  -
      40010 · Rent Revenue                                                 -                     -                  -          12,439                    -                  -
      40020 · Interest Revenue                                             -                     -                  -               1                    -                  -
      40022 · Structured Settlement Income                                 -                     -                  -               -                    -                  -
    Total Income                                                           -                     -                  -          12,440                    -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                     -                  -           2,166                    -                  -
      Total 50000 · Cost of Goods Sold                                     -                     -                  -           2,166                    -                  -
    Total COGS                                                             -                     -                  -           2,166                    -                  -
   Gross Profit                                                            -                     -                  -          10,274                    -                  -
    Expense
      60020 · Media Consulting                                             -                     -                  -               -                    -                  -
      60400 · Bank Service Charge                                          -                     -                  -               -                    -                  -
      60500 · Dues and Subscriptions                                       -                     -                  -               -                    -                  -
      60600 · Equipment Lease                                              -                     -                  -               -                    -                  -
      61700 · Information Technology                                       -                     -                  -               -                    -                  -
      61800 · License and Filing Fees                                      -                     -                  -               -                    -                  -
      61870 · Moving                                                       -                     -                  -               -                    -                  -
      62500 · Employee Benefits                                            -                     -                  -               -                    -                  -
      63300 · Insurance                                                    -                     -                  -               -                    -                  -
      63400 · Interest                                                     -                     -                  -               -                    -                  -
      63401 · Int Expense - BK DIP financing                               -                     -                  -               -                    -                  -
      64800 · Office Expense                                               -                     -                  -               -                    -                  -
      64900 · Office Supplies                                              -                     -                  -               -                    -                  -
      65000 · Outside Services                                             -                     -                  -               -                    -                  -
      65100 · Parking                                                      -                     -                  -               -                    -                  -
      66000 · Payroll-Salaries and Wages                                   -                     -                  -               -                    -                  -
      66005 · Payroll-Service Fees                                         -                     -                  -               -                    -                  -
      66015 · Payroll-Employer Taxes                                       -                     -                  -               -                    -                  -
      66030 · Postage and Delivery                                         -                     -                  -               -                    -                  -
      66800 · Rent Expense                                                 -                     -                  -               -                    -                  -
      66900 · Repairs and Maintenance                                      -                     -                  -               -                    -                  -
      67000 · Security                                                     -                     -                  -               -                    -                  -
      67050 · Storage                                                      -                     -                  -               -                    -                  -
      67100 · Telephone and Internet Expense                               -                     -                  -               -                    -                  -
      67200 · Travel                                                       -                     -                  -               -                    -                  -
      67210 · Travel / Relocation allowance                                -                     -                  -               -                    -                  -
      67400 · Utilities                                                    -                     -                  -               -                    -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                     -                  -               -                    -                  -
        68200 · Legal Fees - Ord Course                                    -                     -                  -               -                    -                  -
        68300 · Accntng Fees - Ord Course                                  -                     -                  -               -                    -                  -
      Total 68000 · Professional Fee Ord Course                            -                     -                  -               -                    -                  -
      71000 · U.S. Trustee Fees                                         325                   650                650                -                 325               4,875
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                         -                     -                  -               -                    -                  -
        72030 · Consulting - Bankruptcy                                    -                     -                  -               -                    -                  -
      Total 72000 · Professional Fees - Bankruptcy                         -                     -                  -               -                    -                  -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                   -                     -                  -               -                    -                  -
        83000 · Tax Expense - Other                                        -                     -                  -               -                    -                  -
      Total 83000 · Tax Expense                                            -                     -                  -               -                    -                  -
    Total Expense                                                       325                   650                650                -                 325               4,875
 Net Ordinary Income                                                    (325)                 (650)              (650)         10,274                 (325)            (4,875)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                       -                     -                  -               -                    -                  -
   Total Other Expense                                                     -                     -                  -               -                    -                  -
 Net Other Income                                                          -                     -                  -               -                    -                  -
Net Income                                                              (325)                 (650)              (650)         10,274                 (325)            (4,875)




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                                                           P-061 Eldredge       P-062 Elstar Invest    P-063 Emerald        P-064 Fieldpoint    P-065 Franconia       P-066 Gateshead
                                                 Debtor:     Invest LLC                LLC            Lake Invest LLC          Invest LLC       Notch Inves LLC          Invest LLC
                                               Case No.:     17-12775               17-12782             17-12788              17-12794            17-12797              17-12597
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                    -                      -                   -                    -                    -
      40010 · Rent Revenue                                                  -                    -             20,000                  8,278                     -             21,162
      40020 · Interest Revenue                                              -                    -                      -                   0                    -                    1
      40022 · Structured Settlement Income                                  -                    -                      -                   -                    -                    -
    Total Income                                                            -                    -             20,000                  8,278                     -             21,162
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                    -                      -              4,204                     -             11,375
      Total 50000 · Cost of Goods Sold                                      -                    -                      -              4,204                     -             11,375
    Total COGS                                                              -                    -                      -              4,204                     -             11,375
   Gross Profit                                                             -                    -             20,000                  4,074                     -              9,787
    Expense
      60020 · Media Consulting                                              -                    -                      -                   -                    -                    -
      60400 · Bank Service Charge                                           -                    -                      -                   -                    -                    -
      60500 · Dues and Subscriptions                                        -                    -                      -                   -                    -                    -
      60600 · Equipment Lease                                               -                    -                      -                   -                    -                    -
      61700 · Information Technology                                        -                    -                      -                   -                    -                    -
      61800 · License and Filing Fees                                       -                    -                      -                   -                    -                    -
      61870 · Moving                                                        -                    -                      -                   -                    -                    -
      62500 · Employee Benefits                                             -                    -                      -                   -                    -                    -
      63300 · Insurance                                                     -                    -                      -                   -                    -                    -
      63400 · Interest                                                      -                    -                      -                   -                    -                    -
      63401 · Int Expense - BK DIP financing                                -                    -                      -                   -                    -                    -
      64800 · Office Expense                                                -                    -                      -                   -                    -                    -
      64900 · Office Supplies                                               -                    -                      -                   -                    -                    -
      65000 · Outside Services                                              -                    -                      -                   -                    -                    -
      65100 · Parking                                                       -                    -                      -                   -                    -                    -
      66000 · Payroll-Salaries and Wages                                    -                    -                      -                   -                    -                    -
      66005 · Payroll-Service Fees                                          -                    -                      -                   -                    -                    -
      66015 · Payroll-Employer Taxes                                        -                    -                      -                   -                    -                    -
      66030 · Postage and Delivery                                          -                    -                      -                   -                    -                    -
      66800 · Rent Expense                                                  -                    -                      -                   -                    -                    -
      66900 · Repairs and Maintenance                                       -                    -                      -                   -                    -                    -
      67000 · Security                                                      -                    -                      -                   -                    -                    -
      67050 · Storage                                                       -                    -                      -                   -                    -                    -
      67100 · Telephone and Internet Expense                                -                    -                      -                   -                    -                    -
      67200 · Travel                                                        -                    -                      -                   -                    -                    -
      67210 · Travel / Relocation allowance                                 -                    -                      -                   -                    -                    -
      67400 · Utilities                                                     -                    -                      -                   -                    -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                    -                      -                   -                    -                    -
        68200 · Legal Fees - Ord Course                                     -                    -                      -                   -                    -                    -
        68300 · Accntng Fees - Ord Course                                   -                    -                      -                   -                    -                    -
      Total 68000 · Professional Fee Ord Course                             -                    -                      -                   -                    -                    -
      71000 · U.S. Trustee Fees                                         650                  4,875                  650                   325                 325                   650
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                          -                    -                      -                   -                    -                    -
        72030 · Consulting - Bankruptcy                                     -                    -                      -                   -                    -                    -
      Total 72000 · Professional Fees - Bankruptcy                          -                    -                      -                   -                    -                    -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                    -                    -                      -                   -                    -                    -
        83000 · Tax Expense - Other                                         -                    -                      -                   -                    -                    -
      Total 83000 · Tax Expense                                             -                    -                      -                   -                    -                    -
    Total Expense                                                       650                  4,875                  650                   325                 325                   650
 Net Ordinary Income                                                    (650)               (4,875)            19,350                  3,749                  (325)             9,137
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                        -                    -                      -                   -                    -                    -
   Total Other Expense                                                      -                    -                      -                   -                    -                    -
 Net Other Income                                                           -                    -                      -                   -                    -                    -
Net Income                                                              (650)               (4,875)            19,350                  3,749                  (325)             9,137




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                                                                                                                                        P-071 Grand           P-072
                                                         P-067 Glenn Rich         P-068 Goose    P-069 Goosebrook P-070 Graeme Park    Midway Invest       Gravenstein
                                                 Debtor:    Invest LLC          Rocks Invest LLC     Invest LLC       Invest LLC            LLC            Invest LLC
                                               Case No.:     17-12602              17-12611          17-12617         17-12622           17-12628           17-12632
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                   -                -                 -                    -                 -
      40010 · Rent Revenue                                                 -                   -                -                 -                    -                 -
      40020 · Interest Revenue                                             -                   -                -                 -                    -                 -
      40022 · Structured Settlement Income                                 -                   -                -                 -                    -                 -
    Total Income                                                           -                   -                -                 -                    -                 -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                   -                -                 -                    -                 -
      Total 50000 · Cost of Goods Sold                                     -                   -                -                 -                    -                 -
    Total COGS                                                             -                   -                -                 -                    -                 -
   Gross Profit                                                            -                   -                -                 -                    -                 -
    Expense
      60020 · Media Consulting                                             -                   -                -                 -                    -                 -
      60400 · Bank Service Charge                                          -                   -                -                 -                    -                 -
      60500 · Dues and Subscriptions                                       -                   -                -                 -                    -                 -
      60600 · Equipment Lease                                              -                   -                -                 -                    -                 -
      61700 · Information Technology                                       -                   -                -                 -                    -                 -
      61800 · License and Filing Fees                                      -                   -                -                 -                    -                 -
      61870 · Moving                                                       -                   -                -                 -                    -                 -
      62500 · Employee Benefits                                            -                   -                -                 -                    -                 -
      63300 · Insurance                                                    -                   -                -                 -                    -                 -
      63400 · Interest                                                     -                   -                -                 -           806,867                    -
      63401 · Int Expense - BK DIP financing                               -                   -                -                 -                    -                 -
      64800 · Office Expense                                               -                   -                -                 -                    -                 -
      64900 · Office Supplies                                              -                   -                -                 -                    -                 -
      65000 · Outside Services                                             -                   -                -                 -                    -                 -
      65100 · Parking                                                      -                   -                -                 -                    -                 -
      66000 · Payroll-Salaries and Wages                                   -                   -                -                 -                    -                 -
      66005 · Payroll-Service Fees                                         -                   -                -                 -                    -                 -
      66015 · Payroll-Employer Taxes                                       -                   -                -                 -                    -                 -
      66030 · Postage and Delivery                                         -                   -                -                 -                    -                 -
      66800 · Rent Expense                                                 -                   -                -                 -                    -                 -
      66900 · Repairs and Maintenance                                      -                   -                -                 -                    -                 -
      67000 · Security                                                     -                   -                -                 -                    -                 -
      67050 · Storage                                                      -                   -                -                 -                    -                 -
      67100 · Telephone and Internet Expense                               -                   -                -                 -                    -                 -
      67200 · Travel                                                       -                   -                -                 -                    -                 -
      67210 · Travel / Relocation allowance                                -                   -                -                 -                    -                 -
      67400 · Utilities                                                    -                   -                -                 -                    -                 -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                   -                -                 -                    -                 -
        68200 · Legal Fees - Ord Course                                    -                   -                -                 -                    -                 -
        68300 · Accntng Fees - Ord Course                                  -                   -                -                 -                    -                 -
      Total 68000 · Professional Fee Ord Course                            -                   -                -                 -                    -                 -
      71000 · U.S. Trustee Fees                                         325               4,875             4,875            1,625              4,875             12,083
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                         -                   -                -                 -                    -                 -
        72030 · Consulting - Bankruptcy                                    -                   -                -                 -                    -                 -
      Total 72000 · Professional Fees - Bankruptcy                         -                   -                -                 -                    -                 -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                   -                   -                -                 -                    -                 -
        83000 · Tax Expense - Other                                        -                   -                -                 -                    -                 -
      Total 83000 · Tax Expense                                            -                   -                -                 -                    -                 -
    Total Expense                                                       325               4,875             4,875            1,625            811,742             12,083
 Net Ordinary Income                                                    (325)             (4,875)          (4,875)           (1,625)         (811,742)           (12,083)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                       -                   -                -                 -                    -                 -
   Total Other Expense                                                     -                   -                -                 -                    -                 -
 Net Other Income                                                          -                   -                -                 -                    -                 -
Net Income                                                              (325)             (4,875)          (4,875)           (1,625)         (811,742)           (12,083)




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                                                                                                        P-075             P-076                                P-080
                                                         P-073 Green Gables    P-074 Grenadier     Grumblethorpe      Hackmatack        P-078 Haralson     Harringworth
                                                 Debtor:     Invest LLC           Invest LLC         Invest LLC        Invest LLC         Invest LLC        Invest, LLC
                                               Case No.:      17-12637            17-12643           17-12649          17-12653           17-12663          17-12669
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                    -                  -                 -                  -                  -
      40010 · Rent Revenue                                                -                    -                  -                 -                  -                  -
      40020 · Interest Revenue                                            -                    -                  -                 -                  -                  -
      40022 · Structured Settlement Income                                -                    -                  -                 -                  -                  -
    Total Income                                                          -                    -                  -                 -                  -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                    -                  -                 -                  -                  -
      Total 50000 · Cost of Goods Sold                                    -                    -                  -                 -                  -                  -
    Total COGS                                                            -                    -                  -                 -                  -                  -
   Gross Profit                                                           -                    -                  -                 -                  -                  -
    Expense
      60020 · Media Consulting                                            -                    -                  -                 -                  -                  -
      60400 · Bank Service Charge                                         -                    -                  -                 -                  -                  -
      60500 · Dues and Subscriptions                                      -                    -                  -                 -                  -                  -
      60600 · Equipment Lease                                             -                    -                  -                 -                  -                  -
      61700 · Information Technology                                      -                    -                  -                 -                  -                  -
      61800 · License and Filing Fees                                     -                    -                  -                 -                  -                98
      61870 · Moving                                                      -                    -                  -                 -                  -                  -
      62500 · Employee Benefits                                           -                    -                  -                 -                  -                  -
      63300 · Insurance                                                   -                    -                  -                 -                  -                  -
      63400 · Interest                                                    -                    -                  -                 -                  -                  -
      63401 · Int Expense - BK DIP financing                              -                    -                  -                 -                  -                  -
      64800 · Office Expense                                              -                    -                  -                 -                  -                  -
      64900 · Office Supplies                                             -                    -                  -                 -                  -                  -
      65000 · Outside Services                                            -                    -                  -                 -                  -                  -
      65100 · Parking                                                     -                    -                  -                 -                  -                  -
      66000 · Payroll-Salaries and Wages                                  -                    -                  -                 -                  -                  -
      66005 · Payroll-Service Fees                                        -                    -                  -                 -                  -                  -
      66015 · Payroll-Employer Taxes                                      -                    -                  -                 -                  -                  -
      66030 · Postage and Delivery                                        -                    -                  -                 -                  -                  -
      66800 · Rent Expense                                                -                    -                  -                 -                  -                  -
      66900 · Repairs and Maintenance                                     -                    -                  -                 -                  -                  -
      67000 · Security                                                    -                    -                  -                 -                  -                  -
      67050 · Storage                                                     -                    -                  -                 -                  -                  -
      67100 · Telephone and Internet Expense                              -                    -                  -                 -                  -                  -
      67200 · Travel                                                      -                    -                  -                 -                  -                  -
      67210 · Travel / Relocation allowance                               -                    -                  -                 -                  -                  -
      67400 · Utilities                                                   -                    -                  -                 -                  -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                    -                  -                 -                  -                  -
        68200 · Legal Fees - Ord Course                                   -                    -                  -                 -                  -                  -
        68300 · Accntng Fees - Ord Course                                 -                    -                  -                 -                  -                  -
      Total 68000 · Professional Fee Ord Course                           -                    -                  -                 -                  -                  -
      71000 · U.S. Trustee Fees                                       1,950                  325                325               325                325               325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                        -                    -                  -                 -                  -                  -
        72030 · Consulting - Bankruptcy                                   -                    -                  -                 -                  -                  -
      Total 72000 · Professional Fees - Bankruptcy                        -                    -                  -                 -                  -                  -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                  -                    -                  -                 -                  -                  -
        83000 · Tax Expense - Other                                       -                    -                  -                 -                  -                  -
      Total 83000 · Tax Expense                                           -                    -                  -                 -                  -                  -
    Total Expense                                                     1,950                  325                325               325                325               423
 Net Ordinary Income                                                 (1,950)              (325)             (325)              (325)              (325)             (423)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                      -                    -                  -                 -                  -                  -
   Total Other Expense                                                    -                    -                  -                 -                  -                  -
 Net Other Income                                                         -                    -                  -                 -                  -                  -
Net Income                                                           (1,950)              (325)             (325)              (325)              (325)             (423)




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                                                           P-081 Hawthorne     P-082 Hazelpoint        P-084 Heilbron     P-085 Hollyline       P-086 Hornbeam
                                                 Debtor:      Invest LLC          Invest LLC          Manor Invest LLC     Owners LLC              Invest LLC
                                               Case No.:      18-10291            17-12674               17-12681           17-12688               17-12694
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                      -                  -                      -                    -
      40010 · Rent Revenue                                          12,391                        -                  -                      -                    -
      40020 · Interest Revenue                                             -                      -                  -                      -                    -
      40022 · Structured Settlement Income                                 -                      -                  -                      -                    -
    Total Income                                                    12,391                        -                  -                      -                    -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                      1,624                        -                  -                      -                    -
      Total 50000 · Cost of Goods Sold                               1,624                        -                  -                      -                    -
    Total COGS                                                       1,624                        -                  -                      -                    -
   Gross Profit                                                     10,767                        -                  -                      -                    -
    Expense
      60020 · Media Consulting                                             -                      -                  -                      -                    -
      60400 · Bank Service Charge                                          4                      -                  -                      -                    -
      60500 · Dues and Subscriptions                                       -                      -                  -                      -                    -
      60600 · Equipment Lease                                              -                      -                  -                      -                    -
      61700 · Information Technology                                       -                      -                  -                      -                    -
      61800 · License and Filing Fees                                      -                      -                  -                      -                    -
      61870 · Moving                                                       -                      -                  -                      -                    -
      62500 · Employee Benefits                                            -                      -                  -                      -                    -
      63300 · Insurance                                                    -                      -                  -                      -                    -
      63400 · Interest                                                     -                      -                  -                      -                    -
      63401 · Int Expense - BK DIP financing                               -                      -                  -                      -                    -
      64800 · Office Expense                                               -                      -                  -                      -                    -
      64900 · Office Supplies                                              -                      -                  -                      -                    -
      65000 · Outside Services                                             -                      -                  -                      -                    -
      65100 · Parking                                                      -                      -                  -                      -                    -
      66000 · Payroll-Salaries and Wages                                   -                      -                  -                      -                    -
      66005 · Payroll-Service Fees                                         -                      -                  -                      -                    -
      66015 · Payroll-Employer Taxes                                       -                      -                  -                      -                    -
      66030 · Postage and Delivery                                         -                      -                  -                      -                    -
      66800 · Rent Expense                                                 -                      -                  -                      -                    -
      66900 · Repairs and Maintenance                                      -                      -                  -                      -                    -
      67000 · Security                                                     -                      -                  -                      -                    -
      67050 · Storage                                                      -                      -                  -                      -                    -
      67100 · Telephone and Internet Expense                               -                      -                  -                      -                    -
      67200 · Travel                                                       -                      -                  -                      -                    -
      67210 · Travel / Relocation allowance                                -                      -                  -                      -                    -
      67400 · Utilities                                                  182                      -                  -                      -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                      -                  -                      -                    -
        68200 · Legal Fees - Ord Course                                    -                      -                  -                      -                    -
        68300 · Accntng Fees - Ord Course                                  -                      -                  -                      -                    -
      Total 68000 · Professional Fee Ord Course                            -                      -                  -                      -                    -
      71000 · U.S. Trustee Fees                                          325                 325                 1,625                 325                4,875
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                         -                      -                  -                      -                    -
        72030 · Consulting - Bankruptcy                                    -                      -                  -                      -                    -
      Total 72000 · Professional Fees - Bankruptcy                         -                      -                  -                      -                    -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                   -                      -                  -                      -                    -
        83000 · Tax Expense - Other                                        -                      -                  -                      -                    -
      Total 83000 · Tax Expense                                            -                      -                  -                      -                    -
    Total Expense                                                        511                 325                 1,625                 325                4,875
 Net Ordinary Income                                                10,255                   (325)              (1,625)                (325)             (4,875)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                       -                      -                  -                      -                    -
   Total Other Expense                                                     -                      -                  -                      -                    -
 Net Other Income                                                          -                      -                  -                      -                    -
Net Income                                                          10,255                   (325)              (1,625)                (325)             (4,875)




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                                                                                                         P-092 Lenni          P-093 Lilac
                                                         P-087 Idared Invest     P-088 Imperial Aly     Heights Invest       Meadow Invest       P-094 Lilac Valley
                                                 Debtor:         LLC                Invest LLC               LLC                 LLC                Invest LLC
                                               Case No.:      17-12701               17-12708             17-12720             17-12728              18-10292
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                      -                     -                   -                    -
      40010 · Rent Revenue                                                  -                      -                     -                   -                    -
      40020 · Interest Revenue                                              -                      -                     -                   -                    -
      40022 · Structured Settlement Income                                  -                      -                     -                   -                    -
    Total Income                                                            -                      -                     -                   -                    -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                      -                     -                   -                    -
      Total 50000 · Cost of Goods Sold                                      -                      -                     -                   -                    -
    Total COGS                                                              -                      -                     -                   -                    -
   Gross Profit                                                             -                      -                     -                   -                    -
    Expense
      60020 · Media Consulting                                              -                      -                     -                   -                    -
      60400 · Bank Service Charge                                           -                      -                     -                   -                    -
      60500 · Dues and Subscriptions                                        -                      -                     -                   -                    -
      60600 · Equipment Lease                                               -                      -                     -                   -                    -
      61700 · Information Technology                                        -                      -                     -                   -                    -
      61800 · License and Filing Fees                                       -                      -                     -                   -                    -
      61870 · Moving                                                        -                      -                     -                   -                    -
      62500 · Employee Benefits                                             -                      -                     -                   -                    -
      63300 · Insurance                                                     -                      -                     -                   -                    -
      63400 · Interest                                                      -                      -                     -                   -                    -
      63401 · Int Expense - BK DIP financing                                -                      -                     -                   -                    -
      64800 · Office Expense                                                -                      -                     -                   -                    -
      64900 · Office Supplies                                               -                      -                     -                   -                    -
      65000 · Outside Services                                              -                      -                     -                   -                    -
      65100 · Parking                                                       -                      -                     -                   -                    -
      66000 · Payroll-Salaries and Wages                                    -                      -                     -                   -                    -
      66005 · Payroll-Service Fees                                          -                      -                     -                   -                    -
      66015 · Payroll-Employer Taxes                                        -                      -                     -                   -                    -
      66030 · Postage and Delivery                                          -                      -                     -                   -                    -
      66800 · Rent Expense                                                  -                      -                     -                   -                    -
      66900 · Repairs and Maintenance                                       -                      -                     -                   -                    -
      67000 · Security                                                      -                      -                     -                   -                    -
      67050 · Storage                                                       -                      -                     -                   -                    -
      67100 · Telephone and Internet Expense                                -                      -                     -                   -                    -
      67200 · Travel                                                        -                      -                     -                   -                    -
      67210 · Travel / Relocation allowance                                 -                      -                     -                   -                    -
      67400 · Utilities                                                     -                      -                     -                   -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                      -                     -                   -                    -
        68200 · Legal Fees - Ord Course                                     -                      -                     -                   -                    -
        68300 · Accntng Fees - Ord Course                                   -                      -                     -                   -                    -
      Total 68000 · Professional Fee Ord Course                             -                      -                     -                   -                    -
      71000 · U.S. Trustee Fees                                          325                    975                  325              1,950                     325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                          -                      -                     -                   -                    -
        72030 · Consulting - Bankruptcy                                     -                      -                     -                   -                    -
      Total 72000 · Professional Fees - Bankruptcy                          -                      -                     -                   -                    -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                    -                      -                     -                   -                    -
        83000 · Tax Expense - Other                                         -                      -                     -                   -                    -
      Total 83000 · Tax Expense                                             -                      -                     -                   -                    -
    Total Expense                                                        325                    975                  325              1,950                     325
 Net Ordinary Income                                                     (325)                  (975)             (325)              (1,950)                  (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                        -                      -                     -                   -                    -
   Total Other Expense                                                      -                      -                     -                   -                    -
 Net Other Income                                                           -                      -                     -                   -                    -
Net Income                                                               (325)                  (975)             (325)              (1,950)                  (325)




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                                                           P-095 Lincolnshire       P-096 Lonetree       P-097 Longbourn P-098 Mason Run P-099 Massabesic  P-100 Melody
                                                 Debtor:       Invest LLC             Invest LLC            Invest LLC      Invest LLC      Invest LLC    Lane Invest LLC
                                               Case No.:       17-12733               17-12740              17-12746         17-12751         18-10293         17-12757
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                      -                    -                 -                  -                -                -
      40010 · Rent Revenue                                                      -                    -                 -                  -                -                -
      40020 · Interest Revenue                                                  -                    -                 -                  -                -                -
      40022 · Structured Settlement Income                                      -                    -                 -                  -                -                -
    Total Income                                                                -                    -                 -                  -                -                -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                                 -                    -                 -                  -                -                -
      Total 50000 · Cost of Goods Sold                                          -                    -                 -                  -                -                -
    Total COGS                                                                  -                    -                 -                  -                -                -
   Gross Profit                                                                 -                    -                 -                  -                -                -
    Expense
      60020 · Media Consulting                                                  -                    -                 -                  -                -                -
      60400 · Bank Service Charge                                               -                    -                 -                  -                -                -
      60500 · Dues and Subscriptions                                            -                    -                 -                  -                -                -
      60600 · Equipment Lease                                                   -                    -                 -                  -                -                -
      61700 · Information Technology                                            -                    -                 -                  -                -                -
      61800 · License and Filing Fees                                           -                    -                 -                  -                -                -
      61870 · Moving                                                            -                    -                 -                  -                -                -
      62500 · Employee Benefits                                                 -                    -                 -                  -                -                -
      63300 · Insurance                                                         -                    -                 -                  -                -                -
      63400 · Interest                                                          -                    -                 -                  -                -                -
      63401 · Int Expense - BK DIP financing                                    -                    -                 -                  -                -                -
      64800 · Office Expense                                                    -                    -                 -                  -                -                -
      64900 · Office Supplies                                                   -                    -                 -                  -                -                -
      65000 · Outside Services                                                  -                    -                 -                  -                -                -
      65100 · Parking                                                           -                    -                 -                  -                -                -
      66000 · Payroll-Salaries and Wages                                        -                    -                 -                  -                -                -
      66005 · Payroll-Service Fees                                              -                    -                 -                  -                -                -
      66015 · Payroll-Employer Taxes                                            -                    -                 -                  -                -                -
      66030 · Postage and Delivery                                              -                    -                 -                  -                -                -
      66800 · Rent Expense                                                      -                    -                 -                  -                -                -
      66900 · Repairs and Maintenance                                           -                    -                 -                  -                -                -
      67000 · Security                                                          -                    -                 -                  -                -                -
      67050 · Storage                                                           -                    -                 -                  -                -                -
      67100 · Telephone and Internet Expense                                    -                    -                 -                  -                -                -
      67200 · Travel                                                            -                    -                 -                  -                -                -
      67210 · Travel / Relocation allowance                                     -                    -                 -                  -                -                -
      67400 · Utilities                                                         -                    -                 -                  -                -                -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                         -                    -                 -                  -                -                -
        68200 · Legal Fees - Ord Course                                         -                    -                 -                  -                -                -
        68300 · Accntng Fees - Ord Course                                       -                    -                 -                  -                -                -
      Total 68000 · Professional Fee Ord Course                                 -                    -                 -                  -                -                -
      71000 · U.S. Trustee Fees                                            650                   325               4,875                650              325              325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                              -                    -                 -                  -                -                -
        72030 · Consulting - Bankruptcy                                         -                    -                 -                  -                -                -
      Total 72000 · Professional Fees - Bankruptcy                              -                    -                 -                  -                -                -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                        -                    -                 -                  -                -                -
        83000 · Tax Expense - Other                                             -                    -                 -                  -                -                -
      Total 83000 · Tax Expense                                                 -                    -                 -                  -                -                -
    Total Expense                                                          650                   325               4,875                650              325              325
 Net Ordinary Income                                                      (650)               (325)               (4,875)           (650)            (325)            (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                            -                    -                 -                  -                -                -
   Total Other Expense                                                          -                    -                 -                  -                -                -
 Net Other Income                                                               -                    -                 -                  -                -                -
Net Income                                                                (650)               (325)               (4,875)           (650)            (325)            (325)




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                                                           P-101 Merrimack     P-102 Mineola       P-103 Monadnock     P-104 Moravian     P-105 Mountain     P-106 Mt. Holly
                                                 Debtor:     Valley Invest      Invest LLC            Invest LLC         Invest LLC        Spring Invest       Invest LLC
                                               Case No.:      17-12665           17-12673             17-12682           17-12690           17-12698            17-12707
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                   -                   -                  -                  -                     -
      40010 · Rent Revenue                                                 -                   -                   -                  -                  -                     -
      40020 · Interest Revenue                                             -                   -                   -                  -                  -                     -
      40022 · Structured Settlement Income                                 -                   -                   -                  -                  -                     -
    Total Income                                                           -                   -                   -                  -                  -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                   -                   -                  -                  -                     -
      Total 50000 · Cost of Goods Sold                                     -                   -                   -                  -                  -                     -
    Total COGS                                                             -                   -                   -                  -                  -                     -
   Gross Profit                                                            -                   -                   -                  -                  -                     -
    Expense
      60020 · Media Consulting                                             -                   -                   -                  -                  -                     -
      60400 · Bank Service Charge                                          -                   -                   -                  -                  -                     -
      60500 · Dues and Subscriptions                                       -                   -                   -                  -                  -                     -
      60600 · Equipment Lease                                              -                   -                   -                  -                  -                     -
      61700 · Information Technology                                       -                   -                   -                  -                  -                     -
      61800 · License and Filing Fees                                      -                   -                   -                  -                  -                     -
      61870 · Moving                                                       -                   -                   -                  -                  -                     -
      62500 · Employee Benefits                                            -                   -                   -                  -                  -                     -
      63300 · Insurance                                                    -                   -                   -                  -                  -                     -
      63400 · Interest                                                     -                   -                   -                  -                  -                     -
      63401 · Int Expense - BK DIP financing                               -                   -                   -                  -                  -                     -
      64800 · Office Expense                                               -                   -                   -                  -                  -                     -
      64900 · Office Supplies                                              -                   -                   -                  -                  -                     -
      65000 · Outside Services                                             -                   -                   -                  -                  -                     -
      65100 · Parking                                                      -                   -                   -                  -                  -                     -
      66000 · Payroll-Salaries and Wages                                   -                   -                   -                  -                  -                     -
      66005 · Payroll-Service Fees                                         -                   -                   -                  -                  -                     -
      66015 · Payroll-Employer Taxes                                       -                   -                   -                  -                  -                     -
      66030 · Postage and Delivery                                         -                   -                   -                  -                  -                     -
      66800 · Rent Expense                                                 -                   -                   -                  -                  -                     -
      66900 · Repairs and Maintenance                                      -                   -                   -                  -                  -                     -
      67000 · Security                                                     -                   -                   -                  -                  -                     -
      67050 · Storage                                                      -                   -                   -                  -                  -                     -
      67100 · Telephone and Internet Expense                               -                   -                   -                  -                  -                     -
      67200 · Travel                                                       -                   -                   -                  -                  -                     -
      67210 · Travel / Relocation allowance                                -                   -                   -                  -                  -                     -
      67400 · Utilities                                                    -                   -                   -                  -                  -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                   -                   -                  -                  -                     -
        68200 · Legal Fees - Ord Course                                    -                   -                   -                  -                  -                     -
        68300 · Accntng Fees - Ord Course                                  -                   -                   -                  -                  -                     -
      Total 68000 · Professional Fee Ord Course                            -                   -                   -                  -                  -                     -
      71000 · U.S. Trustee Fees                                          325                325                  325                325                650                 325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                         -                   -                   -                  -                  -                     -
        72030 · Consulting - Bankruptcy                                    -                   -                   -                  -                  -                     -
      Total 72000 · Professional Fees - Bankruptcy                         -                   -                   -                  -                  -                     -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                   -                   -                   -                  -                  -                     -
        83000 · Tax Expense - Other                                        -                   -                   -                  -                  -                     -
      Total 83000 · Tax Expense                                            -                   -                   -                  -                  -                     -
    Total Expense                                                        325                325                  325                325                650                 325
 Net Ordinary Income                                                  (325)              (325)               (325)               (325)              (650)               (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                       -                   -                   -                  -                  -                     -
   Total Other Expense                                                     -                   -                   -                  -                  -                     -
 Net Other Income                                                          -                   -                   -                  -                  -                     -
Net Income                                                            (325)              (325)               (325)               (325)              (650)               (325)




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                                                                                                                        P-110 Old
                                                           P-107 Mutsu       P-108 Newville       P-109 Old Carbon    Maitland Invest       P-111 Owl Ridge     P-112 Papirovka
                                                 Debtor:    Invest LLC         Invest LLC            Invest LLC             LLC                Invest LLC          Invest LLC
                                               Case No.:    17-12719           17-12734              17-12743            17-12752              17-12763            17-12774
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                               -                    -                   -                     -                   -                   -
      40010 · Rent Revenue                                               -                    -                   -                     -                   -                   -
      40020 · Interest Revenue                                           -                    -                   -                     -                   -                   -
      40022 · Structured Settlement Income                               -                    -                   -                     -                   -                   -
    Total Income                                                         -                    -                   -                     -                   -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                          -                    -                   -                     -                   -                   -
      Total 50000 · Cost of Goods Sold                                   -                    -                   -                     -                   -                   -
    Total COGS                                                           -                    -                   -                     -                   -                   -
   Gross Profit                                                          -                    -                   -                     -                   -                   -
    Expense
      60020 · Media Consulting                                           -                    -                   -                     -                   -                   -
      60400 · Bank Service Charge                                        -                    -                   -                     -                   -                   -
      60500 · Dues and Subscriptions                                     -                    -                   -                     -                   -                   -
      60600 · Equipment Lease                                            -                    -                   -                     -                   -                   -
      61700 · Information Technology                                     -                    -                   -                     -                   -                   -
      61800 · License and Filing Fees                                    -                    -                   -                     -                   -                   -
      61870 · Moving                                                     -                    -                   -                     -                   -                   -
      62500 · Employee Benefits                                          -                    -                   -                     -                   -                   -
      63300 · Insurance                                                  -                    -                   -           (36,980)                      -                   -
      63400 · Interest                                                   -                    -                   -                     -                   -                   -
      63401 · Int Expense - BK DIP financing                             -                    -                   -                     -                   -                   -
      64800 · Office Expense                                             -                    -                   -                     -                   -                   -
      64900 · Office Supplies                                            -                    -                   -                     -                   -                   -
      65000 · Outside Services                                           -                    -                   -                     -                   -                   -
      65100 · Parking                                                    -                    -                   -                     -                   -                   -
      66000 · Payroll-Salaries and Wages                                 -                    -                   -                     -                   -                   -
      66005 · Payroll-Service Fees                                       -                    -                   -                     -                   -                   -
      66015 · Payroll-Employer Taxes                                     -                    -                   -                     -                   -                   -
      66030 · Postage and Delivery                                       -                    -                   -                     -                   -                   -
      66800 · Rent Expense                                               -                    -                   -                     -                   -                   -
      66900 · Repairs and Maintenance                                    -                    -                   -                     -                   -                   -
      67000 · Security                                                   -                    -                   -                     -                   -                   -
      67050 · Storage                                                    -                    -                   -                     -                   -                   -
      67100 · Telephone and Internet Expense                             -                    -                   -                     -                   -                   -
      67200 · Travel                                                     -                    -                   -                     -                   -                   -
      67210 · Travel / Relocation allowance                              -                    -                   -                     -                   -                   -
      67400 · Utilities                                                  -                    -                   -                     -                   -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                  -                    -                   -                     -                   -                   -
        68200 · Legal Fees - Ord Course                                  -                    -                   -                     -                   -                   -
        68300 · Accntng Fees - Ord Course                                -                    -                   -                     -                   -                   -
      Total 68000 · Professional Fee Ord Course                          -                    -                   -                     -                   -                   -
      71000 · U.S. Trustee Fees                                        325                325                   325             1,950                     325                 325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                       -                    -                   -                     -                   -                   -
        72030 · Consulting - Bankruptcy                                  -                    -                   -                     -                   -                   -
      Total 72000 · Professional Fees - Bankruptcy                       -                    -                   -                     -                   -                   -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                 -                    -                   -                     -                   -                   -
        83000 · Tax Expense - Other                                      -                    -                   -                     -                   -                   -
      Total 83000 · Tax Expense                                          -                    -                   -                     -                   -                   -
    Total Expense                                                      325                325                   325           (35,030)                    325                 325
 Net Ordinary Income                                                (325)              (325)                 (325)             35,030                  (325)               (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                     -                    -                   -                     -                   -                   -
   Total Other Expense                                                   -                    -                   -                     -                   -                   -
 Net Other Income                                                        -                    -                   -                     -                   -                   -
Net Income                                                          (325)              (325)                 (325)             35,030                  (325)               (325)




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 Statement of Operations
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                                                               P-113                                 P-115                                   P-117
                                                           Pawtuckaway       P-114 Pemberley      Pemigewasset       P-116 Pennhurst     Pepperwood        P-118 Pinney
                                                 Debtor:    Invest LLC          Invest LLC           Invest             Invest LLC        Invest LLC        Invest LLC
                                               Case No.:    17-12783            17-12790            17-12800            18-10296          17-12804          17-12808
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                               -                   -                   -                   -                 -                  -
      40010 · Rent Revenue                                               -                   -                   -           120,071                   -                  -
      40020 · Interest Revenue                                           -                   -                   -                   -                 -                  -
      40022 · Structured Settlement Income                               -                   -                   -                   -                 -                  -
    Total Income                                                         -                   -                   -           120,071                   -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                          -                   -                   -            35,602                   -                  -
      Total 50000 · Cost of Goods Sold                                   -                   -                   -            35,602                   -                  -
    Total COGS                                                           -                   -                   -            35,602                   -                  -
   Gross Profit                                                          -                   -                   -            84,469                   -                  -
    Expense
      60020 · Media Consulting                                           -                   -                   -                   -                 -                  -
      60400 · Bank Service Charge                                        -                   -                   -                  13                 -                  -
      60500 · Dues and Subscriptions                                     -                   -                   -                   -                 -                  -
      60600 · Equipment Lease                                            -                   -                   -                   -                 -                  -
      61700 · Information Technology                                     -                   -                   -                   -                 -                  -
      61800 · License and Filing Fees                                    -                  98                   -                   -                 -                  -
      61870 · Moving                                                     -                   -                   -                   -                 -                  -
      62500 · Employee Benefits                                          -                   -                   -                   -                 -                  -
      63300 · Insurance                                                  -                   -                   -                   -                 -                  -
      63400 · Interest                                                   -                   -                   -                   -                 -                  -
      63401 · Int Expense - BK DIP financing                             -                   -                   -                   -                 -                  -
      64800 · Office Expense                                             -                   -                   -                   -                 -                  -
      64900 · Office Supplies                                            -                   -                   -                   -                 -                  -
      65000 · Outside Services                                           -                   -                   -                   -                 -                  -
      65100 · Parking                                                    -                   -                   -                   -                 -                  -
      66000 · Payroll-Salaries and Wages                                 -                   -                   -                   -                 -                  -
      66005 · Payroll-Service Fees                                       -                   -                   -                   -                 -                  -
      66015 · Payroll-Employer Taxes                                     -                   -                   -                   -                 -                  -
      66030 · Postage and Delivery                                       -                   -                   -                   -                 -                  -
      66800 · Rent Expense                                               -                   -                   -                   -                 -                  -
      66900 · Repairs and Maintenance                                    -                   -                   -                   -                 -                  -
      67000 · Security                                                   -                   -                   -                   -                 -                  -
      67050 · Storage                                                    -                   -                   -                   -                 -                  -
      67100 · Telephone and Internet Expense                             -                   -                   -                   -                 -                  -
      67200 · Travel                                                     -                   -                   -                   -                 -                  -
      67210 · Travel / Relocation allowance                              -                   -                   -                   -                 -                  -
      67400 · Utilities                                                  -                   -                   -                   -                 -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                  -                   -                   -                   -                 -                  -
        68200 · Legal Fees - Ord Course                                  -                   -                   -                   -                 -                  -
        68300 · Accntng Fees - Ord Course                                -                   -                   -                   -                 -                  -
      Total 68000 · Professional Fee Ord Course                          -                   -                   -                   -                 -                  -
      71000 · U.S. Trustee Fees                                   4,875                    325                 325                 325               325               650
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                       -                   -                   -                   -                 -                  -
        72030 · Consulting - Bankruptcy                                  -                   -                   -                   -                 -                  -
      Total 72000 · Professional Fees - Bankruptcy                       -                   -                   -                   -                 -                  -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                 -                   -                   -                   -                 -                  -
        83000 · Tax Expense - Other                                      -                   -                   -                   -                 -                  -
      Total 83000 · Tax Expense                                          -                   -                   -                   -                 -                  -
    Total Expense                                                 4,875                    423                 325                 338               325               650
 Net Ordinary Income                                              (4,875)               (423)              (325)              84,131              (325)             (650)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                     -                   -                   -                   -                 -                  -
   Total Other Expense                                                   -                   -                   -                   -                 -                  -
 Net Other Income                                                        -                   -                   -                   -                 -                  -
Net Income                                                        (4,875)               (423)              (325)              84,131              (325)             (650)




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 Statement of Operations
 for the period March 1-31, 2018
                                                                                 P-120
                                                           P-119 Pinova       Quarterpost       P-121 Red Woods P-122 Ridgecrest P-123 Riley Creek P-124 Rising Sun
                                                 Debtor:    Invest LLC        Invest LLC           Invest LLC      Invest LLC       Invest LLC        Invest LLC
                                               Case No.:    17-12812           17-12816             17-12824         17-12821         17-12826         17-12828
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                 -                  -                  -              -                  -
      40010 · Rent Revenue                                                -                 -                  -                  -              -                  -
      40020 · Interest Revenue                                            -                 -                  -                  -              -                  -
      40022 · Structured Settlement Income                                -                 -                  -                  -              -                  -
    Total Income                                                          -                 -                  -                  -              -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                 -                  -                  -              -                  -
      Total 50000 · Cost of Goods Sold                                    -                 -                  -                  -              -                  -
    Total COGS                                                            -                 -                  -                  -              -                  -
   Gross Profit                                                           -                 -                  -                  -              -                  -
    Expense
      60020 · Media Consulting                                            -                 -                  -                  -              -                  -
      60400 · Bank Service Charge                                         -                 -                  -                  -              -                  -
      60500 · Dues and Subscriptions                                      -                 -                  -                  -              -                  -
      60600 · Equipment Lease                                             -                 -                  -                  -              -                  -
      61700 · Information Technology                                      -                 -                  -                  -              -                  -
      61800 · License and Filing Fees                                     -                 -                  -                  -              -                  -
      61870 · Moving                                                      -                 -                  -                  -              -                  -
      62500 · Employee Benefits                                           -                 -                  -                  -              -                  -
      63300 · Insurance                                                   -                 -                  -                  -              -                  -
      63400 · Interest                                                    -                 -                  -                  -              -                  -
      63401 · Int Expense - BK DIP financing                              -                 -                  -                  -              -                  -
      64800 · Office Expense                                              -                 -                  -                  -              -                  -
      64900 · Office Supplies                                             -                 -                  -                  -              -                  -
      65000 · Outside Services                                            -                 -                  -                  -              -                  -
      65100 · Parking                                                     -                 -                  -                  -              -                  -
      66000 · Payroll-Salaries and Wages                                  -                 -                  -                  -              -                  -
      66005 · Payroll-Service Fees                                        -                 -                  -                  -              -                  -
      66015 · Payroll-Employer Taxes                                      -                 -                  -                  -              -                  -
      66030 · Postage and Delivery                                        -                 -                  -                  -              -                  -
      66800 · Rent Expense                                                -                 -                  -                  -              -                  -
      66900 · Repairs and Maintenance                                     -                 -                  -                  -              -                  -
      67000 · Security                                                    -                 -                  -                  -              -                  -
      67050 · Storage                                                     -                 -                  -                  -              -                  -
      67100 · Telephone and Internet Expense                              -                 -                  -                  -              -                  -
      67200 · Travel                                                      -                 -                  -                  -              -                  -
      67210 · Travel / Relocation allowance                               -                 -                  -                  -              -                  -
      67400 · Utilities                                                   -                 -                  -                  -              -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                 -                  -                  -              -                  -
        68200 · Legal Fees - Ord Course                                   -                 -                  -                  -              -                  -
        68300 · Accntng Fees - Ord Course                                 -                 -                  -                  -              -                  -
      Total 68000 · Professional Fee Ord Course                           -                 -                  -                  -              -                  -
      71000 · U.S. Trustee Fees                                        325                325             1,950                 325         4,875                 975
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                        -                 -                  -                  -              -                  -
        72030 · Consulting - Bankruptcy                                   -                 -                  -                  -              -                  -
      Total 72000 · Professional Fees - Bankruptcy                        -                 -                  -                  -              -                  -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                  -                 -                  -                  -              -                  -
        83000 · Tax Expense - Other                                       -                 -                  -                  -              -                  -
      Total 83000 · Tax Expense                                           -                 -                  -                  -              -                  -
    Total Expense                                                      325                325             1,950                 325         4,875                 975
 Net Ordinary Income                                                (325)              (325)              (1,950)           (325)           (4,875)           (975)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                      -                 -                  -                  -              -                  -
   Total Other Expense                                                    -                 -                  -                  -              -                  -
 Net Other Income                                                         -                 -                  -                  -              -                  -
Net Income                                                          (325)              (325)              (1,950)           (325)           (4,875)           (975)




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                                                                                                                                                                 P-138
                                                            P-125 Sachs    P-126 Sagebrook       P-127 Seven       P-128 Silk City         P-129 Silver      Silverthorne
                                                 Debtor: Bridge Invest LLC    Invest LLC       Stars Invest LLC      Invest LLC          Maple Invest LLC     Invest LLC
                                               Case No.:    18-10297          17-12830            17-12832           17-12834               17-12836          17-12582
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                               -                 -                   -                     -                  -                   -
      40010 · Rent Revenue                                               -                 -                   -                     -                  -                   -
      40020 · Interest Revenue                                           -                 -                   -                     -                  -                   -
      40022 · Structured Settlement Income                               -                 -                   -                     -                  -                   -
    Total Income                                                         -                 -                   -                     -                  -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                          -                 -                   -                     -                  -                   -
      Total 50000 · Cost of Goods Sold                                   -                 -                   -                     -                  -                   -
    Total COGS                                                           -                 -                   -                     -                  -                   -
   Gross Profit                                                          -                 -                   -                     -                  -                   -
    Expense
      60020 · Media Consulting                                           -                 -                   -                     -                  -                   -
      60400 · Bank Service Charge                                        -                 -                   -                     -                  -                   -
      60500 · Dues and Subscriptions                                     -                 -                   -                     -                  -                   -
      60600 · Equipment Lease                                            -                 -                   -                     -                  -                   -
      61700 · Information Technology                                     -                 -                   -                     -                  -                   -
      61800 · License and Filing Fees                                    -                 -                   -                     -                  -                   -
      61870 · Moving                                                     -                 -                   -                     -                  -                   -
      62500 · Employee Benefits                                          -                 -                   -                     -                  -                   -
      63300 · Insurance                                                  -                 -                   -                     -                  -                   -
      63400 · Interest                                                   -                 -                   -                     -                  -                   -
      63401 · Int Expense - BK DIP financing                             -                 -                   -                     -                  -                   -
      64800 · Office Expense                                             -                 -                   -                     -                  -                   -
      64900 · Office Supplies                                            -                 -                   -                     -                  -                   -
      65000 · Outside Services                                           -                 -                   -                     -                  -                   -
      65100 · Parking                                                    -                 -                   -                     -                  -                   -
      66000 · Payroll-Salaries and Wages                                 -                 -                   -                     -                  -                   -
      66005 · Payroll-Service Fees                                       -                 -                   -                     -                  -                   -
      66015 · Payroll-Employer Taxes                                     -                 -                   -                     -                  -                   -
      66030 · Postage and Delivery                                       -                 -                   -                     -                  -                   -
      66800 · Rent Expense                                               -                 -                   -                     -                  -                   -
      66900 · Repairs and Maintenance                                    -                 -                   -                     -                  -                   -
      67000 · Security                                                   -                 -                   -                     -                  -                   -
      67050 · Storage                                                    -                 -                   -                     -                  -                   -
      67100 · Telephone and Internet Expense                             -                 -                   -                     -                  -                   -
      67200 · Travel                                                     -                 -                   -                     -                  -                   -
      67210 · Travel / Relocation allowance                              -                 -                   -                     -                  -                   -
      67400 · Utilities                                                  -                 -                   -                     -                  -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                  -                 -                   -                     -                  -                   -
        68200 · Legal Fees - Ord Course                                  -                 -                   -                     -                  -                   -
        68300 · Accntng Fees - Ord Course                                -                 -                   -                     -                  -                   -
      Total 68000 · Professional Fee Ord Course                          -                 -                   -                     -                  -                   -
      71000 · U.S. Trustee Fees                                        650               650                 325             4,875                 1,950                 325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                       -         10,898                      -                     -                  -                   -
        72030 · Consulting - Bankruptcy                                  -              -                      -                     -                  -                   -
      Total 72000 · Professional Fees - Bankruptcy                       -         10,898                      -                     -                  -                   -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                 -                 -                   -                     -                  -                   -
        83000 · Tax Expense - Other                                      -                 -                   -                     -                  -                   -
      Total 83000 · Tax Expense                                          -                 -                   -                     -                  -                   -
    Total Expense                                                      650         11,548                    325             4,875                 1,950                 325
 Net Ordinary Income                                                (650)          (11,548)               (325)             (4,875)                (1,950)            (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                     -                 -                   -                     -                  -                   -
   Total Other Expense                                                   -                 -                   -                     -                  -                   -
 Net Other Income                                                        -                 -                   -                     -                  -                   -
Net Income                                                          (650)          (11,548)               (325)             (4,875)                (1,950)            (325)




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                                                           P-139 Springline    P-140 Springvale    P-141 Squaretop    P-142 Stayman       P-143 Steele Hill   P-144 Stepstone
                                                 Debtor:      Invest LLC          Invest LLC          Invest LLC        Invest LLC           Invest LLC          Invest LLC
                                               Case No.:      17-12585            17-12585            17-12589          17-12594             17-12598            17-12606
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                   -                 -                    -                   -                   -
      40010 · Rent Revenue                                                 -                   -                 -                    -                   -                   -
      40020 · Interest Revenue                                             -                   -                 -                    -                   -                   -
      40022 · Structured Settlement Income                                 -                   -                 -                    -                   -                   -
    Total Income                                                           -                   -                 -                    -                   -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                   -                 -                    -                   -                   -
      Total 50000 · Cost of Goods Sold                                     -                   -                 -                    -                   -                   -
    Total COGS                                                             -                   -                 -                    -                   -                   -
   Gross Profit                                                            -                   -                 -                    -                   -                   -
    Expense
      60020 · Media Consulting                                             -                   -                 -                    -                   -                   -
      60400 · Bank Service Charge                                          -                   -                 -                    -                   -                   -
      60500 · Dues and Subscriptions                                       -                   -                 -                    -                   -                   -
      60600 · Equipment Lease                                              -                   -                 -                    -                   -                   -
      61700 · Information Technology                                       -                   -                 -                    -                   -                   -
      61800 · License and Filing Fees                                      -                   -                 -                    -                   -                   -
      61870 · Moving                                                       -                   -                 -                    -                   -                   -
      62500 · Employee Benefits                                            -                   -                 -                    -                   -                   -
      63300 · Insurance                                                    -                   -                 -                    -                   -                   -
      63400 · Interest                                                     -                   -                 -                    -                   -                   -
      63401 · Int Expense - BK DIP financing                               -                   -                 -                    -                   -                   -
      64800 · Office Expense                                               -                   -                 -                    -                   -                   -
      64900 · Office Supplies                                              -                   -                 -                    -                   -                   -
      65000 · Outside Services                                             -                   -                 -                    -                   -                   -
      65100 · Parking                                                      -                   -                 -                    -                   -                   -
      66000 · Payroll-Salaries and Wages                                   -                   -                 -                    -                   -                   -
      66005 · Payroll-Service Fees                                         -                   -                 -                    -                   -                   -
      66015 · Payroll-Employer Taxes                                       -                   -                 -                    -                   -                   -
      66030 · Postage and Delivery                                         -                   -                 -                    -                   -                   -
      66800 · Rent Expense                                                 -                   -                 -                    -                   -                   -
      66900 · Repairs and Maintenance                                      -                   -                 -                    -                   -                   -
      67000 · Security                                                     -                   -                 -                    -                   -                   -
      67050 · Storage                                                      -                   -                 -                    -                   -                   -
      67100 · Telephone and Internet Expense                               -                   -                 -                    -                   -                   -
      67200 · Travel                                                       -                   -                 -                    -                   -                   -
      67210 · Travel / Relocation allowance                                -                   -                 -                    -                   -                   -
      67400 · Utilities                                                    -                   -                 -                    -                   -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                   -                 -                    -                   -                   -
        68200 · Legal Fees - Ord Course                                    -                   -                 -                    -                   -                   -
        68300 · Accntng Fees - Ord Course                                  -                   -                 -                    -                   -                   -
      Total 68000 · Professional Fee Ord Course                            -                   -                 -                    -                   -                   -
      71000 · U.S. Trustee Fees                                          325                 650            11,709                 325                  325                 325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                         -                   -                 -                    -                   -                   -
        72030 · Consulting - Bankruptcy                                    -                   -                 -                    -                   -                   -
      Total 72000 · Professional Fees - Bankruptcy                         -                   -                 -                    -                   -                   -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                   -                   -                 -                    -                   -                   -
        83000 · Tax Expense - Other                                        -                   -                 -                    -                   -                   -
      Total 83000 · Tax Expense                                            -                   -                 -                    -                   -                   -
    Total Expense                                                        325                 650            11,709                 325                  325                 325
 Net Ordinary Income                                                  (325)               (650)            (11,709)            (325)                  (325)              (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                       -                   -                 -                    -                   -                   -
   Total Other Expense                                                     -                   -                 -                    -                   -                   -
 Net Other Income                                                          -                   -                 -                    -                   -                   -
Net Income                                                            (325)               (650)            (11,709)            (325)                  (325)              (325)




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                                                                                                    P-147
                                                         P-145 Strawberry   P-146 Sturmer       Summerfree        P-150 Thornbury  P-152 Thunder       P-155 Vallecito
                                                 Debtor:   Fields Invest  Pippin Invest LLC      Invest LLC       Farm Invest LLC Basin Invest LLC       Invest LLC
                                               Case No.:     17-12613         17-12629           17-12635            17-12651         17-12657            17-12675
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                -                  -                 -                  -                     -
      40010 · Rent Revenue                                                -                -                  -                 -                  -                     -
      40020 · Interest Revenue                                            -                -                  -                 -                  -                     -
      40022 · Structured Settlement Income                                -                -                  -                 -                  -                     -
    Total Income                                                          -                -                  -                 -                  -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                -                  -                 -                  -                     -
      Total 50000 · Cost of Goods Sold                                    -                -                  -                 -                  -                     -
    Total COGS                                                            -                -                  -                 -                  -                     -
   Gross Profit                                                           -                -                  -                 -                  -                     -
    Expense
      60020 · Media Consulting                                            -                -                  -                 -                  -                     -
      60400 · Bank Service Charge                                         -                -                  -                 -                  -                     -
      60500 · Dues and Subscriptions                                      -                -                  -                 -                  -                     -
      60600 · Equipment Lease                                             -                -                  -                 -                  -                     -
      61700 · Information Technology                                      -                -                  -                 -                  -                     -
      61800 · License and Filing Fees                                     -          9,064                    -                 -                  -                     -
      61870 · Moving                                                      -                -                  -                 -                  -                     -
      62500 · Employee Benefits                                           -                -                  -                 -                  -                     -
      63300 · Insurance                                                   -                -                  -                 -                  -                     -
      63400 · Interest                                                    -                -                  -                 -                  -                     -
      63401 · Int Expense - BK DIP financing                              -                -                  -                 -                  -                     -
      64800 · Office Expense                                              -                -                  -                 -                  -                     -
      64900 · Office Supplies                                             -                -                  -                 -                  -                     -
      65000 · Outside Services                                            -                -                  -                 -                  -                     -
      65100 · Parking                                                     -                -                  -                 -                  -                     -
      66000 · Payroll-Salaries and Wages                                  -                -                  -                 -                  -                     -
      66005 · Payroll-Service Fees                                        -                -                  -                 -                  -                     -
      66015 · Payroll-Employer Taxes                                      -                -                  -                 -                  -                     -
      66030 · Postage and Delivery                                        -                -                  -                 -                  -                     -
      66800 · Rent Expense                                                -                -                  -                 -                  -                     -
      66900 · Repairs and Maintenance                                     -                -                  -                 -                  -                     -
      67000 · Security                                                    -                -                  -                 -                  -                     -
      67050 · Storage                                                     -                -                  -                 -                  -                     -
      67100 · Telephone and Internet Expense                              -                -                  -                 -                  -                     -
      67200 · Travel                                                      -                -                  -                 -                  -                     -
      67210 · Travel / Relocation allowance                               -                -                  -                 -                  -                     -
      67400 · Utilities                                                   -                -                421                 -                  -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                -                  -                 -                  -                     -
        68200 · Legal Fees - Ord Course                                   -                -                  -                 -                  -                     -
        68300 · Accntng Fees - Ord Course                                 -                -                  -                 -                  -                     -
      Total 68000 · Professional Fee Ord Course                           -                -                  -                 -                  -                     -
      71000 · U.S. Trustee Fees                                         325              975           12,366               1,625                325                 325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                        -                -                  -                 -                  -                     -
        72030 · Consulting - Bankruptcy                                   -                -                  -                 -                  -                     -
      Total 72000 · Professional Fees - Bankruptcy                        -                -                  -                 -                  -                     -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                  -                -                  -                 -                  -                     -
        83000 · Tax Expense - Other                                       -                -                  -                 -                  -                     -
      Total 83000 · Tax Expense                                           -                -                  -                 -                  -                     -
    Total Expense                                                       325         10,039             12,787               1,625                325                 325
 Net Ordinary Income                                                (325)          (10,039)           (12,787)             (1,625)           (325)                (325)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                      -                -                  -                 -                  -                     -
   Total Other Expense                                                    -                -                  -                 -                  -                     -
 Net Other Income                                                         -                -                  -                 -                  -                     -
Net Income                                                          (325)          (10,039)           (12,787)             (1,625)           (325)                (325)




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                                                           P-156 Varga       P-157 Wetterhorn P-158 White Birch   P-159 White   P-164 Wildernest   P-165 Willow
                                                 Debtor:   Invest LLC           Invest LLC       Invest LLC     Dome Invest LLC    Invest LLC    Grove Invest LLC
                                               Case No.:    17-12685            17-12693           17-12702        17-12709         17-12723         17-12732
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                               -                   -                -                 -                -                -
      40010 · Rent Revenue                                               -                   -                -                 -                -              750
      40020 · Interest Revenue                                           -                   -                -                 -                -                -
      40022 · Structured Settlement Income                               -                   -                -                 -                -                -
    Total Income                                                         -                   -                -                 -                -              750
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                          -                   -                -                 -                -                -
      Total 50000 · Cost of Goods Sold                                   -                   -                -                 -                -                -
    Total COGS                                                           -                   -                -                 -                -                -
   Gross Profit                                                          -                   -                -                 -                -              750
    Expense
      60020 · Media Consulting                                           -                   -                -                 -                -                -
      60400 · Bank Service Charge                                        -                   -                -                 -                -                -
      60500 · Dues and Subscriptions                                     -                   -                -                 -                -                -
      60600 · Equipment Lease                                            -                   -                -                 -                -                -
      61700 · Information Technology                                     -                   -                -                 -                -                -
      61800 · License and Filing Fees                                    -                   -                -                 -                -                -
      61870 · Moving                                                     -                   -                -                 -                -                -
      62500 · Employee Benefits                                          -                   -                -                 -                -                -
      63300 · Insurance                                                  -                   -                -                 -                -                -
      63400 · Interest                                                   -                   -                -                 -                -                -
      63401 · Int Expense - BK DIP financing                             -                   -                -                 -                -                -
      64800 · Office Expense                                             -                   -                -                 -                -                -
      64900 · Office Supplies                                            -                   -                -                 -                -                -
      65000 · Outside Services                                           -                   -                -                 -                -                -
      65100 · Parking                                                    -                   -                -                 -                -                -
      66000 · Payroll-Salaries and Wages                                 -                   -                -                 -                -                -
      66005 · Payroll-Service Fees                                       -                   -                -                 -                -                -
      66015 · Payroll-Employer Taxes                                     -                   -                -                 -                -                -
      66030 · Postage and Delivery                                       -                   -                -                 -                -                -
      66800 · Rent Expense                                               -                   -                -                 -                -                -
      66900 · Repairs and Maintenance                                    -                   -                -                 -                -                -
      67000 · Security                                                   -                   -                -                 -                -                -
      67050 · Storage                                                    -                   -                -                 -                -                -
      67100 · Telephone and Internet Expense                             -                   -                -                 -                -                -
      67200 · Travel                                                     -                   -                -                 -                -                -
      67210 · Travel / Relocation allowance                              -                   -                -                 -                -                -
      67400 · Utilities                                                  -                   -                -                 -                -                -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                  -                   -                -                 -                -                -
        68200 · Legal Fees - Ord Course                                  -                   -                -                 -                -                -
        68300 · Accntng Fees - Ord Course                                -                   -                -                 -                -                -
      Total 68000 · Professional Fee Ord Course                          -                   -                -                 -                -                -
      71000 · U.S. Trustee Fees                                    4,875                   325           4,875                325              325              650
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                       -                   -                -                 -                -                -
        72030 · Consulting - Bankruptcy                                  -                   -                -                 -                -                -
      Total 72000 · Professional Fees - Bankruptcy                       -                   -                -                 -                -                -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                 -                   -                -                 -                -                -
        83000 · Tax Expense - Other                                      -                   -                -                 -                -                -
      Total 83000 · Tax Expense                                          -                   -                -                 -                -                -
    Total Expense                                                  4,875                   325           4,875                325              325              650
 Net Ordinary Income                                              (4,875)               (325)            (4,875)          (325)            (325)                100
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                     -                   -                -                 -                -                -
   Total Other Expense                                                   -                   -                -                 -                -                -
 Net Other Income                                                        -                   -                -                 -                -                -
Net Income                                                        (4,875)               (325)            (4,875)          (325)            (325)                100




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                                                           P-166 Winding       P-167 Zestar       P-187 695 Buggy    P-188 Deerfield     P-207 Frog Rock      Silverleaf
                                                 Debtor:    Road Invest         Invest LLC           Circle, LLC     Park Invest LLC       Investments       Funding LLC
                                               Case No.:     17-12739           17-12792             18-10670           18-10673            18-10733          17-12837
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                  -                  -                   -                   -                 -
      40010 · Rent Revenue                                                 -                  -                  -                   -                   -                 -
      40020 · Interest Revenue                                             -                  -                 21                   -                   -                 -
      40022 · Structured Settlement Income                                 -                  -                  -                   -                   -                 -
    Total Income                                                           -                  -                 21                   -                   -                 -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                  -                  4                   -                   -                 -
      Total 50000 · Cost of Goods Sold                                     -                  -                  4                   -                   -                 -
    Total COGS                                                             -                  -                  4                   -                   -                 -
   Gross Profit                                                            -                  -                 17                   -                   -                 -
    Expense
      60020 · Media Consulting                                             -                  -                  -                   -                   -                 -
      60400 · Bank Service Charge                                          -                  -                  -                   -                   3                 -
      60500 · Dues and Subscriptions                                       -                  -                  -                   -                   -                 -
      60600 · Equipment Lease                                              -                  -                  -                   -                   -                 -
      61700 · Information Technology                                       -                  -                  -                   -                   -                 -
      61800 · License and Filing Fees                                   290                   -                  -                   -                   -                 -
      61870 · Moving                                                       -                  -                  -                   -                   -                 -
      62500 · Employee Benefits                                            -                  -                  -                   -                   -                 -
      63300 · Insurance                                                    -                  -                  -                   -                   -                 -
      63400 · Interest                                                     -                  -                  -                   -                   -                 -
      63401 · Int Expense - BK DIP financing                               -                  -                  -                   -                   -                 -
      64800 · Office Expense                                               -                  -                  -                   -                   -                 -
      64900 · Office Supplies                                              -                  -                  -                   -                   -                 -
      65000 · Outside Services                                             -                  -                  -                   -                   -                 -
      65100 · Parking                                                      -                  -                  -                   -                   -                 -
      66000 · Payroll-Salaries and Wages                                   -                  -                  -                   -                   -                 -
      66005 · Payroll-Service Fees                                         -                  -                  -                   -                   -                 -
      66015 · Payroll-Employer Taxes                                       -                  -                  -                   -                   -                 -
      66030 · Postage and Delivery                                         -                  -                  -                   -                   -                 -
      66800 · Rent Expense                                                 -                  -                  -                   -                   -                 -
      66900 · Repairs and Maintenance                                      -                  -                  -                   -                   -                 -
      67000 · Security                                                     -                  -                  -                   -                   -                35
      67050 · Storage                                                      -                  -                  -                   -                   -                 -
      67100 · Telephone and Internet Expense                               -                  -                  -                   -                   -                 -
      67200 · Travel                                                       -                  -                  -                   -                   -                 -
      67210 · Travel / Relocation allowance                                -                  -                  -                   -                   -                 -
      67400 · Utilities                                                    -                  -                  -                   -                   -                 -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                  -                  -                   -                   -                 -
        68200 · Legal Fees - Ord Course                                    -                  -                  -                   -                   -                 -
        68300 · Accntng Fees - Ord Course                                  -                  -                  -                   -                   -                 -
      Total 68000 · Professional Fee Ord Course                            -                  -                  -                   -                   -                 -
      71000 · U.S. Trustee Fees                                    12,523              4,875                     -                 325                 325               325
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                         -                  -                  -                   -                   -                 -
        72030 · Consulting - Bankruptcy                                    -                  -                  -                   -                   -                 -
      Total 72000 · Professional Fees - Bankruptcy                         -                  -                  -                   -                   -                 -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                   -                  -                  -                   -                   -                 -
        83000 · Tax Expense - Other                                        -                  -                  -                   -                   -                 -
      Total 83000 · Tax Expense                                            -                  -                  -                   -                   -                 -
    Total Expense                                                  12,813              4,875                     -                 325                 328               360
 Net Ordinary Income                                              (12,813)             (4,875)                  17              (325)               (328)            (360)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                       -                  -                  -                   -                   -                 -
   Total Other Expense                                                     -                  -                  -                   -                   -                 -
 Net Other Income                                                          -                  -                  -                   -                   -                 -
Net Income                                                        (12,813)             (4,875)                  17              (325)               (328)            (360)




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                                                            Summit Cut       Topchord                                               Whiteacre
                                                 Debtor: Investments LLC Investments LLC         WCBL 1           WCBL 2           Funding LLC       WMIF 1
                                               Case No.:    17-12640        17-12664            17-12754          17-12758          17-12713         17-12768
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                             -                 -                   -                 -                 -               -
      40010 · Rent Revenue                                             -           1,050                     -                 -          20,368           1,265
      40020 · Interest Revenue                                         -                 -                   -                 -                 -               -
      40022 · Structured Settlement Income                             -                 -                   -                 -                 -               -
    Total Income                                                       -           1,050                     -                 -          20,368           1,265
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                        -               466                   -                 -           5,307                 -
      Total 50000 · Cost of Goods Sold                                 -               466                   -                 -           5,307                 -
    Total COGS                                                         -               466                   -                 -           5,307                 -
   Gross Profit                                                        -               584                   -                 -          15,060           1,265
    Expense
      60020 · Media Consulting                                         -                 -                   -                 -                 -               -
      60400 · Bank Service Charge                                      -                 -                   -                 -                 -               -
      60500 · Dues and Subscriptions                                   -                 -                   -                 -                 -               -
      60600 · Equipment Lease                                          -                 -                   -                 -                 -               -
      61700 · Information Technology                                   -                 -                   -                 -                 -               -
      61800 · License and Filing Fees                                  -                 -                   -                 -                 -               -
      61870 · Moving                                                   -                 -                   -                 -                 -               -
      62500 · Employee Benefits                                        -                 -                   -                 -                 -               -
      63300 · Insurance                                                -                 -                   -                 -                 -               -
      63400 · Interest                                                 -                 -                   -                 -                 -               -
      63401 · Int Expense - BK DIP financing                           -                 -                   -                 -                 -               -
      64800 · Office Expense                                           -                 -                   -                 -                 -               -
      64900 · Office Supplies                                          -                 -                   -                 -                 -               -
      65000 · Outside Services                                         -                 -                   -                 -                 -               -
      65100 · Parking                                                  -                 -                   -                 -                 -               -
      66000 · Payroll-Salaries and Wages                               -                 -                   -                 -                 -               -
      66005 · Payroll-Service Fees                                     -                 -                   -                 -                 -               -
      66015 · Payroll-Employer Taxes                                   -                 -                   -                 -                 -               -
      66030 · Postage and Delivery                                     -                 -                   -                 -                 -               -
      66800 · Rent Expense                                             -                 -                   -                 -                 -               -
      66900 · Repairs and Maintenance                                  -                 -                   -                 -                 -               -
      67000 · Security                                                 -                 -                   -                 -                 -               -
      67050 · Storage                                                  -                 -                   -                 -                 -               -
      67100 · Telephone and Internet Expense                           -                 -                   -                 -                 -               -
      67200 · Travel                                                   -                 -                   -                 -                 -               -
      67210 · Travel / Relocation allowance                            -                 -                   -                 -                 -               -
      67400 · Utilities                                                -                 -                   -                 -           2,312                 -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                -                 -                   -                 -                 -               -
        68200 · Legal Fees - Ord Course                                -                 -                   -                 -                 -               -
        68300 · Accntng Fees - Ord Course                              -                 -                   -                 -                 -               -
      Total 68000 · Professional Fee Ord Course                        -                 -                   -                 -                 -               -
      71000 · U.S. Trustee Fees                                   4,875                650                 325               325               650         1,625
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                     -                 -                   -                 -                 -               -
        72030 · Consulting - Bankruptcy                                -                 -                   -                 -                 -               -
      Total 72000 · Professional Fees - Bankruptcy                     -                 -                   -                 -                 -               -
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                               -                 -                   -                 -           2,183                 -
        83000 · Tax Expense - Other                                    -                 -                   -                 -               -                 -
      Total 83000 · Tax Expense                                        -                 -                   -                 -           2,183                 -
    Total Expense                                                 4,875                650                 325               325           5,145           1,625
 Net Ordinary Income                                              (4,875)              (66)               (325)            (325)           9,915              (360)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                   -                 -                   -                 -                 -               -
   Total Other Expense                                                 -                 -                   -                 -                 -               -
 Net Other Income                                                      -                 -                   -                 -                 -               -
Net Income                                                        (4,875)              (66)               (325)            (325)           9,915              (360)




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                                                 Debtor:   WMIF 2           WMIF 3             WMIF 4         TOTAL
                                               Case No.:   17-12772         17-12776          17-12784
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                              -                -               -      659,000
      40010 · Rent Revenue                                              -                -         9,191        249,210
      40020 · Interest Revenue                                   3,750                   -               -       16,398
      40022 · Structured Settlement Income                           -                   -               -       58,165
    Total Income                                                 3,750                   -         9,191        982,772
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                         -                -               -       61,832
      Total 50000 · Cost of Goods Sold                                  -                -               -       61,832
    Total COGS                                                          -                -               -       61,832
   Gross Profit                                                  3,750                   -         9,191        920,940
    Expense
      60020 · Media Consulting                                          -                -               -       43,969
      60400 · Bank Service Charge                                       -                -               -         7,967
      60500 · Dues and Subscriptions                                    -                -               -          565
      60600 · Equipment Lease                                           -                -               -          391
      61700 · Information Technology                                    -                -               -       60,340
      61800 · License and Filing Fees                                   -                -          100            9,748
      61870 · Moving                                                    -                -               -          475
      62500 · Employee Benefits                                         -                -               -       10,072
      63300 · Insurance                                                 -                -               -       (32,661)
      63400 · Interest                                                  -                -               -      830,935
      63401 · Int Expense - BK DIP financing                            -                -               -      441,750
      64800 · Office Expense                                            -                -               -       10,659
      64900 · Office Supplies                                           -                -               -          789
      65000 · Outside Services                                          -                -               -          831
      65100 · Parking                                                   -                -               -         9,373
      66000 · Payroll-Salaries and Wages                                -                -               -      556,151
      66005 · Payroll-Service Fees                                      -                -               -          630
      66015 · Payroll-Employer Taxes                                    -                -               -         9,073
      66030 · Postage and Delivery                                      -                -               -         1,056
      66800 · Rent Expense                                              -                -               -      103,502
      66900 · Repairs and Maintenance                                   -                -               -          919
      67000 · Security                                                  -                -               -            35
      67050 · Storage                                                   -                -               -         1,800
      67100 · Telephone and Internet Expense                            -                -               -         9,381
      67200 · Travel                                                    -                -               -       18,361
      67210 · Travel / Relocation allowance                             -                -               -       30,240
      67400 · Utilities                                                 -                -               -         5,726
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                 -                -               -      192,515
        68200 · Legal Fees - Ord Course                                 -                -               -      139,135
        68300 · Accntng Fees - Ord Course                               -                -               -       15,059
      Total 68000 · Professional Fee Ord Course                         -                -               -      346,710
      71000 · U.S. Trustee Fees                                       325              325          325         364,900
      72000 · Professional Fees - Bankruptcy
        72010 · Legal - Bankruptcy                                      -                -               -    9,496,462
        72030 · Consulting - Bankruptcy                                 -                -               -    2,253,099
      Total 72000 · Professional Fees - Bankruptcy                      -                -               -   11,749,560
      83000 · Tax Expense
        83110 · Municipal Taxes and Fees                                -                -               -         2,183
        83000 · Tax Expense - Other                                     -                -               -         1,342
      Total 83000 · Tax Expense                                         -                -               -         3,525
    Total Expense                                                     325              325          425      14,596,770
 Net Ordinary Income                                             3,425               (325)         8,766     (13,675,829)
 Other Income/Expense
   Other Expense
    90010 · Suspense                                                    -                -               -             -
   Total Other Expense                                                  -                -               -             -
 Net Other Income                                                       -                -               -             -
Net Income                                                       3,425               (325)         8,766     (13,675,829)




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                                                              1. Woodbridge        Bellflower Funding      Brise Soleil     Carbondale Glen        Holding          Inactive Property        Ironsides          P-001 215 North
                                                    Debtor:     Group LLC                  LLC          Investments LLC     Sweetgrass LLC        Companies            Companies         Investments LLC          12th St LLC
                                                  Case No.:     17-12560               18-10507            17-12762            17-12564            Various              Various             17-12714               17-12561
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                          659,000                        -                   -                    -                 -                    -                     -                       -
       40010 · Rent Revenue                                            2,725                  14,937                    -                    -                 -                    -                     -              61,404
       40020 · Interest Revenue                                       44,789                        -                   -                    -                 -                    -                     -                    2
       40022 · Structured Settlement Income                           82,875                        -                   -                    -                 -                    -                     -                       -
       40090 · Other Revenue                                           (1,589)                      -                   -                    -                 -                    -                     -                       -
     Total Income                                                    787,800                  14,937                    -                    -                 -                    -                     -              61,406
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                           268                      -                   -                 105                  -                    -                     -               7,433
         50020 · Cost of Sales Real Property                                  -                     -                   -                    -                 -                    -                     -                       -
         50030 · Closing Costs / Prorations                                   -                     -                   -                    -                 -                    -                     -                       -
         50000 · Cost of Goods Sold - Other                                   -                     -                   -                    -                 -                    -                     -                       -
       Total 50000 · Cost of Goods Sold                                    268                      -                   -                 105                  -                    -                     -               7,433
     Total COGS                                                            268                      -                   -                 105                  -                    -                     -               7,433
   Gross Profit                                                      787,532                  14,937                    -                 (105)                -                    -                     -              53,973
     Expense
       60020 · Media Consulting                                      347,370                        -                   -                    -                 -                    -                     -                       -
       60400 · Bank Service Charge                                     8,037                        -                   -                    -                 -                    -                     -                       -
       60500 · Dues and Subscriptions                                  4,181                        -                   -                    -                 -                    -                     -                       -
       60600 · Equipment Lease                                             959                      -                   -                    -                 -                    -                     -                       -
       61700 · Information Technology
         61701 · IT - Software                                         3,628                        -                   -                    -                 -                    -                     -                       -
         61700 · Information Technology - Other                      219,308                        -                   -                    -                 -                    -                     -                       -
       Total 61700 · Information Technology                          222,937                        -                   -                    -                 -                    -                     -                       -
       61800 · License and Filing Fees                                 2,348                        -                   -                    -               343                   49                     -                       -
       61870 · Moving                                                 18,096                        -                   -                    -                 -                    -                     -                       -
       62500 · Employee Benefits                                     162,066                        -                   -                    -                 -                    -                     -                       -
       63300 · Insurance                                              (12,307)                      -                   -                    -                 -                    -                     -                       -
       63400 · Interest                                                       -                     -                   -                    -                 -                    -                     -                       -
       63401 · Int Expense - BK DIP financing                        960,819                        -                   -                    -                 -                    -                     -                       -
       64800 · Office Expense                                         29,914                        -                   -                    -                 -                    -                     -                       -
       64900 · Office Supplies                                         7,782                        -                   -                    -                 -                    -                     -                       -
       65000 · Outside Services                                       13,557                        -                   -                    -                 -                    -                     -                       -
       65100 · Parking                                                31,148                        -                   -                    -                 -                    -                     -                       -
       66000 · Payroll-Salaries and Wages                           3,065,913                       -                   -                    -                 -                    -                     -                       -
       66005 · Payroll-Service Fees                                    3,640                        -                   -                    -                 -                    -                     -                       -
       66015 · Payroll-Employer Taxes                                294,599                        -                   -                    -                 -                    -                     -                       -
       66020 · Independent Contractors                                 6,000                        -                   -                    -                 -                    -                     -                       -
       66030 · Postage and Delivery                                   12,886                        -                   -                    -                 -                    -                     -                       -
       66800 · Rent Expense                                          349,136                        -                   -                    -                 -                    -                     -                       -
       66900 · Repairs and Maintenance                                19,451                        -                   -                    -                 -                    -                     -                   900
       67000 · Security                                                1,432                        -                   -                    -                 -                    -                     -                       -
       67050 · Storage                                                 6,726                        -                   -                    -                 -                    -                     -                       -
       67100 · Telephone and Internet Expense                         41,892                        -                   -                    -                 -                    -                     -                       -
       67110 · Title Searches                                         43,500                        -                   -                    -                 -                    -                     -                       -
       67200 · Travel                                                 24,804                        -                   -                    -                 -                    -                     -                       -
       67210 · Travel / Relocation allowance                          40,240                        -                   -                    -                 -                    -                     -                       -
       67400 · Utilities                                              11,605                      216                   -                    -                 -                    -                     -                   196
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                             192,515                        -                   -                    -                 -                    -                     -                       -
         68200 · Legal Fees - Ord Course                             257,527                        -                   -                    -                 -                    -                     -                       -
         68300 · Accntng Fees - Ord Course                            15,059                        -                   -                    -                 -                    -                     -                       -
       Total 68000 · Professional Fee Ord Course                     465,101                        -                   -                    -                 -                    -                     -                       -
       69800 · Uncategorized Expenses                                         -                     -                   -                    -                 -                    -                     -                       -
       71000 · U.S. Trustee Fees                                     261,904                      325                 325                 325           44,525                  3,250                  325                    650
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                13,873,391                       -                   -                    -                 -                    -                     -                       -
         72030 · Consulting - Bankruptcy                            5,934,329                       -                   -                    -                 -                    -                     -                       -
         72000 · Professional Fees - Bankruptcy - Other               253,573                       -                   -                    -                 -                    -                     -                       -
       Total 72000 · Professional Fees - Bankruptcy                20,061,293                       -                   -                    -                 -                    -                     -                       -
       72100 · DIP Loan Origination Fee                             1,500,000                       -                   -                    -                 -                    -                     -                       -
       81140 · Board Fees                                            296,577                        -                   -                    -                 -                    -                     -                       -
       83000 · Tax Expense
         83100 · Property Tax Expense                                      274                      -                   -                    -                 -                    -                     -                       -
         83110 · Municipal Taxes and Fees                                    -                      -                 -                      -                 -                    -                     -                       -
         83000 · Tax Expense - Other                                       411                      -             1,342                      -                 -                    -                     -                       -
       Total 83000 · Tax Expense                                           685                      -             1,342                      -                 -                    -                     -                       -
     Total Expense                                                 28,304,290                     541             1,667                   325           44,868                  3,299                  325                1,746
 Net Ordinary Income                                              (27,516,758)                14,396              (1,667)                 (430)         (44,868)               (3,299)                 (325)             52,227
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                    -                     -                   -                    -                 -                    -                     -                       -
   Total Other Income                                                         -                     -                   -                    -                 -                    -                     -                       -
   Other Expense
     85000 · Write off uncollectible rents                                 850                      -                   -                    -                 -                    -                     -                       -
     90010 · Suspense                                                        -                      -                   -                    -                 -                    -                     -                       -
   Total Other Expense                                                     850                      -                   -                    -                 -                    -                     -                       -
 Net Other Income                                                          (850)                    -                   -                    -                 -                    -                     -                       -
Net Income                                                        (27,517,608)                14,396              (1,667)                 (430)         (44,868)               (3,299)                 (325)             52,227




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-002 Addison         P-003 Anchorpoint    P-004 Arborvitae       P-005 Archivolt       P-006 Arlington       P-007 Arrowpoint      P-008 Baleroy         P-009 Bay Village
                                                    Debtor:   Park Invest LLC           Invest LLC          Invest LLC            Invest LLC          Ridge Inves LLC          Invest LLC          Invest LLC              Invest LLC
                                                  Case No.:      17-12563               17-12566            17-12572               17-12574              17-12576              17-12578             17-12580                17-12604
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                    -                    -                       -                     -                    -                    -                     -
       40010 · Rent Revenue                                                     -             48,608                      -                       -                     -                    -                    -                     -
       40020 · Interest Revenue                                                 -                   0                     -                       -                     -                    -                    -                     -
       40022 · Structured Settlement Income                                     -                    -                    -                       -                     -                    -                    -                     -
       40090 · Other Revenue                                                    -                    -                    -                       -                     -                    -                    -                     -
     Total Income                                                               -             48,609                      -                       -                     -                    -                    -                     -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -             24,659                      -                       -                     -                    -                    -                     -
         50020 · Cost of Sales Real Property                                    -                    -                    -                       -                     -                    -                    -                     -
         50030 · Closing Costs / Prorations                                     -                    -                    -                       -                     -                    -                    -                     -
         50000 · Cost of Goods Sold - Other                                     -                    -                    -                       -                     -                    -                    -                     -
       Total 50000 · Cost of Goods Sold                                         -             24,659                      -                       -                     -                    -                    -                     -
     Total COGS                                                                 -             24,659                      -                       -                     -                    -                    -                     -
   Gross Profit                                                                 -             23,950                      -                       -                     -                    -                    -                     -
     Expense
       60020 · Media Consulting                                                 -                    -                    -                       -                     -                    -                    -                     -
       60400 · Bank Service Charge                                              -                  38                     -                       -                     -                    -                    -                     -
       60500 · Dues and Subscriptions                                           -                    -                    -                       -                     -                    -                    -                     -
       60600 · Equipment Lease                                                  -                    -                    -                       -                     -                    -                    -                     -
       61700 · Information Technology
         61701 · IT - Software                                                  -                    -                    -                       -                     -                    -                    -                     -
         61700 · Information Technology - Other                                 -                    -                    -                       -                     -                    -                    -                     -
       Total 61700 · Information Technology                                     -                    -                    -                       -                     -                    -                    -                     -
       61800 · License and Filing Fees                                          -                  98                     -                    49                       -                  98                   49                      -
       61870 · Moving                                                           -                    -                    -                       -                     -                    -                    -                     -
       62500 · Employee Benefits                                                -                    -                    -                       -                     -                    -                    -                     -
       63300 · Insurance                                                        -                  407                    -                       -                     -                    -                    -                     -
       63400 · Interest                                                         -                    -                    -                       -                     -                    -                    -                     -
       63401 · Int Expense - BK DIP financing                                   -                    -                    -                       -                     -                    -                    -                     -
       64800 · Office Expense                                                   -                    -                    -                       -                     -                    -                    -                     -
       64900 · Office Supplies                                                  -                    -                    -                       -                     -                    -                    -                     -
       65000 · Outside Services                                                 -                    -                    -                       -                     -                    -                    -                     -
       65100 · Parking                                                          -                    -                    -                       -                     -                    -                    -                     -
       66000 · Payroll-Salaries and Wages                                       -                    -                    -                       -                     -                    -                    -                     -
       66005 · Payroll-Service Fees                                             -                    -                    -                       -                     -                    -                    -                     -
       66015 · Payroll-Employer Taxes                                           -                    -                    -                       -                     -                    -                    -                     -
       66020 · Independent Contractors                                          -                    -                    -                       -                     -                    -                    -                     -
       66030 · Postage and Delivery                                             -                    -                    -                       -                     -                    -                    -                     -
       66800 · Rent Expense                                                     -                    -                    -                       -                     -                    -                    -                     -
       66900 · Repairs and Maintenance                                          -                    -                    -                       -                     -                    -                    -                     -
       67000 · Security                                                         -                    -                    -                       -                     -                    -                    -                     -
       67050 · Storage                                                          -                    -                    -                       -                     -                    -                    -                     -
       67100 · Telephone and Internet Expense                                   -                    -                    -                       -                     -                    -                    -                     -
       67110 · Title Searches                                                   -                    -                    -                       -                     -                    -                    -                     -
       67200 · Travel                                                           -                    -                    -                       -                     -                    -                    -                     -
       67210 · Travel / Relocation allowance                                    -                    -                    -                       -                     -                    -                    -                     -
       67400 · Utilities                                                1,165                      41                     -                       -                     -                    -                    -                     -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                    -                    -                       -                     -                    -                    -                     -
         68200 · Legal Fees - Ord Course                                        -                    -                    -                       -                     -                    -                    -                     -
         68300 · Accntng Fees - Ord Course                                      -                    -                    -                       -                     -                    -                    -                     -
       Total 68000 · Professional Fee Ord Course                                -                    -                    -                       -                     -                    -                    -                     -
       69800 · Uncategorized Expenses                                           -                    -                    -                       -                     -                    -                    -                     -
       71000 · U.S. Trustee Fees                                       20,840                      650                 325                    325               4,875                     325                  325                  4,875
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                             -                    -                    -                       -                     -                    -                    -                     -
         72030 · Consulting - Bankruptcy                                        -                    -                    -                       -                     -                    -                    -                     -
         72000 · Professional Fees - Bankruptcy - Other                         -                    -                    -                       -                     -                    -                    -                     -
       Total 72000 · Professional Fees - Bankruptcy                             -                    -                    -                       -                     -                    -                    -                     -
       72100 · DIP Loan Origination Fee                                         -                    -                    -                       -                     -                    -                    -                     -
       81140 · Board Fees                                                       -                    -                    -                       -                     -                    -                    -                     -
       83000 · Tax Expense
         83100 · Property Tax Expense                                           -                    -                    -                       -                     -                    -                    -                     -
         83110 · Municipal Taxes and Fees                                       -                    -                    -                       -                     -                    -                    -                     -
         83000 · Tax Expense - Other                                            -                    -                    -                       -                     -                    -                    -                     -
       Total 83000 · Tax Expense                                                -                    -                    -                       -                     -                    -                    -                     -
     Total Expense                                                     22,005                  1,235                   325                    374               4,875                     423                  374                  4,875
 Net Ordinary Income                                                   (22,005)               22,715                   (325)                  (374)             (4,875)                   (423)                (374)               (4,875)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                      -                    -                    -                       -                     -                    -                    -                     -
   Total Other Income                                                           -                    -                    -                       -                     -                    -                    -                     -
   Other Expense
     85000 · Write off uncollectible rents                                      -                    -                    -                       -                     -                    -                    -                     -
     90010 · Suspense                                                           -                    -                    -                       -                     -                    -                    -                     -
   Total Other Expense                                                          -                    -                    -                       -                     -                    -                    -                     -
 Net Other Income                                                               -                    -                    -                       -                     -                    -                    -                     -
Net Income                                                             (22,005)               22,715                   (325)                  (374)             (4,875)                   (423)                (374)               (4,875)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-010 Bear Brook P-011 Beech Creek        P-012 Bishop       P-013 Black Bass P-014 Black Locust      P-015 Bluff Point     P-016 Bowman           P-017 Bramley
                                                    Debtor:      Invest LLC        Invest LLC          White Invest LLC       Invest LLC        Invest LLC             Invest LLC           Invest LLC             Invest LLC
                                                  Case No.:      17-12610           17-12616              17-12623            17-12641           17-12648              17-12722             17-12753               17-12769
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                    -                  -                    -                    -                  -                     -                    -                      -
       40010 · Rent Revenue                                                    -                  -                    -                    -                  -                     -                    -                      -
       40020 · Interest Revenue                                                -                  -                    -                    -                  -                     -                    -                      -
       40022 · Structured Settlement Income                                    -                  -                    -                    -                  -                     -                    -                      -
       40090 · Other Revenue                                                   -                  -                    -                    -                  -                     -                    -                      -
     Total Income                                                              -                  -                    -                    -                  -                     -                    -                      -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                               -                  -                    -                    -                  -                     -                    -                      -
         50020 · Cost of Sales Real Property                                   -                  -                    -                    -                  -                     -                    -                      -
         50030 · Closing Costs / Prorations                                    -                  -                    -                    -                  -                     -                    -                      -
         50000 · Cost of Goods Sold - Other                                    -                  -                    -                    -                  -                     -                    -                      -
       Total 50000 · Cost of Goods Sold                                        -                  -                    -                    -                  -                     -                    -                      -
     Total COGS                                                                -                  -                    -                    -                  -                     -                    -                      -
   Gross Profit                                                                -                  -                    -                    -                  -                     -                    -                      -
     Expense
       60020 · Media Consulting                                                -                  -                    -                    -                  -                     -                    -                      -
       60400 · Bank Service Charge                                             -                  -                    -                    -                  -                     -                    -                      -
       60500 · Dues and Subscriptions                                          -                  -                    -                    -                  -                     -                    -                      -
       60600 · Equipment Lease                                                 -                  -                    -                    -                  -                     -                    -                      -
       61700 · Information Technology
         61701 · IT - Software                                                 -                  -                    -                    -                  -                     -                    -                      -
         61700 · Information Technology - Other                                -                  -                    -                    -                  -                     -                    -                      -
       Total 61700 · Information Technology                                    -                  -                    -                    -                  -                     -                    -                      -
       61800 · License and Filing Fees                                         -                  -                  100                    -                  -                     -                    -                      -
       61870 · Moving                                                          -                  -                    -                    -                  -                     -                    -                      -
       62500 · Employee Benefits                                               -                  -                    -                    -                  -                     -                    -                      -
       63300 · Insurance                                                       -                  -                    -                    -                  -                     -                    -                      -
       63400 · Interest                                                        -                  -                    -                    -                  -                     -                    -                      -
       63401 · Int Expense - BK DIP financing                                  -                  -                    -                    -                  -                     -                    -                      -
       64800 · Office Expense                                                  -                  -                    -                    -                  -                     -                    -                      -
       64900 · Office Supplies                                                 -                  -                    -                    -                  -                     -                    -                      -
       65000 · Outside Services                                                -                  -                    -                    -                  -                     -                    -                      -
       65100 · Parking                                                         -                  -                    -                    -                  -                     -                    -                      -
       66000 · Payroll-Salaries and Wages                                      -                  -                    -                    -                  -                     -                    -                      -
       66005 · Payroll-Service Fees                                            -                  -                    -                    -                  -                     -                    -                      -
       66015 · Payroll-Employer Taxes                                          -                  -                    -                    -                  -                     -                    -                      -
       66020 · Independent Contractors                                         -                  -                    -                    -                  -                     -                    -                      -
       66030 · Postage and Delivery                                            -                  -                    -                    -                  -                     -                    -                      -
       66800 · Rent Expense                                                    -                  -                    -                    -                  -                     -                    -                      -
       66900 · Repairs and Maintenance                                         -                  -                    -                    -                  -                     -                    -                      -
       67000 · Security                                                        -                  -                    -                    -                  -                     -                    -                      -
       67050 · Storage                                                         -                  -                    -                    -                  -                     -                    -                      -
       67100 · Telephone and Internet Expense                                  -                  -                    -                    -                  -                     -                    -                      -
       67110 · Title Searches                                                  -                  -                    -                    -                  -                     -                    -                      -
       67200 · Travel                                                          -                  -                    -                    -                  -                     -                    -                      -
       67210 · Travel / Relocation allowance                                   -                  -                    -                    -                  -                     -                    -                      -
       67400 · Utilities                                                       -                  -                    -                    -                  -                     -                    -                      -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                       -                  -                    -                    -                  -                     -                    -                      -
         68200 · Legal Fees - Ord Course                                       -                  -                    -                    -                  -                     -                    -                      -
         68300 · Accntng Fees - Ord Course                                     -                  -                    -                    -                  -                     -                    -                      -
       Total 68000 · Professional Fee Ord Course                               -                  -                    -                    -                  -                     -                    -                      -
       69800 · Uncategorized Expenses                                          -                  -                    -                    -                  -                     -                    -                      -
       71000 · U.S. Trustee Fees                                            325                325                1,950                  325                325                   975                  325                    325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                            -                  -                    -                    -                  -                     -                    -                      -
         72030 · Consulting - Bankruptcy                                       -                  -                    -                    -                  -                     -                    -                      -
         72000 · Professional Fees - Bankruptcy - Other                        -                  -                    -                    -                  -                     -                    -                      -
       Total 72000 · Professional Fees - Bankruptcy                            -                  -                    -                    -                  -                     -                    -                      -
       72100 · DIP Loan Origination Fee                                        -                  -                    -                    -                  -                     -                    -                      -
       81140 · Board Fees                                                      -                  -                    -                    -                  -                     -                    -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                          -                  -                    -                    -                  -                     -                    -                      -
         83110 · Municipal Taxes and Fees                                      -                  -                    -                    -                  -                     -                    -                      -
         83000 · Tax Expense - Other                                           -                  -                    -                    -                  -                     -                    -                      -
       Total 83000 · Tax Expense                                               -                  -                    -                    -                  -                     -                    -                      -
     Total Expense                                                          325                325                2,050                  325                325                   975                  325                    325
 Net Ordinary Income                                                        (325)              (325)             (2,050)                 (325)              (325)                 (975)                (325)                  (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                     -                  -                    -                    -                  -                     -                    -                      -
   Total Other Income                                                          -                  -                    -                    -                  -                     -                    -                      -
   Other Expense
     85000 · Write off uncollectible rents                                     -                  -                    -                    -                  -                     -                    -                      -
     90010 · Suspense                                                          -                  -                    -                    -                  -                     -                    -                      -
   Total Other Expense                                                         -                  -                    -                    -                  -                     -                    -                      -
 Net Other Income                                                              -                  -                    -                    -                  -                     -                    -                      -
Net Income                                                                  (325)              (325)             (2,050)                 (325)              (325)                 (975)                (325)                  (325)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-019 Broadsands P-020 Brynderwen         P-021 Cablestay       P-022 Cannington      P-023 Carbondale      P-024 Carbondale      P-025 Carbondale      P-026 Carbondale
                                                    Debtor:       Invest LLC       Invest LLC              Invest LLC            Invest LLC            Glen Lot A-5         Glen Lot D-22         Glen Lot E-24        Glen Lot GV-13
                                                  Case No.:       17-12777           17-12793              17-12798              17-12803              17-12807              17-12809              17-12811               17-12813
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                  -                      -                    -                     -                     -                     -                      -
       40010 · Rent Revenue                                                     -                  -                      -                    -                     -                     -                     -                      -
       40020 · Interest Revenue                                                 -                  -                      -                    -                     -                     -                     -                      -
       40022 · Structured Settlement Income                                     -                  -                      -                    -                     -                     -                     -                      -
       40090 · Other Revenue                                                    -                  -                      -                    -                     -                     -                     -                      -
     Total Income                                                               -                  -                      -                    -                     -                     -                     -                      -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -                  -                      -                    -                     -                     -                     -                      -
         50020 · Cost of Sales Real Property                                    -                  -                      -                    -                     -                     -                     -                      -
         50030 · Closing Costs / Prorations                                     -                  -                      -                    -                     -                     -                     -                      -
         50000 · Cost of Goods Sold - Other                                     -                  -                      -                    -                     -                     -                     -                      -
       Total 50000 · Cost of Goods Sold                                         -                  -                      -                    -                     -                     -                     -                      -
     Total COGS                                                                 -                  -                      -                    -                     -                     -                     -                      -
   Gross Profit                                                                 -                  -                      -                    -                     -                     -                     -                      -
     Expense
       60020 · Media Consulting                                                 -                  -                      -                    -                     -                     -                     -                      -
       60400 · Bank Service Charge                                              -                  -                      -                    -                     -                     -                     -                      -
       60500 · Dues and Subscriptions                                           -                  -                      -                    -                     -                     -                     -                      -
       60600 · Equipment Lease                                                  -                  -                      -                    -                     -                     -                     -                      -
       61700 · Information Technology
         61701 · IT - Software                                                  -                  -                      -                    -                     -                     -                     -                      -
         61700 · Information Technology - Other                                 -                  -                      -                    -                     -                     -                     -                      -
       Total 61700 · Information Technology                                     -                  -                      -                    -                     -                     -                     -                      -
       61800 · License and Filing Fees                                          -                49                   49                       -                     -                     -                     -                      -
       61870 · Moving                                                           -                  -                      -                    -                     -                     -                     -                      -
       62500 · Employee Benefits                                                -                  -                      -                    -                     -                     -                     -                      -
       63300 · Insurance                                                        -                  -                      -                    -                     -                     -                     -                      -
       63400 · Interest                                                         -                  -                      -                    -                     -                     -                     -                      -
       63401 · Int Expense - BK DIP financing                                   -                  -                      -                    -                     -                     -                     -                      -
       64800 · Office Expense                                                   -                  -                      -                    -                     -                     -                     -                      -
       64900 · Office Supplies                                                  -                  -                      -                    -                     -                     -                     -                      -
       65000 · Outside Services                                                 -                  -                      -                    -                     -                     -                     -                      -
       65100 · Parking                                                          -                  -                      -                    -                     -                     -                     -                      -
       66000 · Payroll-Salaries and Wages                                       -                  -                      -                    -                     -                     -                     -                      -
       66005 · Payroll-Service Fees                                             -                  -                      -                    -                     -                     -                     -                      -
       66015 · Payroll-Employer Taxes                                           -                  -                      -                    -                     -                     -                     -                      -
       66020 · Independent Contractors                                          -                  -                      -                    -                     -                     -                     -                      -
       66030 · Postage and Delivery                                             -                  -                      -                    -                     -                     -                     -                      -
       66800 · Rent Expense                                                     -                  -                      -                    -                     -                     -                     -                      -
       66900 · Repairs and Maintenance                                          -                  -                      -                    -                     -                     -                     -                      -
       67000 · Security                                                         -                  -                      -                    -                     -                     -                     -                      -
       67050 · Storage                                                          -                  -                      -                    -                     -                     -                     -                      -
       67100 · Telephone and Internet Expense                                   -                  -                      -                  51                      -                     -                     -                      -
       67110 · Title Searches                                                   -                  -                      -                    -                     -                     -                     -                      -
       67200 · Travel                                                           -                  -                      -                    -                     -                     -                     -                      -
       67210 · Travel / Relocation allowance                                    -                  -                      -                    -                     -                     -                     -                      -
       67400 · Utilities                                                        -                  -                      -                    -                     -                     -                     -                      -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                  -                      -                    -                     -                     -                     -                      -
         68200 · Legal Fees - Ord Course                                        -                  -                      -                    -                     -                     -                     -                      -
         68300 · Accntng Fees - Ord Course                                      -                  -                      -                    -                     -                     -                     -                      -
       Total 68000 · Professional Fee Ord Course                                -                  -                      -                    -                     -                     -                     -                      -
       69800 · Uncategorized Expenses                                           -                  -                      -                    -                     -                     -                     -                      -
       71000 · U.S. Trustee Fees                                             325                325               4,875                     650                   325                   325                   325                    325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                             -                  -                      -                    -                     -                     -                     -                      -
         72030 · Consulting - Bankruptcy                                        -                  -                      -                    -                     -                     -                     -                      -
         72000 · Professional Fees - Bankruptcy - Other                         -                  -                      -                    -                     -                     -                     -                      -
       Total 72000 · Professional Fees - Bankruptcy                             -                  -                      -                    -                     -                     -                     -                      -
       72100 · DIP Loan Origination Fee                                         -                  -                      -                    -                     -                     -                     -                      -
       81140 · Board Fees                                                       -                  -                      -                    -                     -                     -                     -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                           -                  -                      -                    -                     -                     -                     -                      -
         83110 · Municipal Taxes and Fees                                       -                  -                      -                    -                     -                     -                     -                      -
         83000 · Tax Expense - Other                                            -                  -                      -                    -                     -                     -                     -                      -
       Total 83000 · Tax Expense                                                -                  -                      -                    -                     -                     -                     -                      -
     Total Expense                                                           325                374               4,924                     701                   325                   325                   325                    325
 Net Ordinary Income                                                         (325)              (374)             (4,924)                   (701)                 (325)                 (325)                 (325)                  (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                      -                  -                      -                    -                     -                     -                     -                      -
   Total Other Income                                                           -                  -                      -                    -                     -                     -                     -                      -
   Other Expense
     85000 · Write off uncollectible rents                                      -                  -                      -                    -                     -                     -                     -                      -
     90010 · Suspense                                                           -                  -                      -                    -                     -                     -                     -                      -
   Total Other Expense                                                          -                  -                      -                    -                     -                     -                     -                      -
 Net Other Income                                                               -                  -                      -                    -                     -                     -                     -                      -
Net Income                                                                   (325)              (374)             (4,924)                   (701)                 (325)                 (325)                 (325)                  (325)




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                                                                                                                                                                                                                     MOR-2 P&L Cumulative
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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-028 Carbondale      P-029 Carbondale      P-030 Carbondale      P-031 Carbondale      P-032 Carbondale      P-036 Carbondale       P-037 Carbondale      P-038 Carbondale
                                                    Debtor:    Glen Lot SD-14        Glen Lot SD-23        Glen Mes Lot19        Glen River Mes        Gl Sunda Ponds         Peaks Lot L-1           Spruce 101          Sundanc Lot 15
                                                  Case No.:      17-12817              17-12815              17-12819              17-12820              17-12822               18-10286               17-12568              17-12569
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                    -                     -                     -                     -                     -                      -                     -                      -
       40010 · Rent Revenue                                                    -                     -                     -                     -                     -                      -              14,656                        -
       40020 · Interest Revenue                                                -                     -                     -                     -                     -                      -                    1                       -
       40022 · Structured Settlement Income                                    -                     -                     -                     -                     -                      -                     -                      -
       40090 · Other Revenue                                                   -                     -                     -                     -                     -                      -                     -                      -
     Total Income                                                              -                     -                     -                     -                     -                      -              14,658                        -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                               -                     -                     -                     -                     -                      -               1,779                        -
         50020 · Cost of Sales Real Property                                   -                     -                     -                     -                     -                      -                     -                      -
         50030 · Closing Costs / Prorations                                    -                     -                     -                     -                     -                      -                     -                      -
         50000 · Cost of Goods Sold - Other                                    -                     -                     -                     -                     -                      -                     -                      -
       Total 50000 · Cost of Goods Sold                                        -                     -                     -                     -                     -                      -               1,779                        -
     Total COGS                                                                -                     -                     -                     -                     -                      -               1,779                        -
   Gross Profit                                                                -                     -                     -                     -                     -                      -              12,879                        -
     Expense
       60020 · Media Consulting                                                -                     -                     -                     -                     -                      -                     -                      -
       60400 · Bank Service Charge                                             -                     -                     -                     -                     -                      -                   40                       -
       60500 · Dues and Subscriptions                                          -                     -                     -                     -                     -                      -                     -                      -
       60600 · Equipment Lease                                                 -                     -                     -                     -                     -                      -                     -                      -
       61700 · Information Technology
         61701 · IT - Software                                                 -                     -                     -                     -                     -                      -                     -                      -
         61700 · Information Technology - Other                                -                     -                     -                     -                     -                      -                     -                      -
       Total 61700 · Information Technology                                    -                     -                     -                     -                     -                      -                     -                      -
       61800 · License and Filing Fees                                         -                     -                     -                     -                     -                      -                     -                      -
       61870 · Moving                                                          -                     -                     -                     -                     -                      -                     -                      -
       62500 · Employee Benefits                                               -                     -                     -                     -                     -                      -                     -                      -
       63300 · Insurance                                                       -                     -                     -                     -                     -                      -                     -                      -
       63400 · Interest                                                        -                     -                     -                     -                     -                      -                     -                      -
       63401 · Int Expense - BK DIP financing                                  -                     -                     -                     -                     -                      -                     -                      -
       64800 · Office Expense                                                  -                     -                     -                     -                     -                      -                     -                      -
       64900 · Office Supplies                                                 -                     -                     -                     -                     -                      -                     -                      -
       65000 · Outside Services                                                -                     -                     -                     -                     -                      -                     -                      -
       65100 · Parking                                                         -                     -                     -                     -                     -                      -                     -                      -
       66000 · Payroll-Salaries and Wages                                      -                     -                     -                     -                     -                      -                     -                      -
       66005 · Payroll-Service Fees                                            -                     -                     -                     -                     -                      -                     -                      -
       66015 · Payroll-Employer Taxes                                          -                     -                     -                     -                     -                      -                     -                      -
       66020 · Independent Contractors                                         -                     -                     -                     -                     -                      -                     -                      -
       66030 · Postage and Delivery                                            -                     -                     -                     -                     -                      -                     -                      -
       66800 · Rent Expense                                                    -                     -                     -                     -                     -                      -                     -                      -
       66900 · Repairs and Maintenance                                         -                     -                     -                     -                     -                      -                   197                      -
       67000 · Security                                                        -                     -                     -                     -                     -                      -                     -                      -
       67050 · Storage                                                         -                     -                     -                     -                     -                      -                     -                      -
       67100 · Telephone and Internet Expense                                  -                     -                     -                     -                     -                      -                     -                      -
       67110 · Title Searches                                                  -                     -                     -                     -                     -                      -                     -                      -
       67200 · Travel                                                          -                     -                     -                     -                     -                      -                     -                      -
       67210 · Travel / Relocation allowance                                   -                     -                     -                     -                     -                      -                     -                      -
       67400 · Utilities                                                       -                     -                     -                     -                     -                      -                   98                       -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                       -                     -                     -                     -                     -                      -                     -                      -
         68200 · Legal Fees - Ord Course                                       -                     -                     -                     -                     -                      -                     -                      -
         68300 · Accntng Fees - Ord Course                                     -                     -                     -                     -                     -                      -                     -                      -
       Total 68000 · Professional Fee Ord Course                               -                     -                     -                     -                     -                      -                     -                      -
       69800 · Uncategorized Expenses                                          -                     -                     -                     -                     -                      -                     -                      -
       71000 · U.S. Trustee Fees                                            325                   325                   325                   650                   650                    325                    650                   325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                            -                     -                     -                     -                     -                      -                     -                      -
         72030 · Consulting - Bankruptcy                                       -                     -                     -                     -                     -                      -                     -                      -
         72000 · Professional Fees - Bankruptcy - Other                        -                     -                     -                     -                     -                      -                     -                      -
       Total 72000 · Professional Fees - Bankruptcy                            -                     -                     -                     -                     -                      -                     -                      -
       72100 · DIP Loan Origination Fee                                        -                     -                     -                     -                     -                      -                     -                      -
       81140 · Board Fees                                                      -                     -                     -                     -                     -                      -                     -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                          -                     -                     -                     -                     -                      -                     -                      -
         83110 · Municipal Taxes and Fees                                      -                     -                     -                     -                     -                      -                     -                      -
         83000 · Tax Expense - Other                                           -                     -                     -                     -                     -                      -                     -                      -
       Total 83000 · Tax Expense                                               -                     -                     -                     -                     -                      -                     -                      -
     Total Expense                                                          325                   325                   325                   650                   650                    325                    985                   325
 Net Ordinary Income                                                        (325)                 (325)                 (325)                 (650)                 (650)                  (325)             11,894                     (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                     -                     -                     -                     -                     -                      -                     -                      -
   Total Other Income                                                          -                     -                     -                     -                     -                      -                     -                      -
   Other Expense
     85000 · Write off uncollectible rents                                     -                     -                     -                     -                     -                      -                     -                      -
     90010 · Suspense                                                          -                     -                     -                     -                     -                      -                     -                      -
   Total Other Expense                                                         -                     -                     -                     -                     -                      -                     -                      -
 Net Other Income                                                              -                     -                     -                     -                     -                      -                     -                      -
Net Income                                                                  (325)                 (325)                 (325)                 (650)                 (650)                  (325)             11,894                     (325)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-039 Carbondale P-040 Castle Pines      P-041 Centershot       P-042 Chaplin        P-043 Chestnut         P-044 Chestnut     P-045 Clover Basin P-046 Coffee Creek
                                                    Debtor:    Sundanc Lot 16      Invest LLC             Invest LLC           Invest LLC            Invest LLC          Ridge Invest LLC        Invest LLC         Invest LLC
                                                  Case No.:       17-12570          17-12581              17-12586              17-12592             17-12603               17-12614             17-12621              17-12627
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                    -                  -                     -                     -                     -                   -                     -                      -
       40010 · Rent Revenue                                                  750                  -                     -                     -                     -                   -                     -                      -
       40020 · Interest Revenue                                                -                  -                     -                     -                     -                   -                     -                      -
       40022 · Structured Settlement Income                                    -                  -                     -                     -                     -                   -                     -                      -
       40090 · Other Revenue                                                   -                  -                     -                     -                     -                   -                     -                      -
     Total Income                                                            750                  -                     -                     -                     -                   -                     -                      -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                               -                  -                     -                     -                     -                   -               (2,000)                      -
         50020 · Cost of Sales Real Property                                   -                  -                     -                     -                     -                   -                     -                      -
         50030 · Closing Costs / Prorations                                    -                  -                     -                     -                     -                   -                     -                      -
         50000 · Cost of Goods Sold - Other                                    -                  -                     -                     -                     -                   -                     -                      -
       Total 50000 · Cost of Goods Sold                                        -                  -                     -                     -                     -                   -               (2,000)                      -
     Total COGS                                                                -                  -                     -                     -                     -                   -               (2,000)                      -
   Gross Profit                                                              750                  -                     -                     -                     -                   -                2,000                       -
     Expense
       60020 · Media Consulting                                                -                  -                     -                     -                     -                   -                     -                      -
       60400 · Bank Service Charge                                             -                  -                     -                     -                     -                   -                     -                      -
       60500 · Dues and Subscriptions                                          -                  -                     -                     -                     -                   -                     -                      -
       60600 · Equipment Lease                                                 -                  -                     -                     -                     -                   -                     -                      -
       61700 · Information Technology
         61701 · IT - Software                                                 -                  -                     -                     -                     -                   -                     -                      -
         61700 · Information Technology - Other                                -                  -                     -                     -                     -                   -                     -                      -
       Total 61700 · Information Technology                                    -                  -                     -                     -                     -                   -                     -                      -
       61800 · License and Filing Fees                                         -                  -                   49                      -                     -                   -                     -                      -
       61870 · Moving                                                          -                  -                     -                     -                     -                   -                     -                      -
       62500 · Employee Benefits                                               -                  -                     -                     -                     -                   -                     -                      -
       63300 · Insurance                                                       -                  -                     -                     -                     -                   -                     -                      -
       63400 · Interest                                                        -                  -                     -                     -                     -                   -                     -                      -
       63401 · Int Expense - BK DIP financing                                  -                  -                     -                     -                     -                   -                     -                      -
       64800 · Office Expense                                                  -                  -                     -                     -                     -                   -                     -                      -
       64900 · Office Supplies                                                 -                  -                     -                     -                     -                   -                     -                      -
       65000 · Outside Services                                                -                  -                     -                     -                     -                   -                     -                      -
       65100 · Parking                                                         -                  -                     -                     -                     -                   -                     -                      -
       66000 · Payroll-Salaries and Wages                                      -                  -                     -                     -                     -                   -                     -                      -
       66005 · Payroll-Service Fees                                            -                  -                     -                     -                     -                   -                     -                      -
       66015 · Payroll-Employer Taxes                                          -                  -                     -                     -                     -                   -                     -                      -
       66020 · Independent Contractors                                         -                  -                     -                     -                     -                   -                     -                      -
       66030 · Postage and Delivery                                            -                  -                     -                     -                     -                   -                     -                      -
       66800 · Rent Expense                                                    -                  -                     -                     -                     -                   -                     -                      -
       66900 · Repairs and Maintenance                                         -                  -                     -                     -                     -                   -                     -                      -
       67000 · Security                                                        -                  -                     -                     -                     -                   -                     -                      -
       67050 · Storage                                                         -                  -                     -                     -                     -                   -                     -                      -
       67100 · Telephone and Internet Expense                                  -                  -                     -                     -                     -                   -                     -                      -
       67110 · Title Searches                                                  -                  -                     -                     -                     -                   -                     -                      -
       67200 · Travel                                                          -                  -                     -                     -                     -                   -                     -                      -
       67210 · Travel / Relocation allowance                                   -                  -                     -                     -                     -                   -                     -                      -
       67400 · Utilities                                                       -                  -                     -                     -                     -                   -               (1,218)                      -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                       -                  -                     -                     -                     -                   -                     -                      -
         68200 · Legal Fees - Ord Course                                       -                  -                     -                     -             95,000                      -                3,810                       -
         68300 · Accntng Fees - Ord Course                                     -                  -                     -                     -                  -                      -                    -                       -
       Total 68000 · Professional Fee Ord Course                               -                  -                     -                     -             95,000                      -                3,810                       -
       69800 · Uncategorized Expenses                                          -                  -                     -                     -                     -                   -                     -                      -
       71000 · U.S. Trustee Fees                                             325               325                   325                   325                  975                 1,950                   650                   325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                            -                  -                     -                     -                     -                   -                     -                      -
         72030 · Consulting - Bankruptcy                                       -                  -                     -                     -                     -                   -                     -                      -
         72000 · Professional Fees - Bankruptcy - Other                        -                  -                     -                     -                     -                   -                     -                      -
       Total 72000 · Professional Fees - Bankruptcy                            -                  -                     -                     -                     -                   -                     -                      -
       72100 · DIP Loan Origination Fee                                        -                  -                     -                     -                     -                   -                     -                      -
       81140 · Board Fees                                                      -                  -                     -                     -                     -                   -                     -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                          -                  -                     -                     -                     -                   -                     -                      -
         83110 · Municipal Taxes and Fees                                      -                  -                     -                     -                     -                   -                     -                      -
         83000 · Tax Expense - Other                                           -                  -                     -                     -                     -                   -                     -                      -
       Total 83000 · Tax Expense                                               -                  -                     -                     -                     -                   -                     -                      -
     Total Expense                                                           325               325                   374                   325              95,975                  1,950                3,242                    325
 Net Ordinary Income                                                         425               (325)                 (374)                 (325)           (95,975)                (1,950)              (1,242)                   (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                     -                  -                     -                     -                     -                   -                     -                      -
   Total Other Income                                                          -                  -                     -                     -                     -                   -                     -                      -
   Other Expense
     85000 · Write off uncollectible rents                                     -                  -                     -                     -                     -                   -                     -                      -
     90010 · Suspense                                                          -                  -                     -                     -                     -                   -                     -                      -
   Total Other Expense                                                         -                  -                     -                     -                     -                   -                     -                      -
 Net Other Income                                                              -                  -                     -                     -                     -                   -                     -                      -
Net Income                                                                   425               (325)                 (374)                 (325)           (95,975)                (1,950)              (1,242)                   (325)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-047 Craven       P-048 Crossbeam      P-049 Crowfield        P-050 Crystal         P-051 Daleville        P-052 Derbyshire      P-053 Diamond            P-054 Dixville
                                                    Debtor:    Invest LLC           Invest LLC          Invest LLC          Woods Invest LLC         Invest LLC              Invest LLC         Cove Invest LLC         Notch Invest LLC
                                                  Case No.:     17-12636            17-12650             17-12660               17-12676             17-12687                17-12696              17-12705                17-12716
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                  -                   -                      -                     -                      -                     -                      -                      -
       40010 · Rent Revenue                                                  -                   -                      -                     -                      -                     -                      -                      -
       40020 · Interest Revenue                                              -                   -                      -                     -                      -                     -                      -                      -
       40022 · Structured Settlement Income                                  -                   -                      -                     -                      -                     -                      -                      -
       40090 · Other Revenue                                                 -                   -                      -                     -                      -                     -                      -                      -
     Total Income                                                            -                   -                      -                     -                      -                     -                      -                      -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                             -                   -                      -                     -                      -                     -                      -                      -
         50020 · Cost of Sales Real Property                                 -                   -                      -                     -                      -                     -                      -                      -
         50030 · Closing Costs / Prorations                                  -                   -                      -                     -                      -                     -                      -                      -
         50000 · Cost of Goods Sold - Other                                  -                   -                      -                     -                      -                     -                      -                      -
       Total 50000 · Cost of Goods Sold                                      -                   -                      -                     -                      -                     -                      -                      -
     Total COGS                                                              -                   -                      -                     -                      -                     -                      -                      -
   Gross Profit                                                              -                   -                      -                     -                      -                     -                      -                      -
     Expense
       60020 · Media Consulting                                              -                   -                      -                     -                      -                     -                      -                      -
       60400 · Bank Service Charge                                           -                   -                      -                     -                      -                     -                      -                      -
       60500 · Dues and Subscriptions                                        -                   -                      -                     -                      -                     -                      -                      -
       60600 · Equipment Lease                                               -                   -                      -                     -                      -                     -                      -                      -
       61700 · Information Technology
         61701 · IT - Software                                               -                   -                      -                     -                      -                     -                      -                      -
         61700 · Information Technology - Other                              -                   -                      -                     -                      -                     -                      -                      -
       Total 61700 · Information Technology                                  -                   -                      -                     -                      -                     -                      -                      -
       61800 · License and Filing Fees                                       -                 49                       -                     -                      -                     -                      -                      -
       61870 · Moving                                                        -                   -                      -                     -                      -                     -                      -                      -
       62500 · Employee Benefits                                             -                   -                      -                     -                      -                     -                      -                      -
       63300 · Insurance                                                     -                   -                      -                     -                      -                     -                      -                      -
       63400 · Interest                                               48,136                     -                      -                     -                      -                     -                      -                      -
       63401 · Int Expense - BK DIP financing                                -                   -                      -                     -                      -                     -                      -                      -
       64800 · Office Expense                                                -                   -                      -                     -                      -                     -                      -                      -
       64900 · Office Supplies                                               -                   -                      -                     -                      -                     -                      -                      -
       65000 · Outside Services                                              -                   -                      -                     -                      -                     -                      -                      -
       65100 · Parking                                                       -                   -                      -                     -                      -                     -                      -                      -
       66000 · Payroll-Salaries and Wages                                    -                   -                      -                     -                      -                     -                      -                      -
       66005 · Payroll-Service Fees                                          -                   -                      -                     -                      -                     -                      -                      -
       66015 · Payroll-Employer Taxes                                        -                   -                      -                     -                      -                     -                      -                      -
       66020 · Independent Contractors                                       -                   -                      -                     -                      -                     -                      -                      -
       66030 · Postage and Delivery                                          -                   -                      -                     -                      -                     -                      -                      -
       66800 · Rent Expense                                                  -                   -                      -                     -                      -                     -                      -                      -
       66900 · Repairs and Maintenance                                       -                   -                      -                     -                      -                     -                      -                      -
       67000 · Security                                                      -                   -                      -                     -                      -                     -                      -                      -
       67050 · Storage                                                       -                   -                      -                     -                      -                     -                      -                      -
       67100 · Telephone and Internet Expense                                -                   -                      -                     -                      -                     -                  201                        -
       67110 · Title Searches                                                -                   -                      -                     -                      -                     -                      -                      -
       67200 · Travel                                                        -                   -                      -                     -                      -                     -                      -                      -
       67210 · Travel / Relocation allowance                                 -                   -                      -                     -                      -                     -                      -                      -
       67400 · Utilities                                                     -                   -                      -                     -                      -                     -                      -                      -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                     -                   -                      -                     -                      -                     -                      -                      -
         68200 · Legal Fees - Ord Course                                     -                   -                      -                     -                      -                     -                      -                      -
         68300 · Accntng Fees - Ord Course                                   -                   -                      -                     -                      -                     -                      -                      -
       Total 68000 · Professional Fee Ord Course                             -                   -                      -                     -                      -                     -                      -                      -
       69800 · Uncategorized Expenses                                        -                   -                      -                     -                      -                     -                      -                      -
       71000 · U.S. Trustee Fees                                           650                   -              4,875                      325                  325                     325               4,875                       325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                          -                   -                      -                     -                      -                     -                      -                      -
         72030 · Consulting - Bankruptcy                                     -                   -                      -                     -                      -                     -                      -                      -
         72000 · Professional Fees - Bankruptcy - Other                      -                   -                      -                     -                      -                     -                      -                      -
       Total 72000 · Professional Fees - Bankruptcy                          -                   -                      -                     -                      -                     -                      -                      -
       72100 · DIP Loan Origination Fee                                      -                   -                      -                     -                      -                     -                      -                      -
       81140 · Board Fees                                                    -                   -                      -                     -                      -                     -                      -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                        -                   -                      -                     -                      -                     -                      -                      -
         83110 · Municipal Taxes and Fees                                    -                   -                      -                     -                      -                     -                      -                      -
         83000 · Tax Expense - Other                                         -                   -                      -                     -                      -                     -                      -                      -
       Total 83000 · Tax Expense                                             -                   -                      -                     -                      -                     -                      -                      -
     Total Expense                                                    48,786                   49               4,875                      325                  325                     325               5,076                       325
 Net Ordinary Income                                                 (48,786)                  (49)             (4,875)                    (325)                (325)                   (325)             (5,076)                     (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                   -                   -                      -                     -                      -                     -                      -                      -
   Total Other Income                                                        -                   -                      -                     -                      -                     -                      -                      -
   Other Expense
     85000 · Write off uncollectible rents                                   -                   -                      -                     -                      -                     -                      -                      -
     90010 · Suspense                                                        -                   -                      -                     -                      -                     -                      -                      -
   Total Other Expense                                                       -                   -                      -                     -                      -                     -                      -                      -
 Net Other Income                                                            -                   -                      -                     -                      -                     -                      -                      -
Net Income                                                           (48,786)                  (49)             (4,875)                    (325)                (325)                   (325)             (5,076)                     (325)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                             P-055 Dogwood         P-056 Dollis Brook P-057 Donnington   P-059 Doubleleaf      P-060 Drawspan        P-061 Eldredge       P-062 Elstar Invest P-063 Emerald Lake
                                                    Debtor: Valley Invest LLC          Invest LLC        Invest LLC         Invest LLC            Invest LLC           Invest LLC                LLC              Invest LLC
                                                  Case No.:     17-12727               17-12735          17-12744           17-12755              17-12767             17-12775               17-12782            17-12788
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                   -                     -                -                    -                     -                     -                   -                    -
       40010 · Rent Revenue                                                   -                     -           49,756                    -                     -                     -                   -             100,000
       40020 · Interest Revenue                                               -                     -               3                     -                     -                     -                   -                    -
       40022 · Structured Settlement Income                                   -                     -                -                    -                     -                     -                   -                    -
       40090 · Other Revenue                                                  -              39,884                  -                    -                     -                     -                   -                    -
     Total Income                                                             -              39,884             49,759                    -                     -                     -                   -             100,000
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                              -                     -           14,347                    -                     -                     -                   -                    -
         50020 · Cost of Sales Real Property                                  -                     -                -                    -                     -                     -                   -                    -
         50030 · Closing Costs / Prorations                                   -                     -                -                    -                     -                     -                   -                    -
         50000 · Cost of Goods Sold - Other                                   -                     -                -                    -                     -                     -                   -                  505
       Total 50000 · Cost of Goods Sold                                       -                     -           14,347                    -                     -                     -                   -                  505
     Total COGS                                                               -                     -           14,347                    -                     -                     -                   -                  505
   Gross Profit                                                               -              39,884             35,412                    -                     -                     -                   -              99,495
     Expense
       60020 · Media Consulting                                               -                     -                -                    -                     -                     -                   -                    -
       60400 · Bank Service Charge                                            -                     -                -                    -                     -                     -                   -                    -
       60500 · Dues and Subscriptions                                         -                     -                -                    -                     -                     -                   -                    -
       60600 · Equipment Lease                                                -                     -                -                    -                     -                     -                   -                    -
       61700 · Information Technology
         61701 · IT - Software                                                -                     -                -                    -                     -                     -                   -                    -
         61700 · Information Technology - Other                               -                     -                -                    -                     -                     -                   -                    -
       Total 61700 · Information Technology                                   -                     -                -                    -                     -                     -                   -                    -
       61800 · License and Filing Fees                                        -                     -                -                  49                   49                       -                   -                    -
       61870 · Moving                                                         -                     -                -                    -                     -                     -                   -                    -
       62500 · Employee Benefits                                              -                     -                -                    -                     -                     -                   -                    -
       63300 · Insurance                                                      -                     -                -                    -                     -                     -                   -                    -
       63400 · Interest                                                       -                     -                -                    -                     -                     -                   -                    -
       63401 · Int Expense - BK DIP financing                                 -                     -                -                    -                     -                     -                   -                    -
       64800 · Office Expense                                                 -                     -                -                    -                     -                     -                   -                    -
       64900 · Office Supplies                                                -                     -                -                    -                     -                     -                   -                    -
       65000 · Outside Services                                               -                     -                -                    -                     -                     -                   -                    -
       65100 · Parking                                                        -                     -                -                    -                     -                     -                   -                    -
       66000 · Payroll-Salaries and Wages                                     -                     -                -                    -                     -                     -                   -                    -
       66005 · Payroll-Service Fees                                           -                     -                -                    -                     -                     -                   -                    -
       66015 · Payroll-Employer Taxes                                         -                     -                -                    -                     -                     -                   -                    -
       66020 · Independent Contractors                                        -                     -                -                    -                     -                     -                   -                    -
       66030 · Postage and Delivery                                           -                     -                -                    -                     -                     -                   -                    -
       66800 · Rent Expense                                                   -                     -                -                    -                     -                     -                   -                    -
       66900 · Repairs and Maintenance                                        -                     -                -                    -                     -                     -                   -                    -
       67000 · Security                                                       -                     -                -                    -                     -                     -                   -                    -
       67050 · Storage                                                        -                     -                -                    -                     -                     -                   -                    -
       67100 · Telephone and Internet Expense                                 -                   54                 -                    -                     -                     -                   -                    -
       67110 · Title Searches                                                 -                     -                -                    -                     -                     -                   -                    -
       67200 · Travel                                                         -                     -                -                    -                     -                     -                   -                    -
       67210 · Travel / Relocation allowance                                  -                     -                -                    -                     -                     -                   -                    -
       67400 · Utilities                                                      -                     -                -                    -                     -                     -                   -                    -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                      -                     -                -                    -                     -                     -                   -                    -
         68200 · Legal Fees - Ord Course                                      -                     -                -                    -                     -                     -                   -                    -
         68300 · Accntng Fees - Ord Course                                    -                     -                -                    -                     -                     -                   -                    -
       Total 68000 · Professional Fee Ord Course                              -                     -                -                    -                     -                     -                   -                    -
       69800 · Uncategorized Expenses                                         -                     -                -                    -                     -                     -                   -                    -
       71000 · U.S. Trustee Fees                                           650                    650                -                 325               4,875                    650                 4,875                  650
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                           -                     -                -                    -                     -                     -                   -                    -
         72030 · Consulting - Bankruptcy                                      -                     -                -                    -                     -                     -                   -                    -
         72000 · Professional Fees - Bankruptcy - Other                       -                     -                -                    -                     -                     -                   -                    -
       Total 72000 · Professional Fees - Bankruptcy                           -                     -                -                    -                     -                     -                   -                    -
       72100 · DIP Loan Origination Fee                                       -                     -                -                    -                     -                     -                   -                    -
       81140 · Board Fees                                                     -                     -                -                    -                     -                     -                   -                    -
       83000 · Tax Expense
         83100 · Property Tax Expense                                         -                     -                -                    -                     -                     -                   -                    -
         83110 · Municipal Taxes and Fees                                     -                     -                -                    -                     -                     -                   -                    -
         83000 · Tax Expense - Other                                          -                     -                -                    -                     -                     -                   -                    -
       Total 83000 · Tax Expense                                              -                     -                -                    -                     -                     -                   -                    -
     Total Expense                                                         650                    704                -                 374               4,924                    650                 4,875                  650
 Net Ordinary Income                                                       (650)             39,180             35,412                 (374)            (4,924)                   (650)              (4,875)             98,845
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                    -                     -                -                    -                     -                     -                   -                    -
   Total Other Income                                                         -                     -                -                    -                     -                     -                   -                    -
   Other Expense
     85000 · Write off uncollectible rents                                    -                     -                -                    -                     -                     -                   -                    -
     90010 · Suspense                                                         -                     -                -                    -                     -                     -                   -                    -
   Total Other Expense                                                        -                     -                -                    -                     -                     -                   -                    -
 Net Other Income                                                             -                     -                -                    -                     -                     -                   -                    -
Net Income                                                                 (650)             39,180             35,412                 (374)            (4,924)                   (650)              (4,875)             98,845




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-064 Fieldpoint       P-065 Franconia       P-066 Gateshead       P-067 Glenn Rich       P-068 Goose Rocks    P-069 Goosebrook     P-070 Graeme Park
                                                    Debtor:      Invest LLC          Notch Inves LLC          Invest LLC            Invest LLC              Invest LLC           Invest LLC           Invest LLC
                                                  Case No.:      17-12794               17-12797              17-12597              17-12602                17-12611             17-12617             17-12622
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                      -                     -                     -                      -                   -                    -                    -
       40010 · Rent Revenue                                             47,842                         -            108,086                         -                   -                    -                    -
       40020 · Interest Revenue                                                  1                     -                  3                         -                   -                    -                    -
       40022 · Structured Settlement Income                                      -                     -                     -                      -                   -                    -                    -
       40090 · Other Revenue                                                     -                     -                     -                      -                   -                    -                    -
     Total Income                                                       47,843                         -            108,089                         -                   -                    -                    -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                          7,240                        -             41,294                         -                   -                    -                    -
         50020 · Cost of Sales Real Property                                     -                     -                     -                      -                   -                    -                    -
         50030 · Closing Costs / Prorations                                      -                     -                     -                      -                   -                    -                    -
         50000 · Cost of Goods Sold - Other                                      -                     -                     -                      -                   -                    -                    -
       Total 50000 · Cost of Goods Sold                                   7,240                        -             41,294                         -                   -                    -                    -
     Total COGS                                                           7,240                        -             41,294                         -                   -                    -                    -
   Gross Profit                                                         40,603                         -             66,795                         -                   -                    -                    -
     Expense
       60020 · Media Consulting                                                  -                     -                     -                      -                   -                    -                    -
       60400 · Bank Service Charge                                               -                     -                     -                      -                   -                    -                    -
       60500 · Dues and Subscriptions                                            -                     -                     -                      -                   -                    -                    -
       60600 · Equipment Lease                                                   -                     -                     -                      -                   -                    -                    -
       61700 · Information Technology
         61701 · IT - Software                                                   -                     -                     -                      -                   -                    -                    -
         61700 · Information Technology - Other                                  -                     -                     -                      -                   -                    -                    -
       Total 61700 · Information Technology                                      -                     -                     -                      -                   -                    -                    -
       61800 · License and Filing Fees                                      98                         -                     -                      -                   -                    -                    -
       61870 · Moving                                                            -                     -                     -                      -                   -                    -                    -
       62500 · Employee Benefits                                                 -                     -                     -                      -                   -                    -                    -
       63300 · Insurance                                                    570                        -                     -                      -                   -                    -                    -
       63400 · Interest                                                          -                     -                     -                      -                   -                    -                    -
       63401 · Int Expense - BK DIP financing                                    -                     -                     -                      -                   -                    -                    -
       64800 · Office Expense                                                    -                     -                     -                      -                   -                    -                    -
       64900 · Office Supplies                                                   -                     -                     -                      -                   -                    -                    -
       65000 · Outside Services                                                  -                     -                     -                      -                   -                    -                    -
       65100 · Parking                                                           -                     -                     -                      -                   -                    -                    -
       66000 · Payroll-Salaries and Wages                                        -                     -                     -                      -                   -                    -                    -
       66005 · Payroll-Service Fees                                              -                     -                     -                      -                   -                    -                    -
       66015 · Payroll-Employer Taxes                                            -                     -                     -                      -                   -                    -                    -
       66020 · Independent Contractors                                           -                     -                     -                      -                   -                    -                    -
       66030 · Postage and Delivery                                              -                     -                     -                      -                   -                    -                    -
       66800 · Rent Expense                                                      -                     -                     -                      -                   -                    -                    -
       66900 · Repairs and Maintenance                                      300                        -              3,628                         -                   -                    -                    -
       67000 · Security                                                          -                     -                     -                      -                   -                    -                    -
       67050 · Storage                                                           -                     -                     -                      -                   -                    -                    -
       67100 · Telephone and Internet Expense                                    -                     -                     -                      -                   -                    -                    -
       67110 · Title Searches                                                    -                     -                     -                      -                   -                    -                    -
       67200 · Travel                                                            -                     -                     -                      -                   -                    -                    -
       67210 · Travel / Relocation allowance                                     -                     -                     -                      -                   -                    -                    -
       67400 · Utilities                                                         -                     -                 269                        -                   -                    -                    -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                         -                     -                     -                      -                   -                    -                    -
         68200 · Legal Fees - Ord Course                                         -                     -                     -                      -                   -                    -                    -
         68300 · Accntng Fees - Ord Course                                       -                     -                     -                      -                   -                    -                    -
       Total 68000 · Professional Fee Ord Course                                 -                     -                     -                      -                   -                    -                    -
       69800 · Uncategorized Expenses                                            -                     -                 716                        -                   -                    -                    -
       71000 · U.S. Trustee Fees                                            325                    325                   650                   325                  4,875               4,875                 1,625
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                              -                     -                     -                      -                   -                    -                    -
         72030 · Consulting - Bankruptcy                                         -                     -                     -                      -                   -                    -                    -
         72000 · Professional Fees - Bankruptcy - Other                          -                     -                     -                      -                   -                    -                    -
       Total 72000 · Professional Fees - Bankruptcy                              -                     -                     -                      -                   -                    -                    -
       72100 · DIP Loan Origination Fee                                          -                     -                     -                      -                   -                    -                    -
       81140 · Board Fees                                                        -                     -                     -                      -                   -                    -                    -
       83000 · Tax Expense
         83100 · Property Tax Expense                                            -                     -                     -                      -                   -                    -                    -
         83110 · Municipal Taxes and Fees                                        -                     -                     -                      -                   -                    -                    -
         83000 · Tax Expense - Other                                             -                     -                     -                      -                   -                    -                    -
       Total 83000 · Tax Expense                                                 -                     -                     -                      -                   -                    -                    -
     Total Expense                                                        1,293                    325                5,263                    325                  4,875               4,875                 1,625
 Net Ordinary Income                                                    39,310                     (325)             61,532                    (325)               (4,875)              (4,875)              (1,625)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                       -                     -                     -                      -                   -                    -                    -
   Total Other Income                                                            -                     -                     -                      -                   -                    -                    -
   Other Expense
     85000 · Write off uncollectible rents                                       -                     -                     -                      -                   -                    -                    -
     90010 · Suspense                                                            -                     -                     -                      -                   -                    -                    -
   Total Other Expense                                                           -                     -                     -                      -                   -                    -                    -
 Net Other Income                                                                -                     -                     -                      -                   -                    -                    -
Net Income                                                              39,310                     (325)             61,532                    (325)               (4,875)              (4,875)              (1,625)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                               P-071 Grand       P-072 Gravenstein    P-073 Green Gables    P-074 Grenadier       Grumblethorpe        P-076 Hackmatack       P-078 Haralson
                                                    Debtor: Midway Invest LLC       Invest LLC            Invest LLC           Invest LLC           Invest LLC             Invest LLC           Invest LLC
                                                  Case No.:     17-12628             17-12632              17-12637            17-12643             17-12649               17-12653             17-12663
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                 -                    -                      -                     -                   -                      -                     -
       40010 · Rent Revenue                                                 -                    -                      -                     -                   -                      -                     -
       40020 · Interest Revenue                                             -                    -                      -                     -                   -                      -                     -
       40022 · Structured Settlement Income                                 -                    -                      -                     -                   -                      -                     -
       40090 · Other Revenue                                                -                    -                      -                     -                   -                      -                     -
     Total Income                                                           -                    -                      -                     -                   -                      -                     -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                            -                    -                      -                     -                   -                      -                     -
         50020 · Cost of Sales Real Property                                -                    -                      -                     -                   -                      -                     -
         50030 · Closing Costs / Prorations                                 -                    -                      -                     -                   -                      -                     -
         50000 · Cost of Goods Sold - Other                                 -                    -                      -                     -                   -                      -                     -
       Total 50000 · Cost of Goods Sold                                     -                    -                      -                     -                   -                      -                     -
     Total COGS                                                             -                    -                      -                     -                   -                      -                     -
   Gross Profit                                                             -                    -                      -                     -                   -                      -                     -
     Expense
       60020 · Media Consulting                                             -                    -                      -                     -                   -                      -                     -
       60400 · Bank Service Charge                                          -                    -                      -                     -                   -                      -                     -
       60500 · Dues and Subscriptions                                       -                    -                      -                     -                   -                      -                     -
       60600 · Equipment Lease                                              -                    -                      -                     -                   -                      -                     -
       61700 · Information Technology
         61701 · IT - Software                                              -                    -                      -                     -                   -                      -                     -
         61700 · Information Technology - Other                             -                    -                      -                     -                   -                      -                     -
       Total 61700 · Information Technology                                 -                    -                      -                     -                   -                      -                     -
       61800 · License and Filing Fees                                      -                    -                      -                     -                   -                      -                     -
       61870 · Moving                                                       -                    -                      -                     -                   -                      -                     -
       62500 · Employee Benefits                                            -                    -                      -                     -                   -                      -                     -
       63300 · Insurance                                                    -                    -                      -                     -                   -                      -                     -
       63400 · Interest                                               806,867                    -                      -                     -                   -                      -                     -
       63401 · Int Expense - BK DIP financing                               -                    -                      -                     -                   -                      -                     -
       64800 · Office Expense                                               -                    -                      -                     -                   -                      -                     -
       64900 · Office Supplies                                              -                    -                      -                     -                   -                      -                     -
       65000 · Outside Services                                             -                    -                      -                     -                   -                      -                     -
       65100 · Parking                                                      -                    -                      -                     -                   -                      -                     -
       66000 · Payroll-Salaries and Wages                                   -                    -                      -                     -                   -                      -                     -
       66005 · Payroll-Service Fees                                         -                    -                      -                     -                   -                      -                     -
       66015 · Payroll-Employer Taxes                                       -                    -                      -                     -                   -                      -                     -
       66020 · Independent Contractors                                      -                    -                      -                     -                   -                      -                     -
       66030 · Postage and Delivery                                         -                    -                      -                     -                   -                      -                     -
       66800 · Rent Expense                                                 -                    -                      -                     -                   -                      -                     -
       66900 · Repairs and Maintenance                                      -                    -                      -                     -                   -                      -                     -
       67000 · Security                                                     -                    -                      -                     -                   -                      -                     -
       67050 · Storage                                                      -                    -                      -                     -                   -                      -                     -
       67100 · Telephone and Internet Expense                               -                    -                      -                     -                   -                      -                     -
       67110 · Title Searches                                               -                    -                      -                     -                   -                      -                     -
       67200 · Travel                                                       -                    -                      -                     -                   -                      -                     -
       67210 · Travel / Relocation allowance                                -                    -                      -                     -                   -                      -                     -
       67400 · Utilities                                                    -                    -                    160                     -                   -                      -                     -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                    -                    -                      -                     -                   -                      -                     -
         68200 · Legal Fees - Ord Course                                    -                    -                      -                     -                   -                      -                     -
         68300 · Accntng Fees - Ord Course                                  -                    -                      -                     -                   -                      -                     -
       Total 68000 · Professional Fee Ord Course                            -                    -                      -                     -                   -                      -                     -
       69800 · Uncategorized Expenses                                       -                    -                      -                     -                   -                      -                     -
       71000 · U.S. Trustee Fees                                        4,875               12,083                1,950                   325                  325                    325                  325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                         -                    -                      -                     -                   -                      -                     -
         72030 · Consulting - Bankruptcy                                    -                    -                      -                     -                   -                      -                     -
         72000 · Professional Fees - Bankruptcy - Other                     -                    -                      -                     -                   -                      -                     -
       Total 72000 · Professional Fees - Bankruptcy                         -                    -                      -                     -                   -                      -                     -
       72100 · DIP Loan Origination Fee                                     -                    -                      -                     -                   -                      -                     -
       81140 · Board Fees                                                   -                    -                      -                     -                   -                      -                     -
       83000 · Tax Expense
         83100 · Property Tax Expense                                       -                    -                      -                     -                   -                      -                     -
         83110 · Municipal Taxes and Fees                                   -                    -                      -                     -                   -                      -                     -
         83000 · Tax Expense - Other                                        -                    -                      -                     -                   -                      -                     -
       Total 83000 · Tax Expense                                            -                    -                      -                     -                   -                      -                     -
     Total Expense                                                    811,742               12,083                2,110                   325                  325                    325                  325
 Net Ordinary Income                                                 (811,742)             (12,083)               (2,110)                 (325)                (325)                  (325)                (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                  -                    -                      -                     -                   -                      -                     -
   Total Other Income                                                       -                    -                      -                     -                   -                      -                     -
   Other Expense
     85000 · Write off uncollectible rents                                  -                    -                      -                     -                   -                      -                     -
     90010 · Suspense                                                       -                    -                      -                     -                   -                      -                     -
   Total Other Expense                                                      -                    -                      -                     -                   -                      -                     -
 Net Other Income                                                           -                    -                      -                     -                   -                      -                     -
Net Income                                                           (811,742)             (12,083)               (2,110)                 (325)                (325)                  (325)                (325)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-080 Harringworth     P-081 Hawthorne       P-082 Hazelpoint        P-084 Heilbron        P-085 Hollyline       P-086 Hornbeam       P-087 Idared Invest
                                                    Debtor:       Invest, LLC           Invest LLC            Invest LLC          Manor Invest LLC        Owners LLC              Invest LLC                LLC
                                                  Case No.:       17-12669              18-10291              17-12674               17-12681               17-12688              17-12694               17-12701
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                      -                      -                      -                     -                    -                      -
       40010 · Rent Revenue                                                     -              38,864                         -                      -                     -                    -                      -
       40020 · Interest Revenue                                                 -                      -                      -                      -                     -                    -                      -
       40022 · Structured Settlement Income                                     -                      -                      -                      -                     -                    -                      -
       40090 · Other Revenue                                                    -                      -                      -                      -                     -                    -                      -
     Total Income                                                               -              38,864                         -                      -                     -                    -                      -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -               3,346                         -                      -                     -                    -                      -
         50020 · Cost of Sales Real Property                                    -                      -                      -                      -                     -                    -                      -
         50030 · Closing Costs / Prorations                                     -                      -                      -                      -                     -                    -                      -
         50000 · Cost of Goods Sold - Other                                     -                      -                      -                      -                     -                    -                      -
       Total 50000 · Cost of Goods Sold                                         -               3,346                         -                      -                     -                    -                      -
     Total COGS                                                                 -               3,346                         -                      -                     -                    -                      -
   Gross Profit                                                                 -              35,519                         -                      -                     -                    -                      -
     Expense
       60020 · Media Consulting                                                 -                      -                      -                      -                     -                    -                      -
       60400 · Bank Service Charge                                              -                   8                         -                      -                     -                    -                      -
       60500 · Dues and Subscriptions                                           -                      -                      -                      -                     -                    -                      -
       60600 · Equipment Lease                                                  -                      -                      -                      -                     -                    -                      -
       61700 · Information Technology
         61701 · IT - Software                                                  -                      -                      -                      -                     -                    -                      -
         61700 · Information Technology - Other                                 -                      -                      -                      -                     -                    -                      -
       Total 61700 · Information Technology                                     -                      -                      -                      -                     -                    -                      -
       61800 · License and Filing Fees                                        98                   49                         -                      -                     -                    -                      -
       61870 · Moving                                                           -                      -                      -                      -                     -                    -                      -
       62500 · Employee Benefits                                                -                      -                      -                      -                     -                    -                      -
       63300 · Insurance                                                        -                      -                      -                      -                     -                    -                      -
       63400 · Interest                                                         -                      -                      -                      -                     -                    -                      -
       63401 · Int Expense - BK DIP financing                                   -                      -                      -                      -                     -                    -                      -
       64800 · Office Expense                                                   -                      -                      -                      -                     -                    -                      -
       64900 · Office Supplies                                                  -                      -                      -                      -                     -                    -                      -
       65000 · Outside Services                                                 -                      -                      -                      -                     -                    -                      -
       65100 · Parking                                                          -                      -                      -                      -                     -                    -                      -
       66000 · Payroll-Salaries and Wages                                       -                      -                      -                      -                     -                    -                      -
       66005 · Payroll-Service Fees                                             -                      -                      -                      -                     -                    -                      -
       66015 · Payroll-Employer Taxes                                           -                      -                      -                      -                     -                    -                      -
       66020 · Independent Contractors                                          -                      -                      -                      -                     -                    -                      -
       66030 · Postage and Delivery                                             -                      -                      -                      -                     -                    -                      -
       66800 · Rent Expense                                                     -                      -                      -                      -                     -                    -                      -
       66900 · Repairs and Maintenance                                          -                  381                        -                      -                     -                    -                      -
       67000 · Security                                                         -                      -                      -                      -                     -                    -                      -
       67050 · Storage                                                          -                      -                      -                      -                     -                    -                      -
       67100 · Telephone and Internet Expense                                   -                      -                      -                      -                     -                    -                      -
       67110 · Title Searches                                                   -                      -                      -                      -                     -                    -                      -
       67200 · Travel                                                           -                      -                      -                      -                     -                    -                      -
       67210 · Travel / Relocation allowance                                    -                      -                      -                      -                     -                    -                      -
       67400 · Utilities                                                        -                  565                        -                      -                     -                    -                      -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                      -                      -                      -                     -                    -                      -
         68200 · Legal Fees - Ord Course                                        -                      -                      -                      -                     -                    -                      -
         68300 · Accntng Fees - Ord Course                                      -                      -                      -                      -                     -                    -                      -
       Total 68000 · Professional Fee Ord Course                                -                      -                      -                      -                     -                    -                      -
       69800 · Uncategorized Expenses                                           -                      -                      -                      -                     -                    -                      -
       71000 · U.S. Trustee Fees                                             325                   325                   325                 1,625                     325               4,875                      325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                             -                      -                      -                      -                     -                    -                      -
         72030 · Consulting - Bankruptcy                                        -                      -                      -                      -                     -                    -                      -
         72000 · Professional Fees - Bankruptcy - Other                         -                      -                      -                      -                     -                    -                      -
       Total 72000 · Professional Fees - Bankruptcy                             -                      -                      -                      -                     -                    -                      -
       72100 · DIP Loan Origination Fee                                         -                      -                      -                      -                     -                    -                      -
       81140 · Board Fees                                                       -                      -                      -                      -                     -                    -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                           -                      -                      -                      -                     -                    -                      -
         83110 · Municipal Taxes and Fees                                       -                      -                      -                      -                     -                    -                      -
         83000 · Tax Expense - Other                                            -                      -                      -                      -                     -                    -                      -
       Total 83000 · Tax Expense                                                -                      -                      -                      -                     -                    -                      -
     Total Expense                                                           423                1,329                    325                 1,625                     325               4,875                      325
 Net Ordinary Income                                                         (423)             34,190                    (325)               (1,625)                   (325)             (4,875)                    (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                      -                      -                      -                      -                     -                    -                      -
   Total Other Income                                                           -                      -                      -                      -                     -                    -                      -
   Other Expense
     85000 · Write off uncollectible rents                                      -                      -                      -                      -                     -                    -                      -
     90010 · Suspense                                                           -                      -                      -                      -                     -                    -                      -
   Total Other Expense                                                          -                      -                      -                      -                     -                    -                      -
 Net Other Income                                                               -                      -                      -                      -                     -                    -                      -
Net Income                                                                   (423)             34,190                    (325)               (1,625)                   (325)             (4,875)                    (325)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-088 Imperial Aly     P-092 Lenni Heights P-093 Lilac Meadow    P-094 Lilac Valley     P-095 Lincolnshire     P-096 Lonetree       P-097 Longbourn
                                                    Debtor:      Invest LLC              Invest LLC          Invest LLC           Invest LLC              Invest LLC           Invest LLC            Invest LLC
                                                  Case No.:       17-12708                17-12720           17-12728              18-10292               17-12733             17-12740              17-12746
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                       -                 -                      -                      -                     -                     -
       40010 · Rent Revenue                                                     -                       -                 -                      -                      -                     -                     -
       40020 · Interest Revenue                                                 -                       -                 -                      -                      -                     -                     -
       40022 · Structured Settlement Income                                     -                       -                 -                      -                      -                     -                     -
       40090 · Other Revenue                                                    -                       -                 -                      -                      -                     -                     -
     Total Income                                                               -                       -                 -                      -                      -                     -                     -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -                       -                 -                      -                      -                     -                     -
         50020 · Cost of Sales Real Property                                    -                       -                 -                      -                      -                     -                     -
         50030 · Closing Costs / Prorations                                     -                       -                 -                      -                      -                     -                     -
         50000 · Cost of Goods Sold - Other                                     -                       -                 -                      -                      -                     -                     -
       Total 50000 · Cost of Goods Sold                                         -                       -                 -                      -                      -                     -                     -
     Total COGS                                                                 -                       -                 -                      -                      -                     -                     -
   Gross Profit                                                                 -                       -                 -                      -                      -                     -                     -
     Expense
       60020 · Media Consulting                                                 -                       -                 -                      -                      -                     -                     -
       60400 · Bank Service Charge                                              -                       -                 -                      -                      -                     -                     -
       60500 · Dues and Subscriptions                                           -                       -                 -                      -                      -                     -                     -
       60600 · Equipment Lease                                                  -                       -                 -                      -                      -                     -                     -
       61700 · Information Technology
         61701 · IT - Software                                                  -                       -                 -                      -                      -                     -                     -
         61700 · Information Technology - Other                                 -                       -                 -                      -                      -                     -                     -
       Total 61700 · Information Technology                                     -                       -                 -                      -                      -                     -                     -
       61800 · License and Filing Fees                                          -                       -                 -                      -                    49                      -                     -
       61870 · Moving                                                           -                       -                 -                      -                      -                     -                     -
       62500 · Employee Benefits                                                -                       -                 -                      -                      -                     -                     -
       63300 · Insurance                                                        -                       -                 -                      -                      -                     -                     -
       63400 · Interest                                                         -                       -                 -                      -                      -                     -                     -
       63401 · Int Expense - BK DIP financing                                   -                       -                 -                      -                      -                     -                     -
       64800 · Office Expense                                                   -                       -                 -                      -                      -                     -                     -
       64900 · Office Supplies                                                  -                       -                 -                      -                      -                     -                     -
       65000 · Outside Services                                                 -                       -                 -                      -                      -                     -                     -
       65100 · Parking                                                          -                       -                 -                      -                      -                     -                     -
       66000 · Payroll-Salaries and Wages                                       -                       -                 -                      -                      -                     -                     -
       66005 · Payroll-Service Fees                                             -                       -                 -                      -                      -                     -                     -
       66015 · Payroll-Employer Taxes                                           -                       -                 -                      -                      -                     -                     -
       66020 · Independent Contractors                                          -                       -                 -                      -                      -                     -                     -
       66030 · Postage and Delivery                                             -                       -                 -                      -                      -                     -                     -
       66800 · Rent Expense                                                     -                       -                 -                      -                      -                     -                     -
       66900 · Repairs and Maintenance                                          -                       -                 -                      -                      -                     -                     -
       67000 · Security                                                         -                       -                 -                      -                      -                     -                     -
       67050 · Storage                                                          -                       -                 -                      -                      -                     -                     -
       67100 · Telephone and Internet Expense                                   -                       -                 -                      -                      -                     -                     -
       67110 · Title Searches                                                   -                       -                 -                      -                      -                     -                     -
       67200 · Travel                                                           -                       -                 -                      -                      -                     -                     -
       67210 · Travel / Relocation allowance                                    -                       -                 -                      -                      -                     -                     -
       67400 · Utilities                                                        -                       -                 -                      -                      -                     -                     -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                       -                 -                      -                      -                     -                     -
         68200 · Legal Fees - Ord Course                                        -                       -                 -                      -                      -                     -                     -
         68300 · Accntng Fees - Ord Course                                      -                       -                 -                      -                      -                     -                     -
       Total 68000 · Professional Fee Ord Course                                -                       -                 -                      -                      -                     -                     -
       69800 · Uncategorized Expenses                                           -                       -                 -                      -                      -                     -                     -
       71000 · U.S. Trustee Fees                                             975                     325             1,950                    325                    650                  325                4,875
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                             -                       -                 -                      -                      -                     -                     -
         72030 · Consulting - Bankruptcy                                        -                       -                 -                      -                      -                     -                     -
         72000 · Professional Fees - Bankruptcy - Other                         -                       -                 -                      -                      -                     -                     -
       Total 72000 · Professional Fees - Bankruptcy                             -                       -                 -                      -                      -                     -                     -
       72100 · DIP Loan Origination Fee                                         -                       -                 -                      -                      -                     -                     -
       81140 · Board Fees                                                       -                       -                 -                      -                      -                     -                     -
       83000 · Tax Expense
         83100 · Property Tax Expense                                           -                       -                 -                      -                      -                     -                     -
         83110 · Municipal Taxes and Fees                                       -                       -                 -                      -                      -                     -                     -
         83000 · Tax Expense - Other                                            -                       -                 -                      -                      -                     -                     -
       Total 83000 · Tax Expense                                                -                       -                 -                      -                      -                     -                     -
     Total Expense                                                           975                     325             1,950                    325                    699                  325                4,875
 Net Ordinary Income                                                         (975)                   (325)           (1,950)                  (325)                  (699)                (325)             (4,875)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                      -                       -                 -                      -                      -                     -                     -
   Total Other Income                                                           -                       -                 -                      -                      -                     -                     -
   Other Expense
     85000 · Write off uncollectible rents                                      -                       -                 -                      -                      -                     -                     -
     90010 · Suspense                                                           -                       -                 -                      -                      -                     -                     -
   Total Other Expense                                                          -                       -                 -                      -                      -                     -                     -
 Net Other Income                                                               -                       -                 -                      -                      -                     -                     -
Net Income                                                                   (975)                   (325)           (1,950)                  (325)                  (699)                (325)             (4,875)




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(Jointly Administered)
Statement of Operations
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                                                              P-098 Mason Run       P-099 Massabesic       P-100 Melody Lane      P-101 Merrimack       P-102 Mineola        P-103 Monadnock       P-104 Moravian
                                                    Debtor:      Invest LLC            Invest LLC              Invest LLC           Valley Invest        Invest LLC             Invest LLC           Invest LLC
                                                  Case No.:      17-12751               18-10293               17-12757              17-12665             17-12673              17-12682             17-12690
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                    -                      -                      -                      -                   -                     -                     -
       40010 · Rent Revenue                                                    -                      -                      -                      -                   -                     -                     -
       40020 · Interest Revenue                                                -                      -                      -                      -                   -                     -                     -
       40022 · Structured Settlement Income                                    -                      -                      -                      -                   -                     -                     -
       40090 · Other Revenue                                                   -                      -                      -                      -                   -                     -                     -
     Total Income                                                              -                      -                      -                      -                   -                     -                     -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                               -                      -                      -                      -                   -                     -                     -
         50020 · Cost of Sales Real Property                                   -                      -                      -                      -                   -                     -                     -
         50030 · Closing Costs / Prorations                                    -                      -                      -                      -                   -                     -                     -
         50000 · Cost of Goods Sold - Other                                    -                      -                      -                      -                   -                     -                     -
       Total 50000 · Cost of Goods Sold                                        -                      -                      -                      -                   -                     -                     -
     Total COGS                                                                -                      -                      -                      -                   -                     -                     -
   Gross Profit                                                                -                      -                      -                      -                   -                     -                     -
     Expense
       60020 · Media Consulting                                                -                      -                      -                      -                   -                     -                     -
       60400 · Bank Service Charge                                             -                      -                      -                      -                   -                     -                     -
       60500 · Dues and Subscriptions                                          -                      -                      -                      -                   -                     -                     -
       60600 · Equipment Lease                                                 -                      -                      -                      -                   -                     -                     -
       61700 · Information Technology
         61701 · IT - Software                                                 -                      -                      -                      -                   -                     -                     -
         61700 · Information Technology - Other                                -                      -                      -                      -                   -                     -                     -
       Total 61700 · Information Technology                                    -                      -                      -                      -                   -                     -                     -
       61800 · License and Filing Fees                                         -                      -                      -                      -                   -                     -                     -
       61870 · Moving                                                          -                      -                      -                      -                   -                     -                     -
       62500 · Employee Benefits                                               -                      -                      -                      -                   -                     -                     -
       63300 · Insurance                                                       -                      -                      -                      -                   -                     -                     -
       63400 · Interest                                                        -                      -                      -                      -                   -                     -                     -
       63401 · Int Expense - BK DIP financing                                  -                      -                      -                      -                   -                     -                     -
       64800 · Office Expense                                                  -                      -                      -                      -                   -                     -                     -
       64900 · Office Supplies                                                 -                      -                      -                      -                   -                     -                     -
       65000 · Outside Services                                                -                      -                      -                      -                   -                     -                     -
       65100 · Parking                                                         -                      -                      -                      -                   -                     -                     -
       66000 · Payroll-Salaries and Wages                                      -                      -                      -                      -                   -                     -                     -
       66005 · Payroll-Service Fees                                            -                      -                      -                      -                   -                     -                     -
       66015 · Payroll-Employer Taxes                                          -                      -                      -                      -                   -                     -                     -
       66020 · Independent Contractors                                         -                      -                      -                      -                   -                     -                     -
       66030 · Postage and Delivery                                            -                      -                      -                      -                   -                     -                     -
       66800 · Rent Expense                                                    -                      -                      -                      -                   -                     -                     -
       66900 · Repairs and Maintenance                                         -                      -                      -                      -                   -                     -                     -
       67000 · Security                                                        -                      -                      -                      -                   -                     -                     -
       67050 · Storage                                                         -                      -                      -                      -                   -                     -                     -
       67100 · Telephone and Internet Expense                                  -                      -                      -                      -                   -                     -                     -
       67110 · Title Searches                                                  -                      -                      -                      -                   -                     -                     -
       67200 · Travel                                                          -                      -                      -                      -                   -                     -                     -
       67210 · Travel / Relocation allowance                                   -                      -                      -                      -                   -                     -                     -
       67400 · Utilities                                                       -                      -                      -                      -                   -                     -                 246
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                       -                      -                      -                      -                   -                     -                     -
         68200 · Legal Fees - Ord Course                                       -                      -                      -                      -                   -                     -                     -
         68300 · Accntng Fees - Ord Course                                     -                      -                      -                      -                   -                     -                     -
       Total 68000 · Professional Fee Ord Course                               -                      -                      -                      -                   -                     -                     -
       69800 · Uncategorized Expenses                                          -                      -                      -                      -                   -                     -                     -
       71000 · U.S. Trustee Fees                                            650                    325                    325                   325                  325                   325                  325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                            -                      -                      -                      -                   -                     -                     -
         72030 · Consulting - Bankruptcy                                       -                      -                      -                      -                   -                     -                     -
         72000 · Professional Fees - Bankruptcy - Other                        -                      -                      -                      -                   -                     -                     -
       Total 72000 · Professional Fees - Bankruptcy                            -                      -                      -                      -                   -                     -                     -
       72100 · DIP Loan Origination Fee                                        -                      -                      -                      -                   -                     -                     -
       81140 · Board Fees                                                      -                      -                      -                      -                   -                     -                     -
       83000 · Tax Expense
         83100 · Property Tax Expense                                          -                      -                      -                      -                   -                     -                     -
         83110 · Municipal Taxes and Fees                                      -                      -                      -                      -                   -                     -                     -
         83000 · Tax Expense - Other                                           -                      -                      -                      -                   -                     -                     -
       Total 83000 · Tax Expense                                               -                      -                      -                      -                   -                     -                     -
     Total Expense                                                          650                    325                    325                   325                  325                   325                  571
 Net Ordinary Income                                                        (650)                  (325)                  (325)                 (325)                (325)                 (325)                (571)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                     -                      -                      -                      -                   -                     -                     -
   Total Other Income                                                          -                      -                      -                      -                   -                     -                     -
   Other Expense
     85000 · Write off uncollectible rents                                     -                      -                      -                      -                   -                     -                     -
     90010 · Suspense                                                          -                      -                      -                      -                   -                     -                     -
   Total Other Expense                                                         -                      -                      -                      -                   -                     -                     -
 Net Other Income                                                              -                      -                      -                      -                   -                     -                     -
Net Income                                                                  (650)                  (325)                  (325)                 (325)                (325)                 (325)                (571)




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Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-105 Mountain       P-106 Mt. Holly       P-107 Mutsu Invest     P-108 Newville       P-109 Old Carbon      P-110 Old Maitland    P-111 Owl Ridge
                                                    Debtor:    Spring Invest         Invest LLC                 LLC               Invest LLC            Invest LLC             Invest LLC           Invest LLC
                                                  Case No.:     17-12698              17-12707               17-12719             17-12734              17-12743               17-12752             17-12763
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                    -                     -                     -                     -                    -                     -                      -
       40010 · Rent Revenue                                                    -                     -                     -                     -                    -                     -                      -
       40020 · Interest Revenue                                                -                     -                     -                     -                    -                     -                      -
       40022 · Structured Settlement Income                                    -                     -                     -                     -                    -                     -                      -
       40090 · Other Revenue                                                   -                     -                     -                     -                    -                     -                      -
     Total Income                                                              -                     -                     -                     -                    -                     -                      -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                               -                     -                     -                     -                    -                     -                      -
         50020 · Cost of Sales Real Property                                   -                     -                     -                     -                    -                     -                      -
         50030 · Closing Costs / Prorations                                    -                     -                     -                     -                    -                     -                      -
         50000 · Cost of Goods Sold - Other                                    -                     -                     -                     -                    -                     -                      -
       Total 50000 · Cost of Goods Sold                                        -                     -                     -                     -                    -                     -                      -
     Total COGS                                                                -                     -                     -                     -                    -                     -                      -
   Gross Profit                                                                -                     -                     -                     -                    -                     -                      -
     Expense
       60020 · Media Consulting                                                -                     -                     -                     -                    -                     -                      -
       60400 · Bank Service Charge                                             -                     -                     -                     -                    -                     -                      -
       60500 · Dues and Subscriptions                                          -                     -                     -                     -                    -                     -                      -
       60600 · Equipment Lease                                                 -                     -                     -                     -                    -                     -                      -
       61700 · Information Technology
         61701 · IT - Software                                                 -                     -                     -                     -                    -                     -                      -
         61700 · Information Technology - Other                                -                     -                     -                     -                    -                     -                      -
       Total 61700 · Information Technology                                    -                     -                     -                     -                    -                     -                      -
       61800 · License and Filing Fees                                         -                     -                     -                     -                    -                     -                      -
       61870 · Moving                                                          -                     -                     -                     -                    -                     -                      -
       62500 · Employee Benefits                                               -                     -                     -                     -                    -                     -                      -
       63300 · Insurance                                                       -                     -                     -                     -                    -               (36,980)                     -
       63400 · Interest                                                        -                     -                     -                     -                    -                     -                      -
       63401 · Int Expense - BK DIP financing                                  -                     -                     -                     -                    -                     -                      -
       64800 · Office Expense                                                  -                     -                     -                     -                    -                     -                      -
       64900 · Office Supplies                                                 -                     -                     -                     -                    -                     -                      -
       65000 · Outside Services                                                -                     -                     -                     -                    -                     -                      -
       65100 · Parking                                                         -                     -                     -                     -                    -                     -                      -
       66000 · Payroll-Salaries and Wages                                      -                     -                     -                     -                    -                     -                      -
       66005 · Payroll-Service Fees                                            -                     -                     -                     -                    -                     -                      -
       66015 · Payroll-Employer Taxes                                          -                     -                     -                     -                    -                     -                      -
       66020 · Independent Contractors                                         -                     -                     -                     -                    -                     -                      -
       66030 · Postage and Delivery                                            -                     -                     -                     -                    -                     -                      -
       66800 · Rent Expense                                                    -                     -                     -                     -                    -                     -                      -
       66900 · Repairs and Maintenance                                         -                     -                     -                     -                    -                     -                      -
       67000 · Security                                                        -                     -                     -                     -                    -                     -                      -
       67050 · Storage                                                         -                     -                     -                     -                    -                     -                      -
       67100 · Telephone and Internet Expense                                  -                     -                     -                     -                    -                     -                      -
       67110 · Title Searches                                                  -                     -                     -                     -                    -                     -                      -
       67200 · Travel                                                          -                     -                     -                     -                    -                     -                      -
       67210 · Travel / Relocation allowance                                   -                     -                     -                     -                    -                     -                      -
       67400 · Utilities                                                       -                     -                     -                     -                    -                     -                      -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                       -                     -                     -                     -                    -                     -                      -
         68200 · Legal Fees - Ord Course                                       -                     -                     -                     -                    -                     -                      -
         68300 · Accntng Fees - Ord Course                                     -                     -                     -                     -                    -                     -                      -
       Total 68000 · Professional Fee Ord Course                               -                     -                     -                     -                    -                     -                      -
       69800 · Uncategorized Expenses                                          -                     -                     -                     -                    -                     -                      -
       71000 · U.S. Trustee Fees                                           650                   325                    325                  325                   325                 1,950                   325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                            -                     -                     -                     -                    -                     -                      -
         72030 · Consulting - Bankruptcy                                       -                     -                     -                     -                    -                     -                      -
         72000 · Professional Fees - Bankruptcy - Other                        -                     -                     -                     -                    -                     -                      -
       Total 72000 · Professional Fees - Bankruptcy                            -                     -                     -                     -                    -                     -                      -
       72100 · DIP Loan Origination Fee                                        -                     -                     -                     -                    -                     -                      -
       81140 · Board Fees                                                      -                     -                     -                     -                    -                     -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                          -                     -                     -                     -                    -                     -                      -
         83110 · Municipal Taxes and Fees                                      -                     -                     -                     -                    -                     -                      -
         83000 · Tax Expense - Other                                           -                     -                     -                     -                    -                     -                      -
       Total 83000 · Tax Expense                                               -                     -                     -                     -                    -                     -                      -
     Total Expense                                                         650                   325                    325                  325                   325                (35,030)                 325
 Net Ordinary Income                                                       (650)                 (325)                  (325)                (325)                 (325)              35,030                   (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                     -                     -                     -                     -                    -                     -                      -
   Total Other Income                                                          -                     -                     -                     -                    -                     -                      -
   Other Expense
     85000 · Write off uncollectible rents                                     -                     -                     -                     -                    -                     -                      -
     90010 · Suspense                                                          -                     -                     -                     -                    -                     -                      -
   Total Other Expense                                                         -                     -                     -                     -                    -                     -                      -
 Net Other Income                                                              -                     -                     -                     -                    -                     -                      -
Net Income                                                                 (650)                 (325)                  (325)                (325)                 (325)              35,030                   (325)




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                                                              P-112 Papirovka       P-113 Pawtuckaway    P-114 Pemberley       Pemigewasset         P-116 Pennhurst       P-117 Pepperwood P-118 Pinney Invest
                                                    Debtor:      Invest LLC             Invest LLC          Invest LLC            Invest               Invest LLC             Invest LLC          LLC
                                                  Case No.:      17-12774               17-12783            17-12790             17-12800              18-10296               17-12804           17-12808
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                   -                      -                   -                      -                     -                  -
       40010 · Rent Revenue                                                     -                   -                      -                   -             469,632                        -                  -
       40020 · Interest Revenue                                                 -                   -                      -                   -                      -                     -                  -
       40022 · Structured Settlement Income                                     -                   -                      -                   -                      -                     -                  -
       40090 · Other Revenue                                                    -                   -                      -                   -                      -                     -                  -
     Total Income                                                               -                   -                      -                   -             469,632                        -                  -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -                   -                      -                   -              95,101                        -                  -
         50020 · Cost of Sales Real Property                                    -                   -                      -                   -                      -                     -                  -
         50030 · Closing Costs / Prorations                                     -                   -                      -                   -                      -                     -                  -
         50000 · Cost of Goods Sold - Other                                     -                   -                      -                   -                      -                     -                  -
       Total 50000 · Cost of Goods Sold                                         -                   -                      -                   -              95,101                        -                  -
     Total COGS                                                                 -                   -                      -                   -              95,101                        -                  -
   Gross Profit                                                                 -                   -                      -                   -             374,531                        -                  -
     Expense
       60020 · Media Consulting                                                 -                   -                      -                   -                      -                     -                  -
       60400 · Bank Service Charge                                              -                   -                      -                   -               5,255                        -                  -
       60500 · Dues and Subscriptions                                           -                   -                      -                   -                      -                     -                  -
       60600 · Equipment Lease                                                  -                   -                      -                   -                      -                     -                  -
       61700 · Information Technology
         61701 · IT - Software                                                  -                   -                      -                   -                      -                     -                  -
         61700 · Information Technology - Other                                 -                   -                      -                   -                      -                     -                  -
       Total 61700 · Information Technology                                     -                   -                      -                   -                      -                     -                  -
       61800 · License and Filing Fees                                          -                   -                   98                     -                      -                     -                  -
       61870 · Moving                                                           -                   -                      -                   -                      -                     -                  -
       62500 · Employee Benefits                                                -                   -                      -                   -                      -                     -                  -
       63300 · Insurance                                                        -                   -                      -                   -                      -                     -                  -
       63400 · Interest                                                         -                   -                      -                   -                      -                     -                  -
       63401 · Int Expense - BK DIP financing                                   -                   -                      -                   -                      -                     -                  -
       64800 · Office Expense                                                   -                   -                      -                   -                      -                     -                  -
       64900 · Office Supplies                                                  -                   -                      -                   -                      -                     -                  -
       65000 · Outside Services                                                 -                   -                      -                   -                      -                     -                  -
       65100 · Parking                                                          -                   -                      -                   -                      -                     -                  -
       66000 · Payroll-Salaries and Wages                                       -                   -                      -                   -                      -                     -                  -
       66005 · Payroll-Service Fees                                             -                   -                      -                   -                      -                     -                  -
       66015 · Payroll-Employer Taxes                                           -                   -                      -                   -                      -                     -                  -
       66020 · Independent Contractors                                          -                   -                      -                   -                      -                     -                  -
       66030 · Postage and Delivery                                             -                   -                      -                   -                      -                     -                  -
       66800 · Rent Expense                                                     -                   -                      -                   -                      -                     -                  -
       66900 · Repairs and Maintenance                                          -                   -                      -                   -              11,854                        -                  -
       67000 · Security                                                         -                   -                      -                   -                      -                     -                  -
       67050 · Storage                                                          -                   -                      -                   -                      -                     -                  -
       67100 · Telephone and Internet Expense                                   -                   -                      -                   -                      -                     -                  -
       67110 · Title Searches                                                   -                   -                      -                   -                      -                     -                  -
       67200 · Travel                                                           -                   -                      -                   -                      -                     -                  -
       67210 · Travel / Relocation allowance                                    -                   -                      -                   -                      -                     -                  -
       67400 · Utilities                                                        -                   -                      -                   -                  191                       -                  -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                   -                      -                   -                      -                     -                  -
         68200 · Legal Fees - Ord Course                                        -                   -                      -                   -                      -                     -                  -
         68300 · Accntng Fees - Ord Course                                      -                   -                      -                   -                      -                     -                  -
       Total 68000 · Professional Fee Ord Course                                -                   -                      -                   -                      -                     -                  -
       69800 · Uncategorized Expenses                                           -                   -                      -                   -                      -                     -                  -
       71000 · U.S. Trustee Fees                                            325                 4,875                  325                  325                   325                    325                650
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                             -                   -                      -                   -                      -                     -                  -
         72030 · Consulting - Bankruptcy                                        -                   -                      -                   -                      -                     -                  -
         72000 · Professional Fees - Bankruptcy - Other                         -                   -                      -                   -                      -                     -                  -
       Total 72000 · Professional Fees - Bankruptcy                             -                   -                      -                   -                      -                     -                  -
       72100 · DIP Loan Origination Fee                                         -                   -                      -                   -                      -                     -                  -
       81140 · Board Fees                                                       -                   -                      -                   -                      -                     -                  -
       83000 · Tax Expense
         83100 · Property Tax Expense                                           -                   -                      -                   -                      -                     -                  -
         83110 · Municipal Taxes and Fees                                       -                   -                      -                   -                      -                     -                  -
         83000 · Tax Expense - Other                                            -                   -                      -                   -                      -                     -                  -
       Total 83000 · Tax Expense                                                -                   -                      -                   -                      -                     -                  -
     Total Expense                                                          325                 4,875                  423                  325               17,625                     325                650
 Net Ordinary Income                                                        (325)              (4,875)                 (423)                (325)            356,906                     (325)              (650)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                      -                   -                      -                   -                      -                     -                  -
   Total Other Income                                                           -                   -                      -                   -                      -                     -                  -
   Other Expense
     85000 · Write off uncollectible rents                                      -                   -                      -                   -                      -                     -                  -
     90010 · Suspense                                                           -                   -                      -                   -                      -                     -                  -
   Total Other Expense                                                          -                   -                      -                   -                      -                     -                  -
 Net Other Income                                                               -                   -                      -                   -                      -                     -                  -
Net Income                                                                  (325)              (4,875)                 (423)                (325)            356,906                     (325)              (650)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              P-119 Pinova Invest     P-120 Quarterpost    P-121 Red Woods     P-122 Ridgecrest       P-123 Riley Creek    P-124 Rising Sun       P-125 Sachs Bridge
                                                    Debtor:          LLC                 Invest LLC           Invest LLC          Invest LLC             Invest LLC           Invest LLC              Invest LLC
                                                  Case No.:        17-12812               17-12816            17-12824            17-12821                17-12826            17-12828                18-10297
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                      -                     -                  -                       -                   -                       -                     -
       40010 · Rent Revenue                                                      -                     -                  -                       -                   -                       -                     -
       40020 · Interest Revenue                                                  -                     -                  -                       -                   -                       -                     -
       40022 · Structured Settlement Income                                      -                     -                  -                       -                   -                       -                     -
       40090 · Other Revenue                                                     -                     -                  -                       -                   -                       -                     -
     Total Income                                                                -                     -                  -                       -                   -                       -                     -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                 -                     -                  -                       -                   -                       -                     -
         50020 · Cost of Sales Real Property                                     -                     -                  -                       -                   -                       -                     -
         50030 · Closing Costs / Prorations                                      -                     -                  -                       -                   -                       -                     -
         50000 · Cost of Goods Sold - Other                                      -                     -                  -                       -                   -                       -                     -
       Total 50000 · Cost of Goods Sold                                          -                     -                  -                       -                   -                       -                     -
     Total COGS                                                                  -                     -                  -                       -                   -                       -                     -
   Gross Profit                                                                  -                     -                  -                       -                   -                       -                     -
     Expense
       60020 · Media Consulting                                                  -                     -                  -                       -                   -                       -                     -
       60400 · Bank Service Charge                                               -                     -                  -                       -                   -                       -                     -
       60500 · Dues and Subscriptions                                            -                     -                  -                       -                   -                       -                     -
       60600 · Equipment Lease                                                   -                     -                  -                       -                   -                       -                     -
       61700 · Information Technology
         61701 · IT - Software                                                   -                     -                  -                       -                   -                       -                     -
         61700 · Information Technology - Other                                  -                     -                  -                       -                   -                       -                     -
       Total 61700 · Information Technology                                      -                     -                  -                       -                   -                       -                     -
       61800 · License and Filing Fees                                           -                     -                  -                       -                   -                       -                     -
       61870 · Moving                                                            -                     -                  -                       -                   -                       -                     -
       62500 · Employee Benefits                                                 -                     -                  -                       -                   -                       -                     -
       63300 · Insurance                                                         -                     -                  -                       -                   -                       -                     -
       63400 · Interest                                                          -                     -                  -                       -                   -                       -                     -
       63401 · Int Expense - BK DIP financing                                    -                     -                  -                       -                   -                       -                     -
       64800 · Office Expense                                                    -                     -                  -                       -                   -                       -                     -
       64900 · Office Supplies                                                   -                     -                  -                       -                   -                       -                     -
       65000 · Outside Services                                                  -                1,920                   -                       -                   -                       -                     -
       65100 · Parking                                                           -                     -                  -                       -                   -                       -                     -
       66000 · Payroll-Salaries and Wages                                        -                     -                  -                       -                   -                       -                     -
       66005 · Payroll-Service Fees                                              -                     -                  -                       -                   -                       -                     -
       66015 · Payroll-Employer Taxes                                            -                     -                  -                       -                   -                       -                     -
       66020 · Independent Contractors                                           -                     -                  -                       -                   -                       -                     -
       66030 · Postage and Delivery                                              -                     -                  -                       -                   -                       -                     -
       66800 · Rent Expense                                                      -                     -                  -                       -                   -                       -                     -
       66900 · Repairs and Maintenance                                           -                     -                  -                       -                   -                       -                     -
       67000 · Security                                                          -                     -                  -                       -                   -                       -                     -
       67050 · Storage                                                           -                     -                  -                       -                   -                       -                     -
       67100 · Telephone and Internet Expense                                    -                     -                  -                       -                   -                       -                     -
       67110 · Title Searches                                                    -                     -                  -                       -                   -                       -                     -
       67200 · Travel                                                            -                     -                  -                       -                   -                       -                     -
       67210 · Travel / Relocation allowance                                     -                     -                  -                       -                   -                       -                     -
       67400 · Utilities                                                         -                     -                  -                       -                   -                       -                     -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                         -                     -                  -                       -                   -                       -                     -
         68200 · Legal Fees - Ord Course                                         -                     -                  -                       -                   -                       -                     -
         68300 · Accntng Fees - Ord Course                                       -                     -                  -                       -                   -                       -                     -
       Total 68000 · Professional Fee Ord Course                                 -                     -                  -                       -                   -                       -                     -
       69800 · Uncategorized Expenses                                            -                     -                  -                       -                   -                       -                     -
       71000 · U.S. Trustee Fees                                              325                    325             1,950                   325                  4,875                  975                     650
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                              -                     -                  -                       -                   -                       -                     -
         72030 · Consulting - Bankruptcy                                         -                     -                  -                       -                   -                       -                     -
         72000 · Professional Fees - Bankruptcy - Other                          -                     -                  -                       -                   -                       -                     -
       Total 72000 · Professional Fees - Bankruptcy                              -                     -                  -                       -                   -                       -                     -
       72100 · DIP Loan Origination Fee                                          -                     -                  -                       -                   -                       -                     -
       81140 · Board Fees                                                        -                     -                  -                       -                   -                       -                     -
       83000 · Tax Expense
         83100 · Property Tax Expense                                            -                     -                  -                       -                   -                       -                     -
         83110 · Municipal Taxes and Fees                                        -                     -                  -                       -                   -                       -                     -
         83000 · Tax Expense - Other                                             -                     -                  -                       -                   -                       -                     -
       Total 83000 · Tax Expense                                                 -                     -                  -                       -                   -                       -                     -
     Total Expense                                                            325                 2,245              1,950                   325                  4,875                  975                     650
 Net Ordinary Income                                                          (325)              (2,245)             (1,950)                 (325)               (4,875)                 (975)                   (650)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                       -                     -                  -                       -                   -                       -                     -
   Total Other Income                                                            -                     -                  -                       -                   -                       -                     -
   Other Expense
     85000 · Write off uncollectible rents                                       -                     -                  -                       -                   -                       -                     -
     90010 · Suspense                                                            -                     -                  -                       -                   -                       -                     -
   Total Other Expense                                                           -                     -                  -                       -                   -                       -                     -
 Net Other Income                                                                -                     -                  -                       -                   -                       -                     -
Net Income                                                                    (325)              (2,245)             (1,950)                 (325)               (4,875)                 (975)                   (650)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
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                                                              P-126 Sagebrook       P-127 Seven Stars      P-128 Silk City       P-129 Silver Maple    P-138 Silverthorne     P-139 Springline       P-140 Springvale
                                                    Debtor:      Invest LLC            Invest LLC            Invest LLC              Invest LLC            Invest LLC            Invest LLC             Invest LLC
                                                  Case No.:      17-12830               17-12832             17-12834                17-12836              17-12582              17-12585               17-12585
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                     -                      -                    -                      -                       -                      -
       40010 · Rent Revenue                                                     -                     -                      -                    -                      -                       -                      -
       40020 · Interest Revenue                                                 -                     -                      -                    -                      -                       -                      -
       40022 · Structured Settlement Income                                     -                     -                      -                    -                      -                       -                      -
       40090 · Other Revenue                                                    -                     -                      -                    -                      -                       -                      -
     Total Income                                                               -                     -                      -                    -                      -                       -                      -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -                     -                      -                    -                      -                       -                      -
         50020 · Cost of Sales Real Property                                    -                     -                      -                    -                      -                       -                      -
         50030 · Closing Costs / Prorations                                     -                     -                      -                    -                      -                       -                      -
         50000 · Cost of Goods Sold - Other                                     -                     -                      -                    -                      -                       -                      -
       Total 50000 · Cost of Goods Sold                                         -                     -                      -                    -                      -                       -                      -
     Total COGS                                                                 -                     -                      -                    -                      -                       -                      -
   Gross Profit                                                                 -                     -                      -                    -                      -                       -                      -
     Expense
       60020 · Media Consulting                                                 -                     -                      -                    -                      -                       -                      -
       60400 · Bank Service Charge                                              -                     -                      -                    -                      -                       -                      -
       60500 · Dues and Subscriptions                                           -                     -                      -                    -                      -                       -                      -
       60600 · Equipment Lease                                                  -                     -                      -                    -                      -                       -                      -
       61700 · Information Technology
         61701 · IT - Software                                                  -                     -                      -                    -                      -                       -                      -
         61700 · Information Technology - Other                                 -                     -                      -                    -                      -                       -                      -
       Total 61700 · Information Technology                                     -                     -                      -                    -                      -                       -                      -
       61800 · License and Filing Fees                                          -                     -                      -                    -                      -                       -                      -
       61870 · Moving                                                           -                     -                      -                    -                      -                       -                      -
       62500 · Employee Benefits                                                -                     -                      -                    -                      -                       -                      -
       63300 · Insurance                                                        -                     -                      -                    -                      -                       -                      -
       63400 · Interest                                                         -                     -                      -                    -                      -                       -                      -
       63401 · Int Expense - BK DIP financing                                   -                     -                      -                    -                      -                       -                      -
       64800 · Office Expense                                                   -                     -                      -                    -                      -                       -                      -
       64900 · Office Supplies                                                  -                     -                      -                    -                      -                       -                      -
       65000 · Outside Services                                                 -                     -                      -                    -                      -                       -                      -
       65100 · Parking                                                          -                     -                      -                    -                      -                       -                      -
       66000 · Payroll-Salaries and Wages                                       -                     -                      -                    -                      -                       -                      -
       66005 · Payroll-Service Fees                                             -                     -                      -                    -                      -                       -                      -
       66015 · Payroll-Employer Taxes                                           -                     -                      -                    -                      -                       -                      -
       66020 · Independent Contractors                                          -                     -                      -                    -                      -                       -                      -
       66030 · Postage and Delivery                                             -                     -                      -                    -                      -                       -                      -
       66800 · Rent Expense                                                     -                     -                      -                    -                      -                       -                      -
       66900 · Repairs and Maintenance                                          -                     -                      -                    -                      -                       -                      -
       67000 · Security                                                         -                     -                      -                    -                      -                       -                      -
       67050 · Storage                                                          -                     -                      -                    -                      -                       -                      -
       67100 · Telephone and Internet Expense                                   -                     -                      -                    -                      -                       -                      -
       67110 · Title Searches                                                   -                     -                      -                    -                      -                       -                      -
       67200 · Travel                                                           -                     -                      -                    -                      -                       -                      -
       67210 · Travel / Relocation allowance                                    -                     -                      -                    -                      -                       -                      -
       67400 · Utilities                                                        -                     -                      -                    -                      -                  101                         -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                     -                      -                    -                      -                       -                      -
         68200 · Legal Fees - Ord Course                                        -                     -                      -                    -                      -                       -                      -
         68300 · Accntng Fees - Ord Course                                      -                     -                      -                    -                      -                       -                      -
       Total 68000 · Professional Fee Ord Course                                -                     -                      -                    -                      -                       -                      -
       69800 · Uncategorized Expenses                                           -                     -                      -                    -                      -                       -                      -
       71000 · U.S. Trustee Fees                                            650                    325                4,875                   1,950                   325                   325                    650
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                     10,898                        -                      -                    -                      -                       -                      -
         72030 · Consulting - Bankruptcy                                        -                     -                      -                    -                      -                       -                      -
         72000 · Professional Fees - Bankruptcy - Other                         -                     -                      -                    -                      -                       -                      -
       Total 72000 · Professional Fees - Bankruptcy                     10,898                        -                      -                    -                      -                       -                      -
       72100 · DIP Loan Origination Fee                                         -                     -                      -                    -                      -                       -                      -
       81140 · Board Fees                                                       -                     -                      -                    -                      -                       -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                           -                     -                      -                    -                      -                       -                      -
         83110 · Municipal Taxes and Fees                                       -                     -                      -                    -                      -                       -                      -
         83000 · Tax Expense - Other                                            -                     -                      -                    -                      -                       -                      -
       Total 83000 · Tax Expense                                                -                     -                      -                    -                      -                       -                      -
     Total Expense                                                      11,548                     325                4,875                   1,950                   325                   426                    650
 Net Ordinary Income                                                   (11,548)                    (325)              (4,875)                (1,950)                  (325)                 (426)                  (650)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                      -                     -                      -                    -                      -                       -                      -
   Total Other Income                                                           -                     -                      -                    -                      -                       -                      -
   Other Expense
     85000 · Write off uncollectible rents                                      -                     -                      -                    -                      -                       -                      -
     90010 · Suspense                                                           -                     -                      -                    -                      -                       -                      -
   Total Other Expense                                                          -                     -                      -                    -                      -                       -                      -
 Net Other Income                                                               -                     -                      -                    -                      -                       -                      -
Net Income                                                             (11,548)                    (325)              (4,875)                (1,950)                  (325)                 (426)                  (650)




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(Jointly Administered)
Statement of Operations
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                                                              P-141 Squaretop       P-142 Stayman        P-143 Steele Hill       P-144 Stepstone       P-145 Strawberry        P-146 Sturmer       P-147 Summerfree
                                                    Debtor:      Invest LLC           Invest LLC            Invest LLC              Invest LLC           Fields Invest        Pippin Invest LLC        Invest LLC
                                                  Case No.:      17-12589             17-12594              17-12598                17-12606              17-12613                17-12629             17-12635
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                   -                        -                     -                      -                    -                    -
       40010 · Rent Revenue                                                     -                   -                        -                     -                      -                    -                    -
       40020 · Interest Revenue                                                 -                   -                        -                     -                      -                    -                    -
       40022 · Structured Settlement Income                                     -                   -                        -                     -                      -                    -                    -
       40090 · Other Revenue                                                    -                   -                        -                     -                      -                    -                    -
     Total Income                                                               -                   -                        -                     -                      -                    -                    -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -                   -                        -                     -                      -                    -                    -
         50020 · Cost of Sales Real Property                                    -                   -                        -                     -                      -                    -                    -
         50030 · Closing Costs / Prorations                                     -                   -                        -                     -                      -                    -                    -
         50000 · Cost of Goods Sold - Other                                     -                   -                        -                     -                      -                    -                    -
       Total 50000 · Cost of Goods Sold                                         -                   -                        -                     -                      -                    -                    -
     Total COGS                                                                 -                   -                        -                     -                      -                    -                    -
   Gross Profit                                                                 -                   -                        -                     -                      -                    -                    -
     Expense
       60020 · Media Consulting                                                 -                   -                        -                     -                      -                    -                    -
       60400 · Bank Service Charge                                              -                   -                        -                     -                      -                    -                    -
       60500 · Dues and Subscriptions                                           -                   -                        -                     -                      -                    -                    -
       60600 · Equipment Lease                                                  -                   -                        -                     -                      -                    -                    -
       61700 · Information Technology
         61701 · IT - Software                                                  -                   -                        -                     -                      -                    -                    -
         61700 · Information Technology - Other                                 -                   -                        -                     -                      -                    -                    -
       Total 61700 · Information Technology                                     -                   -                        -                     -                      -                    -                    -
       61800 · License and Filing Fees                                          -                   -                        -                     -                      -               9,064                     -
       61870 · Moving                                                           -                   -                        -                     -                      -                    -                    -
       62500 · Employee Benefits                                                -                   -                        -                     -                      -                    -                    -
       63300 · Insurance                                                        -                   -                        -                     -                      -                    -                    -
       63400 · Interest                                                         -                   -                        -                     -                      -                    -                    -
       63401 · Int Expense - BK DIP financing                                   -                   -                        -                     -                      -                    -                    -
       64800 · Office Expense                                                   -                   -                        -                     -                      -                    -                    -
       64900 · Office Supplies                                                  -                   -                        -                     -                      -                    -                    -
       65000 · Outside Services                                                 -                   -                        -                     -                      -                    -                    -
       65100 · Parking                                                          -                   -                        -                     -                      -                    -                    -
       66000 · Payroll-Salaries and Wages                                       -                   -                        -                     -                      -                    -                    -
       66005 · Payroll-Service Fees                                             -                   -                        -                     -                      -                    -                    -
       66015 · Payroll-Employer Taxes                                           -                   -                        -                     -                      -                    -                    -
       66020 · Independent Contractors                                          -                   -                        -                     -                      -                    -                    -
       66030 · Postage and Delivery                                             -                   -                        -                     -                      -                    -                    -
       66800 · Rent Expense                                                     -                   -                        -                     -                      -                    -                    -
       66900 · Repairs and Maintenance                                          -                   -                        -                     -                      -                    -                    -
       67000 · Security                                                         -                   -                        -                     -                      -                    -                    -
       67050 · Storage                                                          -                   -                        -                     -                      -                    -                    -
       67100 · Telephone and Internet Expense                                   -                   -                        -                     -                      -                    -                    -
       67110 · Title Searches                                                   -                   -                        -                     -                      -                    -                    -
       67200 · Travel                                                           -                   -                        -                     -                      -                    -                    -
       67210 · Travel / Relocation allowance                                    -                   -                        -                     -                      -                    -                    -
       67400 · Utilities                                                        -                   -                        -                     -                      -                    -                  421
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                   -                        -                     -                      -                    -                    -
         68200 · Legal Fees - Ord Course                                        -                   -                        -                     -                      -                    -                    -
         68300 · Accntng Fees - Ord Course                                      -                   -                        -                     -                      -                    -                    -
       Total 68000 · Professional Fee Ord Course                                -                   -                        -                     -                      -                    -                    -
       69800 · Uncategorized Expenses                                           -                   -                        -                     -                      -                    -                    -
       71000 · U.S. Trustee Fees                                        11,709                   325                   325                     325                   325                     975             12,366
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                             -                   -                        -                     -                      -                    -                    -
         72030 · Consulting - Bankruptcy                                        -                   -                        -                     -                      -                    -                    -
         72000 · Professional Fees - Bankruptcy - Other                         -                   -                        -                     -                      -                    -                    -
       Total 72000 · Professional Fees - Bankruptcy                             -                   -                        -                     -                      -                    -                    -
       72100 · DIP Loan Origination Fee                                         -                   -                        -                     -                      -                    -                    -
       81140 · Board Fees                                                       -                   -                        -                     -                      -                    -                    -
       83000 · Tax Expense
         83100 · Property Tax Expense                                           -                   -                        -                     -                      -                    -                    -
         83110 · Municipal Taxes and Fees                                       -                   -                        -                     -                      -                    -                    -
         83000 · Tax Expense - Other                                            -                   -                        -                     -                      -                    -                    -
       Total 83000 · Tax Expense                                                -                   -                        -                     -                      -                    -                    -
     Total Expense                                                      11,709                   325                   325                     325                   325                 10,039              12,787
 Net Ordinary Income                                                   (11,709)                  (325)                 (325)                   (325)                 (325)              (10,039)             (12,787)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                      -                   -                        -                     -                      -                    -                    -
   Total Other Income                                                           -                   -                        -                     -                      -                    -                    -
   Other Expense
     85000 · Write off uncollectible rents                                      -                   -                        -                     -                      -                    -                    -
     90010 · Suspense                                                           -                   -                        -                     -                      -                    -                    -
   Total Other Expense                                                          -                   -                        -                     -                      -                    -                    -
 Net Other Income                                                               -                   -                        -                     -                      -                    -                    -
Net Income                                                             (11,709)                  (325)                 (325)                   (325)                 (325)              (10,039)             (12,787)




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                                                              P-150 Thornbury        P-152 Thunder         P-155 Vallecito       P-156 Varga Invest    P-157 Wetterhorn      P-158 White Birch    P-159 White Dome
                                                    Debtor:   Farm Invest LLC       Basin Invest LLC         Invest LLC                 LLC               Invest LLC            Invest LLC            Invest LLC
                                                  Case No.:      17-12651              17-12657               17-12675               17-12685             17-12693               17-12702             17-12709
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                     -                      -                     -                    -                     -                    -                      -
       40010 · Rent Revenue                                                     -                      -                     -                    -                     -                    -                      -
       40020 · Interest Revenue                                                 -                      -                     -                    -                     -                    -                      -
       40022 · Structured Settlement Income                                     -                      -                     -                    -                     -                    -                      -
       40090 · Other Revenue                                                    -                      -                     -                    -                     -                    -                      -
     Total Income                                                               -                      -                     -                    -                     -                    -                      -
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                -                      -                     -                    -                     -                    -                      -
         50020 · Cost of Sales Real Property                                    -                      -                     -                    -                     -                    -                      -
         50030 · Closing Costs / Prorations                                     -                      -                     -                    -                     -                    -                      -
         50000 · Cost of Goods Sold - Other                                     -                      -                     -                    -                     -                    -                      -
       Total 50000 · Cost of Goods Sold                                         -                      -                     -                    -                     -                    -                      -
     Total COGS                                                                 -                      -                     -                    -                     -                    -                      -
   Gross Profit                                                                 -                      -                     -                    -                     -                    -                      -
     Expense
       60020 · Media Consulting                                                 -                      -                     -                    -                     -                    -                      -
       60400 · Bank Service Charge                                              -                      -                     -                    -                     -                    -                      -
       60500 · Dues and Subscriptions                                           -                      -                     -                    -                     -                    -                      -
       60600 · Equipment Lease                                                  -                      -                     -                    -                     -                    -                      -
       61700 · Information Technology
         61701 · IT - Software                                                  -                      -                     -                    -                     -                    -                      -
         61700 · Information Technology - Other                                 -                      -                     -                    -                     -                    -                      -
       Total 61700 · Information Technology                                     -                      -                     -                    -                     -                    -                      -
       61800 · License and Filing Fees                                          -                      -                     -                    -                     -                    -                      -
       61870 · Moving                                                           -                      -                     -                    -                     -                    -                      -
       62500 · Employee Benefits                                                -                      -                     -                    -                     -                    -                      -
       63300 · Insurance                                                        -                      -                     -                    -                     -                    -                      -
       63400 · Interest                                                         -                      -                     -                    -                     -                    -                      -
       63401 · Int Expense - BK DIP financing                                   -                      -                     -                    -                     -                    -                      -
       64800 · Office Expense                                                   -                      -                     -                    -                     -                    -                      -
       64900 · Office Supplies                                                  -                      -                     -                    -                     -                    -                      -
       65000 · Outside Services                                                 -                      -                     -                    -                     -                    -                      -
       65100 · Parking                                                          -                      -                     -                    -                     -                    -                      -
       66000 · Payroll-Salaries and Wages                                       -                      -                     -                    -                     -                    -                      -
       66005 · Payroll-Service Fees                                             -                      -                     -                    -                     -                    -                      -
       66015 · Payroll-Employer Taxes                                           -                      -                     -                    -                     -                    -                      -
       66020 · Independent Contractors                                          -                      -                     -                    -                     -                    -                      -
       66030 · Postage and Delivery                                             -                      -                     -                    -                     -                    -                      -
       66800 · Rent Expense                                                     -                      -                     -                    -                     -                    -                      -
       66900 · Repairs and Maintenance                                          -                      -                     -                    -                     -                    -                      -
       67000 · Security                                                         -                      -                     -                    -                     -                    -                      -
       67050 · Storage                                                          -                      -                     -                    -                     -                    -                      -
       67100 · Telephone and Internet Expense                                   -                      -                     -                    -                     -                    -                      -
       67110 · Title Searches                                                   -                      -                     -                    -                     -                    -                      -
       67200 · Travel                                                           -                      -                     -                    -                     -                    -                      -
       67210 · Travel / Relocation allowance                                    -                      -                     -                    -                     -                    -                      -
       67400 · Utilities                                                        -                      -                     -                    -                     -                    -                      -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                        -                      -                     -                    -                     -                    -                      -
         68200 · Legal Fees - Ord Course                                        -                      -                     -                    -                     -                    -                      -
         68300 · Accntng Fees - Ord Course                                      -                      -                     -                    -                     -                    -                      -
       Total 68000 · Professional Fee Ord Course                                -                      -                     -                    -                     -                    -                      -
       69800 · Uncategorized Expenses                                           -                      -                     -                    -                     -                    -                      -
       71000 · U.S. Trustee Fees                                         1,625                    325                    325                 4,875                   325                 4,875                   325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                             -                      -                     -                    -                     -                    -                      -
         72030 · Consulting - Bankruptcy                                        -                      -                     -                    -                     -                    -                      -
         72000 · Professional Fees - Bankruptcy - Other                         -                      -                     -                    -                     -                    -                      -
       Total 72000 · Professional Fees - Bankruptcy                             -                      -                     -                    -                     -                    -                      -
       72100 · DIP Loan Origination Fee                                         -                      -                     -                    -                     -                    -                      -
       81140 · Board Fees                                                       -                      -                     -                    -                     -                    -                      -
       83000 · Tax Expense
         83100 · Property Tax Expense                                           -                      -                     -                    -                     -                    -                      -
         83110 · Municipal Taxes and Fees                                       -                      -                     -                    -                     -                    -                      -
         83000 · Tax Expense - Other                                            -                      -                     -                    -                     -                    -                      -
       Total 83000 · Tax Expense                                                -                      -                     -                    -                     -                    -                      -
     Total Expense                                                       1,625                    325                    325                 4,875                   325                 4,875                   325
 Net Ordinary Income                                                    (1,625)                   (325)                  (325)               (4,875)                 (325)              (4,875)                  (325)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                      -                      -                     -                    -                     -                    -                      -
   Total Other Income                                                           -                      -                     -                    -                     -                    -                      -
   Other Expense
     85000 · Write off uncollectible rents                                      -                      -                     -                    -                     -                    -                      -
     90010 · Suspense                                                           -                      -                     -                    -                     -                    -                      -
   Total Other Expense                                                          -                      -                     -                    -                     -                    -                      -
 Net Other Income                                                               -                      -                     -                    -                     -                    -                      -
Net Income                                                              (1,625)                   (325)                  (325)               (4,875)                 (325)              (4,875)                  (325)




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                                                              P-164 Wildernest       P-165 Willow Grove P-166 Winding Road P-167 Zestar Invest    P-187 695 Buggy       P-188 Deerfield       P-207 Frog Rock
                                                    Debtor:      Invest LLC              Invest LLC           Invest              LLC                Circle, LLC        Park Invest LLC         Investments
                                                  Case No.:      17-12723                17-12732            17-12739            17-12792            18-10670              18-10673              18-10733
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                      -                    -                   -                  -           1,800,000             8,735,000                        -
       40010 · Rent Revenue                                                      -               1,500                    -                  -                      -                     -                 271
       40020 · Interest Revenue                                                  -                    -                   -                  -                   21                       -                     -
       40022 · Structured Settlement Income                                      -                    -                   -                  -                      -                     -                     -
       40090 · Other Revenue                                                     -                    -                   -                  -                      -                     -                     -
     Total Income                                                                -               1,500                    -                  -           1,800,021             8,735,000                    271
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                                 -                    -                   -                  -                     8                      -              4,348
         50020 · Cost of Sales Real Property                                     -                    -                   -                  -           1,636,382             6,693,877                        -
         50030 · Closing Costs / Prorations                                      -                    -                   -                  -             134,682               505,830                        -
         50000 · Cost of Goods Sold - Other                                      -                    -                   -                  -                      -                     -                     -
       Total 50000 · Cost of Goods Sold                                          -                    -                   -                  -           1,771,073             7,199,707                 4,348
     Total COGS                                                                  -                    -                   -                  -           1,771,073             7,199,707                 4,348
   Gross Profit                                                                  -               1,500                    -                  -              28,949             1,535,293                (4,077)
     Expense
       60020 · Media Consulting                                                  -                    -                   -                  -                      -                     -                     -
       60400 · Bank Service Charge                                               -                    -                   -                  -                     8                      -                    3
       60500 · Dues and Subscriptions                                            -                    -                   -                  -                      -                     -                     -
       60600 · Equipment Lease                                                   -                    -                   -                  -                      -                     -                     -
       61700 · Information Technology
         61701 · IT - Software                                                   -                    -                   -                  -                      -                     -                     -
         61700 · Information Technology - Other                                  -                    -                   -                  -                      -                     -                     -
       Total 61700 · Information Technology                                      -                    -                   -                  -                      -                     -                     -
       61800 · License and Filing Fees                                           -                    -                 290                  -                      -                     -                     -
       61870 · Moving                                                            -                    -                   -                  -                      -                     -                     -
       62500 · Employee Benefits                                                 -                    -                   -                  -                      -                     -                     -
       63300 · Insurance                                                         -                    -                   -                  -                  (668)                     -                     -
       63400 · Interest                                                          -                    -                   -                  -                      -                     -                     -
       63401 · Int Expense - BK DIP financing                                    -                    -                   -                  -                      -                     -                     -
       64800 · Office Expense                                                    -                    -                   -                  -                      -                     -                     -
       64900 · Office Supplies                                                   -                    -                   -                  -                      -                     -                     -
       65000 · Outside Services                                                  -                    -                   -                  -                      -                 125                       -
       65100 · Parking                                                           -                    -                   -                  -                      -                     -                     -
       66000 · Payroll-Salaries and Wages                                        -                    -                   -                  -                      -                     -                     -
       66005 · Payroll-Service Fees                                              -                    -                   -                  -                      -                     -                     -
       66015 · Payroll-Employer Taxes                                            -                    -                   -                  -                      -                     -                     -
       66020 · Independent Contractors                                           -                    -                   -                  -                      -                     -                     -
       66030 · Postage and Delivery                                              -                    -                   -                  -                      -                     -                     -
       66800 · Rent Expense                                                      -                    -                   -                  -                      -                     -                     -
       66900 · Repairs and Maintenance                                           -                    -                   -                  -                      -                     -                     -
       67000 · Security                                                          -                    -                   -                  -                      -                     -                     -
       67050 · Storage                                                           -                    -                   -                  -                      -                     -                     -
       67100 · Telephone and Internet Expense                                    -                    -                   -                  -                      -                     -                     -
       67110 · Title Searches                                                    -                    -                   -                  -                      -                     -                     -
       67200 · Travel                                                            -                    -                   -                  -                      -                     -                     -
       67210 · Travel / Relocation allowance                                     -                    -                   -                  -                      -                     -                     -
       67400 · Utilities                                                         -                    -                   -                  -                      -                 244                   (420)
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                         -                    -                   -                  -                      -                     -                     -
         68200 · Legal Fees - Ord Course                                         -                    -                   -                  -               3,828                        -                     -
         68300 · Accntng Fees - Ord Course                                       -                    -                   -                  -                   -                        -                     -
       Total 68000 · Professional Fee Ord Course                                 -                    -                   -                  -               3,828                        -                     -
       69800 · Uncategorized Expenses                                            -                    -                   -                  -                      -                     -                     -
       71000 · U.S. Trustee Fees                                            325                     650             12,523               4,875                      -                 325                   325
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                              -                    -                   -                  -                      -                     -                     -
         72030 · Consulting - Bankruptcy                                         -                    -                   -                  -                      -                     -                     -
         72000 · Professional Fees - Bankruptcy - Other                          -                    -                   -                  -                      -                     -                     -
       Total 72000 · Professional Fees - Bankruptcy                              -                    -                   -                  -                      -                     -                     -
       72100 · DIP Loan Origination Fee                                          -                    -                   -                  -                      -                     -                     -
       81140 · Board Fees                                                        -                    -                   -                  -                      -                     -                     -
       83000 · Tax Expense
         83100 · Property Tax Expense                                            -                    -                   -                  -                      -                     -                     -
         83110 · Municipal Taxes and Fees                                        -                    -                   -                  -                      -                     -                     -
         83000 · Tax Expense - Other                                             -                    -                   -                  -                      -                     -                     -
       Total 83000 · Tax Expense                                                 -                    -                   -                  -                      -                     -                     -
     Total Expense                                                          325                     650             12,813               4,875               3,168                    694                    (92)
 Net Ordinary Income                                                        (325)                   850            (12,813)             (4,875)             25,780             1,534,599                (3,985)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                       -                    -                   -                  -                      -                     -                     -
   Total Other Income                                                            -                    -                   -                  -                      -                     -                     -
   Other Expense
     85000 · Write off uncollectible rents                                       -                    -                   -                  -             102,745                        -                     -
     90010 · Suspense                                                            -                    -                   -                  -                   -                        -                     -
   Total Other Expense                                                           -                    -                   -                  -             102,745                        -                     -
 Net Other Income                                                                -                    -                   -                  -            (102,745)                       -                     -
Net Income                                                                  (325)                   850            (12,813)             (4,875)            (76,965)            1,534,599                (3,985)




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018
                                                              Silverleaf Funding       Summit Cut             Topchord                                                Whiteacre Funding
                                                    Debtor:           LLC           Investments LLC       Investments LLC       WCBL 1             WCBL 2                   LLC            WMIF 1
                                                  Case No.:       17-12837             17-12640              17-12664           17-12754           17-12758               17-12713         17-12768
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                              30,000                       -                     -                 -                  -                     -                -
       40010 · Rent Revenue                                                    -                      -              4,275                    -                  -               55,082             3,795
       40020 · Interest Revenue                                                -                      -                 (182)                 -                  -               25,355          45,051
       40022 · Structured Settlement Income                                    -                      -                     -                 -                  -                     -                -
       40090 · Other Revenue                                                   -                      -                     -                 -                  -                     -                -
     Total Income                                                        30,000                       -              4,093                    -                  -               80,437          48,846
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                               -                      -              2,139                    -                  -               13,394                 -
         50020 · Cost of Sales Real Property                            160,174                       -                     -                 -                  -                     -                -
         50030 · Closing Costs / Prorations                                6,596                      -                     -                 -                  -                     -                -
         50000 · Cost of Goods Sold - Other                                    -                      -                     -                 -                  -                     -                -
       Total 50000 · Cost of Goods Sold                                 166,770                       -              2,139                    -                  -               13,394                 -
     Total COGS                                                         166,770                       -              2,139                    -                  -               13,394                 -
   Gross Profit                                                         (136,770)                     -              1,954                    -                  -               67,042          48,846
     Expense
       60020 · Media Consulting                                                -                      -                     -                 -                  -                     -                -
       60400 · Bank Service Charge                                             -                      -                    8                  -                  -                     -                -
       60500 · Dues and Subscriptions                                          -                      -                     -                 -                  -                     -                -
       60600 · Equipment Lease                                                 -                      -                     -                 -                  -                     -                -
       61700 · Information Technology
         61701 · IT - Software                                                 -                      -                     -                 -                  -                     -                -
         61700 · Information Technology - Other                                -                      -                     -                 -                  -                     -                -
       Total 61700 · Information Technology                                    -                      -                     -                 -                  -                     -                -
       61800 · License and Filing Fees                                         -                      -                     -                 -                  -                     -                -
       61870 · Moving                                                          -                      -                     -                 -                  -                     -                -
       62500 · Employee Benefits                                               -                      -                     -                 -                  -                     -                -
       63300 · Insurance                                                       -                      -                     -                 -                  -                4,342                 -
       63400 · Interest                                                        -                      -                     -                 -                  -                     -                -
       63401 · Int Expense - BK DIP financing                                  -                      -                     -                 -                  -                     -                -
       64800 · Office Expense                                                  -                      -                     -                 -                  -                     -                -
       64900 · Office Supplies                                                 -                      -                     -                 -                  -                     -                -
       65000 · Outside Services                                                -                      -                     -                 -                  -                     -                -
       65100 · Parking                                                         -                      -                     -                 -                  -                     -                -
       66000 · Payroll-Salaries and Wages                                      -                      -                     -                 -                  -                     -                -
       66005 · Payroll-Service Fees                                            -                      -                     -                 -                  -                     -                -
       66015 · Payroll-Employer Taxes                                          -                      -                     -                 -                  -                     -                -
       66020 · Independent Contractors                                         -                      -                     -                 -                  -                     -                -
       66030 · Postage and Delivery                                            -                      -                     -                 -                  -                     -                -
       66800 · Rent Expense                                                    -                      -                     -                 -                  -                     -                -
       66900 · Repairs and Maintenance                                         -                      -                     -                 -                  -                   350                -
       67000 · Security                                                       35                      -                     -                 -                  -                   375                -
       67050 · Storage                                                         -                      -                     -                 -                  -                     -                -
       67100 · Telephone and Internet Expense                                  -                      -                     -                 -                  -                     -                -
       67110 · Title Searches                                                  -                      -                     -                 -                  -                     -                -
       67200 · Travel                                                          -                      -                     -                 -                  -                     -                -
       67210 · Travel / Relocation allowance                                   -                      -                     -                 -                  -                     -                -
       67400 · Utilities                                                     216                      -                     -                 -                  -                5,711                 -
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                       -                      -                     -                 -                  -                     -                -
         68200 · Legal Fees - Ord Course                                       -                      -                     -                 -                  -                     -                -
         68300 · Accntng Fees - Ord Course                                     -                      -                     -                 -                  -                     -                -
       Total 68000 · Professional Fee Ord Course                               -                      -                     -                 -                  -                     -                -
       69800 · Uncategorized Expenses                                          -                      -                     -                 -                  -                     -                -
       71000 · U.S. Trustee Fees                                             325               4,875                    650                325                325                    650            1,625
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                            -                      -                     -                 -                  -                     -                -
         72030 · Consulting - Bankruptcy                                       -                      -                     -                 -                  -                     -                -
         72000 · Professional Fees - Bankruptcy - Other                        -                      -                     -                 -                  -                     -                -
       Total 72000 · Professional Fees - Bankruptcy                            -                      -                     -                 -                  -                     -                -
       72100 · DIP Loan Origination Fee                                        -                      -                     -                 -                  -                     -                -
       81140 · Board Fees                                                      -                      -                     -                 -                  -                     -                -
       83000 · Tax Expense
         83100 · Property Tax Expense                                          -                      -                     -                 -                  -                     -                -
         83110 · Municipal Taxes and Fees                                      -                      -                     -                 -                  -                2,183                 -
         83000 · Tax Expense - Other                                           -                      -                     -                 -                  -                7,801                 -
       Total 83000 · Tax Expense                                               -                      -                     -                 -                  -                9,984                 -
     Total Expense                                                           576               4,875                    658                325                325                21,412             1,625
 Net Ordinary Income                                                    (137,346)             (4,875)                1,297                 (325)              (325)              45,631          47,221
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                     -                      -                     -                 -                  -                     -                -
   Total Other Income                                                          -                      -                     -                 -                  -                     -                -
   Other Expense
     85000 · Write off uncollectible rents                                     -                      -                     -                 -                  -                     -                -
     90010 · Suspense                                                          -                      -                     -                 -                  -                     -                -
   Total Other Expense                                                         -                      -                     -                 -                  -                     -                -
 Net Other Income                                                              -                      -                     -                 -                  -                     -                -
Net Income                                                              (137,346)             (4,875)                1,297                 (325)              (325)              45,631          47,221




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Woodbridge Group of Companies, LLC, et al
(Jointly Administered)
Statement of Operations
December 04, 2017 - March 31, 2018

                                                    Debtor:   WMIF 2           WMIF 3           WMIF 3a          WMIF 4            TOTAL
                                                  Case No.:   17-12772         17-12776         17-12780         17-12784
 Ordinary Income/Expense
     Income
       40005 · Sales Proceeds / Note Payoff                                -                -               -                 -   11,224,000
       40010 · Rent Revenue                                                -                -               -          13,787      1,035,971
       40020 · Interest Revenue                                        3,750         16,177                 -                 -      134,972
       40022 · Structured Settlement Income                                -                -               -                 -       82,875
       40090 · Other Revenue                                               -                -               -                 -       38,295
     Total Income                                                      3,750         16,177                 -          13,787     12,516,113
     Cost of Goods Sold
       50000 · Cost of Goods Sold
         50010 · Rental Property Cost Operations                           -                -               -                 -      213,461
         50020 · Cost of Sales Real Property                               -                -               -                 -    8,490,433
         50030 · Closing Costs / Prorations                                -                -               -                 -      647,109
         50000 · Cost of Goods Sold - Other                                -                -               -                 -          505
       Total 50000 · Cost of Goods Sold                                    -                -               -                 -    9,351,508
     Total COGS                                                            -                -               -                 -    9,351,508
   Gross Profit                                                        3,750         16,177                 -          13,787      3,164,606
     Expense
       60020 · Media Consulting                                            -                -               -                 -      347,370
       60400 · Bank Service Charge                                         -                -               -                 -       13,397
       60500 · Dues and Subscriptions                                      -                -               -                 -        4,181
       60600 · Equipment Lease                                             -                -               -                 -          959
       61700 · Information Technology
         61701 · IT - Software                                             -                -               -                 -        3,628
         61700 · Information Technology - Other                            -                -               -                 -      219,308
       Total 61700 · Information Technology                                -                -               -                 -      222,937
       61800 · License and Filing Fees                                     -                -               -               100       13,274
       61870 · Moving                                                      -                -               -                 -       18,096
       62500 · Employee Benefits                                           -                -               -                 -      162,066
       63300 · Insurance                                                   -                -               -                 -       (44,637)
       63400 · Interest                                                    -                -               -                 -      855,003
       63401 · Int Expense - BK DIP financing                              -                -               -                 -      960,819
       64800 · Office Expense                                              -                -               -                 -       29,914
       64900 · Office Supplies                                             -                -               -                 -        7,782
       65000 · Outside Services                                            -                -               -                 -       15,602
       65100 · Parking                                                     -                -               -                 -       31,148
       66000 · Payroll-Salaries and Wages                                  -                -               -                 -    3,065,913
       66005 · Payroll-Service Fees                                        -                -               -                 -        3,640
       66015 · Payroll-Employer Taxes                                      -                -               -                 -      294,599
       66020 · Independent Contractors                                     -                -               -                 -        6,000
       66030 · Postage and Delivery                                        -                -               -                 -       12,886
       66800 · Rent Expense                                                -                -               -                 -      349,136
       66900 · Repairs and Maintenance                                     -                -               -                 -       37,060
       67000 · Security                                                    -                -               -                 -        1,842
       67050 · Storage                                                     -                -               -                 -        6,726
       67100 · Telephone and Internet Expense                              -                -               -                 -       42,198
       67110 · Title Searches                                              -                -               -                 -       43,500
       67200 · Travel                                                      -                -               -                 -       24,804
       67210 · Travel / Relocation allowance                               -                -               -                 -       40,240
       67400 · Utilities                                                   -                -               -                 -       19,809
       68000 · Professional Fee Ord Course
         68100 · Consulting - Ord Course                                   -                -               -                 -      192,515
         68200 · Legal Fees - Ord Course                                   -                -               -                 -      360,165
         68300 · Accntng Fees - Ord Course                                 -                -               -                 -       15,059
       Total 68000 · Professional Fee Ord Course                           -                -               -                 -      567,740
       69800 · Uncategorized Expenses                                      -                -               -                 -          716
       71000 · U.S. Trustee Fees                                         325              325               -               325      540,725
       72000 · Professional Fees - Bankruptcy
         72010 · Legal - Bankruptcy                                        -                -               -                 -   13,884,290
         72030 · Consulting - Bankruptcy                                   -                -               -                 -    5,934,329
         72000 · Professional Fees - Bankruptcy - Other                    -                -               -                 -      253,573
       Total 72000 · Professional Fees - Bankruptcy                        -                -               -                 -   20,072,191
       72100 · DIP Loan Origination Fee                                    -                -               -                 -    1,500,000
       81140 · Board Fees                                                  -                -               -                 -      296,577
       83000 · Tax Expense
         83100 · Property Tax Expense                                      -                -               -                 -          274
         83110 · Municipal Taxes and Fees                                  -                -               -                 -        2,183
         83000 · Tax Expense - Other                                       -                -               -                 -        9,554
       Total 83000 · Tax Expense                                           -                -               -                 -       12,012
     Total Expense                                                       325              325               -               425   29,576,224
 Net Ordinary Income                                                   3,425         15,852                 -          13,362     (26,411,618)
 Other Income/Expense
   Other Income
    85100 · (Gain) / Loss loan payoff/sale                                 -         (13,710)         (26,745)         (6,168)        (46,623)
   Total Other Income                                                      -         (13,710)         (26,745)         (6,168)        (46,623)
   Other Expense
     85000 · Write off uncollectible rents                                 -                -               -                 -      103,595
     90010 · Suspense                                                      -                -               -                 -            -
   Total Other Expense                                                     -                -               -                 -      103,595
 Net Other Income                                                          -         (13,710)         (26,745)         (6,168)      (150,218)
Net Income                                                             3,425            2,142         (26,745)            7,194   (26,561,836)




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   Woodbridge Group of Companies, LLC, et al                                                                                                                         Case No. 17-12560 (KJC)
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              1. Woodbridge       Bellflower Funding      Brise Soleil    Carbondale Glen        Holding        Inactive Property        Ironsides
                                                              Debtor: Notes     Group LLC                 LLC          Investments LLC    Sweetgrass LLC        Companies          Companies         Investments LLC


                                                            Case No.:   1.      17-12560              18-10507            17-12762           17-12564            Various            Various             17-12714
ASSETS
   Current Assets
            Total 10000 · Cash                                                    42,396,162                       -                 -                     -                -                   -                     -
       Total Checking/Savings                                           2.        42,396,162                       -                 -                     -                -                   -                     -
       Accounts Receivable
            11000 · Accounts Receivable                                                       -                    -                 -                     -                -                   -                     -
       Total Accounts Receivable                                                              -                    -                 -                     -                -                   -                     -
       Other Current Assets
            11010 · Miscellaneous Receivable                                                  -                    -                 -                     -                -                   -                     -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                      95                     -                 -                     -                -                   -                     -
            Total 11050 · Due (to)/from related party NBK                                   95                     -                 -                     -                -                   -                     -
            14010 · Due From Shapiro                                                  23,046                       -                 -                     -                -                   -                     -
            14025 · Professional Retainers                                                    -                    -                 -                     -                -                   -                     -
       Total Other Current Assets                                                    404,801                       -                 -                     -                -                   -                     -
   Total Current Assets                                                              427,942                       -                 -                     -                -                   -                     -
   Fixed Assets                                                                   42,824,105                       -                 -                     -                -                   -                     -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                           (3,190)                      -                 -                     -                -                   -                     -
   Total Fixed Assets                                                                 (3,190)                      -                 -                     -                -                   -                     -
   Other Assets                                                                       (3,190)                      -                 -                     -                -                   -                     -
       18000 · Property / Loan Investment                               3.
       18050 · Property proceeds/notepayoff                                                   -           1,200,000            195,000            160,000                   -                   -          1,290,000
      18100 · Pre-Pet Capitalized Improvement                                                 -                    -                 -                     -                -                   -                     -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                    -                    -                 -                     -                -                   -                     -
      18200 · Post Pet Capitalized Improvemen                                                 -                  132            11,310          1,181,525                   -                   -                     -
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                     1,732                       -                 -                     -                -              4,950                      -
            18230 · Post-Pet Property Taxes                                                   -                    -                 -                     -                -                   -                     -
            18240 · Post-Pet Insurance                                                        -              43,807              2,658              7,455                   -                   -             15,382
            18250 · Post-Pet Interest                                                  7,536                  2,168                  -              5,328                   -                   -             15,903
            18260 · Post-Pet Utilities Costs                                                  -                    -                 -                     -                -                   -                     -
            18270 · Post-Pet Other Costs                                                   203                     -                 -              1,545                   -                   -                     -
            18280 · Rental property major improveme                                           -               1,074              3,366              3,766                   -                   -                     -
            18200 · Post Pet Capitalized Improvemen - Other                                   -                    -                 -                     -                -                   -                     -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                    -                    -                 -                     -                -                   -              1,833
      18300 · Structured Settlements                                    5.             9,471                 47,049              6,024             18,094                   -              4,950              33,117
      18400 · Due (to)/from Fries trust acct                                           1,893                       -                 -                     -                -                   -                     -
   Total Other Assets                                                                 11,364              1,247,181            212,334          1,359,619                   -              4,950           1,323,117
TOTAL ASSETS                                                                      42,832,279              1,247,181            212,334          1,359,619                   -              4,950           1,323,117
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                         17,104,424                 14,472              1,654              4,374             44,868               8,249               2,194
                 20100 · Pre-Petition Accounts Payable                                10,703                       -                 -                     -                -                   -                     -
            Total Accounts Payable                                      6.        17,115,127                 14,472              1,654              4,374             44,868               8,249               2,194
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                11,578,057                       -                 -                  479                 -                   -                     -
                 20120 · Tenant Deposit & Prepaid Rent                                        -                    -                 -                     -                -                   -                     -
                 24000 · Payroll Liabilities                                          30,759                       -                 -                     -                -                   -                     -
                 24400 · Due (to)/from Group or affiliat                         (15,075,449)                18,181              6,037             14,150                   -                   -             31,248
                 24500 · DIP Lender Note Payable                        7.        54,000,000                       -                 -                     -                -                   -                     -
                 24510 · Short Term Notes Payable                                             -                    -                 -                     -                -                   -                     -
            Total Other Current Liabilities                                       50,533,366                 18,181              6,037             14,629                   -                   -             31,248
       Total Current Liabilities                                                  67,648,493                 32,653              7,691             19,003             44,868               8,249              33,442
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.       299,032,012              1,200,132            206,310          1,341,525                   -                   -          1,290,000
            25250 · Due to Noteholders                                  8.                    -                    -                 -                     -                -                   -                     -
            25300 · Due to Unitholders                                  8.                    -                    -                 -                     -                -                   -                     -
      Total Long Term Liabilities                                                299,032,012              1,200,132            206,310          1,341,525                   -                   -          1,290,000
   Total Liabilities                                                             366,680,505              1,232,785            214,001          1,360,528             44,868               8,249           1,323,442
   Equity
      30000 · Opening Balance Equity                                    9.      (296,104,360)                      -                 -                  (479)               -                   -                     -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.        (5,794,810)                      -                 -                     -                -                   -                     -
      Net Income/(Loss): Post Petition Current Period                            (21,949,056)                14,396             (1,667)                 (430)        (44,868)              (3,299)                 (325)
   Total Equity                                                                 (323,848,226)                14,396             (1,667)                 (909)        (44,868)              (3,299)                 (325)
TOTAL LIABILITIES & EQUITY                                                        42,832,279              1,247,181            212,334          1,359,619                   -              4,950           1,323,117
                                                                                              -                    -                 -                     -                -                   -                     -




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                                                                                                                                                                                                         MOR-3 Balance Sheet
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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              P-001 215 North       P-002 Addison         P-003 Anchorpoint    P-004 Arborvitae      P-005 Archivolt       P-006 Arlington       P-007 Arrowpoint
                                                              Debtor: Notes     12th St LLC         Park Invest LLC           Invest LLC          Invest LLC           Invest LLC          Ridge Inves LLC          Invest LLC


                                                            Case No.:   1.       17-12561              17-12563               17-12566            17-12572              17-12574              17-12576              17-12578
ASSETS
   Current Assets
            Total 10000 · Cash                                                         13,783                         -              3,935                      -                      -                    -                     -
      Total Checking/Savings                                            2.             13,783                         -              3,935                      -                      -                    -                     -
      Accounts Receivable
            11000 · Accounts Receivable                                                         -                     -                   -                     -                      -                    -                     -
      Total Accounts Receivable                                                                 -                     -                   -                     -                      -                    -                     -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                    -                     -                   -                     -                      -                    -                     -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                          -                     -                   -                     -                      -                    -                     -
            Total 11050 · Due (to)/from related party NBK                                       -                     -                   -                     -                      -                    -                     -
            14010 · Due From Shapiro                                                            -                     -                   -                     -                      -                    -                     -
            14025 · Professional Retainers                                                      -                     -                   -                     -                      -                    -                     -
      Total Other Current Assets                                                                -                     -                   -                     -                      -                    -                     -
   Total Current Assets                                                                         -                     -                   -                     -                      -                    -                     -
   Fixed Assets                                                                        13,783                         -              3,935                      -                      -                    -                     -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                     -                     -                   -                     -                      -                    -                     -
   Total Fixed Assets                                                                           -                     -                   -                     -                      -                    -                     -
   Other Assets                                                                                 -                     -                   -                     -                      -                    -                     -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                          1,000,000            18,200,000                753,000               96,000                        -         6,300,000                611,000
      18100 · Pre-Pet Capitalized Improvement                                                   -                     -                   -                     -                      -                    -                     -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                      -                     -                   -                     -                      -                    -                     -
      18200 · Post Pet Capitalized Improvemen                                          53,785             4,171,739                 20,212                9,872                        -         6,183,009                 44,074
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                              -         1,888,125                       -                     -                      -           381,352                        -
            18230 · Post-Pet Property Taxes                                                     -                     -                   -                     -                      -                    -                     -
            18240 · Post-Pet Insurance                                                 23,453               108,658                 18,428                2,195                        -            38,601                 13,866
            18250 · Post-Pet Interest                                                   1,736                         -              1,988                      -                      -                    -                     -
            18260 · Post-Pet Utilities Costs                                                    -                     -                   -                     -                      -                    -                     -
            18270 · Post-Pet Other Costs                                                2,511                         -                  92                     -                      -                    -                     -
            18280 · Rental property major improveme                                         667                       -              4,282                1,683                        -                    -               1,683
            18200 · Post Pet Capitalized Improvemen - Other                                     -                     -                   -                     -                      -                    -                     -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                      -                     -                   -                     -                      -                    -                     -
      18300 · Structured Settlements                                    5.             28,367             1,996,783                 24,790                3,878                        -           419,952                 15,549
      18400 · Due (to)/from Fries trust acct                                                    -                     -                   -                     -                      -                    -                     -
   Total Other Assets                                                               1,082,152            24,368,522                798,002              109,750                        -        12,902,961                670,623
TOTAL ASSETS                                                                        1,095,934            24,368,522                801,938              109,750                        -        12,902,961                670,623
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                              13,140               469,582                  9,962                1,423                    374             134,547                  7,356
                 20100 · Pre-Petition Accounts Payable                                          -                     -                   -                     -                      -                    -                     -
            Total Accounts Payable                                      6.             13,140               469,582                  9,962                1,423                    374             134,547                  7,356
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                      2,217                 4,567                 20,212                      -                      -                 958                   258
                 20120 · Tenant Deposit & Prepaid Rent                                  9,774                         -              3,430                      -                      -                    -                     -
                 24000 · Payroll Liabilities                                                    -                     -                   -                     -                      -                    -                     -
                 24400 · Due (to)/from Group or affiliat                               (34,133)           2,868,821                  (7,867)              2,781                        -           900,027                  8,616
                 24500 · DIP Lender Note Payable                        7.                      -                     -                   -                     -                      -                    -                     -
                 24510 · Short Term Notes Payable                                               -                     -                   -                     -                      -                    -                     -
            Total Other Current Liabilities                                            (22,142)           2,873,387                 15,776                2,781                        -           900,985                  8,874
      Total Current Liabilities                                                         (9,002)           3,342,970                 25,738                4,203                    374           1,035,532                 16,230
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.          1,053,785            21,052,124                773,212              105,872                        -        11,873,262                655,074
            25250 · Due to Noteholders                                  8.                      -                     -                   -                     -                      -                    -                     -
            25300 · Due to Unitholders                                  8.                      -                     -                   -                     -                      -                    -                     -
      Total Long Term Liabilities                                                   1,053,785            21,052,124                773,212              105,872                        -        11,873,262                655,074
   Total Liabilities                                                                1,044,783            24,395,094                798,950              110,075                    374          12,908,794                671,304
   Equity
      30000 · Opening Balance Equity                                    9.              (1,076)               (4,567)              (19,727)                     -                      -                 (958)                 (258)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.              9,140                         -              (8,816)                    -                      -                    -                     -
      Net Income/(Loss): Post Petition Current Period                                  43,088                (22,005)               31,532                   (325)                 (374)             (4,875)                   (423)
   Total Equity                                                                        51,152                (26,571)                2,988                   (325)                 (374)             (5,833)                   (681)
TOTAL LIABILITIES & EQUITY                                                          1,095,934            24,368,522                801,938              109,750                        -        12,902,961                670,623
                                                                                              -                    -                      -                     -                      -                    -                     -




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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              P-008 Baleroy        P-009 Bay Village      P-010 Bear Brook P-011 Beech Creek        P-012 Bishop       P-013 Black Bass         P-014 Black
                                                              Debtor: Notes    Invest LLC             Invest LLC             Invest LLC        Invest LLC          White Invest LLC       Invest LLC         Locust Invest LLC


                                                            Case No.:   1.      17-12580               17-12604              17-12610           17-12616              17-12623            17-12641               17-12648
ASSETS
   Current Assets
            Total 10000 · Cash                                                                -                      -                     -                  -                   -                     -                      -
      Total Checking/Savings                                            2.                    -                      -                     -                  -                   -                     -                      -
      Accounts Receivable
            11000 · Accounts Receivable                                                       -                      -                     -                  -                   -                     -                      -
      Total Accounts Receivable                                                               -                      -                     -                  -                   -                     -                      -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                  -                      -                     -                  -                   -                     -                      -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                        -                      -                     -                  -                   -                     -                      -
            Total 11050 · Due (to)/from related party NBK                                     -                      -                     -                  -                   -                     -                      -
            14010 · Due From Shapiro                                                          -                      -                     -                  -                   -                     -                      -
            14025 · Professional Retainers                                                    -                      -                     -                  -                   -                     -                      -
      Total Other Current Assets                                                              -                      -                     -                  -                   -                     -                      -
   Total Current Assets                                                                       -                      -                     -                  -                   -                     -                      -
   Fixed Assets                                                                               -                      -                     -                  -                   -                     -                      -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                   -                      -                     -                  -                   -                     -                      -
   Total Fixed Assets                                                                         -                      -                     -                  -                   -                     -                      -
   Other Assets                                                                               -                      -                     -                  -                   -                     -                      -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                         1,434,400              8,900,000                90,000          1,472,500             35,000,000             110,000               125,000
      18100 · Pre-Pet Capitalized Improvement                                                 -                      -                     -                  -                   -                     -                      -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                    -                      -                     -                  -                   -                     -                      -
      18200 · Post Pet Capitalized Improvemen                                         82,502              2,301,696                 5,811            465,906                533,212               6,372                 9,705
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                            -             490,389                        -                  -             162,771                     -                      -
            18230 · Post-Pet Property Taxes                                                   -                      -                     -                  -                   -                     -                      -
            18240 · Post-Pet Insurance                                                 8,355                 54,377                 2,195              8,150                 73,377               2,658                 2,658
            18250 · Post-Pet Interest                                                         -                   502                      -                  -                   -                     -                   147
            18260 · Post-Pet Utilities Costs                                                  -                      -                     -                  -             106,250                     -                      -
            18270 · Post-Pet Other Costs                                               2,613                         -                     -           1,963                      -                     -                      -
            18280 · Rental property major improveme                                    2,628                         -              1,683              2,556                  1,750               1,983                 2,007
            18200 · Post Pet Capitalized Improvemen - Other                                   -                      -                     -                  -                   -                     -                      -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                    -                      -                     -                  -                   -                     -                      -
      18300 · Structured Settlements                                    5.            13,596                545,269                 3,878             12,669                344,147               4,641                 4,812
      18400 · Due (to)/from Fries trust acct                                                  -                      -                     -                  -                   -                     -                      -
   Total Other Assets                                                              1,530,498             11,746,964                99,689          1,951,075             35,877,359             121,013               139,517
TOTAL ASSETS                                                                       1,530,498             11,746,964                99,689          1,951,075             35,877,359             121,013               139,517
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                              5,069                209,382                 1,423              7,203                 82,151               1,654                 1,801
                 20100 · Pre-Petition Accounts Payable                                        -                      -                     -                  -                   -                     -                      -
            Total Accounts Payable                                      6.             5,069                209,382                 1,423              7,203                 82,151               1,654                 1,801
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                     1,083                      260                      -           5,389                 22,431                     -                      -
                 20120 · Tenant Deposit & Prepaid Rent                                        -                      -                     -                  -                   -                     -                      -
                 24000 · Payroll Liabilities                                                  -                      -                     -                  -                   -                     -                      -
                 24400 · Due (to)/from Group or affiliat                               9,225                392,009                 2,781              8,334                305,009               3,312                 3,336
                 24500 · DIP Lender Note Payable                        7.                    -                      -                     -                  -                   -                     -                      -
                 24510 · Short Term Notes Payable                                             -                      -                     -                  -          17,000,000                     -                      -
            Total Other Current Liabilities                                           10,308                392,269                 2,781             13,724             17,327,440               3,312                 3,336
      Total Current Liabilities                                                       15,377                601,652                 4,203             20,926             17,409,592               4,966                 5,137
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.         1,516,578             11,150,448                95,811          1,935,863             18,492,249             116,372               134,705
            25250 · Due to Noteholders                                  8.                    -                      -                     -                  -                   -                     -                      -
            25300 · Due to Unitholders                                  8.                    -                      -                     -                  -                   -                     -                      -
      Total Long Term Liabilities                                                  1,516,578             11,150,448                95,811          1,935,863             18,492,249             116,372               134,705
   Total Liabilities                                                               1,531,955             11,752,100               100,014          1,956,789             35,901,841             121,338               139,842
   Equity
      30000 · Opening Balance Equity                                    9.             (1,083)                    (260)                    -          (5,389)               (22,431)                    -                      -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                    -                      -                     -                  -                   -                     -                      -
      Net Income/(Loss): Post Petition Current Period                                      (374)              (4,875)                   (325)              (325)             (2,050)                 (325)                  (325)
   Total Equity                                                                        (1,457)                (5,135)                   (325)         (5,714)               (24,481)                 (325)                  (325)
TOTAL LIABILITIES & EQUITY                                                         1,530,498             11,746,964                99,689          1,951,075             35,877,359             121,013               139,517
                                                                                              -                      -                     -                  -                   -                     -                      -




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                                                                                                                                                                                                                 MOR-3 Balance Sheet
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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
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                                                                              P-015 Bluff Point     P-016 Bowman         P-017 Bramley        P-019 Broadsands P-020 Brynderwen         P-021 Cablestay       P-022 Cannington
                                                              Debtor: Notes      Invest LLC           Invest LLC           Invest LLC             Invest LLC      Invest LLC               Invest LLC            Invest LLC


                                                            Case No.:   1.       17-12722             17-12753             17-12769               17-12777           17-12793              17-12798              17-12803
ASSETS
   Current Assets
            Total 10000 · Cash                                                                 -                    -                    -                      -                  -                      -                    -
      Total Checking/Savings                                            2.                     -                    -                    -                      -                  -                      -                    -
      Accounts Receivable
            11000 · Accounts Receivable                                                        -                    -                    -                      -                  -                      -                    -
      Total Accounts Receivable                                                                -                    -                    -                      -                  -                      -                    -
      Other Current Assets
            11010 · Miscellaneous Receivable                                            13,250                      -                    -                      -                  -                      -                    -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                         -                    -                    -                      -                  -                      -                    -
            Total 11050 · Due (to)/from related party NBK                                      -                    -                    -                      -                  -                      -                    -
            14010 · Due From Shapiro                                                           -                    -                    -                      -                  -                      -                    -
            14025 · Professional Retainers                                                     -                    -                    -                      -                  -                      -                    -
      Total Other Current Assets                                                               -                    -                    -                      -                  -                      -                    -
   Total Current Assets                                                                 13,250                      -                    -                      -                  -                      -                    -
   Fixed Assets                                                                         13,250                      -                    -                      -                  -                      -                    -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                    -                    -                    -                      -                  -                      -                    -
   Total Fixed Assets                                                                          -                    -                    -                      -                  -                      -                    -
   Other Assets                                                                                -                    -                    -                      -                  -                      -                    -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                          13,200,000              90,000              500,000                345,000                     -          4,000,000              4,850,000
      18100 · Pre-Pet Capitalized Improvement                                                  -                    -                    -                      -                  -                      -                    -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                  300                     -                    -                      -                  -                      -                    -
      18200 · Post Pet Capitalized Improvemen                                        1,537,161               4,432               57,140                 23,790                     -          5,836,365              2,989,667
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                     252,046                      -                    -                      -                  -            561,943                 21,393
            18230 · Post-Pet Property Taxes                                                    -                    -                    -                      -                  -                      -                    -
            18240 · Post-Pet Insurance                                                  80,667               1,733                7,854                  2,199                     -             46,791                 58,285
            18250 · Post-Pet Interest                                                   13,986                      -                    -                      -                  -              1,169                  7,476
            18260 · Post-Pet Utilities Costs                                                   -                    -                    -                      -                  -                      -                    -
            18270 · Post-Pet Other Costs                                                       -                    -                    -                      -                  -              1,721                  1,427
            18280 · Rental property major improveme                                       1,995              1,713                5,686                  5,629                     -             85,700                  6,128
            18200 · Post Pet Capitalized Improvemen - Other                                    -                    -                    -                      -                  -                      -                    -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                     -                    -                    -                      -                  -                      -                    -
      18300 · Structured Settlements                                    5.             348,693               3,446               13,540                  7,828                     -            697,324                 94,708
      18400 · Due (to)/from Fries trust acct                                                   -                    -                    -                      -                  -                      -                    -
   Total Other Assets                                                               15,085,854              97,878              570,680                376,618                     -         10,533,689              7,934,375
TOTAL ASSETS                                                                        15,099,104              97,878              570,680                376,618                     -         10,533,689              7,934,375
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                              128,549               1,192                4,252                  1,425                  374              51,466                 35,704
                 20100 · Pre-Petition Accounts Payable                                         -                    -                    -                      -                  -                      -                    -
            Total Accounts Payable                                      6.             128,549               1,192                4,252                  1,425                  374              51,466                 35,704
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                      20,399                      -                    -                      -                  -                  744                3,847
                 20120 · Tenant Deposit & Prepaid Rent                                         -                    -                    -                      -                  -                      -                    -
                 24000 · Payroll Liabilities                                                   -                    -                    -                      -                  -                      -                    -
                 24400 · Due (to)/from Group or affiliat                               245,088               2,580                9,613                  6,729                     -            719,588                 59,705
                 24500 · DIP Lender Note Payable                        7.                     -                    -                    -                      -                  -                      -                    -
                 24510 · Short Term Notes Payable                                              -                    -                    -                      -                  -                      -                    -
            Total Other Current Liabilities                                            265,488               2,580                9,613                  6,729                     -            720,332                 63,552
      Total Current Liabilities                                                        394,036               3,771               13,865                  8,153                  374             771,798                 99,256
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.          14,726,442              94,432              557,140                368,790                     -          9,767,560              7,839,667
            25250 · Due to Noteholders                                  8.                     -                    -                    -                      -                  -                      -                    -
            25300 · Due to Unitholders                                  8.                     -                    -                    -                      -                  -                      -                    -
      Total Long Term Liabilities                                                   14,726,442              94,432              557,140                368,790                     -          9,767,560              7,839,667
   Total Liabilities                                                                15,120,478              98,203              571,005                376,943                  374          10,539,358              7,938,923
   Equity
      30000 · Opening Balance Equity                                    9.              (20,399)                    -                    -                      -                  -                  (744)             (3,847)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                     -                    -                    -                      -                  -                      -                    -
      Net Income/(Loss): Post Petition Current Period                                       (975)                (325)                (325)                  (325)              (374)             (4,924)                   (701)
   Total Equity                                                                         (21,374)                 (325)                (325)                  (325)              (374)             (5,668)               (4,548)
TOTAL LIABILITIES & EQUITY                                                          15,099,104              97,878              570,680                376,618                     -         10,533,689              7,934,375
                                                                                               -                    -                    -                      -                  -                     -                     -




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   Woodbridge Group of Companies, LLC, et al
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                                                                              P-023 Carbondale      P-024 Carbondale      P-025 Carbondale      P-026 Carbondale      P-027 Carbondale     P-028 Carbondale      P-029 Carbondale
                                                              Debtor: Notes      Glen Lot A-5         Glen Lot D-22         Glen Lot E-24        Glen Lot GV-13          Glen Lot L-2       Glen Lot SD-14        Glen Lot SD-23


                                                            Case No.:   1.       17-12807              17-12809              17-12811              17-12813               18-10284            17-12817              17-12815
ASSETS
   Current Assets
            Total 10000 · Cash                                                                 -                     -                     -                     -                     -                    -                     -
      Total Checking/Savings                                            2.                     -                     -                     -                     -                     -                    -                     -
      Accounts Receivable
            11000 · Accounts Receivable                                                        -                     -                     -                     -                     -                    -                     -
      Total Accounts Receivable                                                                -                     -                     -                     -                     -                    -                     -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                   -                     -                     -                     -                     -                    -                     -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                         -                     -                     -                     -                     -                    -                     -
            Total 11050 · Due (to)/from related party NBK                                      -                     -                     -                     -                     -                    -                     -
            14010 · Due From Shapiro                                                           -                     -                     -                     -                     -                    -                     -
            14025 · Professional Retainers                                                     -                     -                     -                     -                     -                    -                     -
      Total Other Current Assets                                                               -                     -                     -                     -                     -                    -                     -
   Total Current Assets                                                                        -                     -                     -                     -                     -                    -                     -
   Fixed Assets                                                                                -                     -                     -                     -                     -                    -                     -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                    -                     -                     -                     -                     -                    -                     -
   Total Fixed Assets                                                                          -                     -                     -                     -                     -                    -                     -
   Other Assets                                                                                -                     -                     -                     -                     -                    -                     -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                             650,000                80,000                90,000                95,000               120,000              105,000               115,000
      18100 · Pre-Pet Capitalized Improvement                                                  -                     -                     -                     -                     -                    -                     -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                     -                     -                     -                     -                     -                    -                     -
      18200 · Post Pet Capitalized Improvemen                                          101,463             1,005,321                12,433                10,811                11,700                8,043                 7,954
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                             -                     -                     -                     -                   750                    -                     -
            18230 · Post-Pet Property Taxes                                                    -                  750                      -                     -                     -                    -                     -
            18240 · Post-Pet Insurance                                                  15,022                10,551                 2,658                 2,658                 2,658                   733                   733
            18250 · Post-Pet Interest                                                          -                     -                     -                     -                     -                    -                     -
            18260 · Post-Pet Utilities Costs                                                   -                     -                     -                     -                     -                    -                     -
            18270 · Post-Pet Other Costs                                                       -               3,636                       -                     -                     -                    -                     -
            18280 · Rental property major improveme                                      1,683                 1,683                 1,683                 1,683                 3,185                1,713                 1,713
            18200 · Post Pet Capitalized Improvemen - Other                                    -                     -                     -                     -                     -                    -                     -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                     -                     -                     -                     -                     -                    -                     -
      18300 · Structured Settlements                                    5.              16,705                16,620                 4,341                 4,341                 6,593                2,446                 2,446
      18400 · Due (to)/from Fries trust acct                                                   -                     -                     -                     -                     -                    -                     -
   Total Other Assets                                                                  768,168             1,101,941               106,774               110,152               138,293              115,489               125,400
TOTAL ASSETS                                                                           768,168             1,101,941               106,774               110,152               138,293              115,489               125,400
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                7,836                 3,018                 1,654                 1,654                 2,079                   692                   692
                 20100 · Pre-Petition Accounts Payable                                         -                     -                     -                     -                     -                    -                     -
            Total Accounts Payable                                      6.               7,836                 3,018                 1,654                 1,654                 2,079                   692                   692
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                             -                  307                      -                     -                     -                    -                     -
                 20120 · Tenant Deposit & Prepaid Rent                                         -                     -                     -                     -                     -                    -                     -
                 24000 · Payroll Liabilities                                                   -                     -                     -                     -                     -                    -                     -
                 24400 · Due (to)/from Group or affiliat                                 9,194                13,927                 3,012                 3,012                 4,514                2,080                 2,080
                 24500 · DIP Lender Note Payable                        7.                     -                     -                     -                     -                     -                    -                     -
                 24510 · Short Term Notes Payable                                              -                     -                     -                     -                     -                    -                     -
            Total Other Current Liabilities                                              9,194                14,234                 3,012                 3,012                 4,514                2,080                 2,080
      Total Current Liabilities                                                         17,030                17,252                 4,666                 4,666                 6,593                2,771                 2,771
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.             751,463             1,085,321               102,433               105,811               131,700              113,043               122,954
            25250 · Due to Noteholders                                  8.                     -                     -                     -                     -                     -                    -                     -
            25300 · Due to Unitholders                                  8.                     -                     -                     -                     -                     -                    -                     -
      Total Long Term Liabilities                                                      751,463             1,085,321               102,433               105,811               131,700              113,043               122,954
   Total Liabilities                                                                   768,493             1,102,573               107,099               110,477               138,293              115,814               125,725
   Equity
      30000 · Opening Balance Equity                                    9.                     -                  (307)                    -                     -                     -                    -                     -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                     -                     -                     -                     -                     -                    -                     -
      Net Income/(Loss): Post Petition Current Period                                       (325)                 (325)                 (325)                 (325)                    -                 (325)                 (325)
   Total Equity                                                                             (325)                 (632)                 (325)                 (325)                    -                 (325)                 (325)
TOTAL LIABILITIES & EQUITY                                                             768,168             1,101,941               106,774               110,152               138,293              115,489               125,400
                                                                                               -                     -                     -                     -                     -                    -                     -




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   Woodbridge Group of Companies, LLC, et al
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                                                                              P-030 Carbondale      P-031 Carbondale      P-032 Carbondale      P-036 Carbondale      P-037 Carbondale      P-038 Carbondale      P-039 Carbondale
                                                              Debtor: Notes    Glen Mes Lot19        Glen River Mes        Gl Sunda Ponds         Peaks Lot L-1          Spruce 101          Sundanc Lot 15        Sundanc Lot 16


                                                            Case No.:   1.       17-12819              17-12820              17-12822              18-10286              17-12568              17-12569              17-12570
ASSETS
   Current Assets
            Total 10000 · Cash                                                                 -                     -                     -                     -               6,820                       -                    -
      Total Checking/Savings                                            2.                     -                     -                     -                     -               6,820                       -                    -
      Accounts Receivable
            11000 · Accounts Receivable                                                        -                     -                     -                     -               2,218                       -                    -
      Total Accounts Receivable                                                                -                     -                     -                     -               2,218                       -                    -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                   -                     -                     -                     -                     -                     -                    -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                         -                     -                     -                     -                     -                     -                    -
            Total 11050 · Due (to)/from related party NBK                                      -                     -                     -                     -                     -                     -                    -
            14010 · Due From Shapiro                                                           -                     -                     -                     -                     -                     -                    -
            14025 · Professional Retainers                                                     -                     -                     -                     -                     -                     -                    -
      Total Other Current Assets                                                               -                     -                     -                     -                     -                     -                    -
   Total Current Assets                                                                        -                     -                     -                     -                     -                     -                    -
   Fixed Assets                                                                                -                     -                     -                     -               9,038                       -                    -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                    -                     -                     -                     -                     -                     -                    -
   Total Fixed Assets                                                                          -                     -                     -                     -                     -                     -                    -
   Other Assets                                                                                -                     -                     -                     -                     -                     -                    -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                             105,000             1,350,000               820,000               550,000               750,000               105,000               105,000
      18100 · Pre-Pet Capitalized Improvement                                                  -                     -                     -                     -                     -                     -                    -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                     -               1,683                       -                     -                     -                     -                    -
      18200 · Post Pet Capitalized Improvemen                                           13,061             4,058,525                63,375               207,236                86,822                 9,419                10,069
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                             -                     -                     -                     -                     -                     -                    -
            18230 · Post-Pet Property Taxes                                                    -              64,943                       -                     -                     -                     -                    -
            18240 · Post-Pet Insurance                                                   3,391                16,247                 5,865                 3,648                17,095                    733                   733
            18250 · Post-Pet Interest                                                       147                9,182                       -                   65                   822                      -                    -
            18260 · Post-Pet Utilities Costs                                                   -                     -                     -                     -                     -                     -                    -
            18270 · Post-Pet Other Costs                                                       -              12,114                       -                  848                   121                      -                    -
            18280 · Rental property major improveme                                      1,713                 2,545                13,704                 4,900                 4,558                 2,463                 2,953
            18200 · Post Pet Capitalized Improvemen - Other                                    -                     -                     -                     -                     -                     -                    -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                     -                     -                     -                     -                     -                     -                    -
      18300 · Structured Settlements                                    5.               5,251               105,031                19,569                 9,461                22,596                 3,196                 3,686
      18400 · Due (to)/from Fries trust acct                                                   -                     -                     -                     -                     -                     -                    -
   Total Other Assets                                                                  123,312             5,513,556               902,944               766,697               859,418               117,615               118,755
TOTAL ASSETS                                                                           123,312             5,513,556               902,944               766,697               868,455               117,615               118,755
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                2,167                20,950                 3,583                 2,707                 9,233                 1,442                    692
                 20100 · Pre-Petition Accounts Payable                                         -                     -                     -                     -                     -                     -                    -
            Total Accounts Payable                                      6.               2,167                20,950                 3,583                 2,707                 9,233                 1,442                    692
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                             -              25,067                       -                   75                      -                     -                    -
                 20120 · Tenant Deposit & Prepaid Rent                                         -                     -                     -                     -              10,663                       -                    -
                 24000 · Payroll Liabilities                                                   -                     -                     -                     -                     -                     -                    -
                 24400 · Due (to)/from Group or affiliat                                 3,408                87,473                16,637                 7,079                    (674)              2,080                 2,570
                 24500 · DIP Lender Note Payable                        7.                     -                     -                     -                     -                     -                     -                    -
                 24510 · Short Term Notes Payable                                              -                     -                     -                     -                     -                     -                    -
            Total Other Current Liabilities                                              3,408               112,540                16,637                 7,154                 9,989                 2,080                 2,570
      Total Current Liabilities                                                          5,576               133,490                20,219                 9,861                19,222                 3,521                 3,261
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.             118,061             5,405,783               883,375               757,236               836,822               114,419               115,069
            25250 · Due to Noteholders                                  8.                     -                     -                     -                     -                     -                     -                    -
            25300 · Due to Unitholders                                  8.                     -                     -                     -                     -                     -                     -                    -
      Total Long Term Liabilities                                                      118,061             5,405,783               883,375               757,236               836,822               114,419               115,069
   Total Liabilities                                                                   123,637             5,539,273               903,594               767,097               856,044               117,940               118,330
   Equity
      30000 · Opening Balance Equity                                    9.                     -             (25,067)                      -                   (75)                 518                      -                    -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                     -                     -                     -                     -               9,057                       -                    -
      Net Income/(Loss): Post Petition Current Period                                       (325)                 (650)                 (650)                 (325)              2,837                    (325)                 425
   Total Equity                                                                             (325)            (25,717)                   (650)                 (400)             12,411                    (325)                 425
TOTAL LIABILITIES & EQUITY                                                             123,312             5,513,556               902,944               766,697               868,455               117,615               118,755
                                                                                               -                     -                     -                     -                     -                     -                    -




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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              P-040 Castle Pines     P-041 Centershot      P-042 Chaplin        P-043 Chestnut        P-044 Chestnut P-045 Clover Basin P-046 Coffee Creek
                                                              Debtor: Notes       Invest LLC            Invest LLC          Invest LLC            Invest LLC         Ridge Invest LLC    Invest LLC         Invest LLC


                                                            Case No.:   1.        17-12581              17-12586             17-12592             17-12603              17-12614          17-12621           17-12627
ASSETS
   Current Assets
            Total 10000 · Cash                                                                  -                     -                    -                     -                   -                -                    -
      Total Checking/Savings                                            2.                      -                     -                    -                     -                   -                -                    -
      Accounts Receivable
            11000 · Accounts Receivable                                                         -                     -                    -                     -                   -                -                    -
      Total Accounts Receivable                                                                 -                     -                    -                     -                   -                -                    -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                    -                     -                    -                     -                   -                -                    -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                          -                     -                    -                     -                   -                -                    -
            Total 11050 · Due (to)/from related party NBK                                       -                     -                    -                     -                   -                -                    -
            14010 · Due From Shapiro                                                            -                     -                    -                     -                   -                -                    -
            14025 · Professional Retainers                                                      -                     -                    -                     -                   -                -                    -
      Total Other Current Assets                                                                -                     -                    -                     -                   -                -                    -
   Total Current Assets                                                                         -                     -                    -                     -                   -                -                    -
   Fixed Assets                                                                                 -                     -                    -                     -                   -                -                    -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                     -                     -                    -                     -                   -                -                    -
   Total Fixed Assets                                                                           -                     -                    -                     -                   -                -                    -
   Other Assets                                                                                 -                     -                    -                     -                   -                -                    -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                              100,000             1,400,000             100,000             5,312,447             4,700,000         3,500,000            90,000
      18100 · Pre-Pet Capitalized Improvement                                                   -                     -                    -                     -                   -                -                    -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                      -                     -                    -                     -                   -                -                    -
      18200 · Post Pet Capitalized Improvemen                                             9,731               865,717              10,121             2,071,803             2,145,536         4,918,467             9,436
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                              -                  360                     -             16,958              272,349                  -                    -
            18230 · Post-Pet Property Taxes                                                     -                     -                    -                     -                   -           20,593                    -
            18240 · Post-Pet Insurance                                                          -              17,531               2,658                65,317               28,914             13,602             2,658
            18250 · Post-Pet Interest                                                           -                  502                  147                      -                   -                -                    -
            18260 · Post-Pet Utilities Costs                                                    -                     -                    -                     -                   -                -                    -
            18270 · Post-Pet Other Costs                                                        -                     -                    -                     -                   -            5,475                    -
            18280 · Rental property major improveme                                       1,683                       -             1,781                    598                   500            8,589             1,783
            18200 · Post Pet Capitalized Improvemen - Other                                     -                     -                    -                     -                   -                -                    -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                      -                     -                    -                     -                   -                -                    -
      18300 · Structured Settlements                                    5.                1,683                18,393               4,586                82,873              301,763             48,259             4,441
      18400 · Due (to)/from Fries trust acct                                                    -                     -                    -                     -                   -                -                    -
   Total Other Assets                                                                   111,414             2,284,110             114,707             7,467,123             7,147,299         8,466,726           103,877
TOTAL ASSETS                                                                            111,414             2,284,110             114,707             7,467,123             7,147,299         8,466,726           103,877
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                    325                9,229               1,801                42,003               58,741             12,636             1,654
                 20100 · Pre-Petition Accounts Payable                                          -                     -                    -                     -                   -                -                    -
            Total Accounts Payable                                      6.                   325                9,229               1,801                42,003               58,741             12,636             1,654
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                              -                  123                     -                 315                     -            6,999                    -
                 20120 · Tenant Deposit & Prepaid Rent                                          -                     -                    -                     -                   -                -                    -
                 24000 · Payroll Liabilities                                                    -                     -                    -                     -                   -                -                    -
                 24400 · Due (to)/from Group or affiliat                                  1,683                 9,537               3,110               145,667              375,585             70,669             3,112
                 24500 · DIP Lender Note Payable                        7.                      -                     -                    -                     -                   -                -                    -
                 24510 · Short Term Notes Payable                                               -                     -                    -                     -                   -                -                    -
            Total Other Current Liabilities                                               1,683                 9,660               3,110               145,982              375,585             77,668             3,112
      Total Current Liabilities                                                           2,008                18,890               4,911               187,985              434,326             90,303             4,766
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.              109,731             2,265,717             110,121             7,375,428             6,714,923         8,384,664            99,436
            25250 · Due to Noteholders                                  8.                      -                     -                    -                     -                   -                -                    -
            25300 · Due to Unitholders                                  8.                      -                     -                    -                     -                   -                -                    -
      Total Long Term Liabilities                                                       109,731             2,265,717             110,121             7,375,428             6,714,923         8,384,664            99,436
   Total Liabilities                                                                    111,739             2,284,607             115,032             7,563,413             7,149,249         8,474,967           104,202
   Equity
      30000 · Opening Balance Equity                                    9.                      -                  (123)                   -                 (315)                   -           (6,999)                   -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                      -                     -                    -                     -                   -                -                    -
      Net Income/(Loss): Post Petition Current Period                                        (325)                 (374)                (325)           (95,975)               (1,950)           (1,242)                (325)
   Total Equity                                                                              (325)                 (497)                (325)           (96,290)               (1,950)           (8,241)                (325)
TOTAL LIABILITIES & EQUITY                                                              111,414             2,284,110             114,707             7,467,123             7,147,299         8,466,726           103,877
                                                                                                -                     -                    -                     -                   -                -                    -




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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              P-047 Craven       P-048 Crossbeam      P-049 Crowfield        P-050 Crystal         P-051 Daleville       P-052 Derbyshire      P-053 Diamond
                                                              Debtor: Notes    Invest LLC           Invest LLC          Invest LLC          Woods Invest LLC         Invest LLC             Invest LLC         Cove Invest LLC


                                                            Case No.:   1.     17-12636             17-12650             17-12660               17-12676             17-12687               17-12696              17-12705
ASSETS
   Current Assets
            Total 10000 · Cash                                                               -                   -                      -                     -                      -                    -                   -
      Total Checking/Savings                                            2.                   -                   -                      -                     -                      -                    -                   -
      Accounts Receivable
            11000 · Accounts Receivable                                                      -                   -                      -                     -                      -                    -                   -
      Total Accounts Receivable                                                              -                   -                      -                     -                      -                    -                   -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                 -                   -                      -                     -                      -                    -                   -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                       -                   -                      -                     -                      -                    -                   -
            Total 11050 · Due (to)/from related party NBK                                    -                   -                      -                     -                      -                    -                   -
            14010 · Due From Shapiro                                                         -                   -                      -                     -                      -                    -                   -
            14025 · Professional Retainers                                                   -                   -                      -                     -                      -                    -                   -
      Total Other Current Assets                                                             -                   -                      -                     -                      -                    -                   -
   Total Current Assets                                                                      -                   -                      -                     -                      -                    -                   -
   Fixed Assets                                                                              -                   -                      -                     -                      -                    -                   -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                  -                   -                      -                     -                      -                    -                   -
   Total Fixed Assets                                                                        -                   -                      -                     -                      -                    -                   -
   Other Assets                                                                              -                   -                      -                     -                      -                    -                   -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                         8,725,000                     -          5,200,000                125,000                90,500              1,017,450           35,350,000
      18100 · Pre-Pet Capitalized Improvement                                                -                   -                      -                     -                      -                    -                   -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                   -                   -              3,310                         -                      -                    -                   -
      18200 · Post Pet Capitalized Improvemen                                        236,732                     -          1,390,049                  9,670                14,276                 34,195              372,318
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                    49,319              10,500              672,290                         -                      -                    -            443,319
            18230 · Post-Pet Property Taxes                                                  -                   -                      -                     -                      -                    -                   -
            18240 · Post-Pet Insurance                                                52,749                     -             62,463                  2,658                  2,658                 6,323              253,045
            18250 · Post-Pet Interest                                                     502                    -                      -                     -                      -              3,552                     -
            18260 · Post-Pet Utilities Costs                                          24,068                     -                      -                     -                      -                    -                   -
            18270 · Post-Pet Other Costs                                                     -                   -                  859                       -                      -              1,796                     -
            18280 · Rental property major improveme                                       500                    -                      -              1,683                  5,006                 2,140                2,185
            18200 · Post Pet Capitalized Improvemen - Other                                  -                   -                      -                     -                      -                    -                   -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                   -                   -                      -                     -                      -                    -                   -
      18300 · Structured Settlements                                    5.           127,137              10,500              735,613                  4,341                  7,664                13,811              698,549
      18400 · Due (to)/from Fries trust acct                                                 -                   -                      -                     -                      -                    -                   -
   Total Other Assets                                                              9,088,869              10,500            7,325,662                139,011               112,440              1,065,456           36,420,867
TOTAL ASSETS                                                                       9,088,869              10,500            7,325,662                139,011               112,440              1,065,456           36,420,867
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                            110,457              10,549               98,736                  1,654                  1,654                 3,748              172,856
                 20100 · Pre-Petition Accounts Payable                                       -                   -                      -                     -                      -                    -                   -
            Total Accounts Payable                                      6.           110,457              10,549               98,736                  1,654                  1,654                 3,748              172,856
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                     4,000                     -             14,328                         -                      -                 664              14,756
                 20120 · Tenant Deposit & Prepaid Rent                                       -                   -                      -                     -                      -                    -                   -
                 24000 · Payroll Liabilities                                                 -                   -                      -                     -                      -                    -                   -
                 24400 · Due (to)/from Group or affiliat                              73,466                     -            789,845                  3,012                  6,335                10,388              547,729
                 24500 · DIP Lender Note Payable                        7.                   -                   -                      -                     -                      -                    -                   -
                 24510 · Short Term Notes Payable                                  4,000,000                     -                      -                     -                      -                    -                   -
            Total Other Current Liabilities                                        4,077,466                     -            804,173                  3,012                  6,335                11,052              562,485
      Total Current Liabilities                                                    4,187,924              10,549              902,909                  4,666                  7,989                14,801              735,341
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.         4,953,732                     -          6,441,956                134,670               104,776              1,051,645           35,705,358
            25250 · Due to Noteholders                                  8.                   -                   -                      -                     -                      -                    -                   -
            25300 · Due to Unitholders                                  8.                   -                   -                      -                     -                      -                    -                   -
      Total Long Term Liabilities                                                  4,953,732                     -          6,441,956                134,670               104,776              1,051,645           35,705,358
   Total Liabilities                                                               9,141,656              10,549            7,344,865                139,336               112,765              1,066,446           36,440,699
   Equity
      30000 · Opening Balance Equity                                    9.            (4,000)                    -             (14,328)                       -                      -                 (664)           (14,756)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                   -                   -                      -                     -                      -                    -                   -
      Net Income/(Loss): Post Petition Current Period                                (48,786)                  (49)             (4,875)                    (325)                (325)                  (325)             (5,076)
   Total Equity                                                                      (52,786)                  (49)            (19,203)                    (325)                (325)                  (989)           (19,833)
TOTAL LIABILITIES & EQUITY                                                         9,088,869              10,500            7,325,662                139,011               112,440              1,065,456           36,420,867
                                                                                             -                   -                    -                       -                      -                    -                   -




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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                               P-054 Dixville        P-055 Dogwood         P-056 Dollis Brook P-057 Donnington     P-059 Doubleleaf      P-060 Drawspan        P-061 Eldredge
                                                              Debtor: Notes   Notch Invest LLC      Valley Invest LLC          Invest LLC        Invest LLC           Invest LLC            Invest LLC           Invest LLC


                                                            Case No.:   1.       17-12716               17-12727               17-12735           17-12744            17-12755              17-12767             17-12775
ASSETS
   Current Assets
            Total 10000 · Cash                                                                 -                      -                      -          17,713                      -                     -                     -
      Total Checking/Savings                                            2.                     -                      -                      -          17,713                      -                     -                     -
      Accounts Receivable
            11000 · Accounts Receivable                                                        -                      -                      -                 -                    -                     -                     -
      Total Accounts Receivable                                                                -                      -                      -                 -                    -                     -                     -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                   -                      -                      -                 -                    -                     -                     -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                         -                      -                      -                 -                    -                     -                     -
            Total 11050 · Due (to)/from related party NBK                                      -                      -                      -                 -                    -                     -                     -
            14010 · Due From Shapiro                                                           -                      -                      -                 -                    -                     -                     -
            14025 · Professional Retainers                                                     -                      -                      -                 -                    -                     -                     -
      Total Other Current Assets                                                               -                      -                      -                 -                    -                     -                     -
   Total Current Assets                                                                        -                      -                      -                 -                    -                     -                     -
   Fixed Assets                                                                                -                      -                      -          17,713                      -                     -                     -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                    -                      -                      -                 -                    -                     -                     -
   Total Fixed Assets                                                                          -                      -                      -                 -                    -                     -                     -
   Other Assets                                                                                -                      -                      -                 -                    -                     -                     -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                             150,000               110,000              1,000,000          5,750,000            1,285,000            1,035,000             5,625,000
      18100 · Pre-Pet Capitalized Improvement                                                  -                      -                      -                 -                    -                     -                     -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                     -                      -                      -                 -                    -                     -                     -
      18200 · Post Pet Capitalized Improvemen                                            9,591                 9,665                170,557            796,787              629,559              904,712             3,795,996
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                             -              24,703                 17,045                  750                    -            425,532               882,522
            18230 · Post-Pet Property Taxes                                                    -                      -                   246                  -                    -                     -                     -
            18240 · Post-Pet Insurance                                                   3,351                 2,658                 24,961            119,856               49,181               13,162                67,557
            18250 · Post-Pet Interest                                                          -                      -                   633            1,142                1,293                     54                      -
            18260 · Post-Pet Utilities Costs                                                   -                      -                      -                 -                    -                     -                     -
            18270 · Post-Pet Other Costs                                                       -                      -               2,109                  998                    -                  490                  628
            18280 · Rental property major improveme                                      1,683                 1,683                  1,683             10,578                      -              4,650                    218
            18200 · Post Pet Capitalized Improvemen - Other                                    -                      -                      -                 -                    -                     -                     -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                     -                      -                      -                 -                    -                     -                     -
      18300 · Structured Settlements                                    5.               5,034                29,044                 46,677            133,324               50,475              443,888               950,925
      18400 · Due (to)/from Fries trust acct                                                   -                      -                      -                 -                    -                     -                     -
   Total Other Assets                                                                  164,625               148,709              1,217,234          6,680,111            1,965,034            2,383,600            10,371,920
TOTAL ASSETS                                                                           164,625               148,709              1,217,234          6,697,824            1,965,034            2,383,600            10,371,920
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                2,000                 1,979                 13,675             60,812               50,849               95,297               138,195
                 20100 · Pre-Petition Accounts Payable                                         -                      -                      -                 -                    -                     -                     -
            Total Accounts Payable                                      6.               2,000                 1,979                 13,675             60,812               50,849               95,297               138,195
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                             -                      -                   358                 46                    -                  938                  798
                 20120 · Tenant Deposit & Prepaid Rent                                         -                      -                      -          17,185                      -                     -                     -
                 24000 · Payroll Liabilities                                                   -                      -                      -                 -                    -                     -                     -
                 24400 · Due (to)/from Group or affiliat                                 3,358                27,715                  (6,178)           37,103                      -            434,098               935,221
                 24500 · DIP Lender Note Payable                        7.                     -                      -                      -                 -                    -                     -                     -
                 24510 · Short Term Notes Payable                                              -                      -                      -                 -                    -                     -                     -
            Total Other Current Liabilities                                              3,358                27,715                  (5,820)           54,335                      -            435,037               936,020
      Total Current Liabilities                                                          5,359                29,694                  7,855            115,147               50,849              530,333             1,074,215
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.             159,591               119,665              1,170,557          6,546,787            1,914,559            1,859,129             9,299,154
            25250 · Due to Noteholders                                  8.                     -                      -                      -                 -                    -                     -                     -
            25300 · Due to Unitholders                                  8.                     -                      -                      -                 -                    -                     -                     -
      Total Long Term Liabilities                                                      159,591               119,665              1,170,557          6,546,787            1,914,559            1,859,129             9,299,154
   Total Liabilities                                                                   164,950               149,359              1,178,412          6,661,934            1,965,408            2,389,462            10,373,369
   Equity
      30000 · Opening Balance Equity                                    9.                     -                      -                   (358)              479                    -                  (938)                (798)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                     -                      -                      -           2,746                      -                     -                     -
      Net Income/(Loss): Post Petition Current Period                                       (325)                  (650)             39,180             32,666                   (374)            (4,924)                   (650)
   Total Equity                                                                             (325)                  (650)             38,823             35,891                   (374)            (5,862)               (1,448)
TOTAL LIABILITIES & EQUITY                                                             164,625               148,709              1,217,234          6,697,824            1,965,034            2,383,600            10,371,920
                                                                                               -                      -                      -                 -                    -                     -                     -




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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              P-062 Elstar Invest     P-063 Emerald        P-064 Fieldpoint    P-065 Franconia       P-066 Gateshead    P-067 Glenn Rich        P-068 Goose
                                                              Debtor: Notes          LLC             Lake Invest LLC          Invest LLC       Notch Inves LLC          Invest LLC         Invest LLC         Rocks Invest LLC


                                                            Case No.:   1.        17-12782              17-12788              17-12794            17-12797              17-12794           17-12602              17-12611
ASSETS
   Current Assets
            Total 10000 · Cash                                                                  -                      -              4,308                     -             17,584                     -                    -
      Total Checking/Savings                                            2.                      -                      -              4,308                     -             17,584                     -                    -
      Accounts Receivable
            11000 · Accounts Receivable                                                         -                      -                   -                    -                  -                     -                    -
      Total Accounts Receivable                                                                 -                      -                   -                    -                  -                     -                    -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                    -                      -                   -                    -                  -                     -                    -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                          -                      -                   -                    -                  -                     -                    -
            Total 11050 · Due (to)/from related party NBK                                       -                      -                   -                    -                  -                     -                    -
            14010 · Due From Shapiro                                                            -                      -                   -                    -                  -                     -                    -
            14025 · Professional Retainers                                                      -                      -                   -                    -                  -                     -                    -
      Total Other Current Assets                                                                -                      -                   -                    -                  -                     -                    -
   Total Current Assets                                                                         -                      -                   -                    -                  -                     -                    -
   Fixed Assets                                                                                 -                      -              4,308                     -             17,584                     -                    -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                     -                      -                   -                    -                  -                     -                    -
   Total Fixed Assets                                                                           -                      -                   -                    -                  -                     -                    -
   Other Assets                                                                                 -                      -                   -                    -                  -                     -                    -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                            7,220,000            6,700,000                800,000            100,000             2,000,000             120,000             6,750,000
      18100 · Pre-Pet Capitalized Improvement                                                   -                      -                   -                    -                  -                     -                    -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                      -                      -                   -                    -                  -                     -                    -
      18200 · Post Pet Capitalized Improvemen                                         1,446,625            1,938,531                  6,346              9,397               183,613              17,253             8,593,818
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                      961,372                        -             12,627                     -                  -                     -           1,301,957
            18230 · Post-Pet Property Taxes                                                     -                      -              1,288                     -                  -                     -                    -
            18240 · Post-Pet Insurance                                                   85,227                     32               16,433              2,658                44,651               2,641                54,425
            18250 · Post-Pet Interest                                                           -             21,797                  1,729                  147               8,761                     -                    -
            18260 · Post-Pet Utilities Costs                                                    -                      -                   -                    -                  -                     -                    -
            18270 · Post-Pet Other Costs                                                   1,338                       -                 290                    -              4,331                     -                  455
            18280 · Rental property major improveme                                             -              1,060                       -             1,683                 1,859               1,137                11,400
            18200 · Post Pet Capitalized Improvemen - Other                                     -                      -              4,781                     -                  -                     -                    -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                      -                      -                   -                    -                  -                     -                    -
      18300 · Structured Settlements                                    5.            1,047,937               22,889                 37,147              4,488                59,603               3,778             1,368,237
      18400 · Due (to)/from Fries trust acct                                                    -                      -                   -                    -                  -                     -                    -
   Total Other Assets                                                                 9,714,563            8,661,420                843,493            113,885             2,243,216             141,031            16,712,054
TOTAL ASSETS                                                                          9,714,563            8,661,420                847,802            113,885             2,260,800             141,031            16,712,054
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                               274,256                    682                8,640              1,801                29,400               1,645               601,197
                 20100 · Pre-Petition Accounts Payable                                          -                      -                   -                    -                  -                     -                  660
            Total Accounts Payable                                      6.              274,256                    682                8,640              1,801                29,400               1,645               601,857
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                           403                       -              4,100                     -              3,727                     -               1,142
                 20120 · Tenant Deposit & Prepaid Rent                                          -                      -              5,510                     -             18,451                     -                    -
                 24000 · Payroll Liabilities                                                    -                      -                   -                    -                  -                     -                    -
                 24400 · Due (to)/from Group or affiliat                                789,770               (76,638)              (12,102)             3,012               (31,798)              2,458             1,574,452
                 24500 · DIP Lender Note Payable                        7.                      -                      -                   -                    -                  -                     -                    -
                 24510 · Short Term Notes Payable                                               -                      -                   -                    -                  -                     -                    -
            Total Other Current Liabilities                                             790,173               (76,638)               (2,492)             3,012                (9,620)              2,458             1,575,595
      Total Current Liabilities                                                       1,064,430               (75,956)                6,147              4,813                19,780               4,103             2,177,452
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.            8,655,411            8,638,531                806,346            109,397             2,183,613             137,253            14,540,620
            25250 · Due to Noteholders                                  8.                      -                      -                   -                    -                  -                     -                    -
            25300 · Due to Unitholders                                  8.                      -                      -                   -                    -                  -                     -                    -
      Total Long Term Liabilities                                                     8,655,411            8,638,531                806,346            109,397             2,183,613             137,253            14,540,620
   Total Liabilities                                                                  9,719,841            8,562,575                812,493            114,210             2,203,393             141,356            16,718,072
   Equity
      30000 · Opening Balance Equity                                    9.                   (403)                     -             (4,002)                    -             (4,125)                    -              (1,142)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                      -             39,495                  7,143                     -             16,969                     -                    -
      Net Income/(Loss): Post Petition Current Period                                     (4,875)             59,350                 32,167                  (325)            44,563                  (325)             (4,875)
   Total Equity                                                                           (5,278)             98,845                 35,308                  (325)            57,407                  (325)             (6,017)
TOTAL LIABILITIES & EQUITY                                                            9,714,563            8,661,420                847,802            113,885             2,260,800             141,031            16,712,054
                                                                                                -                    -                     -                    -                  -                     -                    -




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                                                                                                                                                                                                                  MOR-3 Balance Sheet
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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                                                                                                                                                     P-075
                                                                              P-069 Goosebrook P-070 Graeme Park    P-071 Grand    P-072 Gravenstein   P-073 Green        P-074 Grenadier       Grumblethorpe
                                                              Debtor: Notes       Invest LLC       Invest LLC    Midway Invest LLC    Invest LLC     Gables Invest LLC       Invest LLC           Invest LLC


                                                            Case No.:   1.        17-12617          17-12622          17-12628         17-12632           17-12637           17-12643             17-12649
ASSETS
   Current Assets
            Total 10000 · Cash                                                                 -                 -        (806,867)                  -               -                      -                   -
      Total Checking/Savings                                            2.                     -                 -        (806,867)                  -               -                      -                   -
      Accounts Receivable
            11000 · Accounts Receivable                                                        -                 -                 -                 -               -                      -                   -
      Total Accounts Receivable                                                                -                 -                 -                 -               -                      -                   -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                   -                 -                 -                 -               -                      -                   -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                         -                 -                 -                 -               -                      -                   -
            Total 11050 · Due (to)/from related party NBK                                      -                 -                 -                 -               -                      -                   -
            14010 · Due From Shapiro                                                           -                 -                 -                 -               -                      -                   -
            14025 · Professional Retainers                                                     -                 -                 -                 -               -                      -                   -
      Total Other Current Assets                                                               -                 -                 -                 -               -                      -                   -
   Total Current Assets                                                                        -                 -                 -                 -               -                      -                   -
   Fixed Assets                                                                                -                 -        (806,867)                  -               -                      -                   -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                    -                 -                 -                 -               -                      -                   -
   Total Fixed Assets                                                                          -                 -                 -                 -               -                      -                   -
   Other Assets                                                                                -                 -                 -                 -               -                      -                   -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                           4,000,000         9,500,000        36,000,000         4,750,000        10,250,000            100,000              120,000
      18100 · Pre-Pet Capitalized Improvement                                                  -                 -                 -                 -               -                      -                   -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                     -                 -                 -                 -               -                      -                   -
      18200 · Post Pet Capitalized Improvemen                                        1,063,533           185,062           615,069         2,597,224           263,811              5,656                5,565
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                   1,063,892           212,928           468,733         1,173,665           193,889                      -                   -
            18230 · Post-Pet Property Taxes                                                    -                 -                 -                 -               -                      -                   -
            18240 · Post-Pet Insurance                                                  25,032            55,114           323,919            27,344            29,431                  733              2,658
            18250 · Post-Pet Interest                                                   14,790                   -               502                 -               -                      -                147
            18260 · Post-Pet Utilities Costs                                                   -                 -                 -                 -               -                      -                   -
            18270 · Post-Pet Other Costs                                                     478           2,059                   -              127            4,546                      -                   -
            18280 · Rental property major improveme                                           98               725                 -                 -               -              1,743                1,683
            18200 · Post Pet Capitalized Improvemen - Other                                    -                 -                 -                 -               -                      -                   -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                     -                 -                 -                 -               -                      -                   -
      18300 · Structured Settlements                                    5.           1,104,290           270,826           793,155         1,201,136           227,865              2,476                4,488
      18400 · Due (to)/from Fries trust acct                                                   -                 -                 -                 -               -                      -                   -
   Total Other Assets                                                                6,167,823         9,955,889        37,408,224         8,548,360        10,741,676            108,132              130,053
TOTAL ASSETS                                                                         6,167,823         9,955,889        36,601,357         8,548,360        10,741,676            108,132              130,053
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                               48,445            92,442           354,159            43,443            19,211                  692              1,801
                 20100 · Pre-Petition Accounts Payable                                         -                 -           2,379                   -               -                      -                   -
            Total Accounts Payable                                      6.              48,445            92,442           356,538            43,443            19,211                  692              1,801
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                       2,526             7,516            45,000                504          101,305                      -                   -
                 20120 · Tenant Deposit & Prepaid Rent                                         -                 -                 -                 -               -                      -                   -
                 24000 · Payroll Liabilities                                                   -                 -                 -                 -               -                      -                   -
                 24400 · Due (to)/from Group or affiliat                             1,150,393           230,538           511,330         1,251,382           312,263              2,110                3,012
                 24500 · DIP Lender Note Payable                        7.                     -                 -                 -                 -               -                      -                   -
                 24510 · Short Term Notes Payable                                              -                 -      26,000,000                   -               -                      -                   -
            Total Other Current Liabilities                                          1,152,919           238,054        26,556,330         1,251,886           413,568              2,110                3,012
      Total Current Liabilities                                                      1,201,364           330,495        26,912,868         1,295,329           432,779              2,801                4,813
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.           4,973,860         9,634,534        10,545,231         7,265,618        10,412,312            105,656              125,565
            25250 · Due to Noteholders                                  8.                     -                 -                 -                 -               -                      -                   -
            25300 · Due to Unitholders                                  8.                     -                 -                 -                 -               -                      -                   -
      Total Long Term Liabilities                                                    4,973,860         9,634,534        10,545,231         7,265,618        10,412,312            105,656              125,565
   Total Liabilities                                                                 6,175,224         9,965,029        37,458,099         8,560,947        10,845,091            108,457              130,378
   Equity
      30000 · Opening Balance Equity                                    9.              (2,526)           (7,516)          (45,000)               (504)       (101,305)                     -                   -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                     -                 -                 -                 -               -                      -                   -
      Net Income/(Loss): Post Petition Current Period                                   (4,875)           (1,625)         (811,742)          (12,083)           (2,110)                 (325)                (325)
   Total Equity                                                                         (7,401)           (9,141)         (856,742)          (12,587)         (103,415)                 (325)                (325)
TOTAL LIABILITIES & EQUITY                                                           6,167,823         9,955,889        36,601,357         8,548,360        10,741,676            108,132              130,053
                                                                                               -                 -                 -                 -               -                     -                    -




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                                                                                                                                                                                                   MOR-3 Balance Sheet
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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                                                                                                  P-080
                                                                              P-076 Hackmatack       P-077 Haffenburg    P-078 Haralson       Harringworth        P-081 Hawthorne   P-082 Hazelpoint       P-084 Heilbron
                                                              Debtor: Notes       Invest LLC            Invest LLC         Invest LLC          Invest, LLC           Invest LLC        Invest LLC         Manor Invest LLC


                                                            Case No.:   1.        17-12653              17-12659           17-12663            17-12669              18-10291          17-12674              17-12681
ASSETS
   Current Assets
            Total 10000 · Cash                                                                  -                    -                    -                  -             47,393                    -                   -
      Total Checking/Savings                                            2.                      -                    -                    -                  -             47,393                    -                   -
      Accounts Receivable
            11000 · Accounts Receivable                                                         -                    -                    -                  -                  -                    -                   -
      Total Accounts Receivable                                                                 -                    -                    -                  -                  -                    -                   -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                    -                    -                    -                  -                  -                    -                   -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                          -                    -                    -                  -                  -                    -                   -
            Total 11050 · Due (to)/from related party NBK                                       -                    -                    -                  -                  -                    -                   -
            14010 · Due From Shapiro                                                            -                    -                    -                  -                  -                    -                   -
            14025 · Professional Retainers                                                      -                    -                    -                  -                  -                    -                   -
      Total Other Current Assets                                                                -                    -                    -                  -                  -                    -                   -
   Total Current Assets                                                                         -                    -                    -                  -                  -                    -                   -
   Fixed Assets                                                                                 -                    -                    -                  -             47,393                    -                   -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                     -                    -                    -                  -                  -                    -                   -
   Total Fixed Assets                                                                           -                    -                    -                  -                  -                    -                   -
   Other Assets                                                                                 -                    -                    -                  -                  -                    -                   -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                             575,000                       -           160,000                     -          2,080,000                    -           6,300,000
      18100 · Pre-Pet Capitalized Improvement                                                   -                    -                    -                  -                  -                    -                   -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                      -                    -                    -                  -                  -                    -                   -
      18200 · Post Pet Capitalized Improvemen                                           55,235                       -             6,414                     -              1,050                    -             379,039
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                              -                    -                    -                  -                  -                    -             232,064
            18230 · Post-Pet Property Taxes                                                     -                    -                    -                  -                  -                    -                   -
            18240 · Post-Pet Insurance                                                   3,603                       -             4,044                     -             13,088                    -              37,819
            18250 · Post-Pet Interest                                                           -                    -                    -                  -                  -                    -                   -
            18260 · Post-Pet Utilities Costs                                                    -                    -                    -                  -                  -                    -                   -
            18270 · Post-Pet Other Costs                                                 1,779                       -                    -                  -                  -                    -                   -
            18280 · Rental property major improveme                                      3,523                     100             1,783                  100               6,831                  98                3,775
            18200 · Post Pet Capitalized Improvemen - Other                                     -                    -                    -                  -                  -                    -                   -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                      -                    -                    -                  -                  -                    -                   -
      18300 · Structured Settlements                                    5.               8,905                     100             5,827                  100              19,920                  98              273,658
      18400 · Due (to)/from Fries trust acct                                                    -                    -                    -                  -                  -                    -                   -
   Total Other Assets                                                                  639,140                     100           172,241                  100           2,100,970                  98            6,952,697
TOTAL ASSETS                                                                           639,140                     100           172,241                  100           2,148,363                  98            6,952,697
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                2,337                       -             2,447                  423              14,524                 325               56,385
                 20100 · Pre-Petition Accounts Payable                                          -                    -                    -                  -                  -                    -               1,000
            Total Accounts Payable                                      6.               2,337                       -             2,447                  423              14,524                 325               57,385
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                           763                     -                    -                  -              1,050                    -               5,312
                 20120 · Tenant Deposit & Prepaid Rent                                          -                    -                    -                  -                  -                    -                   -
                 24000 · Payroll Liabilities                                                    -                    -                    -                  -                  -                    -                   -
                 24400 · Due (to)/from Group or affiliat                                 6,893                     100             3,705                  100              15,422                  98              228,769
                 24500 · DIP Lender Note Payable                        7.                      -                    -                    -                  -                  -                    -                   -
                 24510 · Short Term Notes Payable                                               -                    -                    -                  -                  -                    -                   -
            Total Other Current Liabilities                                              7,656                     100             3,705                  100              16,472                  98              234,082
      Total Current Liabilities                                                          9,993                     100             6,152                  523              30,996                 423              291,466
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.             630,235                       -           166,414                     -          2,081,050                    -           6,668,168
            25250 · Due to Noteholders                                  8.                      -                    -                    -                  -                  -                    -                   -
            25300 · Due to Unitholders                                  8.                      -                    -                    -                  -                  -                    -                   -
      Total Long Term Liabilities                                                      630,235                       -           166,414                     -          2,081,050                    -           6,668,168
   Total Liabilities                                                                   640,228                     100           172,566                  523           2,112,046                 423            6,959,634
   Equity
      30000 · Opening Balance Equity                                    9.                   (763)                   -                    -                  -              2,128                    -              (5,312)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                      -                    -                    -                  -             12,307                    -                   -
      Net Income/(Loss): Post Petition Current Period                                        (325)                   -                (325)               (423)            21,882                 (325)             (1,625)
   Total Equity                                                                         (1,088)                      -                (325)               (423)            36,318                 (325)             (6,937)
TOTAL LIABILITIES & EQUITY                                                             639,140                     100           172,241                  100           2,148,363                  98            6,952,697
                                                                                                -                    -                    -                  -                  -                    -                   -




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                                                                                                                                                                                                              MOR-3 Balance Sheet
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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                                                                                                                                         P-093 Lilac
                                                                              P-085 Hollyline       P-086 Hornbeam        P-087 Idared Invest P-088 Imperial Aly    P-092 Lenni         Meadow Invest        P-094 Lilac Valley
                                                              Debtor: Notes    Owners LLC              Invest LLC                 LLC            Invest LLC      Heights Invest LLC         LLC                 Invest LLC


                                                            Case No.:   1.       17-12688              17-12694               17-12701            17-12708           17-12720             17-12728               18-10292
ASSETS
   Current Assets
            Total 10000 · Cash                                                                  -                    -                      -                   -                  -                    -                      -
      Total Checking/Savings                                            2.                      -                    -                      -                   -                  -                    -                      -
      Accounts Receivable
            11000 · Accounts Receivable                                                         -                    -                      -                   -                  -                    -                      -
      Total Accounts Receivable                                                                 -                    -                      -                   -                  -                    -                      -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                    -                    -                      -                   -                  -                    -                      -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                          -                    -                      -                   -                  -                    -                      -
            Total 11050 · Due (to)/from related party NBK                                       -                    -                      -                   -                  -                    -                      -
            14010 · Due From Shapiro                                                            -                    -                      -                   -                  -                    -                      -
            14025 · Professional Retainers                                                      -                    -                      -                   -                  -                    -                      -
      Total Other Current Assets                                                                -                    -                      -                   -                  -                    -                      -
   Total Current Assets                                                                         -                    -                      -                   -                  -                    -                      -
   Fixed Assets                                                                                 -                    -                      -                   -                  -                    -                      -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                     -                    -                      -                   -                  -                    -                      -
   Total Fixed Assets                                                                           -                    -                      -                   -                  -                    -                      -
   Other Assets                                                                                 -                    -                      -                   -                  -                    -                      -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                          1,499,000             9,500,000                 118,500          7,600,000            165,000            9,000,000                 555,000
      18100 · Pre-Pet Capitalized Improvement                                                   -                    -                      -                   -                  -                    -                      -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                      -                    -                      -           10,000                     -                    -                      -
      18200 · Post Pet Capitalized Improvemen                                         540,914             1,939,734                   9,421            300,354               7,186           1,835,373                 168,862
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                       4,860            1,003,554                         -          131,180                     -           494,549                         -
            18230 · Post-Pet Property Taxes                                                     -                    -                      -                   -                  -                    -                      -
            18240 · Post-Pet Insurance                                                 19,149                36,044                   2,531             91,663               4,044              55,008                   6,896
            18250 · Post-Pet Interest                                                       625                      -                      -                   -                  -                    -                1,023
            18260 · Post-Pet Utilities Costs                                                    -                    -                      -                   -                  -                    -                      -
            18270 · Post-Pet Other Costs                                                        -             1,100                         -                   -                  -                    -                   332
            18280 · Rental property major improveme                                          98                      -                1,237                  525             1,683                      -                   950
            18200 · Post Pet Capitalized Improvemen - Other                                     -                    -                      -                   -                  -                    -                      -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                      -                    -                      -                   -                  -                    -                      -
      18300 · Structured Settlements                                    5.             24,732             1,040,698                   3,768            223,368               5,727             549,557                   9,201
      18400 · Due (to)/from Fries trust acct                                                    -                    -                      -                   -                  -                    -                      -
   Total Other Assets                                                               2,064,646            12,480,432                 131,689          8,123,722            177,913           11,384,930                 733,063
TOTAL ASSETS                                                                        2,064,646            12,480,432                 131,689          8,123,722            177,913           11,384,930                 733,063
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                              12,233               139,743                   1,690            123,523               2,347             293,556                   3,773
                 20100 · Pre-Petition Accounts Payable                                          -                    -                      -           36,076                     -                 530                       -
            Total Accounts Payable                                      6.             12,233               139,743                   1,690            159,599               2,347             294,086                   3,773
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                              -                 544                       -            4,631                     -                 516                       -
                 20120 · Tenant Deposit & Prepaid Rent                                          -                    -                      -                   -                  -                    -                      -
                 24000 · Payroll Liabilities                                                    -                    -                      -                   -                  -                    -                      -
                 24400 · Due (to)/from Group or affiliat                               12,823               940,989                   2,403            119,594               3,705             780,645                   5,753
                 24500 · DIP Lender Note Payable                        7.                      -                    -                      -                   -                  -                    -                      -
                 24510 · Short Term Notes Payable                                               -                    -                      -                   -                  -                    -                      -
            Total Other Current Liabilities                                            12,823               941,533                   2,403            124,225               3,705             781,160                   5,753
      Total Current Liabilities                                                        25,057             1,081,276                   4,093            283,824               6,052           1,075,246                   9,526
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.          2,039,914            11,404,575                 127,921          7,845,504            172,186           10,312,149                 723,862
            25250 · Due to Noteholders                                  8.                      -                    -                      -                   -                  -                    -                      -
            25300 · Due to Unitholders                                  8.                      -                    -                      -                   -                  -                    -                      -
      Total Long Term Liabilities                                                   2,039,914            11,404,575                 127,921          7,845,504            172,186           10,312,149                 723,862
   Total Liabilities                                                                2,064,971            12,485,851                 132,014          8,129,328            178,238           11,387,395                 733,388
   Equity
      30000 · Opening Balance Equity                                    9.                      -                 (544)                     -            (4,631)                   -                 (516)                     -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                      -                    -                      -                   -                  -                    -                      -
      Net Income/(Loss): Post Petition Current Period                                       (325)            (4,875)                     (325)               (975)              (325)           (1,950)                     (325)
   Total Equity                                                                             (325)            (5,419)                     (325)           (5,606)                (325)           (2,466)                     (325)
TOTAL LIABILITIES & EQUITY                                                          2,064,646            12,480,432                 131,689          8,123,722            177,913           11,384,930                 733,063
                                                                                                -                    -                      -                   -                  -                    -                      -




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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              P-095 Lincolnshire     P-096 Lonetree       P-097 Longbourn       P-098 Mason Run       P-099 Massabesic P-100 Melody Lane        P-101 Merrimack
                                                              Debtor: Notes       Invest LLC           Invest LLC            Invest LLC            Invest LLC            Invest LLC        Invest LLC             Valley Invest


                                                            Case No.:   1.        17-12733             17-12740              17-12746              17-12751               18-10293           17-12757              17-12665
ASSETS
   Current Assets
            Total 10000 · Cash                                                                  -                     -                    -                     -                      -                  -                     -
      Total Checking/Savings                                            2.                      -                     -                    -                     -                      -                  -                     -
      Accounts Receivable
            11000 · Accounts Receivable                                                         -                     -                    -                     -                      -                  -                     -
      Total Accounts Receivable                                                                 -                     -                    -                     -                      -                  -                     -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                    -                     -                    -                     -                      -                  -                     -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                          -                     -                    -                     -                      -                  -                     -
            Total 11050 · Due (to)/from related party NBK                                       -                     -                    -                     -                      -                  -                     -
            14010 · Due From Shapiro                                                            -                     -                    -                     -                      -                  -                     -
            14025 · Professional Retainers                                                      -                     -                    -                     -                      -                  -                     -
      Total Other Current Assets                                                                -                     -                    -                     -                      -                  -                     -
   Total Current Assets                                                                         -                     -                    -                     -                      -                  -                     -
   Fixed Assets                                                                                 -                     -                    -                     -                      -                  -                     -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                     -                     -                    -                     -                      -                  -                     -
   Total Fixed Assets                                                                           -                     -                    -                     -                      -                  -                     -
   Other Assets                                                                                 -                     -                    -                     -                      -                  -                     -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                            3,100,000              135,000            2,990,000             2,600,000                765,000            100,000               120,000
      18100 · Pre-Pet Capitalized Improvement                                                   -                     -                    -                     -                      -                  -                     -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                      -                     -                    -                     -                      -                  -                     -
      18200 · Post Pet Capitalized Improvemen                                         1,890,878                9,931            2,322,285             1,348,961                 94,212             10,228                20,824
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                       38,365                       -           392,950                89,320                         -                  -                     -
            18230 · Post-Pet Property Taxes                                                     -                     -                    -                     -                   118                   -                     -
            18240 · Post-Pet Insurance                                                   40,436                3,351               37,502                32,222                  4,290              2,658                 2,751
            18250 · Post-Pet Interest                                                           -                 147                      -              3,933                         -                  -                     -
            18260 · Post-Pet Utilities Costs                                                    -                     -                    -                     -                      -                  -                     -
            18270 · Post-Pet Other Costs                                                      82                      -                 221                      -                   448                   -                     -
            18280 · Rental property major improveme                                             -                 100                   500               4,523                  4,699              1,683                 1,137
            18200 · Post Pet Capitalized Improvemen - Other                                     -                     -                    -                     -                      -                  -                     -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                      -                     -                    -                     -                      -                  -                     -
      18300 · Structured Settlements                                    5.               78,883                3,598              431,173               129,999                  9,555              4,341                 3,888
      18400 · Due (to)/from Fries trust acct                                                    -                     -                    -                     -                      -                  -                     -
   Total Other Assets                                                                 5,069,761              148,529            5,743,458             4,078,960                868,767            114,569               144,712
TOTAL ASSETS                                                                          5,069,761              148,529            5,743,458             4,078,960                868,767            114,569               144,712
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                20,917                2,147              102,499                44,500                  2,505              1,654                 1,700
                 20100 · Pre-Petition Accounts Payable                                          -                     -                    -                     -                      -                  -                     -
            Total Accounts Payable                                      6.               20,917                2,147              102,499                44,500                  2,505              1,654                 1,700
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                       36,269                       -                 249              17,311                      308                   -                     -
                 20120 · Tenant Deposit & Prepaid Rent                                          -                     -                    -                     -                      -                  -                     -
                 24000 · Payroll Liabilities                                                    -                     -                    -                     -                      -                  -                     -
                 24400 · Due (to)/from Group or affiliat                                 58,665                1,775              502,482               143,538                  7,375              3,012                 2,513
                 24500 · DIP Lender Note Payable                        7.                      -                     -                    -                     -                      -                  -                     -
                 24510 · Short Term Notes Payable                                               -                     -                    -                     -                      -                  -                     -
            Total Other Current Liabilities                                              94,934                1,775              502,731               160,849                  7,683              3,012                 2,513
      Total Current Liabilities                                                         115,851                3,923              605,230               205,349                 10,188              4,666                 4,213
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.            4,990,878              144,931            5,143,352             3,891,572                859,212            110,228               140,824
            25250 · Due to Noteholders                                  8.                      -                     -                    -                     -                      -                  -                     -
            25300 · Due to Unitholders                                  8.                      -                     -                    -                     -                      -                  -                     -
      Total Long Term Liabilities                                                     4,990,878              144,931            5,143,352             3,891,572                859,212            110,228               140,824
   Total Liabilities                                                                  5,106,729              148,854            5,748,582             4,096,921                869,400            114,894               145,037
   Equity
      30000 · Opening Balance Equity                                    9.              (36,269)                      -                 (249)           (17,311)                     (308)                 -                     -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                      -                     -                    -                     -                      -                  -                     -
      Net Income/(Loss): Post Petition Current Period                                        (699)                (325)            (4,875)                    (650)                  (325)              (325)                 (325)
   Total Equity                                                                         (36,968)                  (325)            (5,124)              (17,961)                     (633)              (325)                 (325)
TOTAL LIABILITIES & EQUITY                                                            5,069,761              148,529            5,743,458             4,078,960                868,767            114,569               144,712
                                                                                                -                     -                    -                     -                      -                  -                     -




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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
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                                                                              P-102 Mineola        P-103 Monadnock       P-104 Moravian       P-105 Mountain       P-106 Mt. Holly       P-107 Mutsu Invest     P-108 Newville
                                                              Debtor: Notes    Invest LLC             Invest LLC           Invest LLC          Spring Invest         Invest LLC                 LLC               Invest LLC


                                                            Case No.:   1.      17-12673              17-12682             17-12690             17-12698              17-12707               17-12719             17-12734
ASSETS
   Current Assets
            Total 10000 · Cash                                                                -                     -                     -                    -                     -                     -                     -
      Total Checking/Savings                                            2.                    -                     -                     -                    -                     -                     -                     -
      Accounts Receivable
            11000 · Accounts Receivable                                                       -                     -                     -                    -                     -                     -                     -
      Total Accounts Receivable                                                               -                     -                     -                    -                     -                     -                     -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                  -                     -                     -                    -                     -                     -                     -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                        -                     -                     -                    -                     -                     -                     -
            Total 11050 · Due (to)/from related party NBK                                     -                     -                     -                    -                     -                     -                     -
            14010 · Due From Shapiro                                                          -                     -                     -                    -                     -                     -                     -
            14025 · Professional Retainers                                                    -                     -                     -                    -                     -                     -                     -
      Total Other Current Assets                                                              -                     -                     -                    -                     -                     -                     -
   Total Current Assets                                                                       -                     -                     -                    -                     -                     -                     -
   Fixed Assets                                                                               -                     -                     -                    -                     -                     -                     -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                   -                     -                     -                    -                     -                     -                     -
   Total Fixed Assets                                                                         -                     -                     -                    -                     -                     -                     -
   Other Assets                                                                               -                     -                     -                    -                     -                     -                     -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                           120,000               160,000             1,342,500            3,600,000              125,000                 140,000              137,500
      18100 · Pre-Pet Capitalized Improvement                                                 -                     -                     -                    -                     -                     -                     -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                    -                     -                     -                    -                     -                     -                     -
      18200 · Post Pet Capitalized Improvemen                                          5,367                 9,976                46,457              438,719               16,550                  13,678               11,558
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                            -                     -                     -                375                       -                     -                     -
            18230 · Post-Pet Property Taxes                                                   -                     -                     -            19,835                        -                     -                     -
            18240 · Post-Pet Insurance                                                 2,658                 3,351                 7,951               54,422                2,971                   2,658                3,351
            18250 · Post-Pet Interest                                                         -                  147               7,700                       -                     -                     -                     -
            18260 · Post-Pet Utilities Costs                                                  -                     -                     -                    -                     -                     -                     -
            18270 · Post-Pet Other Costs                                                      -                     -              1,199                       -                     -                     -                     -
            18280 · Rental property major improveme                                    1,683                 1,683                 2,083                6,556                1,137                   2,463                1,683
            18200 · Post Pet Capitalized Improvemen - Other                                   -                     -                     -                    -                     -                     -                     -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                    -                     -                     -                    -                     -                     -                     -
      18300 · Structured Settlements                                    5.             4,341                 5,181                18,933               81,187                4,108                   5,121                5,034
      18400 · Due (to)/from Fries trust acct                                                  -                     -                     -                    -                     -                     -                     -
   Total Other Assets                                                                129,708               175,157             1,407,890            4,119,906              145,658                 158,799              154,092
TOTAL ASSETS                                                                         129,708               175,157             1,407,890            4,119,906              145,658                 158,799              154,092
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                              1,654                 2,147                 4,559               27,861                1,810                   2,404                2,000
                 20100 · Pre-Petition Accounts Payable                                        -                     -                     -                    -                     -                     -                     -
            Total Accounts Payable                                      6.             1,654                 2,147                 4,559               27,861                1,810                   2,404                2,000
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                            -                     -                 380                  275                       -                     -                     -
                 20120 · Tenant Deposit & Prepaid Rent                                        -                     -                     -                    -                     -                     -                     -
                 24000 · Payroll Liabilities                                                  -                     -                     -                    -                     -                     -                     -
                 24400 · Due (to)/from Group or affiliat                               3,012                 3,358                14,945               53,977                2,623                   3,042                3,358
                 24500 · DIP Lender Note Payable                        7.                    -                     -                     -                    -                     -                     -                     -
                 24510 · Short Term Notes Payable                                             -                     -                     -                    -                     -                     -                     -
            Total Other Current Liabilities                                            3,012                 3,358                15,325               54,252                2,623                   3,042                3,358
      Total Current Liabilities                                                        4,666                 5,506                19,884               82,112                4,433                   5,446                5,359
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.           125,367               169,976             1,388,957            4,038,719              141,550                 153,678              149,058
            25250 · Due to Noteholders                                  8.                    -                     -                     -                    -                     -                     -                     -
            25300 · Due to Unitholders                                  8.                    -                     -                     -                    -                     -                     -                     -
      Total Long Term Liabilities                                                    125,367               169,976             1,388,957            4,038,719              141,550                 153,678              149,058
   Total Liabilities                                                                 130,033               175,482             1,408,841            4,120,831              145,983                 159,124              154,417
   Equity
      30000 · Opening Balance Equity                                    9.                    -                     -                 (380)                (275)                     -                     -                     -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                    -                     -                     -                    -                     -                     -                     -
      Net Income/(Loss): Post Petition Current Period                                      (325)                 (325)                (571)                (650)                 (325)                  (325)                (325)
   Total Equity                                                                            (325)                 (325)                (951)                (925)                 (325)                  (325)                (325)
TOTAL LIABILITIES & EQUITY                                                           129,708               175,157             1,407,890            4,119,906              145,658                 158,799              154,092
                                                                                              -                     -                    -                    -                      -                     -                     -




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   Woodbridge Group of Companies, LLC, et al
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                                                                                                                                                                    P-113                                  P-115
                                                                              P-109 Old Carbon P-110 Old Maitland   P-111 Owl Ridge       P-112 Papirovka       Pawtuckaway       P-114 Pemberley       Pemigewasset
                                                              Debtor: Notes      Invest LLC        Invest LLC          Invest LLC            Invest LLC          Invest LLC          Invest LLC            Invest


                                                            Case No.:   1.       17-12743           17-12752           17-12763              17-12774            17-12783            17-12790             17-12800
ASSETS
   Current Assets
            Total 10000 · Cash                                                                 -               -                     -                      -                 -                    -                    -
      Total Checking/Savings                                            2.                     -               -                     -                      -                 -                    -                    -
      Accounts Receivable
            11000 · Accounts Receivable                                                        -               -                     -                      -                 -                    -                    -
      Total Accounts Receivable                                                                -               -                     -                      -                 -                    -                    -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                   -               -                     -                      -                 -                    -                    -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                         -               -                     -                      -                 -                    -                    -
            Total 11050 · Due (to)/from related party NBK                                      -               -                     -                      -                 -                    -                    -
            14010 · Due From Shapiro                                                           -               -                     -                      -                 -                    -                    -
            14025 · Professional Retainers                                                     -               -                     -                      -                 -                    -                    -
      Total Other Current Assets                                                               -               -                     -                      -                 -                    -                    -
   Total Current Assets                                                                        -               -                     -                      -                 -                    -                    -
   Fixed Assets                                                                                -               -                     -                      -                 -                    -                    -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                    -               -                     -                      -                 -                    -                    -
   Total Fixed Assets                                                                          -               -                     -                      -                 -                    -                    -
   Other Assets                                                                                -               -                     -                      -                 -                    -                    -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                             110,000         7,500,000             95,000               185,000           13,500,000          1,660,000              150,000
      18100 · Pre-Pet Capitalized Improvement                                                  -               -                     -                      -                 -                    -                    -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                     -               -                     -                      -                 -                    -                    -
      18200 · Post Pet Capitalized Improvemen                                            5,690           723,571             12,802                11,156            3,705,015          1,284,482                9,839
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                             -           2,160                     -                      -         859,706              13,791                       -
            18230 · Post-Pet Property Taxes                                                    -         230,147                     -                      -                 -                    -                    -
            18240 · Post-Pet Insurance                                                   2,658            14,702              2,658                 4,044              82,457              20,948                3,351
            18250 · Post-Pet Interest                                                          -          96,497                     -                      -                 -                    -                 147
            18260 · Post-Pet Utilities Costs                                                   -               -                     -                      -                 -                    -                    -
            18270 · Post-Pet Other Costs                                                       -           1,623                     -                      -                 -                  37                     -
            18280 · Rental property major improveme                                      1,683                 -              1,713                 1,683                   500             5,369                1,683
            18200 · Post Pet Capitalized Improvemen - Other                                    -               -                     -                      -                 -                    -                    -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                     -               -                     -                      -                 -                    -                    -
      18300 · Structured Settlements                                    5.               4,341           345,129              4,371                 5,727             942,663              40,144                5,181
      18400 · Due (to)/from Fries trust acct                                                   -               -                     -                      -                 -                    -                    -
   Total Other Assets                                                                  120,031         8,568,700            112,173               201,883           18,147,678          2,984,626              165,020
TOTAL ASSETS                                                                           120,031         8,568,700            112,173               201,883           18,147,678          2,984,626              165,020
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                1,654            11,461              1,654                 2,347             206,364              16,109                2,147
                 20100 · Pre-Petition Accounts Payable                                         -               -                     -                      -                 -                    -                    -
            Total Accounts Payable                                      6.               1,654            11,461              1,654                 2,347             206,364              16,109                2,147
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                             -           1,108                     -                      -                 -             1,385                       -
                 20120 · Tenant Deposit & Prepaid Rent                                         -               -                     -                      -                 -                    -                    -
                 24000 · Payroll Liabilities                                                   -               -                     -                      -                 -                    -                    -
                 24400 · Due (to)/from Group or affiliat                                 3,012           298,638              3,042                 3,705             949,322              24,458                3,358
                 24500 · DIP Lender Note Payable                        7.                     -               -                     -                      -                 -                    -                    -
                 24510 · Short Term Notes Payable                                              -               -                     -                      -                 -                    -                    -
            Total Other Current Liabilities                                              3,012           299,746              3,042                 3,705             949,322              25,843                3,358
      Total Current Liabilities                                                          4,666           311,207              4,696                 6,052            1,155,686             41,952                5,506
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.             115,690         8,223,571            107,802               196,156           16,996,867          2,944,482              159,839
            25250 · Due to Noteholders                                  8.                     -               -                     -                      -                 -                    -                    -
            25300 · Due to Unitholders                                  8.                     -               -                     -                      -                 -                    -                    -
      Total Long Term Liabilities                                                      115,690         8,223,571            107,802               196,156           16,996,867          2,944,482              159,839
   Total Liabilities                                                                   120,356         8,534,778            112,498               202,208           18,152,553          2,986,434              165,345
   Equity
      30000 · Opening Balance Equity                                    9.                     -          (1,108)                    -                      -                 -            (1,385)                      -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                     -               -                     -                      -                 -                    -                    -
      Net Income/(Loss): Post Petition Current Period                                       (325)         35,030                  (325)                 (325)           (4,875)                 (423)                (325)
   Total Equity                                                                             (325)         33,922                  (325)                 (325)           (4,875)            (1,808)                   (325)
TOTAL LIABILITIES & EQUITY                                                             120,031         8,568,700            112,173               201,883           18,147,678          2,984,626              165,020
                                                                                               -               -                     -                     -                  -                    -                    -




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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              P-116 Pennhurst     P-117 Pepperwood       P-118 Pinney        P-119 Pinova        P-120 Quarterpost    P-121 Red Woods     P-122 Ridgecrest
                                                              Debtor: Notes      Invest LLC           Invest LLC          Invest LLC          Invest LLC            Invest LLC           Invest LLC          Invest LLC


                                                            Case No.:   1.       18-10296             17-12804            17-12808            17-12812               17-12816            17-12824            17-12821
ASSETS
   Current Assets
            Total 10000 · Cash                                                        114,667                       -                   -                   -                    -                    -                    -
      Total Checking/Savings                                            2.            114,667                       -                   -                   -                    -                    -                    -
      Accounts Receivable
            11000 · Accounts Receivable                                                       -                     -                   -                   -                    -                    -                    -
      Total Accounts Receivable                                                               -                     -                   -                   -                    -                    -                    -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                  -                     -                   -                   -                    -                    -                    -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                        -                     -                   -                   -                    -                    -                    -
            Total 11050 · Due (to)/from related party NBK                                     -                     -                   -                   -                    -                    -                    -
            14010 · Due From Shapiro                                                          -                     -                   -                   -                    -                    -                    -
            14025 · Professional Retainers                                                    -                     -                   -                   -                    -                    -                    -
      Total Other Current Assets                                                              -                     -                   -                   -                    -                    -                    -
   Total Current Assets                                                                       -                     -                   -                   -                    -                    -                    -
   Fixed Assets                                                                       114,667                       -                   -                   -                    -                    -                    -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                   -                     -                   -                   -                    -                    -                    -
   Total Fixed Assets                                                                         -                     -                   -                   -                    -                    -                    -
   Other Assets                                                                               -                     -                   -                   -                    -                    -                    -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                         39,050,000              814,500            1,800,000             300,000             1,285,000                     -            100,000
      18100 · Pre-Pet Capitalized Improvement                                                 -                     -                   -                   -                    -                    -                    -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                    -                     -                   -                   -                    -                    -                    -
      18200 · Post Pet Capitalized Improvemen                                               904            189,609            1,390,467              16,752             3,921,766                     -             10,375
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                            -                     -           102,327                     -                    -                    -                    -
            18230 · Post-Pet Property Taxes                                                   -                     -                   -                   -                    -                    -                    -
            18240 · Post-Pet Insurance                                                 82,094                4,635               22,777               6,586                14,268              81,445                2,658
            18250 · Post-Pet Interest                                                         -                   28                 163                    -               2,766                     -                    -
            18260 · Post-Pet Utilities Costs                                                  -                     -                   -                   -                    -                    -                    -
            18270 · Post-Pet Other Costs                                                7,909                1,496                    54                    -               2,302                     -                    -
            18280 · Rental property major improveme                                           -              2,334                3,693               1,683                 6,063                   225              1,683
            18200 · Post Pet Capitalized Improvemen - Other                                   -                     -                   -                   -                    -                    -                    -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                    -                     -                   -                   -                    -                    -                    -
      18300 · Structured Settlements                                    5.             90,003                8,492              129,014               8,269                25,399              81,670                4,341
      18400 · Due (to)/from Fries trust acct                                                  -                     -                   -                   -                    -                    -                    -
   Total Other Assets                                                              39,140,907            1,012,601            3,319,481             325,021             5,232,165              81,670              114,716
TOTAL ASSETS                                                                       39,255,574            1,012,601            3,319,481             325,021             5,232,165              81,670              114,716
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                              86,255                6,309               44,739               3,618                10,401               2,175                1,654
                 20100 · Pre-Petition Accounts Payable                                        -                     -                   -                   -                    -                    -                    -
            Total Accounts Payable                                      6.             86,255                6,309               44,739               3,618                10,401               2,175                1,654
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                          452              2,148                2,145                     -               1,031                     -                    -
                 20120 · Tenant Deposit & Prepaid Rent                                        -                     -                   -                   -                    -                    -                    -
                 24000 · Payroll Liabilities                                                  -                     -                   -                   -                    -                    -                    -
                 24400 · Due (to)/from Group or affiliat                             (277,638)               5,965               84,925               4,976                17,242              81,445                3,012
                 24500 · DIP Lender Note Payable                        7.                    -                     -                   -                   -                    -                    -                    -
                 24510 · Short Term Notes Payable                                             -                     -                   -                   -                    -                    -                    -
            Total Other Current Liabilities                                          (277,187)               8,114               87,070               4,976                18,273              81,445                3,012
      Total Current Liabilities                                                      (190,931)              14,423              131,808               8,594                28,675              83,620                4,666
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.         39,050,904            1,000,652            3,190,467             316,752             5,206,766                     -            110,375
            25250 · Due to Noteholders                                  8.                    -                     -                   -                   -                    -                    -                    -
            25300 · Due to Unitholders                                  8.                    -                     -                   -                   -                    -                    -                    -
      Total Long Term Liabilities                                                  39,050,904            1,000,652            3,190,467             316,752             5,206,766                     -            110,375
   Total Liabilities                                                               38,859,973            1,015,075            3,322,275             325,346             5,235,441              83,620              115,041
   Equity
      30000 · Opening Balance Equity                                    9.             38,796               (2,148)              (2,145)                    -               (1,031)                   -                    -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.             90,563                       -                   -                   -                    -                    -                    -
      Net Income/(Loss): Post Petition Current Period                                 266,243                    (325)               (650)               (325)              (2,245)            (1,950)                  (325)
   Total Equity                                                                       395,602               (2,473)              (2,795)                 (325)              (3,276)            (1,950)                  (325)
TOTAL LIABILITIES & EQUITY                                                         39,255,574            1,012,601            3,319,481             325,021             5,232,165              81,670              114,716
                                                                                              -                     -                   -                   -                    -                    -                    -




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   Woodbridge Group of Companies, LLC, et al
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                                                                              P-123 Riley Creek    P-124 Rising Sun         P-125 Sachs         P-126 Sagebrook     P-127 Seven Stars      P-128 Silk City       P-129 Silver Maple
                                                              Debtor: Notes      Invest LLC           Invest LLC         Bridge Invest LLC         Invest LLC          Invest LLC            Invest LLC              Invest LLC


                                                            Case No.:   1.        17-12826            17-12828               18-10297              17-12830             17-12832             17-12834                17-12836
ASSETS
   Current Assets
            Total 10000 · Cash                                                                -                     -                      -                    -                     -                      -                   -
      Total Checking/Savings                                            2.                    -                     -                      -                    -                     -                      -                   -
      Accounts Receivable
            11000 · Accounts Receivable                                                       -                     -                      -                    -                     -                      -                   -
      Total Accounts Receivable                                                               -                     -                      -                    -                     -                      -                   -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                  -                     -                      -                    -                     -                      -                   -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                        -                     -                      -                    -                     -                      -                   -
            Total 11050 · Due (to)/from related party NBK                                     -                     -                      -                    -                     -                      -                   -
            14010 · Due From Shapiro                                                          -                     -                      -                    -                     -                      -                   -
            14025 · Professional Retainers                                                    -                     -                      -                    -                     -                      -                   -
      Total Other Current Assets                                                              -                     -                      -                    -                     -                      -                   -
   Total Current Assets                                                                       -                     -                      -                    -                     -                      -                   -
   Fixed Assets                                                                               -                     -                      -                    -                     -                      -                   -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                   -                     -                      -                    -                     -                      -                   -
   Total Fixed Assets                                                                         -                     -                      -                    -                     -                      -                   -
   Other Assets                                                                               -                     -                      -                    -                     -                      -                   -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                           7,760,000            3,000,000             3,000,000             5,925,000              300,000             2,950,000               6,500,000
      18100 · Pre-Pet Capitalized Improvement                                                 -                     -                      -                    -                     -                      -                   -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                    -               5,903                        -                    -                     -                      -                   -
      18200 · Post Pet Capitalized Improvemen                                        3,394,578              431,259               173,856             1,245,094               25,305             1,295,429               1,107,975
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                   1,350,113               51,497                        -             20,087                       -            916,019                 231,086
            18230 · Post-Pet Property Taxes                                                   -                     -                      -                    -                     -                      -                   -
            18240 · Post-Pet Insurance                                                  91,661               18,554                54,362                35,511               11,555                34,042                  39,932
            18250 · Post-Pet Interest                                                    1,012                      -                      -              4,589                       -                      -               7,614
            18260 · Post-Pet Utilities Costs                                                  -                     -                      -                    -                     -                      -                   -
            18270 · Post-Pet Other Costs                                                 1,268                    44                       -                   44                     -               3,082                      -
            18280 · Rental property major improveme                                      3,822               10,143                24,893                     100              4,020                  4,072                      -
            18200 · Post Pet Capitalized Improvemen - Other                                   -                     -                      -                    -                     -                      -                   -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                    -                     -                      -                    -                     -                      -                   -
      18300 · Structured Settlements                                    5.           1,447,876               80,238                79,255                60,331               15,575               957,214                 278,632
      18400 · Due (to)/from Fries trust acct                                                  -                     -                      -                    -                     -                      -                   -
   Total Other Assets                                                               12,602,454            3,511,497             3,253,111             7,230,425              340,880             5,202,643               7,886,607
TOTAL ASSETS                                                                        12,602,454            3,511,497             3,253,111             7,230,425              340,880             5,202,643               7,886,607
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                              379,732               30,539                28,581                 5,383                6,913               114,007                  55,691
                 20100 · Pre-Petition Accounts Payable                                        -                     -                      -                    -                     -                      -                   -
            Total Accounts Payable                                      6.             379,732               30,539                28,581                 5,383                6,913               114,007                  55,691
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                      29,542               10,195                16,888                10,810                    780                  362                      -
                 20120 · Tenant Deposit & Prepaid Rent                                        -                     -                      -                    -                     -                      -                   -
                 24000 · Payroll Liabilities                                                  -                     -                      -                    -                     -                      -                   -
                 24400 · Due (to)/from Group or affiliat                             1,091,158              105,156                51,324                66,497                8,988               920,427                 227,268
                 24500 · DIP Lender Note Payable                        7.                    -                     -                      -                    -                     -                      -                   -
                 24510 · Short Term Notes Payable                                             -                     -                      -                    -                     -                      -                   -
            Total Other Current Liabilities                                          1,120,700              115,351                68,212                77,307                9,768               920,789                 227,268
      Total Current Liabilities                                                      1,500,431              145,890                96,793                82,689               16,680             1,034,795                 282,959
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.          11,136,440            3,376,777             3,173,856             7,170,094              325,305             4,173,085               7,605,598
            25250 · Due to Noteholders                                  8.                    -                     -                      -                    -                     -                      -                   -
            25300 · Due to Unitholders                                  8.                    -                     -                      -                    -                     -                      -                   -
      Total Long Term Liabilities                                                   11,136,440            3,376,777             3,173,856             7,170,094              325,305             4,173,085               7,605,598
   Total Liabilities                                                                12,636,871            3,522,667             3,270,649             7,252,783              341,985             5,207,880               7,888,557
   Equity
      30000 · Opening Balance Equity                                    9.              (29,542)            (10,195)               (16,888)             (10,810)                   (780)                (362)                    -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                    -                     -                      -                    -                     -                      -                   -
      Net Income/(Loss): Post Petition Current Period                                    (4,875)                 (975)                  (650)           (11,548)                   (325)             (4,875)                (1,950)
   Total Equity                                                                         (34,417)            (11,170)               (17,538)             (22,358)               (1,105)               (5,237)                (1,950)
TOTAL LIABILITIES & EQUITY                                                          12,602,454            3,511,497             3,253,111             7,230,425              340,880             5,202,643               7,886,607
                                                                                              -                     -                      -                    -                     -                      -                   -




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   Woodbridge Group of Companies, LLC, et al
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                                                                              P-138 Silverthorne     P-139 Springline      P-140 Springvale      P-141 Squaretop       P-142 Stayman        P-143 Steele Hill     P-144 Stepstone
                                                              Debtor: Notes       Invest LLC            Invest LLC            Invest LLC            Invest LLC           Invest LLC            Invest LLC            Invest LLC


                                                            Case No.:   1.        17-12582              17-12585              18-10298              17-12589             17-12594              17-12598              17-12606
ASSETS
   Current Assets
            Total 10000 · Cash                                                                  -                     -                     -                     -                    -                     -                     -
      Total Checking/Savings                                            2.                      -                     -                     -                     -                    -                     -                     -
      Accounts Receivable
            11000 · Accounts Receivable                                                         -                     -                     -                     -                    -                     -                     -
      Total Accounts Receivable                                                                 -                     -                     -                     -                    -                     -                     -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                    -                     -                     -                     -                    -                     -                     -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                          -                     -                     -                     -                    -                     -                     -
            Total 11050 · Due (to)/from related party NBK                                       -                     -                     -                     -                    -                     -                     -
            14010 · Due From Shapiro                                                            -                     -                     -                     -                    -                     -                     -
            14025 · Professional Retainers                                                      -                     -                     -                     -                    -                     -                     -
      Total Other Current Assets                                                                -                     -                     -                     -                    -                     -                     -
   Total Current Assets                                                                         -                     -                     -                     -                    -                     -                     -
   Fixed Assets                                                                                 -                     -                     -                     -                    -                     -                     -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                     -                     -                     -                     -                    -                     -                     -
   Total Fixed Assets                                                                           -                     -                     -                     -                    -                     -                     -
   Other Assets                                                                                 -                     -                     -                     -                    -                     -                     -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                            1,150,000             1,100,000             2,750,000            8,400,000               90,000                125,000              110,000
      18100 · Pre-Pet Capitalized Improvement                                                   -                     -                     -                     -                    -                     -                     -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                      -                     -                     -                     -                    -                     -                     -
      18200 · Post Pet Capitalized Improvemen                                            24,237                41,063                       -          9,706,501                7,790                 15,808                9,099
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                              -                     -                  750           2,108,347                       -                     -                     -
            18230 · Post-Pet Property Taxes                                                     -                     -                     -                     -                    -                     -                     -
            18240 · Post-Pet Insurance                                                   15,783                15,783                22,302               52,822                2,658                   2,971               2,658
            18250 · Post-Pet Interest                                                           -                     -                     -                     -                    -                     -                     -
            18260 · Post-Pet Utilities Costs                                                    -                     -                     -                     -                    -                     -                     -
            18270 · Post-Pet Other Costs                                                     101                      -                     -              1,893                       -                     -                     -
            18280 · Rental property major improveme                                           82                    82               23,193                    500              1,683                   1,137               1,683
            18200 · Post Pet Capitalized Improvemen - Other                                     -                     -                     -                     -                    -                     -                     -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                      -                     -                     -                     -                    -                     -                     -
      18300 · Structured Settlements                                    5.               15,966                15,865                46,245            2,163,562                4,341                   4,108               4,341
      18400 · Due (to)/from Fries trust acct                                                    -                     -                     -                     -                    -                     -                     -
   Total Other Assets                                                                 1,190,203             1,156,928             2,796,245           20,270,063              102,131                144,916              123,440
TOTAL ASSETS                                                                          1,190,203             1,156,928             2,796,245           20,270,063              102,131                144,916              123,440
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                 8,217                 8,217                11,801              690,639                1,654                   1,810               1,654
                 20100 · Pre-Petition Accounts Payable                                          -                     -                     -                     -                    -                     -                     -
            Total Accounts Payable                                      6.                8,217                 8,217                11,801              690,639                1,654                   1,810               1,654
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                            70                      -                     -                  709                     -                     -                     -
                 20120 · Tenant Deposit & Prepaid Rent                                          -                     -                     -                     -                    -                     -                     -
                 24000 · Payroll Liabilities                                                    -                     -                     -                     -                    -                     -                     -
                 24400 · Due (to)/from Group or affiliat                                  8,075                 8,075                35,094            1,502,556                3,012                   2,623               3,012
                 24500 · DIP Lender Note Payable                        7.                      -                     -                     -                     -                    -                     -                     -
                 24510 · Short Term Notes Payable                                               -                     -                     -                     -                    -                     -                     -
            Total Other Current Liabilities                                               8,145                 8,075                35,094            1,503,265                3,012                   2,623               3,012
      Total Current Liabilities                                                          16,361                16,291                46,895            2,193,904                4,666                   4,433               4,666
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.            1,174,237             1,141,063             2,750,000           18,088,577               97,790                140,808              119,099
            25250 · Due to Noteholders                                  8.                      -                     -                     -                     -                    -                     -                     -
            25300 · Due to Unitholders                                  8.                      -                     -                     -                     -                    -                     -                     -
      Total Long Term Liabilities                                                     1,174,237             1,141,063             2,750,000           18,088,577               97,790                140,808              119,099
   Total Liabilities                                                                  1,190,598             1,157,354             2,796,895           20,282,481              102,456                145,241              123,765
   Equity
      30000 · Opening Balance Equity                                    9.                    (70)                    -                     -                  (709)                   -                     -                     -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                      -                     -                     -                     -                    -                     -                     -
      Net Income/(Loss): Post Petition Current Period                                        (325)                 (426)                 (650)           (11,709)                   (325)                 (325)                 (325)
   Total Equity                                                                              (395)                 (426)                 (650)           (12,418)                   (325)                 (325)                 (325)
TOTAL LIABILITIES & EQUITY                                                            1,190,203             1,156,928             2,796,245           20,270,063              102,131                144,916              123,440
                                                                                                -                     -                     -                     -                    -                     -                     -




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   Woodbridge Group of Companies, LLC, et al
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                                                                              P-145 Strawberry        P-146 Sturmer   P-147 Summerfree    P-150 Thornbury      P-152 Thunder        P-155 Vallecito       P-156 Varga Invest
                                                              Debtor: Notes     Fields Invest       Pippin Invest LLC     Invest LLC      Farm Invest LLC     Basin Invest LLC        Invest LLC                 LLC


                                                            Case No.:   1.       17-12613              17-12629          17-12635            17-12651            17-12657             17-12675                17-12685
ASSETS
   Current Assets
            Total 10000 · Cash                                                                 -                   -                 -                    -                    -                      -                     -
      Total Checking/Savings                                            2.                     -                   -                 -                    -                    -                      -                     -
      Accounts Receivable
            11000 · Accounts Receivable                                                        -                   -                 -                    -                    -                      -                     -
      Total Accounts Receivable                                                                -                   -                 -                    -                    -                      -                     -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                   -                   -                 -                    -                    -                      -                     -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                         -                   -                 -                    -                    -                      -                     -
            Total 11050 · Due (to)/from related party NBK                                      -                   -                 -                    -                    -                      -                     -
            14010 · Due From Shapiro                                                           -                   -                 -                    -                    -                      -                     -
            14025 · Professional Retainers                                                     -                   -                 -                    -                    -                      -                     -
      Total Other Current Assets                                                               -                   -                 -                    -                    -                      -                     -
   Total Current Assets                                                                        -                   -                 -                    -                    -                      -                     -
   Fixed Assets                                                                                -                   -                 -                    -                    -                      -                     -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                    -                   -                 -                    -                    -                      -                     -
   Total Fixed Assets                                                                          -                   -                 -                    -                    -                      -                     -
   Other Assets                                                                                -                   -                 -                    -                    -                      -                     -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                             122,500            90,000,000         3,300,000          4,925,000              200,000              105,000              13,549,000
      18100 · Pre-Pet Capitalized Improvement                                                  -                   -                 -                    -                    -                      -                     -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                     -               9,323                 -              3,972                      -                      -                     -
      18200 · Post Pet Capitalized Improvemen                                            7,505             3,783,536         2,364,189          3,077,002                9,851               13,878               6,884,590
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                             -            122,452             2,300             170,047                      -                      -             939,433
            18230 · Post-Pet Property Taxes                                                    -                   -         1,080,141                    -                    -                      -                     -
            18240 · Post-Pet Insurance                                                         -            538,049            22,240              54,299                4,044                 2,658                165,224
            18250 · Post-Pet Interest                                                          -                   -            1,508                     -                    -                 147                        -
            18260 · Post-Pet Utilities Costs                                                   -                   -                 -                    -                    -                      -                     -
            18270 · Post-Pet Other Costs                                                       -               2,907            1,154                     -                    -                      -                     -
            18280 · Rental property major improveme                                      1,683               26,205             3,082                   500              1,683                 1,683                     598
            18200 · Post Pet Capitalized Improvemen - Other                                    -                   -                 -                    -                    -                      -                     -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                     -                   -                 -                    -                    -                      -                     -
      18300 · Structured Settlements                                    5.               1,683              689,612          1,110,424            224,845                5,727                 4,488              1,105,256
      18400 · Due (to)/from Fries trust acct                                                   -                   -                 -                    -                    -                      -                     -
   Total Other Assets                                                                  131,688            94,473,148         6,774,613          8,226,847              215,578              123,366              21,538,846
TOTAL ASSETS                                                                           131,688            94,473,148         6,774,613          8,226,847              215,578              123,366              21,538,846
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                   325             564,401            34,856              85,445                2,347                 1,801                227,634
                 20100 · Pre-Petition Accounts Payable                                         -             31,537                  -             12,740                      -                      -               8,040
            Total Accounts Payable                                      6.                  325             595,938            34,856              98,185                2,347                 1,801                235,674
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                             -             39,571            25,799           1,112,938                      -                  70                     423
                 20120 · Tenant Deposit & Prepaid Rent                                         -                   -                 -                    -                    -                      -                     -
                 24000 · Payroll Liabilities                                                   -                   -                 -                    -                    -                      -                     -
                 24400 · Due (to)/from Group or affiliat                                 1,683              160,186          1,266,003            169,226                3,705                 3,012              1,537,579
                 24500 · DIP Lender Note Payable                        7.                     -                   -                 -                    -                    -                      -                     -
                 24510 · Short Term Notes Payable                                              -                   -                 -                    -                    -                      -                     -
            Total Other Current Liabilities                                              1,683              199,757          1,291,802          1,282,164                3,705                 3,082              1,538,003
      Total Current Liabilities                                                          2,008              795,695          1,326,658          1,380,349                6,052                 4,883              1,773,677
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.             130,005            93,727,064         5,486,541          7,961,061              209,851              118,878              19,770,467
            25250 · Due to Noteholders                                  8.                     -                   -                 -                    -                    -                      -                     -
            25300 · Due to Unitholders                                  8.                     -                   -                 -                    -                    -                      -                     -
      Total Long Term Liabilities                                                      130,005            93,727,064         5,486,541          7,961,061              209,851              118,878              19,770,467
   Total Liabilities                                                                   132,013            94,522,759         6,813,199          9,341,410              215,903              123,761              21,544,144
   Equity
      30000 · Opening Balance Equity                                    9.                     -             (39,571)          (25,799)         (1,112,938)                    -                  (70)                   (423)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                     -                   -                 -                    -                    -                      -                     -
      Net Income/(Loss): Post Petition Current Period                                       (325)            (10,039)          (12,787)             (1,625)                 (325)                (325)               (4,875)
   Total Equity                                                                             (325)            (49,610)          (38,587)         (1,114,563)                 (325)                (395)               (5,298)
TOTAL LIABILITIES & EQUITY                                                             131,688            94,473,148         6,774,613          8,226,847              215,578              123,366              21,538,846
                                                                                               -                   -                 -                    -                    -                      -                     -




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   Woodbridge Group of Companies, LLC, et al
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   Balance Sheet                March 31, 2018

                                                                              P-157 Wetterhorn      P-158 White Birch     P-159 White Dome       P-164 Wildernest        P-165 Willow        P-166 Winding       P-167 Zestar Invest
                                                              Debtor: Notes      Invest LLC            Invest LLC            Invest LLC             Invest LLC         Grove Invest LLC       Road Invest               LLC


                                                            Case No.:   1.       17-12693               17-12702              17-12709              17-12723              17-12732             17-12739               17-12792
ASSETS
   Current Assets
            Total 10000 · Cash                                                                 -                     -                      -                     -                     -                    -                      -
      Total Checking/Savings                                            2.                     -                     -                      -                     -                     -                    -                      -
      Accounts Receivable
            11000 · Accounts Receivable                                                        -                     -                      -                     -                     -                    -                      -
      Total Accounts Receivable                                                                -                     -                      -                     -                     -                    -                      -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                   -                     -                      -                     -                     -                    -                      -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                         -                     -                      -                     -                     -                    -                      -
            Total 11050 · Due (to)/from related party NBK                                      -                     -                      -                     -                     -                    -                      -
            14010 · Due From Shapiro                                                           -                     -                      -                     -                     -                    -                      -
            14025 · Professional Retainers                                                     -                     -                      -                     -                     -                    -                      -
      Total Other Current Assets                                                               -                     -                      -                     -                     -                    -                      -
   Total Current Assets                                                                        -                     -                      -                     -                     -                    -                      -
   Fixed Assets                                                                                -                     -                      -                     -                     -                    -                      -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                    -                     -                      -                     -                     -                    -                      -
   Total Fixed Assets                                                                          -                     -                      -                     -                     -                    -                      -
   Other Assets                                                                                -                     -                      -                     -                     -                    -                      -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                              95,000             3,100,000               750,000                100,000             9,820,000          14,550,000              2,800,000
      18100 · Pre-Pet Capitalized Improvement                                                  -                     -                      -                     -                     -                    -                      -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                     -                     -                      -                     -                     -                    -                      -
      18200 · Post Pet Capitalized Improvemen                                           15,051             2,350,666                54,794              2,187,820                       -         5,479,972              1,341,326
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                             -           1,131,543                        -                     -              47,963           2,114,781                762,157
            18230 · Post-Pet Property Taxes                                                    -                     -                      -                     -                     -                    -             112,430
            18240 · Post-Pet Insurance                                                   2,658                35,867                18,488                  5,349                58,970              88,897                 44,480
            18250 · Post-Pet Interest                                                          -              25,873                     147                      -               6,981              71,331                 13,631
            18260 · Post-Pet Utilities Costs                                                   -                     -                      -                     -                     -                    -                      -
            18270 · Post-Pet Other Costs                                                       -                   123                      -               1,350                    125                     -                   (120)
            18280 · Rental property major improveme                                      1,683                       -               1,683                  2,083                       -                 600                3,182
            18200 · Post Pet Capitalized Improvemen - Other                                    -                     -                      -                     -                     -                    -                      -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                     -                     -                      -                     -                     -                    -                      -
      18300 · Structured Settlements                                    5.               4,341             1,193,405                20,318                  8,782               114,039           2,275,609                935,760
      18400 · Due (to)/from Fries trust acct                                                   -                     -                      -                     -                     -                    -                      -
   Total Other Assets                                                                  114,392             6,644,071               825,112              2,296,602             9,934,039          22,305,581              5,077,086
TOTAL ASSETS                                                                           114,392             6,644,071               825,112              2,296,602             9,934,039          22,305,581              5,077,086
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                                1,654                60,681                 9,716                  3,265                60,319             560,786                118,432
                 20100 · Pre-Petition Accounts Payable                                         -                     -                      -                     -                     -                    -                      -
            Total Accounts Payable                                      6.               1,654                60,681                 9,716                  3,265                60,319             560,786                118,432
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                             -                    20                      -               1,295                    378              1,308                  1,686
                 20120 · Tenant Deposit & Prepaid Rent                                         -                     -                      -                     -                     -                    -                      -
                 24000 · Payroll Liabilities                                                   -                     -                      -                     -                     -                    -                      -
                 24400 · Due (to)/from Group or affiliat                                 3,012             1,203,646                10,927                  5,842                52,870           1,757,987              1,324,501
                 24500 · DIP Lender Note Payable                        7.                     -                     -                      -                     -                     -                    -                      -
                 24510 · Short Term Notes Payable                                              -                     -                      -                     -                     -                    -                      -
            Total Other Current Liabilities                                              3,012             1,203,666                10,927                  7,136                53,248           1,759,295              1,326,187
      Total Current Liabilities                                                          4,666             1,264,348                20,643                 10,401               113,567           2,320,081              1,444,619
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.             110,051             5,384,619               804,794              2,287,820             9,820,000          19,999,621              3,639,028
            25250 · Due to Noteholders                                  8.                     -                     -                      -                     -                     -                    -                      -
            25300 · Due to Unitholders                                  8.                     -                     -                      -                     -                     -                    -                      -
      Total Long Term Liabilities                                                      110,051             5,384,619               804,794              2,287,820             9,820,000          19,999,621              3,639,028
   Total Liabilities                                                                   114,717             6,648,967               825,437              2,298,221             9,933,567          22,319,702              5,083,647
   Equity
      30000 · Opening Balance Equity                                    9.                     -                   (20)                     -              (1,295)                   (378)            (1,308)                (1,686)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.                     -                     -                      -                     -                  750                     -                      -
      Net Income/(Loss): Post Petition Current Period                                       (325)              (4,875)                   (325)                 (325)                 100            (12,813)                 (4,875)
   Total Equity                                                                             (325)              (4,895)                   (325)             (1,620)                   472            (14,121)                 (6,561)
TOTAL LIABILITIES & EQUITY                                                             114,392             6,644,071               825,112              2,296,602             9,934,039          22,305,581              5,077,086
                                                                                               -                     -                      -                     -                     -                    -                      -




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                                                                                                                                                                                                                      MOR-3 Balance Sheet
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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                              P-187 695 Buggy     P-188 Deerfield       P-207 Frog Rock          Red Woods       Silverleaf Funding        Summit Cut          Topchord
                                                              Debtor: Notes      Circle, LLC      Park Invest LLC         Investments         Investments, LLC           LLC            Investments LLC    Investments LLC       WCBL 1


                                                            Case No.:   1.       17-12714            17-12714              17-12714              17-12824            17-12837              17-12640           17-12664           17-12754
ASSETS
   Current Assets
            Total 10000 · Cash                                                              961                     -                 956                    -                     -                  -                  496              -
      Total Checking/Savings                                            2.                  961                     -                 956                    -                     -                  -                  496              -
      Accounts Receivable
            11000 · Accounts Receivable                                                       -                     -                    -                   -                     -                  -                     -             -
      Total Accounts Receivable                                                               -                     -                    -                   -                     -                  -                     -             -
      Other Current Assets
            11010 · Miscellaneous Receivable                                                  -         2,432,407                        -                   -                     -                  -                     -             -
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                                        -                     -                    -                   -                     -                  -                     -             -
            Total 11050 · Due (to)/from related party NBK                                     -                     -                    -                   -                     -                  -                     -             -
            14010 · Due From Shapiro                                                          -                     -                    -                   -                     -                  -                     -             -
            14025 · Professional Retainers                                                    -                     -           500,000                      -                     -                  -                     -             -
      Total Other Current Assets                                                              -                     -                    -                   -                     -                  -                     -             -
   Total Current Assets                                                                       -         2,432,407               500,000                      -                     -                  -                     -             -
   Fixed Assets                                                                             961         2,432,407               500,956                      -                     -                  -                  496              -
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                                   -                     -                    -                   -                     -                  -                     -             -
   Total Fixed Assets                                                                         -                     -                    -                   -                     -                  -                     -             -
   Other Assets                                                                               -                     -                    -                   -                     -                  -                     -             -
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                          1,375,000           4,500,000             7,125,000                      -             835,000           18,900,000          1,533,333                -
      18100 · Pre-Pet Capitalized Improvement                                       (1,676,913)         (6,693,877)           (7,125,000)                    -            (160,174)                   -                     -             -
      Total 18100 · Pre-Pet Capitalized Improvement                     4.                    -                     -                    -                   -                     -                  -                     -             -
      18200 · Post Pet Capitalized Improvemen                                         301,159           2,160,812                        -             203,937                  215           1,468,218            172,281                -
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                            -             7,150                        -                   -               8,597              299,121              1,942                -
            18230 · Post-Pet Property Taxes                                                   -                     -                    -                   -                     -                  -                     -             -
            18240 · Post-Pet Insurance                                                        -                     -                    -                   -               7,494              109,920             31,926                -
            18250 · Post-Pet Interest                                                       754             (2,898)               (1,742)                    -              57,418                6,673              4,559                -
            18260 · Post-Pet Utilities Costs                                                  -                     -                    -                   -                     -                  -                     -             -
            18270 · Post-Pet Other Costs                                                      7                     -                    -                   -                  674               1,885                  654              -
            18280 · Rental property major improveme                                           -            29,813                        -                   -                  584                   -                  615              -
            18200 · Post Pet Capitalized Improvemen - Other                                   -                     -                    -                   -                     -                  -                     -             -
      Total 18200 · Post Pet Capitalized Improvemen                     4.                    -                     -                    -                   -                     -                  -                     -             -
      18300 · Structured Settlements                                    5.                  761            34,065                 (1,742)                    -              74,767              417,598             39,696                -
      18400 · Due (to)/from Fries trust acct                                                  -                     -                    -                   -                     -                  -                     -             -
   Total Other Assets                                                                         7             1,000                 (1,742)              203,937             749,808           20,785,817          1,745,310                -
TOTAL ASSETS                                                                                967         2,433,407               499,214                203,937             749,808           20,785,817          1,745,806                -
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                               3,828                   325                   325                    -               9,519              158,524             16,395            325
                 20100 · Pre-Petition Accounts Payable                                        -                     -                    -                   -                     -                  -                     -             -
            Total Accounts Payable                                      6.              3,828                   325                   325                    -               9,519              158,524             16,395            325
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                            -                     -                    -                   -              10,157               19,520                  880              -
                 20120 · Tenant Deposit & Prepaid Rent                                        -                     -                    -                   -                     -                  -                     -             -
                 24000 · Payroll Liabilities                                                  -                     -                    -                   -                     -                  -                     -             -
                 24400 · Due (to)/from Group or affiliat                            (1,665,246)         (5,762,329)           (6,853,856)              203,937              42,635              383,132             22,080           (340)
                 24500 · DIP Lender Note Payable                        7.                    -                     -                    -                   -                     -                  -                     -             -
                 24510 · Short Term Notes Payable                                             -                     -                    -                   -                     -                  -                     -             -
            Total Other Current Liabilities                                         (1,665,246)         (5,762,329)           (6,853,856)              203,937              52,792              402,652             22,960           (340)
      Total Current Liabilities                                                     (1,661,418)         (5,762,004)           (6,853,531)              203,937              62,311              561,176             39,355            (15)
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.          1,676,159           6,660,812             7,125,000                      -             835,000           20,249,036          1,705,614       (701,857)
            25250 · Due to Noteholders                                  8.                    -                     -                    -                   -                     -                  -                     -             -
            25300 · Due to Unitholders                                  8.                    -                     -                    -                   -                     -                  -                     -     702,197
      Total Long Term Liabilities                                                   1,676,159           6,660,812             7,125,000                      -             835,000           20,249,036          1,705,614            340
   Total Liabilities                                                                   14,741             898,808               271,469                203,937             897,311           20,810,212          1,744,969            325
   Equity
      30000 · Opening Balance Equity                                    9.             63,191                       -             5,036                      -             (10,157)             (19,520)                 (460)            -
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.            (73,813)          1,535,293               223,037                      -            (136,770)                   -                  942              -
      Net Income/(Loss): Post Petition Current Period                                   (3,151)                 (694)                 (328)                  -                  (576)            (4,875)                 355         (325)
   Total Equity                                                                       (13,774)          1,534,599               227,745                      -            (147,503)             (24,395)                 837         (325)
TOTAL LIABILITIES & EQUITY                                                                  967         2,433,407               499,214                203,937             749,808           20,785,817          1,745,806                -
                                                                                              -                    -                     -                   -                     -                  -                     -           -




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                                                                                                                                                                                                               MOR-3 Balance Sheet
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   Woodbridge Group of Companies, LLC, et al
   (Jointly Administered)
   Balance Sheet                March 31, 2018

                                                                                          Whiteacre Funding
                                                              Debtor: Notes   WCBL 2             LLC            WMIF 1          WMIF 2         WMIF 3          WMIF 3a         WMIF 4           TOTAL


                                                            Case No.:   1.    17-12758        17-12713         17-12768        17-12772        17-12776       17-12780        17-12784
ASSETS
   Current Assets
            Total 10000 · Cash                                                       -                     -              -          3,750                -              -                -     41,821,663
      Total Checking/Savings                                            2.           -                     -              -          3,750                -              -                -     41,821,663
      Accounts Receivable
            11000 · Accounts Receivable                                              -                     -              -               -               -              -                -           2,218
      Total Accounts Receivable                                                      -                     -              -               -               -              -                -           2,218
      Other Current Assets
            11010 · Miscellaneous Receivable                                         -                     -              -               -               -              -                -       2,445,657
            11050 · Due (to)/from related party NBK
                 11053 · Woodbridge Realty of Colorado                               -                     -              -               -               -              -                -              95
            Total 11050 · Due (to)/from related party NBK                            -                     -              -               -               -              -                -              95
            14010 · Due From Shapiro                                                 -                     -              -               -               -              -                -         23,046
            14025 · Professional Retainers                                           -                     -              -               -               -              -                -        500,000
      Total Other Current Assets                                                     -                     -              -               -               -              -                -        404,801
   Total Current Assets                                                              -                     -              -               -               -              -                -       3,373,599
   Fixed Assets                                                                      -                     -              -          3,750                -              -                -     45,197,480
      15000 · Furniture and Equipment
            15100 · Furniture and Fixtures sold
      Total 15000 · Furniture and Equipment                                          -                     -          (300)               -               -              -                -          (3,490)
   Total Fixed Assets                                                                -                     -          (300)               -               -              -                -          (3,490)
   Other Assets                                                                      -                     -          (300)               -               -              -                -          (3,490)
      18000 · Property / Loan Investment                                3.
      18050 · Property proceeds/notepayoff                                           -           3,895,000      1,365,000                 -       483,000         970,000         320,000      621,452,130
      18100 · Pre-Pet Capitalized Improvement                                        -                     -     (128,806)                -       (243,000)       (970,000)       (577,081)     (17,574,851)
      Total 18100 · Pre-Pet Capitalized Improvement                     4.           -                   250              -               -               -              -                -         34,741
      18200 · Post Pet Capitalized Improvemen                                        -              27,111                -               -               -              -                -    138,619,611
            18210 · Post-Petition Construction
            18220 · Post-Pet Construction Colorado                                   -               4,047                -               -               -              -                -     25,626,694
            18230 · Post-Pet Property Taxes                                          -                     -              -               -               -              -                -       1,530,490
            18240 · Post-Pet Insurance                                               -              91,845         36,563                 -               -              -           9,103        4,716,529
            18250 · Post-Pet Interest                                                -             119,106         14,292                 -               -              -                -        568,023
            18260 · Post-Pet Utilities Costs                                         -                     -              -               -               -              -                -        130,318
            18270 · Post-Pet Other Costs                                             -               3,075                -               -               -              -                -         91,621
            18280 · Rental property major improveme                                  -               5,309                -               -               -              -                -        485,829
            18200 · Post Pet Capitalized Improvemen - Other                          -                     -              -               -               -              -                -           4,781
      Total 18200 · Post Pet Capitalized Improvemen                     4.           -                     -              -               -               -              -                -           1,833
      18300 · Structured Settlements                                    5.           -             223,383         50,855                 -               -              -           9,103      33,156,117
      18400 · Due (to)/from Fries trust acct                                         -                     -              -               -               -              -                -           1,893
   Total Other Assets                                                                -           4,145,494      1,287,049                 -       240,000                -        (247,978)    775,654,901
TOTAL ASSETS                                                                         -           4,145,494      1,286,749            3,750        240,000                -        (247,978)    820,848,890
LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                                         325               59,304           1,521            325             325                -              425     25,369,840
                 20100 · Pre-Petition Accounts Payable                           6,249                     -              -               -               -              -                -        109,913
            Total Accounts Payable                                      6.       6,574              59,304           1,521            325             325                -              425     25,479,752
            Other Current Liabilities
                 20110 · Pre-Petition AP Scheduled                                   -               3,654                -               -               -              -                -     13,258,833
                 20120 · Tenant Deposit & Prepaid Rent                               -                     -              -               -               -              -                -         65,013
                 24000 · Payroll Liabilities                                         -                     -              -               -               -              -                -         30,759
                 24400 · Due (to)/from Group or affiliat                        (6,249)            145,894       (127,043)            914         (260,414)       (943,313)       (683,026)               -
                 24500 · DIP Lender Note Payable                        7.           -                     -              -               -               -              -                -     54,000,000
                 24510 · Short Term Notes Payable                                    -                     -              -               -               -              -                -     47,000,000
            Total Other Current Liabilities                                     (6,249)            149,548       (127,043)            914         (260,414)       (943,313)       (683,026)    114,354,604
      Total Current Liabilities                                                   325              208,852       (125,522)           1,239        (260,089)       (943,313)       (682,601)    139,834,357
      Long Term Liabilities
            25200 · Due (to)/from Funds/Holdco                          8.           -           3,895,000     (20,435,552)    (66,740,616)   (269,136,320)   (334,011,266)   (310,962,543)               -
            25250 · Due to Noteholders                                  8.           -                     -   12,378,102      42,706,218     220,175,655     256,037,976     247,121,021      778,418,972
            25300 · Due to Unitholders                                  8.           -                     -    9,422,500      24,033,484      49,440,612      78,943,348      64,157,951      226,700,092
      Total Long Term Liabilities                                                    -           3,895,000      1,365,050             (914)       479,947         970,058         316,429     1,005,119,064
   Total Liabilities                                                              325            4,103,852      1,239,528             325         219,858          26,745         (366,172)   1,144,953,421
   Equity
      30000 · Opening Balance Equity                                    9.           -               (3,654)              -               -        18,000                -        111,000      (297,542,695)
      Retained Earnings/(Losses): Post-Pet Prior Period                 9.           -               6,372                -               -          2,467         (26,745)         (1,573)      (4,086,246)
      Net Income/(Loss): Post Petition Current Period                             (325)             38,923         47,221            3,425            (325)              -           8,766      (22,475,590)
   Total Equity                                                                   (325)             41,642         47,221            3,425         20,142          (26,745)       118,194      (324,104,531)
TOTAL LIABILITIES & EQUITY                                                           -           4,145,494      1,286,749            3,750        240,000                -        (247,978)    820,848,890
                                                                                     -                     -              -               -               -              -                -               -




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                                                                                                                                                                                                         MOR-3 Balance Sheet
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                               Case No. 17-12560 (KJC)
(Jointly Administered)                                                               Reporting Period: 03/31/2018

Notes to the 03/31/2018 Balance Sheets

Note 1.   Each column in the financial statements represents the financial activities for one Debtor affiliate. For
          internal tracking purposes, each property or asset (loan) has been assigned a unique property number,
          shown as P-XXX. Debtor entities that have more then one property or asset attributed to them will not have
          a unique property identifier in the column heading, as there is more than one property or asset accounted
          for through that Debtor.

Note 2.   Cash shown on the balance sheet of any of the property companies represents the amount held by the
          property manager in joint accounts that they control.

Note 3.    The Debtors' representatives are conducting an exhaustive search and analysis to establish the existence
          and cost of the assets of the Debtor companies. When assets are discovered and ownership established,
          they are recorded at their purchase price or note face value to the "Properties/Loan Investment" account.
          Estimates are sometimes used. Due to the bankruptcy filings in March 2018 of 13 additional affiliated
          entities, property value, capitalized improvements, and equity in the amount of $2,805,132 were added to
          the balance sheet to add the value of the assets of the newly filed entities.


Note 4.    Capitalized improvements are recorded based on cost and have been broken into pre and post filing. Pre-
          petition improvements were recorded based on pre-petition records of the Debtor and have generally not
          been verified. Current expenditures towards properties held for sale are recorded as post-petition capitalized
          improvements. All costs associated with performing or non-performing loans are capitalized.


Note 5.    A small part of the Debtor's business was to purchase annuities at a discount. Very little related
          documentation has been identified, though they are believed to exist. Research about the value and
          existence of structured settlements is ongoing.

Note 6.    Post-Petition Accounts Payable are generally paid within one to two weeks of entry into the payables
          system. Some invoices appear aged due to their having been submitted late or because their payment was
          delayed waiting for approval. Post Petition Accounts Payable are broken out between accrued professional
          fees and payables from operations on MOR-4. Pre-Petition payables were not historically recorded and
          have been tabulated based on invoices found. Such amounts are likely to change.


Note 7.    The Debtors' DIP loan had a drawn $54M balance as of March 31, 2018, which includes loan origination
          fees of $1.5M plus legal expenses deducted from the initial draw.

Note 8.    The amounts recorded in the books for intercompany loans from fund entities prior to the filing have been
          ignored herein because they did not accurately reflect monies transferred, nor the amounts reflected on the
          face of the intercompany notes. Instead, the payable from each property company herein reflects the
          actual costs incurred to acquire, maintain, and service the properties or loans. A balancing entry has been
          recorded at Woodbridge Group to reflect the difference between amounts received by the consolidated
          business from note and unit investors, and amounts identified to date as having been spent on
          properties/loans. As additional costs are identified, this intercompany loan at the Group level is expected to
          decrease.

Note 9.   Equity: The Debtors' operations have been recorded and their balance sheets reconstructed in the post-
          petition period so that the balance in Opening Equity would represent the estimated difference between
          amounts borrowed or invested (by fund and unit holders) and the cost of assets acquired with lender or
          investor funds. The Equity section of the balance sheet was rearranged in this report to distinguish between
          pre-petition and post-petition retained losses.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                  Reporting Period: 03/31/2018


                                              STATUS OF POSTPETITION TAXES

All taxes paid, other than real property taxes, relate to the Woodbridge Group of Companies, LLC


                                             Beginning      Amount                                                  Ending
                                               Tax        Withheld or        Amount          Date       Check No.     Tax
Federal                                      Liability      Accrued           Paid           Paid*       or EFT     Liability
Withholding                                    None       $    84,860      $   84,860       various       EFT     $          -
FICA-Employee                                  None       $    17,015          17,015       various       EFT                -
FICA-Employer                                  None       $    17,015          17,015       various       EFT                -
Unemployment                                   None       $         33               33     various       EFT                -
Income                                         None       $       -                -          n/a          n/a               -
Other (FHI)                                    None       $    10,152          10,152       various       EFT                -
  Total Federal Taxes                                     $   129,074      $ 129,074                              $          -
State and Local
Withholding                                    None       $     33,722     $    33,722      various       EFT       $            -
Sales                                          None       $        -               -          n/a          n/a                   -
Excise                                         None       $        -               -          n/a          n/a                   -
Unemployment                                   None       $        590             590      various       EFT                    -
State Disability Insurance                     None       $      1,936           1,936      various       EFT                    -
Real Property - Property Level Entities        None       $    109,164         109,164      various      various                 -
Personal Property                              None       $          -             -                                             -
Other                                          None       $          -             -          n/a          n/a                   -
  Total State and Local                        None       $    145,412     $   145,412        n/a          n/a                   -
Total Taxes                                               $    274,486     $   274,486                              $            -




                                          SUMMARY OF UNPAID POSTPETITION DEBTS


                                                                          Number of Days Past Due
                                             Current           0-30          31-60        61-90          Over 90          Total
Accounts Payable - Operations                 6,660,450       1,774,823       268,447       72,349        180,251   $     8,956,318
Accrued Professional Fees                     5,553,331       6,199,148     3,797,499      863,543            -     $    16,413,521
Total Post Petition Accounts Payable**       12,213,781       7,973,971     4,065,945      935,892        180,251   $    25,369,840

DIP Lender Note Payable                      54,000,000             -              -             -            -     $    54,000,000
Payable to Noteholders***                          TBD             TBD            TBD           TBD          TBD               TBD


Total Postpetition Debts                   $ 78,427,563   $ 15,947,942     $ 8,131,891    $ 1,871,784   $ 360,501   $ 104,739,680

* The Debtor uses a payroll company. The entire amount required for payroll and taxes is paid by EFT on the payroll pay date.
** Aged Accounts Payable are due to invoices being submitted late, being held for lack of approval to pay, or submitted late due to
required court approval and waiting period. Bills are generally paid within 2 weeks of being submitted for payment.
*** Payables to Noteholders cannot be determined at this time due to lack of reliable data.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                           Case No. 17-12560 (KJC)
(Jointly Administered)                                                                           Reporting Period: 03/31/2018


                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING*

 Woodbridge Group
 Accounts Receivable Reconciliation*                                                                              Amount
  Total Accounts Receivable at the beginning of the reporting period                                                n/a
    + Amounts billed during the period                                                                              n/a
    - Amounts collected during the period                                                                           n/a
    - Amounts assumed by buyer on sold properties                                                                   n/a
  Total Accounts Receivable at the end of the reporting period                                                  $       2,218

 Accounts Receivable Aging*                                                                                       Amount
  0 - 30 days old                                                                                                   n/a
  31 - 60 days old                                                                                                  n/a
  61 - 90 days old                                                                                                  n/a
  91+ days old                                                                                                      n/a
  Total Accounts Receivable                                                                                     $       2,218
  Amount considered uncollectible (Bad Debt)                                                                        n/a
  Accounts Receivable (Net)                                                                                         n/a
  Miscellaneous Receivables **                                                                                  $ 2,445,657

 * Woodbridge Group does not have sales, customer billing, or traditional accounts receivable. The amount shown as
 accounts receivable ($2,218) is from the records of the property manager for rental properties and is recorded as part of
 Woodbridge Group recording the results of rental operations.
 ** Woodbridge Group uses "Miscellaneous Receivables" primarily to record amounts held in escrow or in trust after
 property sales, and also to record incidental amounts expected to be paid quickly. At 03/31/2018, miscellaneous receivables
 consisted of the following:

                Date
     Amount    Collected          Class / Property                             Description
     13,250.00           Bluff Point Investments               Vendor Invoice paid twice, second payment
                                                               booked to Misc Receivable pending collection

  2,432,406.68 4/17/2018 Deerfield Park Investments LLC Balance due from sale of property

  2,445,656.68       Misc. Receivable Balance at 03/31/2018




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                     Reporting Period: 03/31/2018

                                                                                      DEBTOR QUESTIONNAIRE

                                                              1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
                                                              sold or transferred outside   disbursed from any           tax returns been timely    compensation, general         during the reporting period? If yes,
                                                              the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                              business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                              period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                              explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                            explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
  #                        Name of Entity            Case #
   1      Woodbridge Group of Companies, LLC       17-12560               No                           No                            Yes                      Note 1.                              Yes
   2      215 North 12th Street, LLC               17-12561               No                           Yes                           Yes                      Note 1.                              No
   3      Addison Park Investments, LLC            17-12563               No                           No                            Yes                      Note 1.                              No
   4      Anchorpoint Investments, LLC             17-12566               No                           Yes                           Yes                      Note 1.                              No
   5      Arborvitae Investments, LLC              17-12572               No                           No                            Yes                      Note 1.                              No
   6      Archivolt Investments, LLC               17-12574               No                           No                            Yes                      Note 1.                              No
   7      Arlington Ridge Investments, LLC         17-12576               No                           No                            Yes                      Note 1.                              No
   8      Arrowpoint Investments, LLC              17-12578               No                           No                            Yes                      Note 1.                              No
   9      Baleroy Investments, LLC                 17-12580               No                           No                            Yes                      Note 1.                              No
  10      Basswood Holding, LLC                    17-12600               No                           No                            Yes                      Note 1.                              No
  11      Bay Village Investments, LLC             17-12604               No                           No                            Yes                      Note 1.                              No
  12      Bear Brook Investments, LLC              17-12610               No                           No                            Yes                      Note 1.                              No
  13      Beech Creek Investments, LLC             17-12616               No                           No                            Yes                      Note 1.                              No
  14      Bishop White Investments, LLC            17-12623               No                           No                            Yes                      Note 1.                              No
  15      Black Bass Investments, LLC              17-12641               No                           No                            Yes                      Note 1.                              No
  16      Black Locust Investments, LLC            17-12648               No                           No                            Yes                      Note 1.                              No
  17      Bluff Point Investments, LLC             17-12722               No                           No                            Yes                      Note 1.                              No
  18      Bowman Investments, LLC                  17-12753               No                           No                            Yes                      Note 1.                              No
  19      Bramley Investments, LLC                 17-12769               No                           No                            Yes                      Note 1.                              No
  20      Brise Soleil Investments, LLC            17-12762               No                           No                            Yes                      Note 1.                              No
  21      Broadsands Investments, LLC              17-12777               No                           No                            Yes                      Note 1.                              No
  22      Brynderwen Investments, LLC              17-12793               No                           No                            Yes                      Note 1.                              No
  23      Cablestay Investments, LLC               17-12798               No                           No                            Yes                      Note 1.                              No
  24      Cannington Investments, LLC              17-12803               No                           No                            Yes                      Note 1.                              No
  25      Carbondale Doocy, LLC                    17-12805               No                           No                            Yes                      Note 1.                              No
  26      Carbondale Glen Lot A-5, LLC             17-12807               No                           No                            Yes                      Note 1.                              No
  27      Carbondale Glen Lot D-22, LLC            17-12809               No                           No                            Yes                      Note 1.                              No
  28      Carbondale Glen Lot E-24, LLC            17-12811               No                           No                            Yes                      Note 1.                              No
  29      Carbondale Glen Lot GV-13, LLC           17-12813               No                           No                            Yes                      Note 1.                              No
  30      Carbondale Glen Lot SD-14, LLC           17-12817               No                           No                            Yes                      Note 1.                              No
  31      Carbondale Glen Lot SD-23, LLC           17-12815               No                           No                            Yes                      Note 1.                              No
  32      Carbondale Glen Mesa Lot 19, LLC         17-12819               No                           No                            Yes                      Note 1.                              No
  33      Carbondale Glen River Mesa, LLC          17-12820               No                           No                            Yes                      Note 1.                              No
  34      Carbondale Glen Sundance Ponds, LLC      17-12822               No                           No                            Yes                      Note 1.                              No
  35      Carbondale Glen Sweetgrass Vista, LLC    17-12564               No                           No                            Yes                      Note 1.                              No
  36      Carbondale Spruce 101, LLC               17-12568               No                           Yes                           Yes                      Note 1.                              No
  37      Carbondale Sundance Lot 15, LLC          17-12569               No                           No                            Yes                      Note 1.                              No
  38      Carbondale Sundance Lot 16, LLC          17-12570               No                           No                            Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                  Reporting Period: 03/31/2018

                                                                                   DEBTOR QUESTIONNAIRE

                                                           1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                           period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                           explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                         explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
  #                       Name of Entity          Case #
  39      Castle Pines Investments, LLC         17-12581               No                           No                            Yes                      Note 1.                              No
  40      Centershot Investments, LLC           17-12586               No                           No                            Yes                      Note 1.                              No
  41      Chaplin Investments, LLC              17-12592               No                           No                            Yes                      Note 1.                              No
  42      Chestnut Investments, LLC             17-12603               No                           No                            Yes                      Note 1.                              No
  43      Chestnut Ridge Investments, LLC       17-12614               No                           No                            Yes                      Note 1.                              No
  44      Clover Basin Investments, LLC         17-12621               No                           No                            Yes                      Note 1.                              No
  45      Coffee Creek Investments, LLC         17-12627               No                           No                            Yes                      Note 1.                              No
  46      Craven Investments, LLC               17-12636               No                           No                            Yes                      Note 1.                              No
  47      Crossbeam Investments, LLC            17-12650               No                           No                            Yes                      Note 1.                              No
  48      Crowfield Investments, LLC            17-12660               No                           No                            Yes                      Note 1.                              No
  49      Crystal Valley Holdings, LLC          17-12666               No                           No                            Yes                      Note 1.                              No
  50      Crystal Woods Investments, LLC        17-12676               No                           No                            Yes                      Note 1.                              No
  51      Cuco Settlement, LLC                  17-12679               No                           No                            Yes                      Note 1.                              No
  52      Daleville Investments, LLC            17-12687               No                           No                            Yes                      Note 1.                              No
  53      Derbyshire Investments, LLC           17-12696               No                           No                            Yes                      Note 1.                              No
  54      Diamond Cove Investments, LLC         17-12705               No                           No                            Yes                      Note 1.                              No
  55      Dixville Notch Investments, LLC       17-12716               No                           No                            Yes                      Note 1.                              No
  56      Dogwood Valley Investments, LLC       17-12727               No                           No                            Yes                      Note 1.                              No
  57      Dollis Brook Investments, LLC         17-12735               No                           No                            Yes                      Note 1.                              No
  58      Donnington Investments, LLC           17-12744               No                           Yes                           Yes                      Note 1.                              No
  59      Doubleleaf Investments, LLC           17-12755               No                           No                            Yes                      Note 1.                              No
  60      Drawspan Investments, LLC             17-12767               No                           No                            Yes                      Note 1.                              No
  61      Eldredge Investments, LLC             17-12775               No                           No                            Yes                      Note 1.                              No
  62      Elstar Investments, LLC               17-12782               No                           No                            Yes                      Note 1.                              No
  63      Emerald Lake Investments, LLC         17-12788               No                           No                            Yes                      Note 1.                              No
  64      Fieldpoint Investments, LLC           17-12794               No                           Yes                           Yes                      Note 1.                              No
  65      Franconia Notch Investments, LLC      17-12797               No                           No                            Yes                      Note 1.                              No
  66      Gateshead Investments, LLC            17-12597               No                           Yes                           Yes                      Note 1.                              No
  67      Glenn Rich Investments, LLC           17-12602               No                           No                            Yes                      Note 1.                              No
  68      Goose Rocks Investments, LLC          17-12611               No                           No                            Yes                      Note 1.                              No
  69      Goosebrook Investments, LLC           17-12617               No                           No                            Yes                      Note 1.                              No
  70      Graeme Park Investments, LLC          17-12622               No                           No                            Yes                      Note 1.                              No
  71      Grand Midway Investments, LLC         17-12628               No                           No                            Yes                      Note 1.                              No
  72      Gravenstein Investments, LLC          17-12632               No                           No                            Yes                      Note 1.                              No
  73      Green Gables Investments, LLC         17-12637               No                           No                            Yes                      Note 1.                              No
  74      Grenadier Investments, LLC            17-12643               No                           No                            Yes                      Note 1.                              No
  75      Grumblethorpe Investments, LLC        17-12649               No                           No                            Yes                      Note 1.                              No
  76      H11 Silk City Holding Company, LLC    17-12833               No                           No                            Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                     Reporting Period: 03/31/2018

                                                                                      DEBTOR QUESTIONNAIRE

                                                              1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                              explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                            explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
   #                    Name of Entity               Case #
  77    H12 White Birch Holding Company, LLC       17-12699               No                            No                           Yes                      Note 1.                              No
  78    H13 Bay Village Holding Company, LLC       17-12591               No                            No                           Yes                      Note 1.                              No
  79    H14 Dixville Notch Holding Company, LLC    17-12712               No                            No                           Yes                      Note 1.                              No
  80    H15 Bear Brook Holding Company, LLC        17-12607               No                            No                           Yes                      Note 1.                              No
  81    H16 Monadnock Holding Company, LLC         17-12678               No                            No                           Yes                      Note 1.                              No
  82    H17 Pemigewasset Holding Company, LLC      17-12799               No                            No                           Yes                      Note 1.                              No
  83    H19 Emerald Lake Holding Company, LLC      17-12785               No                            No                           Yes                      Note 1.                              No
  84    H2 Arlington Ridge Holding Company, LLC    17-12575               No                            No                           Yes                      Note 1.                              No
  85    H20 Bluff Point Holding Company, LLC       17-12715               No                            No                           Yes                      Note 1.                              No
  86    H21 Summerfree Holding Company, LLC        17-12631               No                            No                           Yes                      Note 1.                              No
  87    H22 Papirovka Holding Company, LLC         17-12770               No                            No                           Yes                      Note 1.                              No
  88    H23 Pinova Holding Company, LLC            17-12810               No                            No                           Yes                      Note 1.                              No
  89    H24 Stayman Holding Company, LLC           17-12590               No                            No                           Yes                      Note 1.                              No
  90    H25 Elstar Holding Company, LLC            17-12779               No                            No                           Yes                      Note 1.                              No
  91    H26 Gravenstein Holding Company, LLC       17-12630               No                            No                           Yes                      Note 1.                              No
  92    H27 Grenadier Holding Company, LLC         17-12642               No                            No                           Yes                      Note 1.                              No
  93    H28 Black Locust Holding Company, LLC      17-12647               No                            No                           Yes                      Note 1.                              No
  94    H29 Zestar Holding Company, LLC            17-12789               No                            No                           Yes                      Note 1.                              No
  95    H30 Silver Maple Holding Company, LLC      17-12835               No                            No                           Yes                      Note 1.                              No
  96    H31 Addison Park Holding Company, LLC      17-12562               No                            No                           Yes                      Note 1.                              No
  97    H32 Arborvitae Holding Company, LLC        17-12567               No                            No                           Yes                      Note 1.                              No
  98    H35 Hornbeam Holding Company, LLC          17-12691               No                            No                           Yes                      Note 1.                              No
  99    H36 Sturmer Pippin Holding Company, LLC    17-12625               No                            No                           Yes                      Note 1.                              No
  100   H37 Idared Holding Company, LLC            17-12697               No                            No                           Yes                      Note 1.                              No
  101   H38 Mutsu Holding Company, LLC             17-12711               No                            No                           Yes                      Note 1.                              No
  102   H39 Haralson Holding Company, LLC          17-12661               No                            No                           Yes                      Note 1.                              No
  103   H4 Pawtuckaway Holding Company, LLC        17-12778               No                            No                           Yes                      Note 1.                              No
  104   H40 Bramley Holding Company, LLC           17-12766               No                            No                           Yes                      Note 1.                              No
  105   H41 Grumblethorpe Holding Company, LLC     17-12646               No                            No                           Yes                      Note 1.                              No
  106   H43 Lenni Heights Holding Company, LLC     17-12717               No                            No                           Yes                      Note 1.                              No
  107   H44 Green Gables Holding Company, LLC      17-12634               No                            No                           Yes                      Note 1.                              No
  108   H46 Beech Creek Holding Company, LLC       17-12612               No                            No                           Yes                      Note 1.                              No
  109   H47 Summit Cut Holding Company, LLC        17-12638               No                            No                           Yes                      Note 1.                              No
  110   H49 Bowman Holding Company, LLC            17-12725               No                            No                           Yes                      Note 1.                              No
  111   H5 Chestnut Ridge Holding Company, LLC     17-12608               No                            No                           Yes                      Note 1.                              No
  112   H51 Old Carbon Holding Company, LLC        17-12738               No                            No                           Yes                      Note 1.                              No
  113   H52 Willow Grove Holding Company, LLC      17-12729               No                            No                           Yes                      Note 1.                              No
  114   H53 Black Bass Holding Company, LLC        17-12639               No                            No                           Yes                      Note 1.                              No



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                                                    Case 17-12560-KJC                   Doc 1941               Filed 06/05/18                Page 107 of 121


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                       Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                       Reporting Period: 03/31/2018

                                                                                        DEBTOR QUESTIONNAIRE

                                                                1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                                explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                              explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
   #                    Name of Entity                 Case #
  115   H54 Seven Stars Holding Company, LLC         17-12831               No                            No                           Yes                      Note 1.                              No
  116   H55 Old Maitland Holding Company, LLC        17-12747               No                            No                           Yes                      Note 1.                              No
  117   H56 Craven Holding Company, LLC              17-12633               No                            No                           Yes                      Note 1.                              No
  118   H58 Baleroy Holding Company, LLC             17-12579               No                            No                           Yes                      Note 1.                              No
  119   H59 Rising Sun Holding Company, LLC          17-12827               No                            No                           Yes                      Note 1.                              No
  120   H6 Lilac Meadow Holding Company, LLC         17-12724               No                            No                           Yes                      Note 1.                              No
  121   H60 Moravian Holding Company, LLC            17-12686               No                            No                           Yes                      Note 1.                              No
  122   H61 Grand Midway Holding Company, LLC        17-12626               No                            No                           Yes                      Note 1.                              No
  123   H65 Thornbury Farm Holding Company, LLC      17-12644               No                            No                           Yes                      Note 1.                              No
  124   H66 Heilbron Manor Holding Company, LLC      17-12677               No                            No                           Yes                      Note 1.                              No
  125   H68 Graeme Park Holding Company, LLC         17-12620               No                            No                           Yes                      Note 1.                              No
  126   H7 Dogwood Valley Holding Company, LLC       17-12721               No                            No                           Yes                      Note 1.                              No
  127   H70 Bishop White Holding Company, LLC        17-12619               No                            No                           Yes                      Note 1.                              No
  128   H74 Imperial Aly Holding Company, LLC        17-12704               No                            No                           Yes                      Note 1.                              No
  129   H76 Diamond Cove Holding Company, LLC        17-12700               No                            No                           Yes                      Note 1.                              No
  130   H8 Melody Lane Holding Company, LLC          17-12756               No                            No                           Yes                      Note 1.                              No
  131   H9 Strawberry Fields Holding Company, LLC    17-12609               No                            No                           Yes                      Note 1.                              No
  132   Hackmatack Investments, LLC                  17-12653               No                            No                           Yes                      Note 1.                              No
  133   Haffenburg Investments, LLC                  17-12659               No                            No                           Yes                      Note 1.                              No
  134   Haralson Investments, LLC                    17-12663               No                            No                           Yes                      Note 1.                              No
  135   Harringworth Investments, LLC                17-12669               No                            No                           Yes                      Note 1.                              No
  136   Hazelpoint Investments, LLC                  17-12674               No                            No                           Yes                      Note 1.                              No
  137   Heilbron Manor Investments, LLC              17-12681               No                            No                           Yes                      Note 1.                              No
  138   Hollyline Holdings, LLC                      17-12684               No                            No                           Yes                      Note 1.                              No
  139   Hollyline Owners, LLC                        17-12688               No                            No                           Yes                      Note 1.                              No
  140   Hornbeam Investments, LLC                    17-12694               No                            No                           Yes                      Note 1.                              No
  141   Idared Investments, LLC                      17-12701               No                            No                           Yes                      Note 1.                              No
  142   Imperial Aly Investments, LLC                17-12708               No                            No                           Yes                      Note 1.                              No
  143   Ironsides Investments, LLC                   17-12714               No                            No                           Yes                      Note 1.                              No
  144   Lenni Heights Investments, LLC               17-12720               No                            No                           Yes                      Note 1.                              No
  145   Lilac Meadow Investments, LLC                17-12728               No                            No                           Yes                      Note 1.                              No
  146   Lincolnshire Investments, LLC                17-12733               No                            No                           Yes                      Note 1.                              No
  147   Lonetree Investments, LLC                    17-12740               No                            No                           Yes                      Note 1.                              No
  148   Longbourn Investments, LLC                   17-12746               No                            No                           Yes                      Note 1.                              No
  149   M10 Gateshead Holding Company, LLC           17-12593               No                            No                           Yes                      Note 1.                              No
  150   M11 Anchorpoint Holding Company, LLC         17-12565               No                            No                           Yes                      Note 1.                              No
  151   M13 Cablestay Holding Company, LLC           17-12795               No                            No                           Yes                      Note 1.                              No
  152   M14 Crossbeam Holding Company, LLC           17-12645               No                            No                           Yes                      Note 1.                              No



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                                               Case 17-12560-KJC                      Doc 1941               Filed 06/05/18                Page 108 of 121


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                     Reporting Period: 03/31/2018

                                                                                      DEBTOR QUESTIONNAIRE

                                                              1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                                                            explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
   #                   Name of Entity                Case #
  153   M15 Doubleleaf Holding Company, LLC        17-12749               No                            No                           Yes                      Note 1.                              No
  154   M17 Lincolnshire Holding Company, LLC      17-12730               No                            No                           Yes                      Note 1.                              No
  155   M19 Arrowpoint Holding Company, LLC        17-12577               No                            No                           Yes                      Note 1.                              No
  156   M22 Drawspan Holding Company, LLC          17-12764               No                            No                           Yes                      Note 1.                              No
  157   M24 Fieldpoint Holding Company, LLC        17-12791               No                            No                           Yes                      Note 1.                              No
  158   M25 Centershot Holding Company, LLC        17-12583               No                            No                           Yes                      Note 1.                              No
  159   M26 Archivolt Holding Company, LLC         17-12573               No                            No                           Yes                      Note 1.                              No
  160   M27 Brise Soleil Holding Company, LLC      17-12760               No                            No                           Yes                      Note 1.                              No
  161   M28 Broadsands Holding Company, LLC        17-12773               No                            No                           Yes                      Note 1.                              No
  162   M29 Brynderwen Holding Company, LLC        17-12781               No                            No                           Yes                      Note 1.                              No
  163   M31 Cannington Holding Company, LLC        17-12801               No                            No                           Yes                      Note 1.                              No
  164   M32 Dollis Brook Holding Company, LLC      17-12731               No                            No                           Yes                      Note 1.                              No
  165   M33 Harringworth Holding Company, LLC      17-12667               No                            No                           Yes                      Note 1.                              No
  166   M34 Quarterpost Holding Company, LLC       17-12814               No                            No                           Yes                      Note 1.                              No
  167   M36 Springline Holding Company, LLC        17-12584               No                            No                           Yes                      Note 1.                              No
  168   M37 Topchord Holding Company, LLC          17-12662               No                            No                           Yes                      Note 1.                              No
  169   M38 Pemberley Holding Company, LLC         17-12787               No                            No                           Yes                      Note 1.                              No
  170   M39 Derbyshire Holding Company, LLC        17-12692               No                            No                           Yes                      Note 1.                              No
  171   M40 Longbourn Holding Company, LLC         17-12742               No                            No                           Yes                      Note 1.                              No
  172   M41 Silverthorne Holding Company, LLC      17-12838               No                            No                           Yes                      Note 1.                              No
  173   M43 White Dome Holding Company, LLC        17-12706               No                            No                           Yes                      Note 1.                              No
  174   M44 Wildernest Holding Company, LLC        17-12718               No                            No                           Yes                      Note 1.                              No
  175   M45 Clover Basin Holding Company, LLC      17-12618               No                            No                           Yes                      Note 1.                              No
  176   M46 Owl Ridge Holding Company, LLC         17-12759               No                            No                           Yes                      Note 1.                              No
  177   M48 Vallecito Holding Company, LLC         17-12670               No                            No                           Yes                      Note 1.                              No
  178   M49 Squaretop Holding Company, LLC         17-12588               No                            No                           Yes                      Note 1.                              No
  179   M5 Stepstone Holding Company, LLC          17-12601               No                            No                           Yes                      Note 1.                              No
  180   M50 Wetterhorn Holding Company, LLC        17-12689               No                            No                           Yes                      Note 1.                              No
  181   M51 Coffee Creek Holding Company, LLC      17-12624               No                            No                           Yes                      Note 1.                              No
  182   M53 Castle Pines Holding Company, LLC      17-12571               No                            No                           Yes                      Note 1.                              No
  183   M54 Lonetree Holding Company, LLC          17-12737               No                            No                           Yes                      Note 1.                              No
  184   M56 Haffenburg Holding Company, LLC        17-12656               No                            No                           Yes                      Note 1.                              No
  185   M57 Ridgecrest Holding Company, LLC        17-12818               No                            No                           Yes                      Note 1.                              No
  186   M60 Thunder Basin Holding Company, LLC     17-12654               No                            No                           Yes                      Note 1.                              No
  187   M61 Mineola Holding Company, LLC           17-12668               No                            No                           Yes                      Note 1.                              No
  188   M62 Sagebrook Holding Company, LLC         17-12829               No                            No                           Yes                      Note 1.                              No
  189   M63 Crowfield Holding Company, LLC         17-12655               No                            No                           Yes                      Note 1.                              No
  190   M67 Mountain Spring Holding Company, LLC   17-12695               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                      Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                      Reporting Period: 03/31/2018

                                                                                       DEBTOR QUESTIONNAIRE

                                                               1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                               business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                               period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                               explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                             explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
   #                    Name of Entity                Case #
  191   M68 Goosebrook Holding Company, LLC         17-12615               No                            No                           Yes                      Note 1.                              No
  192   M70 Pinney Holding Company, LLC             17-12806               No                            No                           Yes                      Note 1.                              No
  193   M71 Eldredge Holding Company, LLC           17-12771               No                            No                           Yes                      Note 1.                              No
  194   M72 Daleville Holding Company, LLC          17-12683               No                            No                           Yes                      Note 1.                              No
  195   M73 Mason Run Holding Company, LLC          17-12748               No                            No                           Yes                      Note 1.                              No
  196   M74 Varga Holding Company, LLC              17-12680               No                            No                           Yes                      Note 1.                              No
  197   M75 Riley Creek Holding Company, LLC        17-12825               No                            No                           Yes                      Note 1.                              No
  198   M76 Chaplin Holding Company, LLC            17-12587               No                            No                           Yes                      Note 1.                              No
  199   M79 Chestnut Holding Company, LLC           17-12595               No                            No                           Yes                      Note 1.                              No
  200   M80 Hazelpoint Holding Company, LLC         17-12672               No                            No                           Yes                      Note 1.                              No
  201   M83 Mt. Holly Holding Company, LLC          17-12703               No                            No                           Yes                      Note 1.                              No
  202   M85 Glenn Rich Holding Company, LLC         17-12599               No                            No                           Yes                      Note 1.                              No
  203   M86 Steele Hill Holding Company, LLC        17-12596               No                            No                           Yes                      Note 1.                              No
  204   M87 Hackmatack Hills Holding Company, LLC   17-12652               No                            No                           Yes                      Note 1.                              No
  205   M88 Franconia Notch Holding Company, LLC    17-12796               No                            No                           Yes                      Note 1.                              No
  206   M9 Donnington Holding Company, LLC          17-12741               No                            No                           Yes                      Note 1.                              No
  207   M90 Merrimack Valley Holding Company, LLC   17-12658               No                            No                           Yes                      Note 1.                              No
  208   M91 Newville Holding Company, LLC           17-12726               No                            No                           Yes                      Note 1.                              No
  209   M92 Crystal Woods Holding Company, LLC      17-12671               No                            No                           Yes                      Note 1.                              No
  210   M93 Goose Rocks Holding Company, LLC        17-12605               No                            No                           Yes                      Note 1.                              No
  211   M94 Winding Road Holding Company, LLC       17-12736               No                            No                           Yes                      Note 1.                              No
  212   M95 Pepperwood Holding Company, LLC         17-12802               No                            No                           Yes                      Note 1.                              No
  213   M97 Red Wood Holding Company, LLC           17-12823               No                            No                           Yes                      Note 1.                              No
  214   M99 Ironsides Holding Company, LLC          17-12710               No                            No                           Yes                      Note 1.                              No
  215   Mason Run Investments, LLC                  17-12751               No                            No                           Yes                      Note 1.                              No
  216   Melody Lane Investments, LLC                17-12757               No                            No                           Yes                      Note 1.                              No
  217   Merrimack Valley Investments, LLC           17-12665               No                            No                           Yes                      Note 1.                              No
  218   Mineola Investments, LLC                    17-12673               No                            No                           Yes                      Note 1.                              No
  219   Monadnock Investments, LLC                  17-12682               No                            No                           Yes                      Note 1.                              No
  220   Moravian Investments, LLC                   17-12690               No                            No                           Yes                      Note 1.                              No
  221   Mountain Spring Investments, LLC            17-12698               No                            No                           Yes                      Note 1.                              No
  222   Mt. Holly Investments, LLC                  17-12707               No                            No                           Yes                      Note 1.                              No
  223   Mutsu Investments, LLC                      17-12719               No                            No                           Yes                      Note 1.                              No
  224   Newville Investments, LLC                   17-12734               No                            No                           Yes                      Note 1.                              No
  225   Old Carbon Investments, LLC                 17-12743               No                            No                           Yes                      Note 1.                              No
  226   Old Maitland Investments, LLC               17-12752               No                            No                           Yes                      Note 1.                              No
  227   Owl Ridge Investments, LLC                  17-12763               No                            No                           Yes                      Note 1.                              No
  228   Papirovka Investments, LLC                  17-12774               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                Reporting Period: 03/31/2018

                                                                                 DEBTOR QUESTIONNAIRE

                                                         1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                         explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                       explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
   #                     Name of Entity         Case #
  229   Pawtuckaway Investments, LLC          17-12783               No                           No                            Yes                      Note 1.                              No
  230   Pemberley Investments, LLC            17-12790               No                           No                            Yes                      Note 1.                              No
  231   Pemigewasset Investments, LLC         17-12800               No                           No                            Yes                      Note 1.                              No
  232   Pepperwood Investments, LLC           17-12804               No                           No                            Yes                      Note 1.                              No
  233   Pinney Investments, LLC               17-12808               No                           No                            Yes                      Note 1.                              No
  234   Pinova Investments, LLC               17-12812               No                           No                            Yes                      Note 1.                              No
  235   Quarterpost Investments, LLC          17-12816               No                           No                            Yes                      Note 1.                              No
  236   Red Woods Investments, LLC            17-12824               No                           No                            Yes                      Note 1.                              No
  237   Ridgecrest Investments, LLC           17-12821               No                           No                            Yes                      Note 1.                              No
  238   Riley Creek Investments, LLC          17-12826               No                           No                            Yes                      Note 1.                              No
  239   Rising Sun Investments, LLC           17-12828               No                           No                            Yes                      Note 1.                              No
  240   Sagebrook Investments, LLC            17-12830               No                           No                            Yes                      Note 1.                              No
  241   Seven Stars Investments, LLC          17-12832               No                           No                            Yes                      Note 1.                              No
  242   Silk City Investments, LLC            17-12834               No                           No                            Yes                      Note 1.                              No
  243   Silver Maple Investments, LLC         17-12836               No                           No                            Yes                      Note 1.                              No
  244   Silverleaf Funding, LLC               17-12837               No                           No                            Yes                      Note 1.                              No
  245   Silverthorne Investments, LLC         17-12582               No                           No                            Yes                      Note 1.                              No
  246   Springline Investments, LLC           17-12585               No                           No                            Yes                      Note 1.                              No
  247   Squaretop Investments, LLC            17-12589               No                           No                            Yes                      Note 1.                              No
  248   Stayman Investments, LLC              17-12594               No                           No                            Yes                      Note 1.                              No
  249   Steele Hill Investments, LLC          17-12598               No                           No                            Yes                      Note 1.                              No
  250   Stepstone Investments, LLC            17-12606               No                           No                            Yes                      Note 1.                              No
  251   Strawberry Fields Investments, LLC    17-12613               No                           No                            Yes                      Note 1.                              No
  252   Sturmer Pippin Investments, LLC       17-12629               No                           No                            Yes                      Note 1.                              No
  253   Summerfree Investments, LLC           17-12635               No                           No                            Yes                      Note 1.                              No
  254   Summit Cut Investments, LLC           17-12640               No                           No                            Yes                      Note 1.                              No
  255   Thornbury Farm Investments, LLC       17-12651               No                           No                            Yes                      Note 1.                              No
  256   Thunder Basin Investments, LLC        17-12657               No                           No                            Yes                      Note 1.                              No
  257   Topchord Investments, LLC             17-12664               No                           Yes                           Yes                      Note 1.                              No
  258   Vallecito Investments, LLC            17-12675               No                           No                            Yes                      Note 1.                              No
  259   Varga Investments, LLC                17-12685               No                           No                            Yes                      Note 1.                              No
  260   Wetterhorn Investments, LLC           17-12693               No                           No                            Yes                      Note 1.                              No
  261   White Birch Investments, LLC          17-12702               No                           No                            Yes                      Note 1.                              No
  262   White Dome Investments, LLC           17-12709               No                           No                            Yes                      Note 1.                              No
  263   Whiteacre Funding, LLC                17-12713               No                           No                            Yes                      Note 1.                              No
  264   Wildernest Investments, LLC           17-12723               No                           No                            Yes                      Note 1.                              No
  265   Willow Grove Investments, LLC         17-12732               No                           No                            Yes                      Note 1.                              No
  266   Winding Road Investments, LLC         17-12739               No                           No                            Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                     Reporting Period: 03/31/2018

                                                                                      DEBTOR QUESTIONNAIRE

                                                              1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                                                            explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
   #                     Name of Entity              Case #
  267   WMF Management, LLC                        17-12745               No                            No                           Yes                      Note 1.                              No
  268   Woodbridge Capital Investments, LLC        17-12750               No                            No                           Yes                      Note 1.                              No
  269   Woodbridge Commercial Bridge Loan Fund 1, L17-12754               No                            No                           Yes                      Note 1.                              No
  270   Woodbridge Commercial Bridge Loan Fund 2, L17-12758               No                            No                           Yes                      Note 1.                              No
  271   Woodbridge Investments, LLC                17-12761               No                            No                           Yes                      Note 1.                              No
  272   Woodbridge Mezzanine Fund 1, LLC           17-12765               No                            No                           Yes                      Note 1.                              No
  273   Woodbridge Mortgage Investment Fund 1, LLC 17-12768               No                            No                           Yes                      Note 1.                              No
  274   Woodbridge Mortgage Investment Fund 2, LLC 17-12772               No                            No                           Yes                      Note 1.                              No
  275   Woodbridge Mortgage Investment Fund 3, LLC 17-12776               No                            No                           Yes                      Note 1.                              No
  276   Woodbridge Mortgage Investment Fund 3A, LL 17-12780               No                            No                           Yes                      Note 1.                              No
  277   Woodbridge Mortgage Investment Fund 4, LLC 17-12784               No                            No                           Yes                      Note 1.                              No
  278   Woodbridge Structured Funding, LLC         17-12786               No                            No                           Yes                      Note 1.                              No
  279   Zestar Investments, LLC                    17-12792               No                            No                           Yes                      Note 1.                              No
        SECOND ROUND FILERS: FILED 02/09/2018
  280   Carbondale Glen Lot L-2, LLC               18-10284               No                           No                            Yes                      Note 1.                              No
  281   Carbondale Peaks Lot L-1, LLC              18-10286               No                           No                            Yes                      Note 1.                              No
  282   H18 Massabesic Holding Company, LLC        18-10287               No                           No                            Yes                      Note 1.                              No
  283   H33 Hawthorn Holding Company, LLC          18-10288               No                           No                            Yes                      Note 1.                              No
  284   H50 Sachs Bridge Holding Company, LLC      18-10289               No                           No                            Yes                      Note 1.                              No
  285   H64 Pennhurst Holding Company, LLC         18-10290               No                           No                            Yes                      Note 1.                              No
  286   Hawthorn Investments, LLC                  18-10291               No                           Yes                           Yes                      Note 1.                              No
  287   Lilac Valley Investments, LLC              18-10292               No                           No                            Yes                      Note 1.                              No
  288   Massabesic Investments, LLC                18-10293               No                           No                            Yes                      Note 1.                              No
  289   M58 Springvale Holding Company, LLC        18-10294               No                           No                            Yes                      Note 1.                              No
  290   M96 Lilac Valley Holding Company, LLC      18-10295               No                           No                            Yes                      Note 1.                              No
  291   Pennhurst Investments, LLC                 18-10296               No                           Yes                           Yes                      Note 1.                              No
  292   Sachs Bridge Investments, LLC              18-10297               No                           No                            Yes                      Note 1.                              No
  293   Springvale Investments, LLC                18-10298               No                           No                            Yes                      Note 1.                              No
        THIRD ROUND FILERS: FILED 03/09/2018
  294   Bellflower Funding, LLC                    18-10507               No                            No                           Yes                      Note 1.                              No
  295   Wall 123, LLC                              18-10508               No                            No                           Yes                      Note 1.                              No
        FOURTH ROUND FILERS: FILED 03/23/2018
  296   695 Buggy Circle, LLC                      18-10670               No                            No                           Yes                      Note 1.                              No
  297   Buggy Circle Holdings, LLC                 18-10672               No                            No                           Yes                      Note 1.                              No
  298   Deerfield Park Investments, LLC            18-10673               No                            No                           Yes                      Note 1.                              No
  299   Kirkstead Investments, LLC                 18-10675               No                            No                           Yes                      Note 1.                              No
  300   M16 Kirkstead Holding Company, LLC         18-10676               No                            No                           Yes                      Note 1.                              No
  301   H10 Deerfield Park Holding Company, LLC    18-10674               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                Reporting Period: 03/31/2018

                                                                                                 DEBTOR QUESTIONNAIRE

                                                                         1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                                                                       explanation below.*                                     below. **                     Delaware Local Rule 4001-3.***
   #                      Name of Entity                     Case #
  302      Blazingstar Funding, LLC                        18-10671                  No                            No                           Yes                      Note 1.                              No
           FIFTH ROUND FILERS: FILED 03/27/2018
  303      Frog Rock Investments, LLC                      18-10733                  No                           Yes                           Yes                      Note 1.                              No
  304      M77 Frog Rock Holding Company, LLC              18-10734                  No                           No                            Yes                      Note 1.                              No
  305      Mount Washington Investments, LLC               18-10736                  No                           No                            Yes                      Note 1.                              No
  306      M89 Mount Washington Holding Company,           18-10735                  No                           No                            Yes                      Note 1.                              No
           LLC




         * Funds were disbursed from accounts in the name of Debtor entities under the control of third party property managers. These disbursements are included in reported disbursements.

        ** The Debtor has the necessary and adequate workers comp insurance. The Debtor has liability and fire or builders risk insurance on all properties with structures. Properties with structures in California have
           earthquake insurance. The Debtor is in the process of obtaining liability insurance for properties that consist of vacant land.
    *** DIP accounts for Woodbridge Group of Companies, LLC were set up with United Bank to replace pre-petition Comerica accounts. In February the Debtor changed Financial Advisors and at that time switched it's
        DIP accounts from United Bank to East West Bank. Additional accounts at East West Bank were opened in March to comply with reserve requirements on certain funds.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                      Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                      Reporting Period: 03/31/2018
                                                                                                  INSURANCE SCHEDULE
                                                                                                                                                Effective   Expiration                                        Current         Coverage
          Name of Debtor / Insured                     Address                        City    State    Zip       Term             Policy #        Date         Date                  Type of Insurance       Premium          Amount
Anchorpoint Investments, LLC         201 Main Units 102, 202, 203, 204, 303   Carbondale      CO      81623   2 Years     O5XV192401             6/6/2016     6/6/2018   Commercial                      $          284   $       596,319
Cannington Investments, LLC          1118 Tower Rd                            Beverly Hills   CA      90210   1 year      VSEQ317475            6/13/2017    6/13/2018   Earthquake                      $        7,152   $     2,700,000
Longbourn Investments, LLC           9040 Alto Cedro Dr                       Beverly Hills   CA      90210   1 year      HGB0128596            6/15/2017    6/15/2018   Vacant Dwelling                 $       10,096   $     2,400,000
Longbourn Investments, LLC           9040 Alto Cedro Dr                       Beverly Hills   CA      90210   1 year      SSE83373-00           6/15/2017    6/15/2018   Earthquake                      $        5,765   $     2,400,000
Pinney Investments, LLC              15655 Woodvale Rd                        Encino          CA      91436   1 year      HGB0128603            6/17/2017    6/17/2018   Build Renovation                $        5,290   $     1,000,000
Pinney Investments, LLC              15655 Woodvale Rd                        Encino          CA      91436   1 year      SSE83393              6/17/2017    6/17/2018   Earthquake                      $        4,423   $     1,500,000
Heilbron Manor Investments, LLC      2492 Mandeville Cyn Rd                   Los Angeles     CA      90049   1 year      HGB0128866            6/19/2017    6/19/2018   CPL                             $       11,104   $     2,500,000
Goose Rocks Investments, LLC         9127 Thrasher Ave                        Los Angeles     CA      90069   1 year      SSE83467-00           6/21/2017    6/21/2018   Earthquake                      $       14,587   $     7,800,000
Eldredge Investment, LLC             714 Oakhurst Or                          Beverly Hills   CA      90210   1 year      SSE83472-00           6/22/2017    6/22/2018   Earthquake                      $       11,491   $     2,900,000
Beech Creek Investments, LLC         59 Rivers Bend                           Carbondale      CO      81623   2 Years     CP 1632708            6/30/2016    6/30/2018   CPL                             $        6,630   $     1,600,000
Eldredge Investments, LLC            714 Oakhurst Or                          Beverly Hills   CA      90210   1 year      HGB0128952             7/6/2017     7/6/2018   Build Renovation                $       12,843   $     2,800,000
Mason Run Investments, LLC           1962 Stradella Rd                        Los Angeles     CA      90077   1 year      VSEQ308727             7/6/2017     7/6/2018   Earthquake                      $        2,085   $     1,000,000
Mason Run Investments, LLC           1962 Stradella Rd                        Los Angeles     CA      90077   6 Months    HGB0128865             1/7/2018     7/7/2018   Build Renovation                $        3,933   $     1,000,000
Graeme Park Investments, LLC         1011 N Hillcrest Rd                      Beverly Hills   CA      90210   1 year      HGB0129154            7/10/2017    7/10/2018   CPL                             $        8,056   $     1,750,000
Graeme Park Investments, LLC         1011 N Hillcrest Rd                      Beverly Hills   CA      90210   1 year      VSEQ318595            7/10/2017    7/10/2018   Earthquake                      $        3,176   $     1,750,000
Arlington Ridge Investment, LLC      1357 Laurel Way                          Beverly Hills   CA      90210   1 year      HGB0125163            7/12/2017    7/12/2018   Builders Risk                   $       37,097   $    11,000,000
Arlington Ridge Investments, LLC     1357 Laurel Way                          Beverly Hills   CA      90210   1 year      AB8156717             7/12/2017    7/12/2018   Earthquake                      $       22,667   $    11,100,000
Gateshead Investments, LLC           981 & 995 Cowen Dr                       Carbondale      CO      81623   2 Years     O5XV279501            7/17/2017    7/17/2018   Commercial                      $       14,954   $     3,795,185
Imperial Aly Investments, LLC        633 Foothill Rd                          Beverly Hills   CA      90210   1 year      HGB0129405            7/31/2017    7/31/2018   CPL                             $        9,821   $     2,200,000
Imperial Aly Investments             633 Foothill Rd                          Beverly Hills   CA      90210   1 year      VSEQ319118            7/31/2017    7/31/2018   Earthquake                      $        5,853   $     2,200,000
Woodbridge Capital Investments       624 N Wild Olive Ave                     Daytona Beach   FL      32118   Bi montly   BPG7971K              7/31/2017    7/31/2018   CGL                             $          161   $        50,000
Varga Investments, LLC               638 Siena Way                            Los Angeles     CA      90077   1 year      HGB0129247             8/3/2017     8/3/2018   Builders Risk                   $       37,962   $    10,500,000
Varga Investments, LLC               638 Siena Way                            Los Angeles     CA      90077   1 year      AB8156817              8/3/2017     8/3/2018   Earthquake (Step up Policy)     $       16,508   $     7,000,000
Brynderwen Investments LLC           14140 Ventura Blvd Ste. 203 and 302      Sherman Oaks    CA      91423   1 year      92C3A3549              8/7/2017     8/7/2018   Office Policy                   $        1,215   $     1,100,000
Hawthorn Investments LLC             14112 Roscoe Blvd                        Panorama City   CA      91402   1 year      3H907685              8/10/2017    8/10/2018   Commercial                      $        4,192   $     4,000,000
Drawspan Investments, LLC            3843 Hayvenhurst                         Encino          CA      91436   1 year      HGB0129249            8/14/2017    8/14/2018   CPL                             $        4,606   $       900,000
Drawspan Investments, LLC            3843 Hayvenhurst                         Encino          CA      91436   1 year      SSE83776-00           8/14/2017    8/14/2018   Earthquake                      $        3,701   $       925,000
Riley creek Investments, LLC         711 Walden Dr                            Beverly Hills   CA      90210   1 year      HGB0129452            8/24/2017    8/24/2018   Build Renovation                $       14,098   $     3,800,000
Riley creek Investments, LLC         711 Walden Dr                            Beverly Hills   CA      90210   1 year      LLD41379-00           8/24/2017    8/24/2018   Earthquake                      $       23,359   $     3,850,000
Topchord Investments, LLC            831 Grand Ave                            Carbondale      CO      81601   2 Years     O5XV366801            8/27/2017    8/27/2018   Commercial                      $        6,839   $     2,443,251
Gravenstein Investments, LLC         24055 Hidden Ridge Rd                    Hidden Hills    CA      91302   1 year      HGB0129709             9/1/2017     9/1/2018   Builders Risk                   $       28,080   $     8,000,000
Gravenstein Investments, LLC         24055 Hidden Ridge Rd                    Hidden Hills    CA      91302   1 year      SSE84015-00            9/1/2017     9/1/2018   Earthquake                      $       13,194   $     8,000,000
Whiteacre Funding, LLC               1110 Midway Rd                           Menasha         WI      54952   1 year      CP 1635948A            9/1/2017     9/1/2018   Property And Liability          $        7,974   $       850,000
Cannington Investments, LLC          1118 Tower Rd                            Beverly Hills   CA      90210   6 Months    HGB0129536             3/3/2018     9/3/2018   CPL                             $        7,664   $     2,700,000
Pepperwood Investments, LLC          158 A Seeburg Circle                     Carbondale      CO      81623   2 Years     BWD110731              9/4/2016     9/4/2018   CPL                             $        4,783   $       950,000
Crowfield Investments, LLC           1241 Loma Vista Dr.                      Beverly Hills   CA      90210   1 year      HGB0129885             9/5/2017     9/5/2018   Builders Risk                   $       16,052   $     4,400,000
Silk City Investments, LLC           25210 Jim Bridger Rd                     Hidden Hills    CA      91302   1 year      ER10799478             9/5/2017     9/5/2018   Builders Risk                   $       19,302   $     6,500,000
Bay Village Investments, LLC         1432 Tanager Way                         Los Angeles     CA      90069   1 year      ER10822049            9/11/2017    9/11/2018   Builders Risk                   $       21,831   $     8,300,000
Pemberley Investments, LLC           2362 Apollo Dr                           Los Angeles     CA      90046   1 year      VSEQ310867            9/14/2017    9/14/2018   Earthquake                      $        2,126   $     1,600,000
Dollis Brook Investments, LLC        38 Diamond A Ranch Road                  Carbondale      CO      81623   2 Years     O5XV392501            9/15/2017    9/15/2018   Commercial                      $        1,232   $       915,497
Chestnut Investments, LLC            10733 Stradella Court                    Los Angeles     CA      90077   1 year      HGB0129713            9/15/2017    9/15/2018   Build Renovation                $       17,696   $     3,800,000
Diamond Cove Investments, LLC        1 Electra Court                          Los Angeles     CA      90046   1 year      HGB0130053            9/18/2017    9/18/2018   CPL                             $       22,089   $     5,000,000
Sturmer Pippin Investments, LLC      141 S Carolwood Dr                       Holmby Hills    CA      90024   1 year      HGB0130077            9/26/2017    9/26/2018   CPL                             $       52,942   $     7,200,000
Carbondale Glen Owners, LLC          115 Midland Loop                         Carbondale      CO      81623   2 Years     O5XT672001            9/28/2016    9/28/2018   Commercial                      $        2,481   $     1,429,891
Hornbeam Investments, LLC            1484 Carla Ridge                         Beverly Hills   CA      90210   1 year      ER10874495            9/26/2017    9/28/2018   Builders Risk                   $       20,900   $     8,500,000
Woodbridge Capital Investments LLC   123 NW 13th St ste 309                   Boca Raton      FL      33432   1 year      PAS 03771062          9/28/2017    9/28/2018   CGL                             $        1,790   $     2,000,000
Pemberley Investments, LLC           2362 Apollo Dr                           Los Angeles     CA      90046   1 year      HGB0129960            10/3/2017    10/3/2018   CPL                             $        7,794   $     1,600,000
Hackmatack Investments, LLC          72 Golden Bear Dr                        Carbondale      CO      81623   2 Years     16070234-01           10/8/2016    10/8/2018   Commercial                      $        1,421   $       100,000
Wildernest Investments, LLC          180 Seeburg UNIT A ONLY                  Carbondale      CO      81623   1 year      2AA124813            11/13/2017   10/10/2018   CPL                             $        4,151   $     1,132,425
Goose Rock Investments, LLC          9127 Thrasher Ave                        Los Angeles     CA      90069   1 year      HGB0130308           10/13/2017   10/13/2018   Builders Risk                   $       35,086   $     7,700,000
Willow Grove Investments, LLC        8124 W 3rdSt                             Los Angeles     CA      90048   1 year      60630-43-22          10/21/2017   10/19/2018   Commercial                      $        4,708   $     1,500,000
Massabesic Investments, LLC          238 Sundance Trail                       Carbondale      CO      81623   2 Years     66069010-01          10/20/2016   10/20/2018   CPL                             $        5,324   $       738,316
Elstar Investments, LLC              1520 Carla Ridge                         Beverly Hills   CA      90210   1 year      ER10961177           10/20/2017   10/20/2018   Builders Risk                   $       22,550   $     7,000,000
Chestnut Ridge Investments, LLC      10750 Chalon Rd                          Los Angeles     CA      90077   1 year      HGB0130163           10/21/2017   10/21/2018   Build Renovation                $        7,942   $     1,700,000
Willow Grove Investments, LLC        8124 W 3rdSt                             Los Angeles     CA      90048   1 year      D4-7500103002-S-01   10/21/2017   10/21/2018   Earthquake                      $        6,358   $     1,500,000



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                               Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                               Reporting Period: 03/31/2018
                                                                                             INSURANCE SCHEDULE
                                                                                                                                             Effective   Expiration                                                    Current         Coverage
         Name of Debtor / Insured                         Address              City      State    Zip       Term           Policy #            Date         Date                   Type of Insurance                  Premium          Amount
Carbondale Glen River Mesa, LLC        918 Brookie                    Carbondale         CO      81623   1 year    05-XQ8010-01             10/22/2017   10/22/2018   Commercial                                  $        2,592   $     3,000,000
Baleroy Investments, LLC               108 W Diamond A Ranch          Carbondale         CO      81623   2 Years   CP 1638667               10/28/2016   10/28/2018   CPL                                         $        9,497   $     1,500,000
Clover Basin Investments, LLC          1061 Two Creeks Drive          Snowmass           CO      81654   1 year    2AA126280                 11/1/2017    11/1/2018   CPL                                         $       16,336   $     4,000,000
Fieldpoint lnvestments, LLC            809 Grand Ave                  Glenwood Springs   CO      81601   2 Years   O5XV262601                11/7/2016    11/7/2018   Commercial                                  $          570   $     2,443,251
Summit Cut Investments, LLC            375 & 385 Trousdale Pl.        Beverly Hills      CA      90210   1 year    HGB0130533                11/9/2017    11/9/2018   CPL                                         $        5,527   $     1,400,000
Woodbridge Capital Investments LLC     123 NW 13th St ste 309         Boca Raton         FL      33432   1 year    SPCW0003342-01           11/11/2017   11/11/2018   Wind                                        $        1,107   $        26,300
Pawtuckaway Investments, LLC           1471 Forest Knoll              Los Angeles        CA      90069   1 year    HGB0130645               11/12/2017   11/12/2018   Builders Risk                               $       23,524   $     6,800,000
Pawtuckaway Investments, LLC           1471 Forest Knoll              Los Angeles        CA      90069   1 year    SSE84616-00              11/12/2017   11/12/2018   Earthquake                                  $       14,742   $     6,900,000
Lilac Meadow Investments, LLC          9230 Robin Dr                  Los Angeles        CA      90069   1 year    HGB0130794               11/13/2017   11/13/2018   Builders Risk                               $       24,881   $     7,500,000
Lilac Meadow Investments, LLC          9230 Robin Dr                  Los Angeles        CA      90069   1 year    PPL00004699-00           11/13/2017   11/13/2018   Personal liability                          $          505   $     7,500,000
Old Maitland Investments, LLC          150 White Horse Springs Ln     Aspen              CO      81611   1 year    3AA154025                11/27/2017   11/27/2018   Liability                                   $        9,919   $    10,000,000
Carbondale Glen Sweetgrass Vista LLC   446 E Diamond A Ranch Rd       Carbondale         CO      81623   1 year    2AA127310                11/28/2017   11/28/2018   CPL                                         $        5,328   $     1,100,000
Zestar Investments, LLC                Pines Lot 27                   Snowmass           CO      81654   1 year    Pending                  11/29/2017   11/29/2018   Builders Risk                               $       13,631   $     4,300,000
Rising Sun Investments, LLC            1307 N Fairfax                 West Hollywood     CA      90046   1 year    ATR/R/440000.01           12/5/2017    12/5/2018   CPL                                         $        1,609   $       252,000
Rising Sun Investments, LLC            1301 N Fairfax                 West Hollywood     CA      90046   1 year    ATR/R/439999.01           12/5/2017    12/5/2018   CPL                                         $        2,006   $       348,000
Rising Sun Investments, LLC            7909 Fountain Ave              West Hollywood     CA      90046   1 year    ATR/R/440001.01           12/5/2017    12/5/2018   CPL                                         $        2,105   $       372,000
Whiteacre Funding, LLC                 State Rt 390                   Canadensis         PA      18325   1 year    12PRM023852-02           12/10/2017   12/10/2018   Property and Liability                      $       20,653   $     4,330,462
Emerald Lake Investments LLC           4030 Longridge Ave             Sherman Oaks       CA      91423   1 year    VSEQ313954                 1/4/2018     1/4/2019   Earthquake                                  $       12,504   $     3,300,000
Summerfree Investments, LLC            Pines Lot 4                    Snowmass           CO      81654   1 year    ER10644336                 1/8/2018     1/8/2019   Builders Risk                               $        7,878   $     3,900,000
Centershot Investments, LLC            8692 Franklin Ave              Los Angeles        CA      90069   1 year    PH211773                  1/15/2018    1/15/2019   CPL                                         $          502   $     1,000,000
Summit Cut Investments, LLC            375 & 385 Trousdale Pl.        Beverly Hills      CA      90210   1 year    HGB0127095                1/19/2018    1/18/2019   CPL                                         $        6,673   $     3,000,000
Craven Investments, LLC                25085 Ashley Ridge Rd          Hidden Hills       CA      91302   1 year    PH212442                  1/26/2018    1/26/2019   CPL                                         $          502   $     1,000,000
Carbondale Peaks Lot 1LLC              90 Primrose Ln                 Carbondale         CO      81623   1 year    05-XQ4037-01              2/15/2018    2/15/2019   CPL                                         $          300   $       200,000
Addison Park Investments, LLC          642 St Cloud                   Bel-Air            CA      90077   1 year    HGB0129287                2/20/2018    2/20/2019   Builders Risk                               $       38,062   $    13,000,000
Whiteacre Funding, LLC                 709 S Alamo St                 Refugio            TX      78377   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $          653   $       450,000
Whiteacre Funding, LLC                 277 Broughton Lane             Villanova          PA      19085   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $        1,332   $     2,600,000
Silverleaf Funding, LLC                6502 S Marshfield Ave          Chicago            IL      60636   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $          150   $       275,000
Silverleaf Funding, LLC                15635 Dobson Ave.              Dolton             IL      60419   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $           61   $       125,000
Silverleaf Funding, LLC                603 Ridge Road                 Homewood           IL      60430   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $          323   $       275,000
Silverleaf Funding, LLC                6657 Wabash                    Chicago            IL      60637   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $           76   $       130,000
Silverleaf Funding, LLC                7017 South Stewart             Chicago            IL      60621   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $          112   $       200,000
Silverleaf Funding, LLC                1468 State Street              East St. Louis     IL      62205   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $        1,175   $     1,000,000
Ironsides Investments, LLC             8607 Honoapilani Hwy           Lahaina            HI      96761   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $        1,789   $     3,500,000
Ironsides Investments, LLC             211 Barkentine Drive           Saint Mary's       GA      31158   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability (Blanket - in red)   $          383   $       400,000
Bellflower Funding LLC                 6287 Memorial Dr               Stone Mountain     GA      30083   1 year    0799/REO702 Asset #13061 3/8/2018      2/22/2019   Property And Liability                      $        5,180   $       600,000
Bellflower Funding LLC                 50 W. 96th St                  New York           Ny      10025   1 year    0799/REO702 Asset # 12429 3/8/2018     2/22/2019   Property And Liability                      $          964   $       100,000
Bellflower Funding LLC                 5 Ledyard ave                  Cazenovia          NY      13035   1 year    0799/REO702 Asset # 12429 3/8/2018     2/22/2019   Property And Liability                      $       10,244   $     1,200,000
Woodbridge Mtg Investments             1042 W 67th St                 Cazenovia          NY      60621   1 year    18LAP752899               2/22/2018    2/22/2019   Property And liability                      $          254   $       295,000
Woodbridge Mtg Investments             1621 W 67th St                 Chicago            IL      60636   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          255   $       297,000
Woodbridge Mtg Investments             7719 Lowe Ave                  Chicago            IL      60620   1 year    18LAP752899               2/22/2018    2/22/2019   Property and Liability                      $          255   $       296,000
Woodbridge Mtg Investments             6925 S Ada St                  Chicago            IL      60636   1 year    18LAP752899               2/22/2018    2/22/2019   Property And liability                      $          255   $       297,000
Woodbridge Mtg Investments             6718 S Union                   Chicago            IL      60621   1 year    18LAP752899               2/22/2018    2/22/2019   Propert And Liability                       $          172   $       200,000
Woodbridge Mtg Investments             7145 S Emerald Ave             Chicago            IL      60621   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          237   $       275,000
Woodbridge Mtg Investments             6050 Hermitage ave             Chicago            IL      60621   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          172   $       200,000
Woodbridge Mtg Investments             6410 S Honore St               Chicago            IL      60636   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          249   $       289,000
Woodbridge Mtg Investments             6600 S Marquette Rd            Chicago            IL      60637   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          185   $       215,000
Woodbridge Mtg Investments             637 E 88th Pl                  Chicago            IL      60619   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          151   $       175,000
Woodbridge Mtg Investments             6228 S Artesian Ave            Chicago            IL      60629   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          120   $       140,000
Woodbridge Mtg Investments             24637 S Wildwood Trail         Crete              IL      60417   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          189   $       220,000
Woodbridge Mtg Investments             1604 A St NE                   Washington         DC      20002   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          860   $     1,000,000
Woodbridge Mtg Investments             4550 Warrensville Center       Cleveland          OH      44128   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          323   $       250,000
Woodbridge Mtg Investments             802 N Wharton St               El Campo           TX      77437   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $          312   $       250,000
Woodbridge Mtg Investments             420 NW 5th St                  Evansville         IN      47708   1 year    18LAP752899               2/22/2018    2/22/2019   Property And Liability                      $        4,365   $     3,500,000
Red Woods investments LLC              4494-4496 State Rte 42 N       Kiamesha Lake      NY      12751   1 year    18LAP752899               3/20/2018    2/22/2019   Property And Liability                      $       11,520   $     1,400,000
Grand Midway Investments, LLC          800 Stradella Rd               Los Angeles        CA      90077   1 year    PH213188                  2/24/2018    2/24/2019   CPL                                         $          502   $     1,000,000



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                   Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                   Reporting Period: 03/31/2018
                                                                                                        INSURANCE SCHEDULE
                                                                                                                                                Effective Expiration                                       Current          Coverage
          Name of Debtor / Insured                        Address                          City    State    Zip       Term           Policy #     Date      Date                  Type of Insurance       Premium           Amount
Lilac Valley Investments LLC            14115 Moorpark St #212                      Sherman Oaks   CA      91423   1 year    5000353887         2/28/2018 2/28/2019 Vacant Condominium                $        1,023    $     1,000,000
White Birch Investments, LLC            25211 Jim Bridger Rd                        Hidden Hills   CA      91302   1 year    HGB0128076         3/19/2018 3/19/2019 Builders Risk                     $       19,299    $     5,700,000
Bay Village Investment, LLC             1432 Tanager Way                            Los Angeles    CA      90069   1 year    PH213700           3/21/2018 3/21/2019 CPL                               $          502    $     1,000,000
Derbyshire Investments, LLC             26 Saddlehorn Ct                            Carbondale     CO      81623   1 year    2AA116100          3/23/2018 3/23/2019 CPL                               $          494    $     1,400,000
Bluff Point Investments, LLC            9212 Nightingale Dr                         Los Angeles    CA      90069   1 year    HGB0127624         3/24/2018 3/24/2019 CPL                               $       10,079    $     2,200,000
Winding Road Investments, LLC           10721 Stradella Ct                          Los Angeles    CA      90077   1 year    HGB0127814         3/28/2018 3/28/2019 Builders Risk                     $       71,031    $    13,000,000
Donnington Investments, LLC             780 E Valley Rd Unit C126 & 300 Market St   Basalt         CO      81621   1 year    05XV578901         3/31/2018 3/31/2019 Commercial                        $        4,017    $     1,483,622
                                        #301
White Birch Investments, LLC            25211 Jim Bridger Rd                        Hidden Hills   CA      91302   1 year    VSEQ329528          4/2/2018    4/2/2019   Earthquake                    $         6,574   $     5,500,000
Carbondale Glen Lot D-22, LLC           63 Sweet Grass                              Carbondale     CO      81623   1 year    60373420-02         4/3/2018    4/3/2019   CPL                           $         4,527   $       867,000
Moravian Investments, LLC               36 Primrose Ln                              Carbondale     CO      81623   1 year    2AA113426          4/15/2018   4/15/2019   CPL                           $         7,293   $     1,300,000
Arborvitae Investments, LLC             43 Indian Paintbrush Aspen Glen             Carbondale     CO      81623   1 Year    AES105233601       4/16/2018   4/16/2019   Vacant Land Liability         $         7,957   $     1,000,000
                                        Carbondale CO
Arrowpoint Investments, LLC             125 River Park Aspen Glen Carbondale CO Carbondale         CO      81623 1 year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000

Bear Brook Investments, LLC             TBD Spire Ridge Way - Lot H-10, Aspen       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Glen Filing No. 6 Aspen Glen Carbondale
                                        CO
Black Bass Investments, LLC             TBD Sweetgrass - Lot D-20, Aspen Glen       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Filing No. 1 Aspen Glen Carbondale CO
Black Locust Investments, LLC           TBD Brookie, Aspen Glen Carbondale CO       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Lot RFM - 12
Bowman Investments, LLC                 TBD Golden Bear - Lot 15, The Fairways at   Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Aspen Glen Aspen Glen Carbondale CO

Bramley Investments, LLC                719-761 Perry Ridge Carbondale CO Lots Carbondale          CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        9, 10, 11, 12 and 13 Block V RVR Phase 8
                                        (5 Lots)
Brise Soleil Investments, LLC           TBD East Diamond A Ranch Road Lot E-33 Carbondale          CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000

Brise Soleil Investments, LLC           TBD Midland Loop [Lots near house]          Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Aspen Glen Carbondale CO Lot WP-4
Broadsands Investments, LLC             TBD Sundance Trail - Lots SD-7, SD-13       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        and SD-24, Aspen Glen Filing 4 Aspen Glen
                                        Carbondale CO (3 Lots)
Carbondale Glen Lot A-5, LLC            360 Rivers Bend Aspen Glen Carbondale       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        CO
Carbondale Glen Lot E-24, LLC           225 Diamond A Ranch Road Aspen Glen         Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Carbondale CO
Carbondale Glen Lot GV-13, LLC          TBD Mariposa - Lot GV-13, Aspen Glen        Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Filing 2 Aspen Glen Carbondale CO
Carbondale Glen Lot SD-14, LLC          TBD Sundance Trail - Lot SD-14, Aspen       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Glen Filing 4 Aspen Glen Carbondale CO
Carbondale Glen Lot SD-23, LLC          TBD Sundance Trail - Lot SD-23, Aspen       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Glen Filing 4 Aspen Glen Carbondale CO
Carbondale Glen Mesa Lot 19, LLC        TBD Golden Stone Drive Aspen Glen           Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Carbondale CO
Carbondale Glen Sundance Ponds, LLC     TBD Bald Eagle Way/Sundance Trail Aspen     Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Glen Carbondale CO Lot SD-2, SD-3, SD-
                                        4, SD-5, SD-6, SD-20, SD-21 and SD-22 (8
                                        Lots)
Carbondale Glen Sweetgrass Vista, LLC   TBD Thunderstorm - Lot C-1, Roaring Fork    Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Mesa at Aspen Glen Aspen Glen
                                        Carbondale CO
Carbondale Sundance Lot 15, LLC         TBD Sundance Trail - Lot SD-15, Aspen       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Glen Filing 4 Aspen Glen Carbondale CO
Carbondale Sundance Lot 16, LLC         TBD Sundance Trail - Lot SD-16, Aspen       Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Glen Filing 4 Aspen Glen Carbondale CO
Castle Pines Investments, LLC           34 Mariposa Aspen Glen Carbondale CO        Carbondale     CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
Chaplin Investments, LLC                TBD Golden Stone Drive - Lot 13, Roaring                   CO      81623 1 Year      AES105233601       4/16/2018   4/16/2019 Vacant Land Liability           Blanket           $     1,000,000
                                        Fork Mesa at Aspen Glen Aspen Glen
                                        Carbondale CO




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                          Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                          Reporting Period: 03/31/2018
                                                                                                        INSURANCE SCHEDULE
                                                                                                                                            Effective Expiration                                   Current     Coverage
        Name of Debtor / Insured                     Address                           City        State Zip      Term           Policy #     Date      Date                Type of Insurance     Premium       Amount
Coffee Creek Investments, LLC        82 Fox Prowl Aspen Glen Carbondale CO      Carbondale         CO    81623 1 Year    AES105233601       4/16/2018 4/16/2019 Vacant Land Liability           Blanket       $ 1,000,000
Crystal Woods Investments, LLC       16 Puma Aspen Glen Carbondale CO           Carbondale         CO    81623 1 Year    AES105233601       4/16/2018 4/16/2019 Vacant Land Liability           Blanket       $ 1,000,000
Daleville Investments, LLC           39 Buffalo Lane Aspen Glen Carbondale      Carbondale         CO    81623 1 Year    AES105233601       4/16/2018 4/16/2019 Vacant Land Liability           Blanket       $ 1,000,000
                                     CO
Dixville Notch Investments, LLC      177 W. Diamond A Ranch Road Aspen          Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Glen Carbondale CO
Dogwood Valley Investments, LLC      Lot WP3, Garfield CO                       Garfield           CO          1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Franconia Notch Investments, LLC     TBD Wader Lane, Lot 54, Roaring Fork       Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Mesa Aspen Glen Carbondale CO
Glenn Rich Investments, LLC          4123 Crystal Bridge Drive Carbondale CO    Carbondale         CO    81623 1 Year                       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Grenadier Investments, LLC           TBD Sundance Trail, Lot SD-12, Aspen       Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Glen Aspen Glen Carbondale CO
Grumblethorpe Investments, LLC       61 Wader Aspen Glen Carbondale CO          Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Haralson Investments, LLC            245 Midland Loop - Lot L20, Aspen Glen     Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Filing No. 3 Aspen Glen Carbondale CO
Idared Investments, LLC              665 North Bridge Drive Carbondale CO       Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Lenni Heights Investments, LLC       302 Wildflower Aspen Glen Carbondale CO    Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000

Lonetree Investments, LLC            TBD Wader, Lot 53, Roaring Fork Mesa   Carbondale             CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Aspen Glen Carbondale CO
Melody Lane Investments, LLC         19 Sage Court Aspen Glen Carbondale CO Carbondale             CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000

Merrimack Valley Investments, LLC    1165 Heritage Drive Carbondale CO          Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Mineola Investments, LLC             67 Puma Aspen Glen Carbondale CO           Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Monadnock Investments, LLC           336 Golden Stone Aspen Glen Carbondale     Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     CO
Mountain Spring Investments, LLC     TBD Epply Drive OR Block: 11 Lot: R-79     Aspen              CO          1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Epply Dr Aspen CO
Mt. Holly Investments, LLC           153 Sopris Mesa Drive Carbondale CO        Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Mutsu Investments, LLC               TBD Golden Bear - Lot 5, The Fairways at   Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Aspen Glen Aspen Glen Carbondale CO
Newville Investments, LLC            67 Alpen Glo Lane Aspen Glen Carbondale    Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     CO
Old Carbon Investments, LLC          43 Puma Aspen Glen Carbondale CO           Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Owl Ridge Investments, LLC           261 Golden Bear Aspen Glen Carbondale      Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     CO
Papirovka Investments, LLC           478 W. Diamond A Ranch Road Aspen          Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Glen Carbondale CO
Pemigewasset Investments, LLC        324 Golden Stone Aspen Glen Carbondale     Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     CO
Pinova Investments, LLC              0241 Rivers Bend Road Aspen Glen           Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Carbondale CO
Ridgecrest Investments, LLC          0057 W Diamond A Ranch Road Aspen          Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Glen Carbondale CO
Seven Stars Investments, LLC         368/342 River Bend Way, Glenwood           Glenwood Spring    CO          1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Springs Glenwood Springs CO (2 Lots)
Silverthorne Investments, LLC        345 Branding Lane Snowmass Village CO      Snowmass Village   CO          1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Springline Investments, LLC          TBD Spur Ridge - Lot 26, Horse Ranch       Snowmass Vilage    CO          1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Snowmass Village CO
Stayman Investments, LLC             TBD Horseshoe - Lot H14, Aspen Glen        Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Filing No. 7 Aspen Glen Carbondale CO
Steele Hill Investments, LLC         171 Sopris Mesa Drive Carbondale CO        Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
Stepstone Investments, LLC           505 East Diamond A Ranch Road Aspen        Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Glen Carbondale CO
Strawberry Fields Investments, LLC   TBD Sundance Trail Aspen Glen              Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Carbondale CO Lot SD-19
Thunder Basin Investments, LLC       167 Midland Loop - Lot L-19, Aspen Glen    Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Filing 3 Aspen Glen Carbondale CO
Vallecito Investments, LLC           TBD Golden Stone - Lot 32, Roaring Fork    Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Mesa at Aspen Glen Filing 2 Aspen Glen
                                     Carbondale CO
Wetterhorn Investments, LLC          TBD Vacant Land - Lot H-35, Aspen Glen     Carbondale         CO    81623 1 Year    AES105233601       4/16/2018   4/16/2019 Vacant Land Liability         Blanket       $    1,000,000
                                     Filing 6 Aspen Glen Carbondale CO



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                 Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                 Reporting Period: 03/31/2018
                                                                                                       INSURANCE SCHEDULE
                                                                                                                                                Effective Expiration                                   Current        Coverage
       Name of Debtor / Insured                      Address                            City      State Zip      Term               Policy #      Date      Date                Type of Insurance     Premium          Amount
White Dome Investments, LLC       0032 Fenwick Court Aspen Glen                  Carbondale       CO    81623 1 Year        AES105233601        4/16/2018 4/16/2019 Vacant Land Liability           Blanket          $ 1,000,000
                                  Carbondale CO
Carbondale Glen Lot L-2, LLC      39 Midland Loop Aspen Glen Carbondale, Carbondale               CO    81623 1 Year        AES105233601        4/16/2018   4/16/2019 Vacant Land Liability         Blanket          $    1,000,000
                                  CO
Sachs Bridge Investments, LLC     Multiple Lots River Valley Ranch - Lots 4, 5, Carbondale        CO    81623 1 Year        AES105233601        4/16/2018   4/16/2019 Vacant Land Liability         Blanket          $    1,000,000
                                  6, 7, 16, 17, 19 and 20, Block AA, River
                                  Valley Ranch Phase 7, Lots 1, 2, 5, 6 and 8,
                                  Block EE, River Valley Ranch Phase 8, and
                                  Lots 3, 4, 5, 6, 15, 20, 23, 24, 25 and 26,
                                  Block Z, River Valley Ranch Phase 7 (23
                                  Lots)
Springvale Investments, LLC       Parcel A: Lots 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, Carbondale    CO    81623 1 Year        AES105233601        4/16/2018   4/16/2019 Vacant Land Liability         Blanket          $    1,000,000
                                  12, 13, 14 and 15, The Enclave at Bowles
                                  Gulch
                                  Carbondale, CO
                                  &
                                  TBD Perry Ridge, Carbondale - Parcel B:
                                  Lots 1, 2, 4, 5, 6, 7 and 8, Block V, River
                                  Valley Ranch Phase 8 (22 Lots)
Silver Maple Investments, LLC     810 Sarbonne Rd                                Los Angeles      CA    90077   Year        HGB0127774          4/19/2018   4/19/2019   CPL                         $        7,585   $ 1,600,000
Silver Maple Investments, LLC     810 Sarbonne Rd                                Los Angeles      CA    90077   1 year      VSEQ306907          4/19/2018   4/19/2019   Earthquake                  $        2,377   $ 1,600,000
Goosebrook Investments, LLC       2600 Hutton Dr                                 Beverly Hills    CA    90210   1 year      HGB0128081          4/20/2018   4/20/2019   Builders Risk               $       14,790   $ 4,000,000
Hollyline Owners, LLC             3802 Hollyline Ave                             Sherman oaks     CA    91423   1 year      PPL00000677-02      4/22/2018   4/22/2019   CPL                         $          625   $ 1,000,000
Bluff Point Investments, LLC      9212 Nightingale Dr                            Los Angeles      CA    90069   1 year      VSEQ307049          4/25/2018   4/25/2019   Earthquake                  $        3,907   $ 2,300,000
Crowfield Investments, LLC        1241 Loma Vista Dr.                            Beverly Hills    CA    90210   1 year      VSEQ330492          4/27/2018   4/27/2019   Earthquake                  $        6,275   $ 4,200,000
Silk City Investments, LLC        25210 Jim Bridger Rd                           Hidden Hills     CA    91302   1 year      VSEQ330497          4/25/2018   4/25/2019   Earthquake                  $        7,678   $ 6,500,000
Doubleleaf Investments, LLC       4030 Madelia Ave                               Sherman Oaks     CA    91403   6 Months    ATR/R/35412706      4/27/2018   4/27/2019   CPL                         $        1,293   $     750,000
Sagebrook Investments, LLC        1258 Lago Vista Dr                             Beverly Hills    CA    90210   1 year      ATR/R/376005.02     4/30/2018   4/30/2019   CPL                         $        4,589   $     945,000
Green Gables Investments, LLC     41 King Street                                 New York         NY            18 Months   BH001858376163     10/30/2017   4/30/2019   Builders Risk               $       17,475   $ 5,000,000
Green Gables Investments, LLC     41 King Street                                 New York         NY            18 Months   AR3460124          10/30/2017   4/30/2019   Liability                   $       42,007   Above
Green Gables Investments, LLC     41 King Street                                 New York         NY            18 Months   V03GL0020E95-00    10/30/2017   4/30/2019   Liability                   $       59,481   Above
Diamond Cove Investments LLC      1 Electra Court                                Los Angeles      CA    90046   1 year                           5/3/2018    5/3/2019   Earthquake                  $        7,034   $ 5,000,000
Heilbron Manor Investments LLC    2492 Mandeville Cyn Rd                         Los Angeles      CA    90049   1 year                           5/3/2018    5/3/2019   Earthquake                  $        4,965   $ 2,450,000
Sagebrook Investments, LLC        1258 Lago Vista Dr                             Beverly Hills    CA    90210   1 year                           5/3/2018    5/3/2019   Earthquake                  $        2,059   $     945,000
Rising Sun Investments, LLC       1301 N Fairfax                                 West Hollywood   CA    90046   1 year                           5/3/2018    5/3/2019   Earthquake                  $          774   $     348,000
Rising Sun Investments, LLC       1307 N Fairfax                                 West Hollywood   CA    90046   1 year                           5/3/2018    5/3/2019   Earthquake                  $          598   $     252,000
Rising Sun Investments, LLC       7909 Fountain Ave                              West Hollywood   CA    90046   1 year                           5/3/2018    5/3/2019   Earthquake                  $          817   $     372,000
Summit Cut Investments, LLC       375 Trousdale Place                            Beverly Hills    CA    90210   1 year                           5/3/2018    5/3/2019   Earthquake                  $        2,708   $ 1,423,574
Summit Cut Investments, LLC       385 Trousdale Place                            Beverly Hills    CA    90210   1 year                           5/3/2018    5/3/2019   Earthquake                  $        3,362   $ 1,800,000
Carbondale Spruce 101, LLC        201 Main St Unit 101                           Carbondale       CO    81623   2 Years     05XV119201           5/8/2018    5/8/2019   Commercial                  $          445   $     596,319
Elstar Investments, LLC           1520 Carla Ridge                               Beverly Hills    CA    90210   1 year      PH214846            5/12/2018   5/12/2019   Vacant Land Liability       $          502   $ 1,000,000
Thornbury Farm Investments, LLC   7870·7900 W Granito Dr                         Los Angeles      CA    90046   1 year      PH215061            5/22/2018   5/22/2019   CPL                         $          802   $ 1,000,000
Squaretop Investments, LLC        1966 Carla Ridge                               Beverly Hills    CA    90210   1 year      HGB0128250          5/23/2018   5/23/2019   Builders Risk               $       51,811   $ 15,000,000
Squaretop Investments, LLC        1966 Carla Ridge                               Beverly Hills    CA    90210   1 year      SSE83170-00         5/23/2018   5/23/2019   Earthquake                  $       23,514   $ 15,000,000
Hornbeam Investments, LLC         1484 Carla Ridge                               Beverly Hills    CA    90210   1 year      PH215085            5/24/2018   5/24/2019   Builders Risk               $          502   $ 8,500,000
Bellflower Funding LLC            747 Davis Rd                                   Stockbridge      GA    30328   1 year      CP1652193           5/25/2018   5/25/2019   Commercial                  $        4,558   $     800,000
Bishop White Investments, LLC     805 Nimes PI                                   Los Angeles      CA    90077   1 year      PH215339             6/2/2018    6/2/2019   CPL                         $          502   $ 1,000,000
Chestnut Investments, LLC         10733 Stradella Court                          Los Angeles      CA    90077   1 year      SSE83346             6/2/2018    6/2/2019   Earthquake                  $       12,007   $ 3,850,000
Old Maitland Investments, LLC     150 White Horse Springs Ln                     Aspen            CO    81611   18 months   2832 0001274273     1/22/2018   7/22/2019   Building Renovations        $       51,331   $ 10,000,000
215 North 12th Street, LLC        215 N 12th St                                  Carbondale       CO    81623   2 Years     O5XV148301          5/23/2018   5/23/2020   Commercial                  $        5,330   $ 1,307,099




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                      Reporting Period: 03/31/2018


                                     13 WEEK BUDGET




           Revised 13 Week Budget is included with this report. See accompanying
           schedule.




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    WOODBRIDGE
    PROJECTED 3 MONTH CASH FLOW                                                                              March MOR as
    for the Period ending June 30, 2018                                                                      MOR-6
    Budget as of April 24, 2018                                      13 WEEK
                                                                      TOTAL                   Apr-18         May-18            Jun-18

    # HOMES SOLD                                                               23                      3              8                 12

    REVENUES, NET
        DIP Collateral Property Sales, Net                           22,820,250                     -        9,508,500        13,311,750
        Non-DIP Collateral Property Sales, Net                              -                       -              -                 -
        Adequate Protection (CA & CO)                                60,406,000              40,483,500     11,372,500         8,550,000
        Colorado Asset Sales, Net                                     6,640,200                     -        1,348,500         5,291,700
        Other Revenues                                                  181,000                 117,000         32,000            32,000
        Seller Carry / Other Liabilities                            (47,963,593)               (130,318)   (26,130,318)      (21,702,957)
        Retention for Warranty & Other               0.5%              (449,332)               (202,418)      (111,148)         (135,767)
             Subtotal before Reserves                                41,634,525              40,267,764     (3,979,966)        5,346,726
        Asset Sale Reserves - Adequate Protection                    (6,010,397)             (4,028,108)    (1,131,564)         (850,725)
        Asset Sale Reserves - Other Lien Noteholders                 (6,671,097)             (4,028,108)    (1,265,740)       (1,377,249)
             Total Revenues, net of Reserves                         28,953,031              32,211,548     (6,377,269)        3,118,751

    COSTS
        Investment Related Costs
            Construction - CA & NY                                  (25,054,592)             (8,830,839)    (8,200,789)       (8,022,964)
            Construction - CO & Others                               (1,568,863)               (539,449)      (532,338)         (497,076)
            Property Tax and Insurance                               (3,619,412)             (3,023,310)      (105,284)         (490,818)
        Payroll, G & A, Maintenance, HOA & Other                     (3,528,869)             (1,576,679)    (1,068,080)         (884,111)
        Contingency                                   5.0%           (1,688,587)               (698,514)      (495,325)         (494,748)
            Total Costs, Excluding Funds Interest                   (35,460,322)            (14,668,790)   (10,401,815)      (10,389,717)

    RESTRUCTURE COSTS
        Debtor                                                      (13,815,554)             (4,822,876)     (2,188,708)      (6,803,970)
        Committees                                                   (6,766,517)                    -        (3,891,517)      (2,875,000)
               Total Restructure Costs                              (20,582,071)             (4,822,876)     (6,080,225)      (9,678,970)

        NET CASH FLOW BEFORE FINANCING                              (27,089,363)             12,719,882    (22,859,310)      (16,949,935)

    DIP FINANCING
         Proceeds                                                    14,500,000                     -               -         14,500,000
         Interest & Fees                                             (1,221,851)               (427,500)       (441,750)        (352,601)
         Repayments                                                 (22,706,149)                    -        (9,460,958)     (13,245,191)
                  Net Financing                                      (9,428,000)               (427,500)     (9,902,708)         902,208

        NET CASH FLOW                                               (36,517,362)             12,292,382    (32,762,017)      (16,047,727)


    CASH BALANCE
        Beginning Balance                                            41,821,663 (a)          41,821,663     54,114,045        21,352,028
        Applied / (Retained) Cash                                   (36,517,362)             12,292,382    (32,762,017)      (16,047,727)
          Ending Balance                                              5,304,301              54,114,045     21,352,028         5,304,301

    DIP LOAN BALANCE                                                                         54,000,000     44,539,043       45,793,851

    CUMULATIVE RESERVES BALANCE
       Asset Sale Reserves - Adequate Protection                                              4,028,108      5,159,672        6,010,397
       Asset Sale Reserves - Other Lien Noteholders                                           4,028,108      5,293,848        6,671,097
         Total                                                                                8,056,217     10,453,520       12,681,494

    (a) Beginning cash balance was reconciled and updated as of 5/22/18 and reflects all cash accounts including reserves.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                   Case No. 17-12560 (KJC)
(Jointly Administered)                                                       Reporting Period: 03/31/2018


                                     LENDER STATEMENTS

   Non-investor third party notes are as follows:

                                                                                 Balance
                                   Lender                                      03/31/2018
      Hankey Capital DIP Loan                                           $           54,000,000
      Tintarella, LLC lender to Grand Midway Investments, LLC           $           26,000,000
      Ashley Land, LLC lender to Craven Investments, LLC                $            4,000,000
      805 Nimes Place, LLC lender to Bishop White Investments, LLC      $           17,000,000

      The DIP lender Hankey Capital provides a monthly invoice. The other lenders
      are paid monthly based upon agreed upon amounts according to the terms of the
      notes.




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                                                                                   BILLING   Filed 06/05/18                              Page 121 of 121


                                                                                                                                  ACCOUNT NO.                                         HI1415-000
                                                                                                                                  STATEMENT CLOSING DATE                                3/31/2018

                                                                                                                                  STATEMENT SUMMARY

                                                                                                                                       Past Due Amount                 +                 $0.00
                                                                                                                                       Current Payment Amount          +           $441,750.00
                                                                                                                                       Trust/Escrow Payment            +                 $0.00
                                                                                                                                       Other Payments                  +                 $0.00
 BORROWER                                                                                                                              Deferred Charges                -                 $0.00
                                                                                                                                       Minimum Payment Due             =           $441,750.00
  WOODBRIDGE GROUP OF COMPANIES                                                                                                        Payment Due Date                               4/1/2018

   CA                                                                                                                                  Late Charge Due After 4/10/2018              $22,087.50
                                                                                                                                       Maximum Loan Amount                       $6,000,000.00
                                                                                                                                       Current Principal Balance                $54,000,000.00
                                                                                                                                       Reserve Balance                                   $0.00
                                                                                                                                       Impound Balance                                   $0.00
   Check here for a change of mailing address or phone number(s). Please provide all corrections on the reverse side.
                                                                                                                                       Interest Rate                                   9.500%
                                                                                                                                       Average Daily Balance                    $54,000,000.00
                                                                                                                                       Project Address:
                                                                                                                                       642 N ST CLOUD
                                                                                                                                       LOS ANGELES CA 90077

                                                    PLEASE DETACH THE TOP PORTION OF THIS STATEMENT AND RETURN IT WITH YOUR PAYMENT

 Please advise us immediately of any discrepancies in the transactions or investment activity on your billing statement or if you contemplate changing your address. When making
 inquiries by telephone or in writing please give your account number. We urge you to keep this statement with your investment records.

                                                                                         ACCOUNT ACTIVITY
    Date              Reference                                                      Description                                                Charges            Credits            Balance

   3/1/2018                              Balance Forward                                                                                                                       $54,435,333.14
   3/5/2018       0218 INT               Payment Received - Thank You                                                                                              $435,333.14 $54,000,000.00
  3/31/2018                              Interest Charge                                                                                       $441,750.00                     $54,441,750.00
                                                                                                                                               $441,750.00         $435,333.14




                                                                                INTEREST CHARGE SUMMARY
        Balance Date                         Daily Balance                           Days                        Daily Periodic Rate            Interest Rate                Interest Charges
           3/1/2018                           $54,000,000.00                              31                             0.026389%                        9.500%                 $441,750.00
                                                                                          31                                                                                     $441,750.00

Note: Daily balances exclude finance charges, reserve balances, impound balances, late charges.




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